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                      Exhibit C-9
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                                                                                           11.16.11
                        ONLINE EDUCATION SERVICES AGREEMENT


         This Online Education Services Agreement ("Agreement") is made and entered into
effective as of November 16, 2011 (the "Effective Date"), by and between The University of
Texas System, an agency and institution of higher education established under the laws of the
State of Texas ("University" or "UT System"), and Academic Partnerships, LLC, a Delaware
limited liability corporation ("Contractor"), Federal Tax Identification Number XX-XXXXXXX.

       University and Contractor hereby agree as follows:

1. Definitions. For the purposes of this Agreement:

       1.1     The "UT Institutions" means:

               •   The 9 general academic institutions included in UT System (the "UT Academic
                   Institutions") are located in the following Texas cities: Arlington, Austin,
                   Brownsville, Dallas, Edinburg (UT Pan American), EI Paso, Odessa (UT
                   Permian Basin), San Antonio and Tyler,

               •   The 6 health science institutions included in UT System (the "UT Health
                   Science Institutions") are located in the following Texas cities: Dallas,
                   Galveston, Houston (UT Health Science Center - Houston and UT M. D.
                   Anderson Cancer Center), San Antonio and Tyler, and

               •   UT System's administrative offices ("UT System Administration") located in
                   Austin, Texas.

       1.2     The "Services" are defined in Exhibit A.

2. Term. Orders, and Payment.

       The term of this Agreement will begin on the Effective Date and expire on the 1st
       anniversary of the Effective Date. University will have the option to renew this Agreement
       for four (4) additional one (1) year terms. Such an initial term and all renewal terms are
       collectively referred to as the "Term."

       A UT Institution can obtain Services from Contractor by entering into a written order with
       Contractor (an "Order"). All of the terms and conditions of this Agreement are incorporated
       into each Order between Contractor and a UT Institution. Contractor will provide all
       Services identified in an Order in accordance with the terms and conditions of this
       Agreement and that Order. Furthermore, Exhibit A establishes the baseline pricing that
       Contractor will charge for its performance of the Services.        In the event of any conflict
       between an Order and this Agreement, this Agreement will control. Provided, however, a
       UT Institution and Contractor may agree to include additional business terms and
       conditions in an Order to further specify or clarify the Services and pricing provided under
       that Order or to provide more beneficial pricing than that set forth in this Agreement.
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                                                                                     11.16.11
 Contractor and a UT Institution can enter into an Order at any time during the Term. Such
 an Order shall specify the term during which Contractor will perform Services under that
 Order ("Order Term") as well as identify specific terms and conditions related to the
 Services to be provided by Contractor to the UT Institution under that Order. To the extent
 that this Agreement expires or terminates prior to the end of an Order Term for an Order,
 then that Order will survive any such termination or expiration of the Agreement and the
 terms and conditions of this Agreement will continue to be incorporated for all purposes into
 that Order throughout its Order Term.

 This Agreement in accordance with the Texas Prompt Payment Act ("Act"), Chapter 2251,
 Government Code. University will have the right to verify the details set forth in Contractor's
 invoices and supporting documentation, either before or after payment, by (a) inspecting
 the books and records of Contractor at mutually convenient times; (b) examining any
 reports with respect to this Agreement or any Orders; and (c) other reasonable action. The
 cumulative amount of all payments made by a UT Institution under an Order will not exceed
 any Contract Amount defined in that Order. Contractor understands and agrees that
 payments under this Agreement may be subject to the withholding requirements of Section
 3402(t) of the Intemal Revenue Code.

 In the event of any conflict concerning prices, fees, costs, or amounts between or within this
 Agreement, an Order entered into under this Agreement, or an invoice or quote associated
 with an Order, a UT Institution will only be obligated to pay the lesser price, fee, cost, or
 amount notwithstanding any such conflict. Each UT Institution will only be obligated to pay
 Contractor any amounts provided for in the Orders that are entered into between
 Contractor and that UT Institution (including any amounts required by the terms and
 conditions of this Agreement as incorporated into such Orders.) In no event will a UT
 Institution be responsible for paying Contractor under any of the Orders that Contractor
 enters into with other UT Institutions.

 These terms and conditions regarding payment will control over any other payment
 provisions set forth in any Order entered into under this Agreement.

 Contractor understands and agrees that:

 (1)    despite entering into this Agreement with the University, neither the University nor
        any of the UT Institutions represents, warrants, guarantees, or has any obligation to
        enter into an Order to obtain Services from Contractor,

 (2)    this Agreement is mutually non-exclusive and the University and the UT Institutions
        reserve the right to obtain the Services from any other person or entity at their sole
        discretion and Contractor reserves the right to enter into contracts other than this
        Agreement and the Orders under which Contractor provides similar services to the
        UT Institutions and institutions not affiliated with UT, so long as Contractor and the
        University/UT Institutions do not, unless authorized under this Agreement or the
        Orders or otherwise approved in advance by the other party, use any information
        obtained from the other party under this Agreement or any Orders in order to obtain
        or perform under those separate contracts.
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                                                                                         11.16.11
      (3)    it will not receive any payment or other compensation under this Agreement unless
             it (1) enters into an Order with a UT Institution and (2) performs Services under
             such an Order in accordance with the terms and conditions of that Order and its
             Agreement.

3.    Tax Exemption.

      University and all UT Institutions, as agencies of the State of Texas, are exempt from Texas
      Sales & Use Tax on the Services in accordance with Section 151.309, Tax Code, and Title
      34 Texas Administrative Code ('TAC") Section 3.322.

4.    Contractor's Obligations.

      4.1    Contractor will perform the Services in compliance with all applicable federal, state
             and local, laws, regulations, and ordinances. Contractor represents and warrants
             that neither Contractor nor any firm, corporation or institution represented by
             Contractor, or anyone acting for the firm, corporation or institution, (1) has
             violated the antitrust laws of the State of Texas, Chapter 15, Business and
             Commerce Code, or federal antitrust laws, or (2) has communicated directly or
             indirectly the content of Contractor's response to University's procurement
             solicitation to any competitor or any other person engaged in a similar line of
             business during the procurement process for this Agreement.

      4.2    Contractor represents, warrants and agrees that (a) it will use its best efforts to
             perform the Services in a good and workmanlike manner and in accordance with
             the highest standards of Contractor's profession or business, and (b) all of the
             Services to be performed will be of the quality that prevails among similar
             businesses of superior knowledge and skill engaged in providing similar services in
             major United States urban areas under the same or similar circumstances.

      4.3    INTENTIONALLY DELETED.

      4.4    Contractor warrants and agrees that the Services will be accurate and free from any
             known material defects and that Contractor will proactively monitor the Services to
             detect and eliminate any such material defects. Specifically, Contractor will scan,
             test, and monitor its web applications and all applicable systems for common
             application and other security vulnerabilities. Contractor's duties and obligations
             under this Agreement and all Orders will at no time be in any way diminished by
             reason of any approval by University or any UT Institution nor will Contractor be
             released from any liability by reason of any approval by University or UT Institution,
             it being agreed that University and the UT Institutions are at all times relying upon
             Contractor's skill and knowledge in performing the Services.

      4.5    Contractor will, at its own cost, correct all material defects in the Services as soon
             as practical after Contractor becomes aware of the defects. If Contractor fails to
             correct material defects in the Services within a reasonable time, then University or
             a UT Institution may correct the defective Services at Contractor's expense. This
             remedy is in addition to, and not in substitution for, any other remedy for defective
             Services that University or a UT Institution may have at law or in equity.
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                                                                                          11.16.11

 4.6    Contractor will maintain a staff of properly trained and experienced personnel to
        ensure satisfactory performance under this Agreement. Contractor will cause all
        persons connected with Contractor directly in charge of the Services to be duly
        registered and/or licensed under all applicable federal, state and local, laws,
        regulations, and ordinances. Contractor will assign to this Agreement a designated
        representative who will be responsible for the administration and coordination of the
        Services. Contractor will fum ish efficient business administration and coordination
        and perform the Services in an expeditious and economical manner consistent with
        the interests of University and the UT Institutions.

 4.7    Contractor represents that if (i) it is a corporation, then it is a corporation duly
        organized, validly existing and in good standing under the laws of the State of
        Texas, or a foreign corporation or limited liability company duly authorized and in
        good standing to conduct business in the State of Texas, that it has all necessary
        corporate power and has received all necessary corporate approvals to execute
        and deliver this Agreement, and the individual executing this Agreement on behalf
        of Contractor has been duly authorized to act for and bind Contractor; or (ii) if it is a
        partnership, limited partnership, limited liability partnership, or limited liability
        company then it has all necessary power and has secured all necessary approvals
        to execute and deliver this Agreement and perform all its obligations hereunder, and
        the individual executing this Agreement on behalf of Contractor has been duly
        authorized to act for and bind Contractor.

 4.8    Contractor represents and warrants that neither the execution and delivery of this
        Agreement or any Orders by Contractor nor the performance of its duties and
        obligations under this Agreement or any Orders will (a) result in the violation of any
        provision [i] if a corporation, of Contractor's articles of incorporation or by laws, [ii] if
        a limited liability company, of its articles of organization or regulations, or [iii] if a
        partnership, of any partnership agreement by which Contractor is bound; (b) result
        in the violation of any provision of any agreement by which Contractor is bound; or
        (c) to the best of Contractor's knowledge and belief, conflict with any order or
        decree of any court or other body or authority having jurisdiction.

 4.9    Contractor represents and warrants that all of Contractor's Personnel contributing to
        the Work Material (ref. Section 25) under this Agreement will be required to (i)
        acknowledge in writing the ownership of Contractor (for the benefit of University) of
        the Work Material and each element thereof produced by the Personnel while
        performing services pursuant to this Agreement and (ii) make all assignments
        necessary to effectuate such ownership. "Personnel" means any and all persons
        associated with Contractor who provide any work or work product pursuant to this
        Agreement, including officers, managers, supervisors, full-time employees, part-
        time employees, and independent contractors.

 4.10   Contractor represents and warrants that: (i) the Services will be performed solely by
        Contractor, its full-time or part-time employees during the course of their
        employment, or independent contractors who have aSSigned in writing all right, title
        and interest in their work to Contractor for the benefit of University; (ii) University will
        receive free, good and clear title to all Work Material (defined in Section 25.1 below)
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                                                                                             11.16.11
             developed under this Agreement; (iii) the Work Material and the intellectual property
             rights protecting the Work Material are free and clear of all encumbrances, including
             security interests, licenses, liens, charges or other restrictions; (iv) the Work
             Material will not infringe upon or violate any patent, copyright, trade secret,
             trademark, service mark or other property right of any former employer,
             independent contractor, client or other third party; and (v) the use, reproduction,
             distribution, or modification of the Work Material will not violate the rights of any third
             parties in the Work Material, including trade secret, publicity, privacy, copyright,
             trademark, service mark and patent rights.

      4.11   If this Agreement requires Contractor's presence on University's premises or in
             University's facilities, Contractor agrees to cause its representatives, agents,
             employees and subcontractors to become aware of, fully informed about, and in full
             compliance with all applicable University rules and policies, including those relative
             to personal health, security, environmental quality, safety, fire prevention, noise,
             smoking, and access restrictions.

5.    Family Code Child Support Certification

      Pursuant to Section 231.006, Family Code, Contractor certifies that it is not ineligible to
      receive the award of or payments under this Agreement or any Orders and
      acknowledges that this Agreement or any Order may be terminated and payment may be
      withheld if this certification is inaccurate.

6.    Eligibility Certifications

      Pursuant to Sections 2155.004 and 2155.006, Government Code, Contractor certifies
      that Contractor is not ineligible to receive the award of or payments under this
      Agreement or any Orders and acknowledges that this Agreement and/or any Order may
      be terminated and payment withheld if these certifications are inaccurate.

7.    Tax Certification

      If Contractor is a taxable entity as defined by Chapter 171, Tax Code ("Chapter 171 "),
      then Contractor certifies that it is not currently delinquent in the payment of any taxes
      due under Chapter 171, or that Contractor is exempt from the payment of those taxes, or
      that Contractor is an out-of-state taxable entity that is not subject to those taxes,
      whichever is applicable.

8.    Payment of Debt or Delinquency to the State

      Pursuant to Sections 2107.008 and 2252.903, Government Code, Contractor agrees
      that any payments owing to Contractor under this Agreement or any Orders may be
      applied directly toward any debt or delinquency that Contractor owes the State of Texas
      or any agency of the State of Texas regardless of when it arises, until such debt or
      delinquency is paid in full.
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                                                                                          11.16.11
9.     Products and Materials Produced in Texas

       If Contractor will provide services under this Agreement, Contractor covenants and
       agrees that in accordance with Section 2155.4441, Government Code, in performing its
       duties and obligations under this Agreement or any Orders, Contractor shall purchase
       products and materials produced in Texas when such products and materials are
       available at a price and delivery time comparable to products and materials produced
       outside of Texas.

10.    Loss of Funding

       Performance by each UT Institution under the Orders that the UT Institution enters into
       with Contractor under this Agreement may be dependent upon the appropriation and
       allotment of funds by the Texas State Legislature (the "Legislature") and/or allocation of
       funds by the Board of Regents of The University of Texas System (the "Board").

       If the Legislature fails to appropriate or allot the necessary funds for an Order, or if the
       Board fails to allocate the necessary funds for an Order (a "Non-Funded Order") then the
       UT Institution that is a party to that Non-Funded Order shall issue written notice to
       Contractor and the UT Institution may terminate their further participation under the Non-
       Funded Order without further duty or obligation under that Order. Provided, however,
       that such termination of a Non-Funded Order shall not terminate or otherwise affect any
       other Orders entered into under this Agreement.

       Contractor acknowledges that appropriation, allotment, and allocation of funds are
       beyond the control of University and the UT Institutions.

11.    Notices

       Except as otherwise provided in this Section, all notices, consents, approvals, demands,
       requests or other communications provided for or permitted to be given under any of the
       provisions of this Agreement or any Orders will be in writing and will be sent via
       registered or certified mail, ovemight courier, confirmed facsimile transmission (to the
       extent a facsimile number is set forth below), or email (to the extent an email address is
       set forth below), and notice will be deemed given (i) if mailed, when deposited, postage
       prepaid, in the United States mail, (ii) if sent by overnight courier, one business day after
       delivery to the courier, (iii) if sent by facsimile (to the extent a facsimile number is set
       forth below), when transmitted, and (iv) if sent by email (to the extent an email address is
       set forth below), when received:

          (1)     If to University:   Dr. Scott C. Kelley
                                      Executive Vice Chancellor for Business Affairs
                                      The University of Texas System
                                      201 West 7th Street
                                      Austin, Texas 78701-2982

          (2)     If to Contractor:   Academic Partnerships, LLC
                                      160 Continental Ave
                                      Dallas, TX 75207
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                                                                                                 11.16.11
                                           Attention: CFO

                                           With copy to:
                                           Legal Department
                                           Academic Partnerships, LLC
                                           2200 Ross Ave, Suite 3800
                                           Dallas, TX 75201

             (3)      If to a UT Institution other than the University, then at the address(es) for that UT
                      Institution as set forth in that UT Institution's Order(s)

       or other person or address as may be given in writing by either party to the other in
       accordance with this Section.

       Notwithstanding any other requirements for notices given by a party under this
       Agreement or any Orders, if Contractor intends to deliver written notice pursuant to
       Section 2251.054, Government Code conceming an Order

       (1)         to the University, then Contractor shall send that notice to the University as
                   follows:

                                  Dr. Scott C. Kelley
                                  Executive Vice Chancellor for Business Affairs
                                  The University of Texas System
                                  201 West 7th Street
                                  Austin, Texas 78701-2982
                                  Fax: (512) 499-4289
                                  Email: LegaINotices@utsystem.edu

                   or such other person or address as may be given in writing by the University to
                   Contractor in accordance with the requirements for notices set forth above; or

       (2)         to a UT Institution other than the University, then Contractor shall send that notice to
                   the UT Institution at the address set forth in the Order or to such other person or
                   address as may be given in writing by that UT Institution to Contractor in
                   accordance with the requirements for notices set forth above.

12.    State Auditor's Office

       Contractor understands that acceptance of funds under this Agreement and all Orders
       constitutes acceptance of the authority of the Texas State Auditor's Office, or any
       successor agency (collectively, "Auditor"), to conduct an audit or investigation in
       connection with those funds pursuant to Sections 51.9335(c), 73.115(c) and 74.008(c),
       Education Code. Contractor agrees to cooperate with the Auditor in the conduct of the
       audit or investigation including providing all records requested. Contractor will include
       this provision in all contracts with permitted subcontractors.
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                                                                                          11.16.11
13.    Venue; Governing Law

       Travis County, Texas, shall be the proper place of venue for suit on or in respect of this
       Agreement and all Orders. This Agreement, all Orders, and all of the rights and
       obligations of the parties thereto and all of the terms and conditions thereof shall be
       construed, interpreted and applied in accordance with and governed by and enforced
       under the laws of the State of Texas.

14.    Breach of Contract Claims

       14.1   To the extent that Chapter 2260, Government Code, as it may be amended from
              time to time ("Chapter 2260"), is applicable to this Agreement or any Order and
              is not preempted by other applicable law, the dispute resolution process provided
              for in Chapter 2260 will be used, as further described herein, by University and
              Contractor to attempt to resolve any claim for breach of contract made by
              Contractor:

              14.1.1    Contractor's claims for breach of this Agreement or any Order that the
                        parties cannot resolve pursuant to other provisions of this Agreement or
                        in the ordinary course of business will be submitted to the negotiation
                        process provided in subchapter B of Chapter 2260. To initiate the
                        process, Contractor will submit written notice, as required by subchapter
                        B of Chapter 2260, to University and all applicable UT Institutions in
                        accordance with the notice provisions in this Agreement. Contractor's
                        notice will specifically state that the provisions of subchapter B of
                        Chapter 2260 are being invoked, the date and nature of the event giving
                        rise to the claim, the specific contract provision that University or the UT
                        Institution(s) allegedly breached, the amount of damages Contractor
                        seeks, and the method used to calculate the damages. Compliance by
                        Contractor with subchapter B of Chapter 2260 is a required prerequisite
                        to Contractor's filing of a contested case proceeding under subchapter
                        C of Chapter 2260. The Chief Business Officer of University, or another
                        officer of University as may be designated from time to time by
                        University by written notice thereof to Contractor in accordance with the
                        notice provisions in this Agreement, will examine Contractor's claim and
                        any counterclaim and negotiate with Contractor in an effort to resolve
                        the claims.

              14.1.2    If the parties are unable to resolve their disputes under Section 14.1.1,
                        the contested case process provided in subchapter C of Chapter 2260
                        is Contractor's sole and exclusive process for seeking a remedy for any
                        and all of Contractor's claims for breach of this Agreement by University
                        or any UT Institution.

              14.1.3    The parties hereto specifically agree that (i) neither the execution of this
                        Agreement, the execution of any Order under this Agreement, nor any
                        other conduct, action or inaction of any representative of the University
                        or any UT Institution relating to this Agreement or any Order constitutes
                        or is intended to constitute a waiver of the University's, any UT
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                         Institution's, or the state's sovereign immunity to suit and (ii) neither the
                         University nor any UT Institution has waived its right to seek redress in
                         the courts.

        14.2   The submission, processing and resolution of Contractor's claim is governed by
               the published rules adopted by the Texas Attorney General pursuant to Chapter
               2260, as currently effective, thereafter enacted or subsequently amended.

        14.3   The University, the UT Institutions, and Contractor agree that any periods set
               forth in this Agreement for notice and cure of defaults are not waived.

15.     Compliance with Law

        Contractor will perform the Services in compliance with all applicable federal, state and
        local, laws, regulations, and ordinances. Contractor represents and warrants that neither
        Contractor nor any firm, corporation or institution represented by Contractor, or anyone
        acting for the firm, corporation or institution, (1) has violated the antitrust laws of the
        State of Texas, Chapter 15, Business and Commerce Code, or federal antitrust laws, or
        (2) has communicated directly or indirectly the content of Contractor's response to
        University's procurement solicitation to any competitor or any other person engaged in a
        similar line of business during the procurement process for this Agreement.

16.     Records

        Records of Contractor's costs, any reimbursable expenses pertaining to the Services and
        payments will be available to University, the applicable UT Institutions, or their authorized
        representatives during business hours and will be retained for four (4) years after final
        payment or abandonment of the Services, unless University otherwise instructs Contractor
        in writing.

17.     Insurance.

        17.1   Contractor, consistent with its status as an independent contractor will carry and
               will cause its subcontractors to carry, at least the following insurance in the form,
               with companies admitted to do business in the State of Texas and having an
               A.M. Best Rating of A-:VII or better, and in amounts (unless otherwise specified),
               as University may require:

               17.1.1    Workers Compensation Insurance with statutory limits, and Employer's
                         Liability Insurance with limits of not less than $1,000,000:
                         Employers Liability - Each Accident            $1,000,000
                         Employers Liability - Each Employee            $1,000,000
                         Employers Liability - Policy Limit             $1,000,000

                         Policies must include (a) Other States Endorsement to include TEXAS if
                         business is domiciled outside the State of Texas, and (b) a waiver of all
                         rights of subrogation and other rights in favor of University.

               17.1.2    Commercial General Liability Insurance with limits of not less than:
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                   Each Occurrence Limit                                 $1,000,000
                   Damage to Rented Premises                             $ 100,000
                   Medical Expenses (anyone person)                      $ 10,000
                   Personal & Advertising Injury                         $1,000,000
                   General Aggregate                                     $2,000,000
                   Products - Completed Operations Aggregate             $2,000,000

                   Policy will include independent contractor's liability, covering, but not
                   limited to, the liability assumed under the indemnification provision of
                   this Agreement, fully insuring Contractor's (or Subcontractor's) liability
                   for bodily injury (including death) and property damage.

         17.1.3    Business Auto Liability Insurance covering all owned, non-owned or
                   hired automobiles, with limits of not less than $1,000,000 Combined
                   Single Limit Bodily Injury and Property Damage.

         17.1.4    Professional Liability Insurance with limits of not less than $1,000,000
                   per claim.

         17.1.5    Umbrella/Excess Liability Insurance with limits of not less than
                   $2,000,000 per occurrence and aggregate with a deductible of no more
                   than $10,000, and (i) providing coverage in excess of the coverages of,
                   and (ii) "following form" subject to the same provisions as, the
                   underlying policies required in Section 17.1.1 Employers Liability
                   Insurance, Section 17.1.2 Commercial General Liability Insurance, and
                   Section 17.1.3 Commercial Auto Liability Insurance.

         17.1.6    Director and Officer Liability Insurance with limits of not less than
                   $1,000,000 on a claims-made basis.

  17.2   Contractor will deliver to University:

         17.2.1   Evidence satisfactory to University in its sole discretion, evidencing the
                  existence of all insurance after the execution and delivery of this
                  Agreement and prior to the performance or continued performance of
                  any Services to be performed by Contractor under this Agreement or
                  any Orders.

         17.2.2   Additional evidence, satisfactory to University in its sole discretion, of
                  the continued existence of all insurance not less than thirty (30) days
                  prior to the expiration of any insurance. Insurance policies, with the
                  exception of Workers' Compensation and Employer's Liability, will be
                  endorsed and name University and the UT Institutions as an Additional
                  Insured. All policies will be endorsed to provide a waiver of subrogation
                  in favor of University and the UT Institutions. All policies with the
                  exception of Workers' Compensation and Employer's Liability will be
                  endorsed to provide primary and non-contributory coverage. No policy
                  will be canceled until after thirty (30) days' unconditional written notice
                  to University and the UT Institutions.
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                                                                                          11.16.11

               17.2.3     Contractor will be responsible for providing to University and the UT
                          Institutions immediate notice of its receipt of a notice of cancellation,
                          termination, material change, or non-renewal relating to any insurance
                          policy required herein. This requirement may be satisfied by providing a
                          copy of the notice received by the Contractor to the University and the UT
                          Institutions within two business days or by endorsement of the policy to
                          require notice to the University and the UT Institutions to be provided by
                          the insurer.

        17.3   The insurance policies required in this Agreement will be kept in force at all times
               during the term of the Agreement and all Orders.

18.     Indemnification

        18.1   To THE FULLEST EXTENT PERMITIED BY LAW, CONTRACTOR WILL AND DOES HEREBY
               AGREE TO INDEMNIFY, PROTECT, DEFEND WITH COUNSEL APPROVED BY UNIVERSITY,
               AND HOLD HARMLESS UNIVERSITY, THE UT INSTITUTIONS, AND THEIR RESPECTIVE
               AFFILIATED ENTERPRISES, REGENTS, OFFICERS, DIRECTORS, ATIORNEYS,
               EMPLOYEES, REPRESENTATIVES AND AGENTS (COLLECTIVELY "INDEMNITEES") FROM
               AND AGAINST ALL DAMAGES, LOSSES, LIENS, CAUSES OF ACTION, SUITS, JUDGMENTS,
               EXPENSES, AND OTHER CLAIMS OF ANY NATURE, KIND, OR DESCRIPTION, INCLUDING
               REASONABLE ATIORNEYS' FEES INCURRED IN INVESTIGATING, DEFENDING OR
               SETILING ANY OF THE FOREGOING (COLLECTIVELY "CLAIMS") BY ANY PERSON OR
               ENTITY, ARISING OUT OF, CAUSED BY, OR RESULTING FROM CONTRACTOR'S
               PERFORMANCE UNDER OR BREACH OF THIS AGREEMENT AND THAT ARE CAUSED IN
               WHOLE OR IN PART BY ANY NEGLIGENT ACT, NEGLIGENT OMISSION OR WILLFUL
               MISCONDUCT OF CONTRACTOR, ANYONE DIRECTLY EMPLOYED BY CONTRACTOR OR
               ANYONE FOR WHOSE ACTS CONTRACTOR MAY BE LIABLE. THE PROVISIONS OF THIS
               SECTION WILL NOT BE CONSTRUED TO ELIMINATE OR REDUCE ANY OTHER
               INDEMNIFICATION OR RIGHT WHICH ANY INDEMNITEE HAS BY LAW OR EQUITY. ALL
               PARTIES WILL BE ENTITLED TO BE REPRESENTED BY COUNSEL AT THEIR OWN
               EXPENSE.

        18.2   IN ADDITION, CONTRACTOR WILL AND DOES HEREBY AGREE TO INDEMNIFY, PROTECT,
               DEFEND WITH COUNSEL APPROVED BY UNIVERSITY, AND HOLD HARMLESS
               INDEMNITEES FROM AND AGAINST ALL CLAIMS ARISING FROM INFRINGEMENT OR
               ALLEGED INFRINGEMENT OF ANY PATENT, COPYRIGHT, TRADEMARK OR OTHER
               PROPRIETARY INTEREST ARISING BY OR OUT OF THE PERFORMANCE OF SERVICES OR
               THE PROVISION OF GOODS BY CONTRACTOR, OR THE USE BY INDEMNITEES, AT THE
               DIRECTION OF CONTRACTOR, OF ANY ARTICLE OR MATERIAL; PROVIDED, THAT, UPON
               BECOMING AWARE OF A SUIT OR THREAT OF SUIT FOR INFRINGEMENT, UNIVERSITY
               AND THE UT INSTITUTIONS WILL PROMPTLY NOTIFY CONTRACTOR AND CONTRACTOR
               WILL BE GIVEN THE OPPORTUNITY TO NEGOTIATE A SETILEMENT. IN THE EVENT OF
               LITIGATION, UNIVERSITY AND THE UT INSTITUTIONS AGREE TO REASONABLY
               COOPERATE WITH CONTRACTOR. ALL PARTIES WILL BE ENTITLED TO BE
               REPRESENTED BY COUNSEL AT THEIR OWN EXPENSE.

        18.3   THE PROVISIONS OF THIS SECTION 18 WILL CONTROL OVER ANY PROVISIONS IN THE
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                AGREEMENT OR ANY ORDER WHICH REQUIRE CONTRACTOR TO INDEMNIFY, PROTECT,
                DEFEND, OR HOLD HARMLESS THE UNIVERSITY OR ANY UT INSTITUTION.

19.     Ethics Matters; No Financial Interest

        Contractor and its employees, agents, representatives and subcontractors have read
        and understand University's Conflicts of Interest Policy available at
        http://www.utsystem.edu/policy/policies/int160.html. University's Standards of Conduct
        Guide available at http://www.utsystem.edu/systemcompliance/SOCcombined.pdf, and
        applicable state ethics laws and rules available at www.utsystem.edu/ogc/ethics. Neither
        Contractor nor its employees, agents, representatives or subcontractors will assist or
        cause University or UT Institution employees to violate University's Conflicts of Interest
        Policy, provisions described by University's Standards of Conduct Guide, or applicable
        state ethics laws or rules. Contractor represents and warrants that no member of the
        Board has a direct or indirect financial interest in the transactions that are the subject of
        this Agreement or any Order.

20.     Undocumented Workers. The Immigration and Nationality Act (8 United States Code
        1324a) ("Immigration Act") makes it unlawful for an employer to hire or contin'ue
        employment of undocumented workers. The United States Immigration and Customs
        Enforcement Service has established the Form 1-9 Employment Eligibility Verification
        Form ("1-9 Form") as the document to be used for employment eligibility verification (8
        Code of Federal Regulations 274a). Among other things, Contractor is required to: (1)
        have all employees complete and sign the 1-9 Form certifying that they are eligible for
        employment; (2) examine verification documents required by the 1-9 Form to be
        presented by the employee and ensure the documents appear to be genuine and related
        to the individual; (3) record information about the documents on the 1-9 Form, and
        complete the certification portion of the 1-9 Form; and (4) retain the 1-9 Form as required
        by law. It is illegal to discriminate against any individual (other than a citizen of another
        country who is not authorized to work in the United States) in hiring, discharging, or
        recruiting because of that individual's national origin or citizenship status. If Contractor
        employs unauthorized workers during performance of this Agreement or any Order in
        violation of the Immigration Act then, in addition to other remedies or penalties
        prescribed by law, University may terminate this Agreement in accordance with Section
        28. Contractor represents and warrants that it is in compliance with and agrees that it will
        remain in compliance with the provisions of the Immigration Act.

21.     Force Majeure. Neither party to this Agreement or any Order will be liable or responsible to
        the other for any loss or damage or for any delays or failure to perform due to causes
        beyond its reasonable control including acts of God, strikes, epidemics, war, riots, flood,
        fire, sabotage, or any other circumstances of like character ("force majeure occurrence").
        Provided, however, in the event of a force majeure occurrence, Contractor agrees to use its
        best efforts to mitigate the impact of the occurrence so that any University healthcare
        institution may continue to provide healthcare services during the occurrence.

22.     Entire Agreement; Modifications. The terms and conditions of this Agreement are
        incorporated for all purposes into each Order entered into between a UT Institution and
        Contractor under this Agreement. Each Order entered into between Contractor and a
        UT Institution under the Agreement constitutes a separate contract between Contractor
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        and that UT Institution, and such an Order supersedes all prior agreements, written or
        oral, between Contractor and that UT Institution concerning the subject matter of that
        Order, and constitutes the entire agreement and understanding between Contractor and
        that UT Institution with respect to the subject matter of that Order. Each Order entered
        into by Contractor and a UT Institution and each of that Order's provisions shall be
        binding upon Contractor and that UT Institution and may not be waived, modified,
        amended or altered except by a writing signed by Contractor and that UT Institution.

23.     Captions

        The captions of sections and subsections in this Agreement or in any Order are for
        convenience only and will not be considered or referred to in resolving questions of
        interpretation or construction.

24.     Waivers

         No delay or omission in exercising any right accruing upon a default in performance of this
        Agreement or of any Order will impair any right or be construed to be a waiver of any right.
        A waiver of any default under this Agreement or under any Order will not be construed to
        be a waiver of any subsequent default under this Agreement or that Order.


25.     Ownership and Use of Work Material

        25.1   All drawings, specifications, plans, computations, sketches, data, photographs,
               tapes, renderings, models, publications, statements, accounts, reports, studies, and
               other materials prepared by Contractor or any subcontractors specifically and
               exclusively for a UT Institution under an Order (collectively, "Work Material"),
               whether or not accepted or rejected by that UT Institution, are the sole property of
               that UT Institution and for its exclusive use and re-use at any time without further
               compensation and without any restrictions.

        25.2   Contractor grants and assigns to a UT Institution all rights and claims of whatever
               nature and whether now or hereafter arising in and to the Work Material under an
               Order with that UT Institution and will cooperate fully with that UT Institution in any
               steps the UT Institution may take to obtain or enforce patent, copyright, trademark
               or like protections with respect to the Work Material.

        25.3   Contractor will deliver all Work Material created under an Order to the UT Institution
               under that Order upon expiration or termination of the Order. A UT Institution will
               have the right to use (or allow the other UT Institutions to use) the Work Material for
               the completion of the Services or otherwise. A UT Institution may, at all times, retain
               the originals of the Work Material. The Work Material will not to be used on other
               projects by any person other than the UT Institution owning that Work Material
               unless expressly authorized by that UT Institution in writing.

        25.4   The Work Material will not be used or published by Contractor or any other party
               unless expressly authorized in writing by the UT Institution owning that Work
               Material. Contractor will treat all Work Material as confidential.
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        25.5    All title and interest in the Work Material will vest in the UT Institution owning that
                Work Material and will be deemed to be a work made for hire and made in the
                course of the Services rendered under this Agreement. To the extent that title to
                any Work Material may not, by operation of law, vest in a UT Institution or Work
                Material may not be considered works made for hire, Contractor hereby irrevocably
                assigns, conveys and transfers to that UT Institution and its successors, licensees
                and assigns, all rights, title and interest worldwide in and to the Work Material and
                all proprietary rights therein, including all copyrights, trademarks, service marks,
                patents, trade secrets, moral rights, all contract and licensing rights and all claims
                and causes of action with respect to any of the foregoing, whether now known or
                hereafter to become known. In the event Contractor has any rights in the Work
                Material which cannot be assigned, Contractor agrees to waive enforcement
                worldwide of the rights against University and the UT Institutions, and their
                successors, licensees, assigns, distri.butors and customers or, if necessary, to
                exclusively license the rights, worldwide to University and the UT Institutions with
                the right to sublicense. These rights are assignable by University and the UT
                Institutions.

26.     Confidentiality and Safeguarding of University Records; Press Releases; Public
        Information

        Under this Agreement, Contractor may (1) create records or record systems for
        University or a UT Institution (2) receive records or record systems from or on behalf of
        University or a UT Institution, or (3) have access to records or record systems of
        University or a UT Institution (collectively, "University Records"). Such University
        Records include any (i) curricula, degree plans, course materials, tests, examinations,
        assessments, and similar academic materials of the University, the UT Institutions, or
        their faculty or staff (collectively, "Academic Materials"), (ii) any information or data about
        University or UT Institution students, faculty, or staff, or (iii) any notes, writings,
        questions, class participation data, test answers or results, or other academic
        coursework or materials of University or UT Institution students. Notwithstanding any
        other provision of this Agreement or any Order, the University Records will remain the
        property, as applicable, of the University, the UT Institutions, or the associated University
        or UT Institutional faculty, staff, or students. Specifically, the University and the UT
        Institutions will retain sole control over all Academic Materials.

        Among other things, University Records may contain social security numbers, credit card
        numbers, or data protected or made confidential or sensitive by applicable federal, state
        and local, laws, regulations, and ordinances, including the Gramm-Leach-Bliley Act
        (Public Law No: 106-102) and the Family Educational Rights and Privacy Act, 20 U.S.C.
        §1232g (UFERPA"). If University Records are subject to FERPA, (1) University
        designates Contractor as a University official with a legitimate educational interest in
        University Records, and (2) Contractor acknowledges that its improper disclosure or
        redisclosure of personally identifiable information from University Records will result in
        Contractor's exclusion from eligibility to contract with University for at least five (5) years.
        Contractor represents, warrants, and agrees that it will: (1) hold University Records in
        strict confidence and will not use or disclose University Records except as (a) permitted
        or required by this Agreement, (b) required by law, or (c) otherwise authorized by
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  University in writing; (2) safeguard University Records according to reasonable
  administrative, physical and technical standards (such as standards established by (i)
  the National Institute of Standards and Technology and (ii) the Center for Internet
  Security, as well as the Payment Card Industry Data Security Standards) that are no
  less rigorous than the standards by which Contractor protects its own confidential
  information; (3) continually monitor its operations and take any action necessary to
  assure that University Records are safeguarded and the confidentiality of University
  Records is maintained in accordance with all applicable federal, state and local, laws,
  regulations, and ordinances, including FERPA and the Gramm-Leach Bliley Act, and the
  terms of this Agreement and all Orders; and (4) comply with the University's rules,
  policies, and procedures of the University and the UT Institutions regarding access to
  and use of University and UT Institution information and computer systems.
  Notwithstanding any other provision of this Agreement, in no event will Contractor or any
  Contractor employees, contractors, or agents (or any other persons for whom Contractor
  is responsible) store, host, transmit, transport, process, analyze, ship, or otherwise take
  or send any University Records or other data or information provided by University, any
  UT Institutions, or any of their students, faculty, or staff under this Agreement outside of
  the United States. At the request of University or a UT Institution, Contractor agrees to
  provide University with a written summary of the procedures Contractor uses to
  safeguard and maintain the confidentiality of University Records.

  26.1   Notice of Impermissible Use. If an impermissible use or disclosure of any
         University Records occurs, Contractor will provide written notice to University and
         any affected UT Institutions within one (1) business day after Contractor's
         discovery of that use or disclosure. Contractor will promptly provide University
         and any affected UT Institutions with all information requested regarding the
         impermissible use or disclosure.

  26.2   Return of University Records. Contractor agrees that within thirty (30) days
         after the expiration or termination of this Agreement, for any reason, all University
         Records created or received from or on behalf of University and the UT
         Institutions will be (1) returned to University and those UT Institutions, with no
         copies retained by Contractor; or (2) if return is not feasible, destroyed. Twenty
         (20) days before destruction of any University Records, Contractor will provide
         University and the applicable UT Institutions with written notice of Contractor's
         intent to destroy University Records. Within five (5) days after destruction,
         Contractor will confirm in writing to University and the applicable UT Institutions
         the destruction of University Records.

  26.3   Disclosure. If Contractor discloses any University Records to a subcontractor or
         agent, Contractor will require the subcontractor or agent to comply with the same
         restrictions and obligations as are imposed on Contractor by this Section.

  26.4   Press Releases. Except when defined as part of the Services, Contractor will not
         make any press releases, public statements, or advertisement referring to this
         Agreement, any Orders, the engagement of Contractor as an independent
         contractor of University or any UT Institutions in connection with this Agreement
         and the Orders, or release any information relative to this Agreement and the
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               Orders for publication, advertisement or any other purpose without the prior
               written approval of University.

        26.5   Public Information. University and the UT Institutions strictly adhere to all
               statutes, court decisions and the opinions of the Texas Attorney General with
               respect to disclosure of public information under the Texas Public Information
               Act, Chapter 552, Government Code.

        26.6   Termination. In addition to any other termination rights set forth in this
               Agreement or any Order and any other rights at law or equity, if University
               reasonably determines that Contractor has breached any of the restrictions or
               obligations set forth in this Section, University may immediately terminate this
               Agreement and all Orders without notice or opportunity to cure.

        26.7   Duration. The restrictions and obligations under this Section will survive
               expiration or termination of this Agreement or any Order for any reason.

27.     HIPAA Compliance. If this Agreement or any Order relates to private health information
        of a UT Institution or if Contractor will have access to private health information held by a
        UT Institution, then Contractor agrees that it will execute a HIPAA Business Associate
        Agreement ("BAA") with that UT Institution in the form agreed to by Contractor and that
        UT Institution.

28.     Default and Termination. The following provisions shall apply regardless of any
        conflicting terms and conditions in any Order entered into under this Agreement:

        28.1     In the event Contractor breaches the terms and conditions of an Order
                 (including any Contractor breach of the terms and conditions of this Agreement
                 as incorporated into that Order), the UT Institution may terminate that Order (a
                 "Contractor-Breached Order") upon thirty (30) days' written notice to
                 Contractor. However, a Contractor-Breached Order shall not terminate at the
                 end of the thirty-day notice period in the event that Contractor completely cures
                 its breach of that Order before the end of that thirty-day period. The
                 termination of a Contractor-Breached Order by a UT Institution under this
                 Section 28.1 shall not terminate or otherwise affect any other Orders entered
                 into with Contractor under this Agreement by the terminating UT Institution or
                 by any of the other UT Institutions.

        28.2     A UT Institution may terminate any Order without cause by providing
                 Contractor with thirty (30) days' advance written notice of such termination.
                 However, a UT Institution terminating an Order under this Section 28.2 will
                 remain responsible for paying for all goods or services that Contractor provides
                 to the UT Institution under that Order prior to such termination, so long as such
                 goods or services conform to the terms and conditions of that Order and this
                 Agreement and provided that Contractor delivers all Work Material to
                 University. This may include the University's payment of an amount defined in
                 an Order to fully compensate Contractor for any course conversion services,
                 curriculum support services, or marketing and recruiting services that
                 Contractor has in fact provided to the UT Institution under that Order but for
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         which Contractor would have only been compensated on a course-by-course
         basis absent the termination of that Order (a "Recovery Payment.") However,
         in no event will a UT Institution be obligated to pay Contractor any amounts for
         anticipatory profits associated with the terminated Order, any services that are
         not rendered by Contractor, any ordered products, goods, or materials that are
         not delivered by Contractor, or any costs that could reasonably have been
         avoided by Contractor once it receives notice of the terminated Order. The
         termination of an Order without cause by a UT Institution under this Section
         28.2 shall not terminate or otherwise affect any other Orders entered into with
         Contractor under this Agreement by that UT Institution or by any of the other
         UT Institutions.

  28.3   In the event a UT Institution breaches the terms and conditions of an Order
         (including the UT Institution's breach of the terms and conditions of this
         Agreement as incorporated into that Order), Contractor may terminate that
         Order (a "UT Institution-Breached Order") upon thirty (30) days' written notice
         to that UT Institution. However, a UT Institution-Breached Order shall not
         terminate at the end of the thirty-day notice period in the event that the UT
         Institution completely cures its breach of that Order before the end of that thirty-
         day period. The termination of a UT Institution-Breached Order by Contractor
         under this Section 28.3 shall not terminate or otherwise affect any other
         Orders entered into with Contractor under this Agreement by the breaching UT
         Institution or by any of the other UT Institutions.

  28.4   In the event of Contractor's breach of the terms and conditions of this
         Agreement or of any of the Orders, the University may terminate this
         Agreement in its entirety, including all of the Orders entered into by the UT
         Institutions and Contractor under this Agreement, upon thirty (30) days' written
         notice to Contractor ("Complete Termination"). However, such a Complete
         Termination shall not take effect at the end of the thirty-day notice period in the
         event that Contractor completely cures its breach of this Agreement and/or
         those Order before the end of that thirty-day period.

  28.5   The University may, without cause, terminate this Agreement in its entirety,
         including all of the Orders entered into by the UT Institutions and Contractor
         under this Agreement, by providing Contractor with thirty (30) days' advance
         written notice of such termination. However, each UT Institution will remain
         responsible for paying for all goods or services that Contractor provides to that
         UT Institution under the Orders that the UT Institution entered into with
         Contractor prior to the date on which Contractor receives the University's notice
         of termination under this Section 28.5, so long as such goods or services
         conform to the terms and conditions of the applicable Order and this
         Agreement and provided that Contractor delivers all Work Material to
         University. This may include the University's payment of an amount defined in
         an Order to fully compensate Contractor for any course conversion services,
         curriculum support services, or marketing and recruiting services that
         Contractor has in fact provided to the UT Institution under that Order but for
         which Contractor would have only been compensated on a course-by-course
         basis absent the termination of that Order (as defined above, a "Recovery
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                Payment.") However, in no event will a UT Institution be obligated to pay
                Contractor any amounts for anticipatory profits associated with any such
                terminated Orders, any services that are not rendered by Contractor, or any
                ordered products, goods, or materials that are not delivered by Contractor. Any
                Orders issued to or entered into with Contractor following the date on which
                Contractor receives the University's notice of termination under this Section
                28.5 shall be null and void, and neither Contractor, the University, nor any UT
                Institution shall be bound by or obligated under such Orders.

        28.6    The University may, on written notice to Contractor, terminate the issuance of
                any further Orders to Contractor under this Agreement as of a specified date
                (the "Stop Date"). Upon its receipt of such written notice from the University,
                Contractor shall not accept any Orders issued under this Agreement by any of
                the UT Institutions as of the Stop Date specified in such notice. However,
                termination under this Section 28.6 shall not terminate or otherwise affect any
                Orders that the UT Institutions enter into with Contractor under this Agreement
                prior to the Stop Date; such Orders will continue in effect until they expire or
                are terminated in accordance with the terms and conditions of such Orders or
                this Agreement.

        28.7    In the event of (i) any change in control of, or of a controlling interest in,
                Contractor (such as a sale or transfer of all or a majority of Contractor's assets
                or ownership or control of Contractor's stock or partnership interests) or (ii) the
                insolvency, bankruptcy, or voluntary or involuntary dissolution of Contractor,
                then (a) Contractor must provide the University and all UT Institutions that have
                entered into Orders with written notice of such an event as soon as possible,
                but in no event longer than two (2) days after the occurrence of that event, (b)
                each UT Institution that has entered into an Order may terminate that Order on
                written notice to Contractor, and (c) the University may terminate this
                Agreement and all Orders on written notice to Contractor.

        28.8    Termination under Sections 28.1, 28.2, 28.4, 28.5, 28.6 or 28.7 will not relieve
                Contractor from liability for any default or breach under this Agreement or any
                Order or any other act or omission of Contractor.

        28.9    If Contractor fails to cure any default within thirty (30) days after receiving written
                notice of the default, the University or any UT Institution affected by the default will
                be entitled (but will not be obligated) to cure the default and will have the right to
                offset against all amounts due to Contractor under this Agreement, any and all
                reasonable expenses incurred in connection with the curative actions of the
                University or the UT Institution.

        28.10   In the event that this Agreement or any Order is terminated, then within thirty (30)
                days after termination, Contractor will reimburse University and all affected UT
                Institutions for all fees paid by University and those UT Institutions to Contractor
                that were (a) not eamed by Contractor prior to termination, or (b) for goods or
                services that University did not receive from Contractor prior to termination.

29.     Binding Effect
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        This Agreement and all Orders will be binding upon and inure to the benefit of the parties
        thereto and their respective permitted assigns and successors.

30.     Severability

        In case any provision of this Agreement or any Order will, for any reason, be held invalid or
        unenforceable in any respect, the invalidity or unenforceability will not affect any other
        provision of this Agreement or that Order, and this Agreement or that Order will be
        construed as if the invalid or unenforceable provision had not been included.

31.     Limitation of Liability

        EXCEPT FOR UNIVERSITY'S AND THE UT INSTITUTIONS' OBLIGATIONS TO PAY CONTRACTOR
        CERTAIN FEES AND EXPENSES UNIVERSITY AND THE UT INSTITUTIONS WILL HAVE NO LIABILITY
        TO CONTRACTOR OR TO ANYONE CLAIMING THROUGH OR UNDER CONTRACTOR BY REASON OF
        THE EXECUTION OR PERFORMANCE OF THIS AGREEMENT OR ANY ORDER.

32.     Assignment and Subcontracting

        Except as specifically provided in Exhibit D, Historically Underutilized Business
        Subcontracting Plan ("HSP"), attached and incorporated for all purposes, Contractor's
        interest in this Agreement and all Orders (including Contractor's duties and obligations
        under this Agreement and the Orders, and the fees due to Contractor under this Agreement
        and the Orders) may not be subcontracted, assigned, delegated, or otherwise transferred
        to a third party, in whole or in part, and any attempt to do so will (a) not be binding on
        University or any UT Institution; and (b) be a breach of this Agreement and the Orders for
        which Contractor will be subject to all remedial actions provided by Texas law, including
        Chapter 2161, Government Code, and 34 Texas Administrative Code ("TAC") Sections
        20.101 through 20.108. The benefits and burdens of this Agreement and the Orders are
        assignable by University and the applicable UT Institutions.
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33.     Historically Underutilized Business Subcontracting Plan

        Contractor agrees to use good faith efforts to subcontract the Services in accordance with
        the Historically Underutilized Business Subcontracting Plan ("HSP") (ref. Exhibit D).
        Contractor agrees to maintain business records documenting its compliance with the HSP
        and to submit a monthly compliance report to University and all applicable UT Institutions in
        the format required by Texas Procurement and Support Services Division of the Texas
        Comptroller of Public Accounts or any successor agency (collectively, "TPSS").
        Submission of compliance reports will be required as a condition for payment under this
        Agreement and all Orders. If University or a UT Institution determines that Contractor has
        failed to subcontract as set out in the HSP, University or that UT Institution will notify
        Contractor of any deficiencies and give Contractor an opportunity to submit documentation
        and explain why the failure to comply with the HSP should not be attributed to a lack of
        good faith effort by Contractor. If University or a UT Institution determines that Contractor
        failed to implement the HSP in good faith, University or that UT Institution, in addition to any
        other remedies, may report nonperformance to the TPSS in accordance with 34 TAC
        Sections 20.101 through 20.108. University or that UT Institution may also revoke this
        Agreement or any applicable Orders for breach and make a claim against Contractor.

        33.1    Changes to the HSP. If at any time during the term of this Agreement or an Order,
                Contractor desires to change the HSP, before the proposed changes become
                effective (a) Contractor must comply with 34 TAC Section 20.14; (b) the changes
                must be reviewed and approved by University; and (c) if University approves
                changes to the HSP, this Agreement must be amended in accordance with Section
                22 to replace the HSP with the revised subcontracting plan.

        33.2    Expansion of the Services. If the scope of the Services is expanded through a
                change order or any other amendment, University will determine if the additional
                Services contains probable subcontracting opportunities not identified in the initial
                solicitation for the Services. If University determines additional probable
                subcontracting opportunities exist, Contractor will submit an amended
                subcontracting plan covering those opportunities. The amended subcontracting
                plan must comply with the provisions of 34 TAC Section 20.14 before (a) this
                Agreement or any Order may be amended to include the additional Services; or (b)
                Contractor may perform the additional Services. If Contractor subcontracts any of
                the additional subcontracting opportunities identified by University without prior
                authorization and without complying with 34 TAC Section 20.14, Contractor will be
                deemed to be in breach of this Agreement and all Orders under Section 28 and will
                be subject to any remedial actions provided by Texas law including Chapter 2161,
                Government Code and 34 TAC Section 20.14. University and the UT Institutions
                may report nonperformance under this Agreement or any Order to the TPSS in
                accordance with 34 TAC Sections 20.101 through 20.108.

       33.3     Orders. Before entering into an Order with a UT Institution, the UT Institution's
                HUB Coordinator will determine if the Order contains probable subcontracting
                opportunities. If the UT Institution's HUB Coordinator determines that probable
                subcontracting opportunities exist under that Order, Contractor will submit an
                amended subcontracting plan covering those opportunities. The amended
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               subcontracting plan must comply with the provisions of 34 TAC Section 20.14
               before (a) the Order may be entered into; or (b) Contractor may perform the
               Services under that Order. If Contractor subcontracts any of the additional
               subcontracting opportunities that a UT Institution identifies for an Order without prior
               authorization and without complying with 34 TAC Section 20.14, Contractor will be
               deemed to be in breach of this Agreement and all Orders under Section 28 and will
               be subject to any remedial actions provided by Texas law including Chapter 2161,
               Government Code and 34 TAC Section 20.14. University and the UT Institutions
               may report nonperformance under this Agreement or any Order to the TPSS in
               accordance with 34 TAC Sections 20.101 through 20.108.

34.     Responsibility for Individuals Performing Services; Criminal Background Checks.
        Each individual who is assigned to perform the Services under this Agreement or any
        Order will be an employee of Contractor or an employee of a subcontractor engaged by
        Contractor. Contractor is responsible for the performance of all individuals performing
        the Services under this Agreement and the Orders. Prior to commencing the Services,
        Contractor will (1) provide University with a list ("List") of all individuals who may be
        assigned to perform the Services, and (2) have an appropriate criminal background
        screening performed on all the individuals. Contractor will determine on a case-by-case
        basis whether each individual assigned to perform the Services is qualified to provide
        the services. Contractor will not knowingly assign any individual to provide services on
        University's campus who has a history of criminal conduct unacceptable for a university
        campus or healthcare center, including violent or sexual offenses. Contractor will update
        the List each time there is a change in the individuals assigned to perform the Services.

        Prior to commencing performance of the Services under this Agreement or any Order,
        Contractor will provide University a letter signed by an authorized representative of
        Contractor certifying compliance with this Section. Contractor will provide University an
        updated certification letter each time there is a change in the individuals assigned to
        perform the Services.

35.     Limitations

        THE PARTIES ARE AWARE THAT THERE ARE CONSTITUTIONAL AND STATUTORY LIMITATIONS
        ON THE AUTHORITY OF UNIVERSITY AND THE UT INSTITUTIONS (WHICH ARE STATE AGENCIES)
        TO ENTER INTO CERTAIN TERMS AND CONDITIONS THAT MAY BE A PART OF THIS AGREEMENT
        OR ANY ORDER, INCLUDING THOSE TERMS AND CONDITIONS RELATING TO LIENS ON
        UNIVERSITY OR UT INSTITUTIONAL PROPERTY; DISCLAIMERS AND LIMITATIONS OF
        WARRANTIES; DISCLAIMERS AND LIMITATIONS OF LIABILITY FOR DAMAGES; WAIVERS,
        DISCLAIMERS AND LIMITATIONS OF LEGAL RIGHTS, REMEDIES, REQUIREMENTS AND
        PROCESSES; LIMITATIONS OF PERIODS TO BRING LEGAL ACTION; GRANTING CONTROL OF
        LITIGATION OR SETTLEMENT TO ANOTHER PARTY; LIABILITY FOR ACTS OR OMISSIONS OF THIRD
        PARTIES; PAYMENT OF ATTORNEYS' FEES; DISPUTE RESOLUTION; INDEMNITIES; AND
        CONFIDENTIALITY (COLLECTIVELY, THE "LIMITATIONS"), AND TERMS AND CONDITIONS
        RELATED TO THE liMITATIONS WILL NOT BE BINDING ON UNIVERSITY OR THE UT INSTITUTIONS
        EXCEPT TO THE EXTENT AUTHORIZED BY THE LAWS AND CONSTITUTION OF THE STATE OF
        TEXAS. Neither the execution of the Agreement by the University, the execution of an
        Order by any UT Institution, nor any other conduct, action or inaction of any
        representative of the University or any UT Institution constitutes or is intended to
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                                                                                              11.16.11
        constitute a waiver of the University's, a UT Institution's, or the state's sovereign
        immunity to suit.

36.     Survival of Provisions

        No expiration or termination of this Agreement or any Order will relieve either party of
        any obligations under this Agreement or an Order that by their nature survive such
        expiration or termination.

37.    Relationship of the Parties

        For all purposes of this Agreement and all Orders and notwithstanding any provision of this
        Agreement or any Order to the contrary, Contractor is an independent contractor and is not
        a state employee, partner, joint venturer, or agent of University. Contractor will not bind nor
        attempt to bind University to any agreement or contract. As an independent contractor,
        Contractor is solely responsible for all taxes, withholdings, and other statutory or contractual
        obligations of any sort, including workers' compensation insurance.

38.     External Terms

       This Agreement and each Order entered into under this Agreement completely supplant,
       replace, and override all other terms and conditions or agreements, written or oral,
       concerning Contractor's (i) performance under this Agreement or any Order or (ii)
       provision of goods or services to a UT Institution under this Agreement or any Order
       ("External Terms"). Such External Terms are null and void and will have no effect under
       this Agreement or any Order, regardless of whether any UT Institution or any UT
       Institution employees, contractors, or agents express assent or agreement to such
       External Terms. Such Extemal Terms include any shrinkwrap, clickwrap, browsewrap,
       web-based terms and conditions of use, and any other terms and conditions displayed in
       any format that a UT Institution or its employees, contractors, or agents are required to
       accept and agree to before or in the course of accessing or using any goods or services
       provided by Contractor.

39.    Warranty Against Self-Disabling Codes

       Contractor warrants that the programs it provides to the UT Institutions under Orders
       entered into under this Agreement shall not contain any time-based, activity-based or
       event-based self-disabling codes.

40.    Observance of UT Institution Rules and Regulations

       Contractor agrees that at all times in the course of its performance under an Order that it
       enters into with a UT Institution under this Agreement, Contractor shall cause its
       employees, subcontractors and agents to observe and comply with all rules and
       regulations of that UT Institution, including all such rules and regulations concerning that
       UT Institution's facilities, including but not limited to, rules and regulations related to
       smoking; consideration for students, patients and their families as well as employees;
       and parking and security.
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41.     Right to Protect Information Resource Security

        Each UT Institution reserves the right to change or modify without Contractor's consent
        any information resource, including but not limited to operating systems, hardware,
        and/or network configurations, in order to protect the UT Institution's information
        resources against any security vulnerabilities, unauthorized access, or abuse. In the
        event that Contractor performs maintenance of a UT Institution information resource
        under an Order, Contractor warrants that immediately upon its receipt of any routine
        maintenance and/or notification from that UT Institution or otherwise of a security
        vulnerability in that UT Institution information resource, Contractor will proceed to
        perform maintenance on that UT Institution information resource, which shall include
        Contractor's installation of all operating system and/or application patches and upgrades
        that are necessary to protect such a UT Institution information resou rce against any
        security vulnerabilities and unauthorized access or abuse.

42.     Warranty Against Spyware, Malware, and Collection of Private Information

        Contractor warrants that the products purchased or licensed by the UT Institutions under
        Orders entered into under this Agreement will not

        (a)    contain spyware or malware, or

        (b)    collect and/or distribute information that could be considered private without
               Contractor obtaining the actual express written consent of the actual users who
               are identified by such information and the UT Institution(s) with whom such users
               are associated.

43.     Acceptance and Use of Deliverables

        Any hardware, software, goods, materials, or services provided by Contractor to a UT
        Institution (UDeliverables") will be considered received by that UT Institution upon final
        acceptance of such Deliverables by that UT Institution. Notwithstanding any conflicting
        terms and conditions in this Agreement or any Order entered into under this Agreement,
        a UT Institution may provide the Deliverables to all of its employees, contractors, agents,
        and subcontractors in order to implement and use those Deliverables in accordance with
        the terms of this Agreement and that UT Institution's Orders.

44.     Implementation and/or Maintenance of Information Systems

        Any implementation and/or maintenance of information systems shall be performed in
        accordance with UT Institutional policies and practice standards as defined by the Texas
        Administrative Code. Access to a UT Institution's information resources for remote
        maintenance or repairs by Contractor or other authorized vendors shall be limited to use
        of approved network connectivity access methods of that UT Institution.

45.     INTENTIONALLY DELETED
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46.     University Marks and Content

       Under the Agreement and the Orders, the University and the UT Institutions may provide
       Contractor with the right and license to utilize and display University or UT Institutional
       names, logos, brands, marks, or content (collectively, "University Marks and Content") to
       the extent necessary to include such University Marks and Content in the Services
       provided by Contractor under the Agreement and the Orders, subject to the following:

       (a)    All such uses by Contractor of the University Marks and Content must be
              approved in advance and in writing by University and the applicable UT
              Institutions.

       (b)    All rights to the University Marks and Content shall at all times remain the
              property of the Board of Regents of The University of Texas System, and
              Contractor shall be allowed to use the University Marks and Content only in the
              performance of its obligations under the terms and conditions of, and during the
              existence of, this Agreement and the Orders.

       (c)    Contractor specifically acknowledges that the University Marks and Content and
              all rights therein belong exclusively to University and that the Agreement, other
              than as specifically provided for herein, does not confer upon Contractor any
              other rights, goodwill or other interest in the University Marks and Content.

       (d)    Notwithstanding any other provision of this Agreement or any Order: (i)
              Contractor's use of the University Marks and Content under this Agreement or
              any Order must not state or imply that University or any UT Institution endorses
              Contractor's products or services; (ii) Contractor has no right to use the
              University Marks and Content to promote Contractor's products and services;
              and (iii) Contractor's use of the University Marks and Content must comply with
              the Rules and Regulations and policies of University's Board of Regents, as well
              as all University and UT Institution policies.

       Any use of the University Marks and Content by Contractor other than as permitted in
       this Section must be pursuant to a license issued by the Collegiate Licensing Company
       or any successor identified by University.

47.    State Web Site Requirements
       (a)    Contractor represents and warrants ("EIR Warranty") that the web sites,
              electronic and information resources, and all associated information,
              documentation, and support that it provides to University and the UT Institutions
              under this Agreement (collectively, the "EIRs") comply with the applicable
              requirements set forth in Title 1, Chapters 206 and 213 of the Texas
              Administrative Code (the "State Web Site Requirements", as authorized by
              Chapter 2054, Subchapter M of the Texas Government Code.)
       (b)    To the extent Contractor becomes aware that the EIRs, or any portion thereof, do
              not comply with the EIR Warranty, then Contractor represents and warrants that
              it will, at no cost to University or the UT Institutions, either (1) perform all
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                 necessary remediation to make the EIRs satisfy the EIR Warranty or (2) replace
                 the EIRs with new EIRs that satisfy the EIR Warranty. In the event that
                 Contractor fails or is unable to do so with respect to such an EIR, then the UT
                 Institutions to whom Contractor has provided that EIR may terminate its Orders
                 and Contractor will, within thirty (30) days after the termination date, refund to
                 those UT Institutions all amounts that the UT Institutions have pre-paid to
                 Contractor under those Orders for goods or services that the UT Institutions did
                 not receive from Contractor under those Orders as a result of such termination.
        (c)      Prior to entering into an Order Contractor and the UT Institution under that Order
                 will determine the compliance by all EIRs provided by Contractor under that
                 Order with the EIR Warranty, and in the event that such EIRs are not fully in
                 compliance with the EIR Warranty, then the Order must document such non-
                 compliance and the plan that Contractor will undertake to bring such EIRs into
                 compliance with the EIR Warranty.
        (d)      Additionally, Contractor will on a periodic basis have third party assessments
                 performed addressing the compliance by its EIRs with the State Web Site
                 Requirements. At a minimum, such assessments will be performed annually or
                 within 6 months of a significant release or update of an EIR. In the event that
                 such an assessment identifies non-compliance by any EIRs with the State Web
                 Site Requirements, Contractor will notify the University and the University and
                 Contractor may agree to document a written plan that Contractor will undertake
                 to bring those EIRs into compliance with the EIR Warranty ("EIR Remediation
                 Plan.") Such an EIR Remediation Plan must be executed by authorized officials
                 of both parties and will be incorporated into this Agreement for all purposes once
                 so executed.
48.     Orders
        Contractor agrees that, to the extent authorized by the laws and Constitution of the State
        of Texas, all UT Institutions may enter into Orders with Contractor for Contractor
        products and services under this Agreement, subject to the following: '
        (a)    Compliance with Agreement. By entering into an Order under this Agreement,
               each UT Institution agrees to be solely responsible for complying with all terms
               and conditions of this Agreement (including all terms and conditions applicable to
               the University) which are incorporated into that Order for all purposes. In
               particular, each UT Institution must document in each Order entered into under
               this Agreement the address(es) where Contractor is to send any notices to the
               UT Institution under that Order (see Section 11, "Notices", of this Agreement.)
               However, when a UT Institution enters into an Order with Contractor under this
               Agreement, that UT Institution is entitled to all of the rights and privileges
               accruing or made available to a UT Institution or to University under the terms
               and conditions of this Agreement as incorporated into that Order.
        (b)    Parties to an Order. Each Order that a UT Institution enters into with Contractor
               under this Agreement will be solely between Contractor and that UT Institution.
               No other UT Institution will be a party to that Order or in any way obligated or
               liable under that Order, either to Contractor or to the UT Institution placing that
               Order. No UT Institution will be bound by or obligated under any terms and
               conditions that are agreed to by Contractor and another UT Institution.
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       (c)    Breach or Default by UT Institution. Each UT Institution shall be solely and
              exclusively responsible for any breach or default of its obligations under the
              Orders that it enters into with Contractor under this Agreement (including its
              obligations under the terms and conditions of this Agreement as incorporated into
              each Order). A UT Institution's breach or default of its obligations under an
              Order will not
              (i)     affect the validity of this Agreement with respect to any other UT
                      Institution,
              (ii)    affect the validity of any other Orders entered into with Contractor under
                      this Agreement, or
              (iii)   constitute or be deemed a breach or default by any other UT Institution.
       (d)    Breach or Default by Contractor. A UT Institution will not be obligated or in any
              way responsible to another UT Institution for Contractor's breach of, default
              under, or failure to comply with the terms and conditions set forth in this
              Agreement or in any Order entered into by Contractor and that other UT
              Institution under this Agreement.
       (e)    Termination of Orders. By entering into an Order under this Agreement, each UT
              Institution authorizes the University to terminate this Agreement in its entirety,
              including all of the Orders entered into by that UT Institution with Contractor
              under this Agreement, as more specifically set forth in Sections 28.4 and 28.5 of
              this Agreement. However, the University is not authorized to and will not
              manage, monitor, or terminate a specific Order on behalf of another UT
              Institution. Furthermore, no UT Institution is authorized to manage, monitor, or
              terminate any Orders that another UT Institution enters into with Contractor under
              this Agreement. Notwithstanding any other provision of this Agreement, only the
              University may terminate the entire Agreement under Sections 28.4 and 28.5 of
              this Agreement.
49.    Key Personnel
       The parties acknowledge that Contractor's CEO, President, and CFO ("Key Personnel")
       playa critical role in the performance of Contractor's obligations under this Agreement.
       If there are any changes in Key Personnel, Contractor shall notify University within four
       (4) business days of such changes becoming effective, with such notice describing the
       potential impact or risks, if any, to the University and/or the UT Institutions and
       Contractor's proposed plan to mitigate the impact and risks ("Key Personnel Plan" or
       "Plan"). University shall have four (4) business days after receiving such notice ("Review
       Period") to reasonably object to the Key Personnel Plan. If University does not object
       within the Review Period, University shall be deemed to accept the Plan. If University in
       good faith reasonably objects to the Plan within the Review Period, the Parties shall
       work together in good faith to resolve University's concerns on a mutually agreeable
       basis.
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     University and Contractor have executed and delivered this Agreement to be effective as of the
     Effective Date.


     UNIVERSITY:                                       CONTRACTOR:

     THE UNIVERSITY OF TEXAS                           ACADEMIC PARTNERSHIPS, LLC
     SYSTEM      /

:~ P By:        .~ (,J;ZZ;/                            By:/tUIH
                                                       Name: Michael~. Briskey
  Scott C. Kelley                                      Title: CFO
  Executive Vice Chancellor for Business Affairs


                                                       Attest: --=-_________
                                                                Corporate Secretary

     The following Exhibits are attached to and incorporated into this Agreement for all
     purposes:

     EXHIBIT A -   Services and Pricing
     EXHIBIT B -   RFP
     EXHIBIT C -   Proposal
     EXHIBIT D -   HUB Subcontracting Plan
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                                                                                         11.16.11
                                           EXHIBIT A

                                   SERVICES AND PRICING

A     RFP and Proposal. This Agreement is being entered into as a result of University's RFP
      No. BOR-07-08-11, Selection of Vendor(s) to Provide Online Education Services as set
      forth in Exhibit B (the "RFP"), and Contractor's Proposal in response to the RFP as set
      forth in Exhibit C (the "Proposal"). The terms and conditions of the RFP and the Proposal
      are incorporated into this Agreement for all purposes. This Agreement will control in the
      event of any conflict between this Agreement and the RFP and/or the Proposal.

B.     Services. Section 5 of the RFP and Contractor's responses to that Section 5 in its
       Proposal establish the minimum requirements and specifications for the Services. An
       Order between a UT Institution and Contractor will establish further specifications and
       requirements for the Services.

C.    Pricing and Payment. Contractor's responses in its Proposal to Sections 5.2.5, 5.3.3,
      5.4.6, 5.4.8, 5.4.9, and 6 of the RFP establish the baseline pricing structure that Contractor
      will charge UT Institutions for its performance of the Services under an Order. University
      acknowledges that specific Order pricing will be highly dependent on a number of factors,
      including, but not limited to (1) tuition and fees, (2) program structure such as number of
      start dates, (3) the degree program offered, (4) anticipated demand, (5) state authorization
      secured by UT Institution, and (6) level of faculty and administrative support. Each Order
      will document the specific pricing that Contractor will charge the UT Institution under that
      Order and the terms under which the UT Institution will make payment to Contractor under
      that Order. Such pricing may include Recovery Payments as described in Section 28 in the
      main body of this Agreement. However, in no event will the prices that Contractor charges
      a UT Institution for its performance of the Services under an Order differ from the baseline
      pricing identified above unless agreed to by that UT Institution and documented in that
      Order.

D.    Auxiliary Enterprise. In the event that an Order establishes an auxiliary enterprise
      subject to the requirements of Subchapter C, Chapter 2252, Government Code,
      Contractor and the Customer under that Order will address those requirements in that
      Order.

E.     Epic Learning Management System. Contractor's Proposal offers its Epic learning
       management system to the UT Institutions. If an Order provides for a UT Institution's
       use of the Epic system, then Contractor agrees that

      (1)     the release of any of that UT Institution's information stored or maintained in the
              Epic system to government agencies or other authorities must be managed by
              The University of Texas System Administration,

       (2)    in the event of a security breach involving the Epic system, Contractor's
              technologies and management of the UT Institution's information must allow for
              the investigation of such a breach (including any investigation requested by the
              UT Institution), and if necessary, conduct of a forensic analysis that includes a
              documented chain of custody.
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F.     Securitv of Data Transfers. An Order may require data transfers to be made between
       Contractor and an UT Institution. For example, if a UT Institution does not use
       Contractor's Epic system, daily feeds between Contractor's systems and the UT
       Institution's student information system (SIS) and learning management system (LMS)
       may be required. Furthermore there may be the requirement for the transfer of
       applicant, user, and enrollment data between Contractor and a UT Institution. All such
       data transfers must be encrypted and done in a secure manner and Contractor's servers
       must be housed at a secured data center.

G.     Escrow Account. In creating an Order, Contractor and a Customer may agree to
       establish an escrow account (for example, see Section 4.47 of the RFP.) In such a case,
       Contractor and the Customer under that Order will address the requirements and terms
       and conditions for such an escrow account in the Order.

H.     Information Security Review. Prior to entering into an Order Contractor and the UT
       Institution under that Order will determine if the Order must document any additional
       requirements regarding information security. Contractor will also conduct an annual
       vulnerability test and risk assessment of its Network and the Epic system and provide
       the UT Institutions with the results.
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                            EXHIBITS

                              RFP
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                       REQUEST FOR PROPOSAL



                                        by

               The University of Texas System Administration

                                        for

                       Selection of Vendor(s) to Provide

                          Online Education Services




                            RFP No. BOR-07-08-11




                         Submittal Deadline: August 8, 2011




Issued: July 8, 2011
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                                 SPECIFICATIONS




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                                           SECTION 1

                                        INTRODUCTION


1.1    Description of the University

       The University of Texas System (also referred to herein as the “University” or “UT
       System”) is the largest system of public higher education in Texas.

       In 1881, the Texas State Legislature established the “Main University,” now known as
       The University of Texas at Austin, and a medical school, now known as The University
       of Texas Medical Branch at Galveston. From these origins, The UT System has grown
       to include 15 educational institutions and employ more than 84,000 faculty and staff
       employees. The UT System’s budget for FY 2010 was almost $11.9 billion. Rich in
       heritage and tradition, the UT System currently provides instruction to more than
       202,000 students and is a national leader in various research endeavors.

       UT System encompasses a diverse community of institutions including major research
       universities, comprehensive academic universities, upper level institutions,
       comprehensive health science institutions and specialized hospitals – all of which are
       highly complex organizations. The “UT Institutions” and their locations are as follows:

          The 9 general academic institutions included in UT System (the “UT Academic
           Institutions”) are located in the following Texas cities: Arlington, Austin, Brownsville,
           Dallas, Edinburg (UT Pan American), El Paso, Odessa (UT Permian Basin), San
           Antonio and Tyler.

          The 6 health science institutions included in UT System (the “UT Health Science
           Institutions”) are located in the following Texas cities: Dallas, Galveston, Houston
           (UT Health Science Center - Houston and UT M. D. Anderson Cancer Center), San
           Antonio and Tyler.

          Finally, UT System’s administrative offices (“UT System Administration”) are
           located in Austin, Texas.

1.2    Objective of this Request for Proposal

       The University of Texas System Administration (“University”) is soliciting proposals in
       response to this Request for Proposal No. BOR-07-08-11 (“RFP”) from qualified persons
       and entities (“Proposers”) in order for the University to enter into non-exclusive
       agreements (“Agreements”) with one or more vendors (“Contractors”) for the services
       set forth in Section 5 (the “Services”). The Services include the provision of web-based
       applications and associated services in support of the UT Institutions implementation of
       online education courses in which students may register, attend, and participate and
       receive degree credit for satisfactorily completion of such courses.




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                                            SECTION 2

                                     NOTICE TO PROPOSER


2.1    Submittal Deadline

       University will accept proposals submitted in response to this RFP until
       3:00 p.m., Central Prevailing Time on Monday, August 8, 2011 (the “Submittal
       Deadline”).

2.2    University Contact Person

       Proposers will direct all questions or concerns regarding this RFP to the following
       University contact (the “University Contact”):

                         Scott Patterson
                         The University of Texas System
                         201 West 7th Street
                         Austin, Texas 78701

       University specifically instructs all interested parties to restrict all contact and questions
       regarding this RFP to written communications forwarded to the University Contact. The
       University Contact must receive all questions or concerns no later than July 28, 2011.
       University will have a reasonable amount of time to respond to questions or concerns. It
       is University’s intent to respond to all appropriate questions and concerns; however,
       University reserves the right to decline to respond to any question or concern.

2.3    Criteria for Selection

       The successful Proposer, if any, selected by University in accordance with the
       requirements and specifications set forth in this RFP will be the Proposer that submits a
       proposal in response to this RFP on or before the Submittal Deadline that is the most
       advantageous to University. The successful Proposer is referred to as the “Contractor.”

       Proposer is encouraged to propose terms and conditions offering the maximum benefit
       to University in terms of (1) services to University, (2) total overall cost to University, and
       (3) project management expertise. Proposers should describe all educational, state and
       local government discounts, as well as any other applicable discounts that may be
       available to University in a contract for the Services.

       An evaluation team from University will evaluate proposals. The evaluation of proposals
       and the selection of Contractor will be based on the information provided by Proposer in
       its proposal. University may give consideration to additional information if University
       deems such information relevant.

       The criteria to be considered by University in evaluating proposals and selecting
       Contractor, will be those factors listed below:

       2.3.1   Threshold Criteria Not Scored

               2.3.1.1    Ability of University to comply with laws regarding Historically
                          Underutilized Businesses; and

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               2.3.1.2   Ability of University to comply with laws regarding purchases from
                         persons with disabilities.

       2.3.2   Scored Criteria
               2.3.2.1 the cost of goods and services;
               2.3.2.2 the reputation of the Proposer and of the Proposer's goods or services;
               2.3.2.3 the quality of the Proposer's goods or services;
               2.3.2.4 the extent to which the goods or services meet the University's needs;
               2.3.2.5 the Proposer's past relationship with the University;
               2.3.2.6 the total long-term cost to the University of acquiring the Proposer's
                       goods or services;
               2.3.2.7 the Proposer’s exceptions to the terms and conditions set forth in
                       Section 4 of this RFP;
               2.3.2.8 the Proposer’s proposed contract terms and conditions (ref. Section
                       5.3.2 of this RFP); and
               2.3.2.9 the Proposer’s responses and information provided at any oral
                       presentations, face-to-face interviews, discussions, or negotiations
                       conducted with Proposer (ref. Section 2.7 and Section 1.5 of
                       APPENDIX ONE to this RFP).

2.4    Key Events Schedule

       Issuance of RFP                               July 8, 2011

       Pre-Proposal Conference                       July 26, 2011
       (ref. Section 2.6 of this RFP)

       Deadline for Questions/Concerns               July 28, 2011
       (ref. Section 2.2 of this RFP)

       Submittal Deadline                            3:00 p.m. Central Prevailing
       (ref. Section 2.1 of this RFP)                Time on Monday, August 8, 2011

2.5    Historically Underutilized Businesses

       2.5.1   All agencies of the State of Texas are required to make a good faith effort to
               assist historically underutilized businesses (each a “HUB”) in receiving contract
               awards. The goal of the HUB program is to promote full and equal business
               opportunity for all businesses in contracting with state agencies. Pursuant to the
               HUB program, if under the terms of any agreement or contractual arrangement
               resulting from this RFP, Contractor subcontracts any of the Services, then
               Contractor must make a good faith effort to utilize HUBs certified by the Texas
               Procurement and Support Services Division of the Texas Comptroller of Public
               Accounts or any successor agency. Proposals that fail to comply with the
               requirements contained in this Section 2.5 will constitute a material failure to
               comply with advertised specifications and will be rejected by the University as
               non-responsive. Additionally, compliance with good faith effort guidelines is a
               condition precedent to awarding any agreement or contractual arrangement
               resulting from this RFP. Proposer acknowledges that, if selected by University,
               its obligation to make a good faith effort to utilize HUBs when subcontracting any
               of the Services will continue throughout the term of all agreements and
               contractual arrangements resulting from this RFP.               Furthermore, any
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         subcontracting of the Services by the Proposer is subject to review by the
         University to ensure compliance with the HUB program.

 2.5.2   The University has reviewed this RFP in accordance with Title 34, Texas
         Administrative Code, Section 20.13 (a), and has determined that subcontracting
         opportunities are probable under this RFP. As stated in University’s Policy on
         Utilization of Historically Underutilized Businesses attached as APPENDIX TWO
         and incorporated for all purposes, the HUB goal for this RFP is 33% (Other
         Services Contracts).

 2.5.3   A HUB Subcontracting Plan (“HSP”) is required as part of Proposer’s proposal.
         The HSP will be developed and administered in accordance with University’s
         Policy on Utilization of Historically Underutilized Businesses attached as
         APPENDIX TWO.

         Each Proposer must complete and return the HSP in accordance with the terms
         and conditions of this RFP, including APPENDIX TWO. Proposers that fail to do
         so will be considered non-responsive to this RFP in accordance with Section
         2161.252, Government Code.

         Questions regarding the HSP should be directed to:

                   Contact:      Stephanie Park
                                 HUB Coordinator
                   Phone:        512 499-4378
                   Email:        spark@utsystem.edu

         Contractor will not be permitted to change its HSP unless: (1) Contractor
         completes a newly modified version of the HSP in accordance with the terms of
         APPENDIX TWO that sets forth all changes requested by Contractor, (2)
         Contractor provides the University with such a modified version of the HSP, (3)
         the University approves the modified HSP in writing, and (4) all agreements or
         contractual arrangements resulting from this RFP are amended in writing by the
         University and Contractor to conform to the modified HSP.

 2.5.4   Proposer must submit three (3) originals of the HSP to the University at the same
         time it submits its proposal to the University (ref. Section 3.2 of this RFP.) The
         three (3) originals of the HSP must be submitted under separate cover and in a
         separate envelope (the “HSP Envelope”). Proposer must ensure that the top
         outside surface of its HSP Envelope clearly shows and makes visible:

         2.5.4.1    the RFP No. (ref. Section 1.2 of this RFP) and the Submittal Deadline
                    (ref. Section 2.1 of this RFP), both located in the lower left hand corner
                    of the top surface of the envelope,

         2.5.4.2    the name and the return address of the Proposer, and

         2.5.4.3    the phrase “HUB Subcontracting Plan”.

         Any proposal submitted in response to this RFP that is not accompanied by a
         separate HSP Envelope meeting the above requirements will be rejected by the
         University and returned to the Proposer unopened as that proposal will be
         considered non-responsive due to material failure to comply with advertised
         specifications. Furthermore, the University will open a Proposer’s HSP Envelope
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              prior to opening the proposal submitted by the Proposer, in order to ensure that
              the Proposer has submitted the number of completed and signed originals of the
              Proposer’s HSP that are required by this RFP. A Proposer’s failure to submit the
              number of completed and signed originals of the HSP that are required by this
              RFP will result in the University’s rejection of the proposal submitted by that
              Proposer as non-responsive due to material failure to comply with advertised
              specifications; such a proposal will be returned to the Proposer unopened. (Ref.
              Section 1.5 of Appendix One to this RFP.) Note: The requirement that
              Proposer provide three originals of the HSP under this Section 2.5.4 is separate
              from and does not affect Proposer’s obligation to provide the University with the
              number of copies of its proposal as specified in Section 3.1 of this RFP.

2.6    Pre-Proposal Conference

       University will hold a pre-proposal conference at 2:00 p.m., Central Prevailing Time on
       Tuesday, July 26, 2011 in Room 208 of the Ashbel Smith Building, 201 West 7th Street,
       Austin, Texas 78701. The pre-proposal conference will allow all Proposers an
       opportunity to ask University’s representatives relevant questions and clarify provisions
       of this RFP.

       A map of the UT System complex setting forth the Ashbel Smith Building and parking
       information is available at http://www.utsystem.edu/contact/areaparkingoptions.htm.

2.7    Proposer Presentations, Discussions, and Negotiations

       As noted in Section 1.5 of Appendix One, the University reserves the right to invite
       Proposers to participate in oral presentations, face-to-face interviews, discussions, or
       negotiations.




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                                           SECTION 3

                                   SUBMISSION OF PROPOSAL


3.1    Number of Copies

       Proposer must submit a total of fifteen (15) complete and identical copies of its entire
       proposal. An original signature by an authorized officer of Proposer must appear on the
       Execution of Offer (ref. Section 2 of APPENDIX ONE) of at least one (1) copy of the
       submitted proposal. The copy of the Proposer’s proposal bearing an original signature
       should contain the mark “original” on the front cover of the proposal.

3.2    Submission

       Proposals must be received by University on or before the Submittal Deadline (ref.
       Section 2.1 of this RFP) and should be delivered to:

                      Jenny Murphy
                      Director of Accounting & Purchasing Services
                      The University of Texas System
                      702 Colorado Street, Suite 3.210
                      Austin, Texas 78701

3.3    Proposal Validity Period

       Each proposal must state that it will remain valid for University’s acceptance for a
       minimum of one hundred and twenty (120) days after the Submittal Deadline, to allow
       time for evaluation, selection, and any unforeseen delays.

3.4    Terms and Conditions

       3.4.1   Proposer must comply with the requirements and specifications contained in this
               RFP, the Terms and Conditions (ref. Section 4 of this RFP), the Notice to
               Proposer (ref. Section 2 of this RFP), Proposal Requirements (ref. APPENDIX
               ONE) and the Specifications; Required Information and Questions (ref. Section 5
               of this RFP). If there is a conflict among the provisions in this RFP, the provision
               requiring Proposer to supply the better quality or greater quantity of services will
               prevail, or if such conflict does not involve quality or quantity, then interpretation
               will be in the following order of precedence:

                        3.4.1.1.      Specifications; Required Information and Questions (ref.
                                      Section 5 of this RFP);

                        3.4.1.2.      Terms and Conditions (ref. Section 4 of this RFP);

                        3.4.1.3.      Proposal Requirements (ref. APPENDIX ONE);

                        3.4.1.4.      Notice to Proposers (ref. Section 2 of this RFP).




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3.5    Submittal Checklist

       Proposer is instructed to complete, sign, and return the following documents as a part of
       its proposal. If Proposer fails to return each of the following items with its proposal, then
       University may reject the proposal:

       3.5.1   Signed and Completed Execution of Offer (ref. Section 2 of APPENDIX ONE)

       3.5.2   Signed and Completed Pricing and Delivery Schedule (ref. Section 6 of this
               RFP)

       3.5.3   Responses to Proposer's General Questionnaire (ref. Section 3 of APPENDIX
               ONE)

       3.5.4   Signed and Completed Addenda Checklist (ref. Section 4 of APPENDIX ONE)

       3.5.5   Responses to questions and requests for information in the Specifications;
               Required Information and Questions Section (ref. Section 5 of this RFP)

       3.5.6   Signed and completed originals of the HUB Subcontracting Plan (ref. Section 2.5
               of this RFP and APPENDIX TWO).




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                                           SECTION 4

                            GENERAL TERMS AND CONDITIONS


4.1    General

       The terms and conditions contained in this Section 4 or, in the sole discretion of
       University, terms and conditions substantially similar to these terms and conditions, will
       be included in any contract or agreement that results from this RFP (ref. Section 1.4 of
       APPENDIX ONE). If Proposer takes exception to any terms or conditions set forth in this
       Section 4, Proposer will submit a list of the exceptions as part of its proposal in
       accordance with Section 5.3.1 of this RFP. Proposer’s exceptions will be reviewed by
       University and may result in disqualification of Proposer’s proposal as non-responsive to
       this RFP. If Proposer’s exceptions do not result in disqualification of Proposer’s
       proposal, then University may consider Proposer’s exceptions when University evaluates
       the Proposer’s proposal.

       As indicated in Section 2.3 of this RFP, the successful Proposer is referred to as the
       “Contractor.” The “UT Institutions” are defined in Section 1.1 of this RFP.

4.2    Term, Orders, and Payment

       The term of this Agreement will begin on the Effective Date and expire on the 1st
       anniversary of the Effective Date. University will have the option to renew this Agreement
       for four (4) additional one (1) year terms. Such an initial term and all renewal terms are
       collectively referred to as the “Term.”

       A UT Institution can obtain the services set forth in this Agreement (the “Services”) from
       a Contractor by entering into a written order with that Contractor (an “Order”). All of the
       terms and conditions of this Agreement are incorporated into each Order between
       Contractor and a UT Institution. Contractor will provide all Services identified in an
       Order in accordance with the terms and conditions of this Agreement and that Order. In
       the event of any conflict between an Order and this Agreement, this Agreement will
       control. Provided, however, a UT Institution and Contractor may agree to include
       additional business terms and conditions in an Order to further specify or clarify the
       Services provided under that Order or to provide more beneficial pricing than that set
       forth in this Agreement.

       Contractor and a UT Institution can enter into an Order at any time during the Term.
       Such an Order shall specify the term during which Contractor will perform Services
       under that Order (“Order Term”) as well as identify specific terms and conditions related
       to the Services to be provided by Contractor to the UT Institution under that Order. To
       the extent that this Agreement expires or terminates prior to the end of an Order Term
       for an Order, then that Order will survive any such termination or expiration of the
       Agreement and the terms and conditions of this Agreement will continue to be
       incorporated for all purposes into that Order throughout its Order Term.

       The UT Institutions will pay any fees due to Contractor under the Orders entered into
       under this Agreement in accordance with the Texas Prompt Payment Act (“Act”),
       Chapter 2251, Government Code. Pursuant to the Act, payment shall be deemed late on
       the 31st day after the later of: 1) the date the performance of the Services under this
       Agreement are completed, or 2) the date University receives an invoice for the Services.
       University will be responsible for interest on overdue payments equal to the sum of: 1)
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       one percent, plus 2) the prime rate as published in the Wall Street Journal on the first
       day of July of the preceding fiscal year (University’s fiscal year begins September 1)
       that does not fall on a Saturday or Sunday. University will have the right to verify the
       details set forth in Contractor's invoices and supporting documentation, either before or
       after payment, by (a) inspecting the books and records of Contractor at mutually convenient
       times; (b) examining any reports with respect to this Agreement or any Orders; and (c)
       other reasonable action. The cumulative amount of all payments made by a UT Institution
       under an Order will not exceed any Contract Amount defined in that Order. Contractor
       understands and agrees that payments under this Agreement may be subject to the
       withholding requirements of Section 3402(t) of the Internal Revenue Code.

       In the event of any conflict concerning prices, fees, costs, or amounts between or within this
       Agreement, an Order entered into under this Agreement, or an invoice or quote associated
       with an Order, a UT Institution will only be obligated to pay the lesser price, fee, cost, or
       amount notwithstanding any such conflict. Each UT Institution will only be obligated to pay
       Contractor any amounts provided for in the Orders that are entered into between
       Contractor and that UT Institution (including any amounts required by the terms and
       conditions of this Agreement as incorporated into such Orders.) In no event will a UT
       Institution be responsible for paying Contractor under any of the Orders that Contractor
       enters into with other UT Institutions.

       These terms and conditions regarding payment will control over any other payment
       provisions set forth in any Order entered into under this Agreement.

       Contractor understands and agrees that:

       (1)    despite entering into this Agreement with the University, neither the University
              nor any of the UT Institutions represents, warrants, guarantees, or has any
              obligation to enter into an Order to obtain Services from Contractor,

       (2)    this Agreement is non-exclusive and the University and the UT Institutions
              reserve the right to obtain the Services from any other person or entity at their
              sole discretion,

       (3)    it will not receive any payment or other compensation under this Agreement
              unless it (1) enters into an Order with a UT Institution and (2) performs Services
              under such an Order in accordance with the terms and conditions of that Order
              and its Agreement.

4.3    Tax Exemption

       University and all UT Institutions, as agencies of the State of Texas, are exempt from
       Texas Sales & Use Tax on the Services in accordance with Section 151.309, Tax Code,
       and Title 34 Texas Administrative Code (“TAC”) Section 3.322.

4.4    Prompt Payment Discount

       Notwithstanding any other provision of this Agreement, each UT Institution that enters into
       an Order with Contractor is entitled to a “Prompt Payment Discount” of ____% off of each
       payment that the UT Institution submits within ____ days after the UT Institution’s receipt of
       Contractor’s invoice for that payment. [NOTE: To be completed based on the proposal
       of the successful Proposer(s); ref. Section 6.3]


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4.5    Contractor's Obligations.

       4.5.1   Contractor will perform the Services in compliance with all applicable federal, state
               and local, laws, regulations, and ordinances. Contractor represents and warrants
               that neither Contractor nor any firm, corporation or institution represented by
               Contractor, or anyone acting for the firm, corporation or institution, (1) has
               violated the antitrust laws of the State of Texas, Chapter 15, Business and
               Commerce Code, or federal antitrust laws, or (2) has communicated directly or
               indirectly the content of Contractor’s response to University’s procurement
               solicitation to any competitor or any other person engaged in a similar line of
               business during the procurement process for this Agreement.

       4.5.2   Contractor represents, warrants and agrees that (a) it will use its best efforts to
               perform the Services in a good and workmanlike manner and in accordance with
               the highest standards of Contractor’s profession or business, and (b) all of the
               Services to be performed will be of the quality that prevails among similar
               businesses of superior knowledge and skill engaged in providing similar services in
               major United States urban areas under the same or similar circumstances.

       4.5.3   Contractor will call to the attention of the University and any UT Institution in writing
               all information in any materials supplied to Contractor (by University, that UT
               Institution, or any other party) that Contractor regards as unsuitable, improper or
               inaccurate in connection with the purposes for which the material is furnished.

       4.5.4   Contractor warrants and agrees that the Services will be accurate and free from any
               material defects. Contractor's duties and obligations under this Agreement and all
               Orders will at no time be in any way diminished by reason of any approval by
               University or any UT Institution nor will Contractor be released from any liability by
               reason of any approval by University or UT Institution, it being agreed that
               University and the UT Institutions are at all times relying upon Contractor's skill and
               knowledge in performing the Services.

       4.5.5   Contractor will, at its own cost, correct all material defects in the Services as soon
               as practical after Contractor becomes aware of the defects. If Contractor fails to
               correct material defects in the Services within a reasonable time, then University or
               a UT Institution may correct the defective Services at Contractor’s expense. This
               remedy is in addition to, and not in substitution for, any other remedy for defective
               Services that University or a UT Institution may have at law or in equity.

       4.5.6   Contractor will maintain a staff of properly trained and experienced personnel to
               ensure satisfactory performance under this Agreement. Contractor will cause all
               persons connected with Contractor directly in charge of the Services to be duly
               registered and/or licensed under all applicable federal, state and local, laws,
               regulations, and ordinances. Contractor will assign to this Agreement a designated
               representative who will be responsible for the administration and coordination of the
               Services. Contractor will furnish efficient business administration and coordination
               and perform the Services in an expeditious and economical manner consistent with
               the interests of University and the UT Institutions.

       4.5.7   Contractor represents that if (i) it is a corporation, then it is a corporation duly
               organized, validly existing and in good standing under the laws of the State of
               Texas, or a foreign corporation or limited liability company duly authorized and in
               good standing to conduct business in the State of Texas, that it has all necessary
               corporate power and has received all necessary corporate approvals to execute
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         and deliver this Agreement, and the individual executing this Agreement on behalf
         of Contractor has been duly authorized to act for and bind Contractor; or (ii) if it is a
         partnership, limited partnership, limited liability partnership, or limited liability
         company then it has all necessary power and has secured all necessary approvals
         to execute and deliver this Agreement and perform all its obligations hereunder, and
         the individual executing this Agreement on behalf of Contractor has been duly
         authorized to act for and bind Contractor.

 4.5.8   Contractor represents and warrants that neither the execution and delivery of this
         Agreement or any Orders by Contractor nor the performance of its duties and
         obligations under this Agreement or any Orders will (a) result in the violation of any
         provision [i] if a corporation, of Contractor’s articles of incorporation or by-laws, [ii] if
         a limited liability company, of its articles of organization or regulations, or [iii] if a
         partnership, of any partnership agreement by which Contractor is bound; (b) result
         in the violation of any provision of any agreement by which Contractor is bound; or
         (c) to the best of Contractor's knowledge and belief, conflict with any order or
         decree of any court or other body or authority having jurisdiction.

 4.5.9   Contractor represents and warrants that all of Contractor’s Personnel contributing to
         the Work Material (ref. Section 4.27) under this Agreement will be required to (i)
         acknowledge in writing the ownership of Contractor (for the benefit of University) of
         the Work Material and each element thereof produced by the Personnel while
         performing services pursuant to this Agreement and (ii) make all assignments
         necessary to effectuate such ownership. “Personnel” means any and all persons
         associated with Contractor who provide any work or work product pursuant to this
         Agreement, including officers, managers, supervisors, full-time employees, part-
         time employees, and independent contractors.

 4.5.10 Contractor represents and warrants that: (i) the Services will be performed solely by
        Contractor, its full-time or part-time employees during the course of their
        employment, or independent contractors who have assigned in writing all right, title
        and interest in their work to Contractor for the benefit of University; (ii) University will
        receive free, good and clear title to all Work Material developed under this
        Agreement; (iii) the Work Material and the intellectual property rights protecting the
        Work Material are free and clear of all encumbrances, including security interests,
        licenses, liens, charges or other restrictions; (iv) the Work Material will not infringe
        upon or violate any patent, copyright, trade secret, trademark, service mark or other
        property right of any former employer, independent contractor, client or other third
        party; and (v) the use, reproduction, distribution, or modification of the Work
        Material will not violate the rights of any third parties in the Work Material, including
        trade secret, publicity, privacy, copyright, trademark, service mark and patent rights.

 4.5.11 If this Agreement requires Contractor’s presence on University's premises or in
        University’s facilities, Contractor agrees to cause its representatives, agents,
        employees and subcontractors to become aware of, fully informed about, and in
        full compliance with all applicable University rules and policies, including those
        relative to personal health, security, environmental quality, safety, fire prevention,
        noise, smoking, and access restrictions.




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4.6    Auxiliary Enterprise.

       Contractor, at its sole cost and expense, will comply with all requirements of Subchapter
       C, Chapter 2252, Government Code, including the provision of financial statements,
       payment statements derived from sales tax reports, and bonds.

       4.6.1   In accordance with Section 2252.062, Government Code, Contractor will submit
               to University two (2) copies of Contractor’s most recent financial statement
               prepared by a certified public accountant on the Effective Date.

       4.6.2   In accordance with Section 2252.063, Government Code, Contractor will submit
               to University, no later than the 15th day after the end of each contract year, an
               annual payment statement derived from all of Contractor’s sales tax reports for
               its operations during the preceding contract year. The annual payment statement
               must be certified by a certified public accountant licensed in the State of Texas.
               “Contract year” means that period of time beginning on the Effective Date and
               ending __________, 20____ [Note: Date to be completed during contract
               negotiations.] and each twelve (12) month period thereafter, during the term of
               this Agreement.

       4.6.3   In accordance with Section 2252.064, Government Code, Contractor will provide
               University with a performance bond for each contract year during the term of this
               Agreement. The amount of the performance bond for the first contract year
               during the term of this Agreement will be equal to __________
               ($____________). [Note: Amount to be completed during contract
               negotiations.] The performance bond will be issued by a surety company
               authorized to do business in the State of Texas and acceptable to University in
               all respects. The performance bond will be made payable to University and
               conditioned upon the prompt and faithful performance of the Services and all of
               Contractor’s other duties and obligations under this Agreement.

4.7    Family Code Child Support Certification

       Pursuant to Section 231.006, Family Code, Contractor certifies that it is not ineligible to
       receive the award of or payments under this Agreement or any Orders and
       acknowledges that this Agreement or any Order may be terminated and payment may be
       withheld if this certification is inaccurate.

4.8    Eligibility Certifications

       Pursuant to Sections 2155.004 and 2155.006, Government Code, Contractor certifies
       that Contractor is not ineligible to receive the award of or payments under this
       Agreement or any Orders and acknowledges that this Agreement and/or any Order may
       be terminated and payment withheld if these certifications are inaccurate.

4.9    Tax Certification

       If Contractor is a taxable entity as defined by Chapter 171, Tax Code (“Chapter 171”),
       then Contractor certifies that it is not currently delinquent in the payment of any taxes
       due under Chapter 171, or that Contractor is exempt from the payment of those taxes, or
       that Contractor is an out-of-state taxable entity that is not subject to those taxes,
       whichever is applicable.


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4.10    Payment of Debt or Delinquency to the State

        Pursuant to Sections 2107.008 and 2252.903, Government Code, Contractor agrees
        that any payments owing to Contractor under this Agreement or any Orders may be
        applied directly toward any debt or delinquency that Contractor owes the State of Texas
        or any agency of the State of Texas regardless of when it arises, until such debt or
        delinquency is paid in full.

4.11    Products and Materials Produced in Texas

        If Contractor will provide services under this Agreement, Contractor covenants and
        agrees that in accordance with Section 2155.4441, Government Code, in performing its
        duties and obligations under this Agreement or any Orders, Contractor shall purchase
        products and materials produced in Texas when such products and materials are
        available at a price and delivery time comparable to products and materials produced
        outside of Texas.

4.12    Loss of Funding

        Performance by each UT Institution under the Orders that the UT Institution enters into
        with Contractor under this Agreement may be dependent upon the appropriation and
        allotment of funds by the Texas State Legislature (the “Legislature”) and/or allocation of
        funds by the Board of Regents of The University of Texas System (the “Board”).

        If the Legislature fails to appropriate or allot the necessary funds for an Order, or if the
        Board fails to allocate the necessary funds for an Order (a “Non-Funded Order”) then the
        UT Institution that is a party to that Non-Funded Order shall issue written notice to
        Contractor and the UT Institution may terminate their further participation under the Non-
        Funded Order without further duty or obligation under that Order. Provided, however,
        that such termination of a Non-Funded Order shall not terminate or otherwise affect any
        other Orders entered into under this Agreement.

        Contractor acknowledges that appropriation, allotment, and allocation of funds are
        beyond the control of University and the UT Institutions.

4.13    Notices

        Except as otherwise provided in this Section, all notices, consents, approvals, demands,
        requests or other communications provided for or permitted to be given under any of the
        provisions of this Agreement or any Orders will be in writing and will be sent via
        registered or certified mail, overnight courier, confirmed facsimile transmission (to the
        extent a facsimile number is set forth below), or email (to the extent an email address is
        set forth below), and notice will be deemed given (i) if mailed, when deposited, postage
        prepaid, in the United States mail, (ii) if sent by overnight courier, one business day after
        delivery to the courier, (iii) if sent by facsimile (to the extent a facsimile number is set
        forth below), when transmitted, and (iv) if sent by email (to the extent an email address is
        set forth below), when received:

           (1)     If to University:   Dr. Scott C. Kelley
                                       Executive Vice Chancellor for Business Affairs
                                       The University of Texas System
                                       201 West 7th Street
                                       Austin, Texas 78701-2982

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              (2)      If to Contractor:   _________________________
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                                           _________________________
                                           Attention: _________________

              (3)      If to a UT Institution other than the University, then at the address(es) for that UT
                       Institution as set forth in that UT Institution’s Order(s)

        or other person or address as may be given in writing by either party to the other in
        accordance with this Section.

        Notwithstanding any other requirements for notices given by a party under this
        Agreement or any Orders, if Contractor intends to deliver written notice pursuant to
        Section 2251.054, Government Code concerning an Order

        (1)         to the University, then Contractor shall send that notice to the University as
                    follows:

                                    Dr. Scott C. Kelley
                                    Executive Vice Chancellor for Business Affairs
                                    The University of Texas System
                                    201 West 7th Street
                                    Austin, Texas 78701-2982
                                    Fax: (512) 499-4289
                                    Email: LegalNotices@utsystem.edu

                    or such other person or address as may be given in writing by the University to
                    Contractor in accordance with the requirements for notices set forth above; or

        (2)         to a UT Institution other than the University, then Contractor shall send that notice to
                    the UT Institution at the address set forth in the Order or to such other person or
                    address as may be given in writing by that UT Institution to Contractor in
                    accordance with the requirements for notices set forth above.

4.14    State Auditor’s Office

        Contractor understands that acceptance of funds under this Agreement and all Orders
        constitutes acceptance of the authority of the Texas State Auditor's Office, or any
        successor agency (collectively, “Auditor”), to conduct an audit or investigation in
        connection with those funds pursuant to Sections 51.9335(c), 73.115(c) and 74.008(c),
        Education Code. Contractor agrees to cooperate with the Auditor in the conduct of the
        audit or investigation including providing all records requested. Contractor will include
        this provision in all contracts with permitted subcontractors.

4.15    Venue; Governing Law

        Travis County, Texas, shall be the proper place of venue for suit on or in respect of this
        Agreement and all Orders. This Agreement, all Orders, and all of the rights and
        obligations of the parties thereto and all of the terms and conditions thereof shall be
        construed, interpreted and applied in accordance with and governed by and enforced
        under the laws of the State of Texas.



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4.16    Breach of Contract Claims

        4.16.1 To the extent that Chapter 2260, Government Code, as it may be amended from
               time to time ("Chapter 2260"), is applicable to this Agreement or any Order and
               is not preempted by other applicable law, the dispute resolution process provided
               for in Chapter 2260 will be used, as further described herein, by University and
               Contractor to attempt to resolve any claim for breach of contract made by
               Contractor:

               4.16.1.1 Contractor’s claims for breach of this Agreement or any Order that the
                        parties cannot resolve pursuant to other provisions of this Agreement or
                        in the ordinary course of business will be submitted to the negotiation
                        process provided in subchapter B of Chapter 2260. To initiate the
                        process, Contractor will submit written notice, as required by subchapter
                        B of Chapter 2260, to University and all applicable UT Institutions in
                        accordance with the notice provisions in this Agreement. Contractor's
                        notice will specifically state that the provisions of subchapter B of
                        Chapter 2260 are being invoked, the date and nature of the event giving
                        rise to the claim, the specific contract provision that University or the UT
                        Institution(s) allegedly breached, the amount of damages Contractor
                        seeks, and the method used to calculate the damages. Compliance by
                        Contractor with subchapter B of Chapter 2260 is a required prerequisite
                        to Contractor's filing of a contested case proceeding under subchapter
                        C of Chapter 2260. The Chief Business Officer of University, or another
                        officer of University as may be designated from time to time by
                        University by written notice thereof to Contractor in accordance with the
                        notice provisions in this Agreement, will examine Contractor's claim and
                        any counterclaim and negotiate with Contractor in an effort to resolve
                        the claims.

               4.16.1.2 If the parties are unable to resolve their disputes under Section
                        4.16.1.1, the contested case process provided in subchapter C of
                        Chapter 2260 is Contractor’s sole and exclusive process for seeking a
                        remedy for any and all of Contractor's claims for breach of this
                        Agreement by University or any UT Institution.

               4.16.1.3 The parties hereto specifically agree that (i) neither the execution of this
                        Agreement, the execution of any Order under this Agreement, nor any
                        other conduct, action or inaction of any representative of the University
                        or any UT Institution relating to this Agreement or any Order constitutes
                        or is intended to constitute a waiver of the University's, any UT
                        Institution’s, or the state's sovereign immunity to suit and (ii) neither the
                        University nor any UT Institution has waived its right to seek redress in
                        the courts.

        4.16.2 The submission, processing and resolution of Contractor’s claim is governed by
               the published rules adopted by the Texas Attorney General pursuant to Chapter
               2260, as currently effective, thereafter enacted or subsequently amended.

        4.16.3 The University, the UT Institutions, and Contractor agree that any periods set
               forth in this Agreement for notice and cure of defaults are not waived.



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4.17    Compliance with Law

        Contractor will perform the Services in compliance with all applicable federal, state and
        local, laws, regulations, and ordinances. Contractor represents and warrants that neither
        Contractor nor any firm, corporation or institution represented by Contractor, or anyone
        acting for the firm, corporation or institution, (1) has violated the antitrust laws of the
        State of Texas, Chapter 15, Business and Commerce Code, or federal antitrust laws, or
        (2) has communicated directly or indirectly the content of Contractor’s response to
        University’s procurement solicitation to any competitor or any other person engaged in a
        similar line of business during the procurement process for this Agreement.

4.18    Records

        Records of Contractor's costs, any reimbursable expenses pertaining to the Services and
        payments will be available to University, the applicable UT Institutions, or their authorized
        representatives during business hours and will be retained for four (4) years after final
        payment or abandonment of the Services, unless University otherwise instructs Contractor
        in writing.

4.19    Insurance.

        4.19.1 Contractor, consistent with its status as an independent contractor will carry and
               will cause its subcontractors to carry, at least the following insurance in the form,
               with companies admitted to do business in the State of Texas and having an
               A.M. Best Rating of A-:VII or better, and in amounts (unless otherwise specified),
               as University may require:

               4.19.1.1 Workers Compensation Insurance with statutory limits, and Employer’s
                        Liability Insurance with limits of not less than $1,000,000:
                        Employers Liability - Each Accident           $1,000,000
                        Employers Liability - Each Employee           $1,000,000
                        Employers Liability - Policy Limit            $1,000,000

                         Policies must include (a) Other States Endorsement to include TEXAS if
                         business is domiciled outside the State of Texas, and (b) a waiver of all
                         rights of subrogation and other rights in favor of University.

               4.19.1.2 Commercial General Liability Insurance with limits of not less than:
                        Each Occurrence Limit                             $1,000,000
                        Damage to Rented Premises                         $ 100,000
                        Medical Expenses (any one person)                 $ 10,000
                        Personal & Advertising Injury                     $1,000,000
                        General Aggregate                                 $2,000,000
                        Products - Completed Operations Aggregate         $2,000,000

                         Policy will include independent contractor’s liability, covering, but not
                         limited to, the liability assumed under the indemnification provision of
                         this Agreement, fully insuring Contractor’s (or Subcontractor’s) liability
                         for bodily injury (including death) and property damage.

               4.19.1.3 Business Auto Liability Insurance covering all owned, non-owned or
                        hired automobiles, with limits of not less than $1,000,000 Combined
                        Single Limit Bodily Injury and Property Damage.

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        4.19.1.4 Professional Liability Insurance with limits of not less than $1,000,000
                 per claim.

        4.19.1.5 Umbrella/Excess Liability Insurance with limits of not less than
                 $2,000,000 per occurrence and aggregate with a deductible of no more
                 than $10,000, and (i) providing coverage in excess of the coverages of,
                 and (ii) “following form” subject to the same provisions as, the
                 underlying policies required in Section 4.19.1.1 Employers Liability
                 Insurance, Section 4.19.1.2 Commercial General Liability Insurance,
                 and Section 4.19.1.4 Commercial Auto Liability Insurance.

        4.19.1.6 Director and Officer Liability Insurance with limits of not less than
                 $1,000,000 on a claims-made basis.

 4.19.2 Contractor will deliver to University:

        4.19.2.1 Evidence satisfactory to University in its sole discretion, evidencing the
                 existence of all insurance after the execution and delivery of this
                 Agreement and prior to the performance or continued performance of
                 any Services to be performed by Contractor under this Agreement or
                 any Orders.

        4.19.2.2 Additional evidence, satisfactory to University in its sole discretion, of
                 the continued existence of all insurance not less than thirty (30) days
                 prior to the expiration of any insurance. Insurance policies, with the
                 exception of Workers’ Compensation and Employer’s Liability, will be
                 endorsed and name University and the UT Institutions as an Additional
                 Insured. All policies will be endorsed to provide a waiver of subrogation
                 in favor of University and the UT Institutions. All policies with the
                 exception of Workers’ Compensation and Employer’s Liability will be
                 endorsed to provide primary and non-contributory coverage. No policy
                 will be canceled until after thirty (30) days' unconditional written notice
                 to University and the UT Institutions.

        4.19.2.3 Contractor will be responsible for providing to University and the UT
                 Institutions immediate notice of its receipt of a notice of cancellation,
                 termination, material change, or non-renewal relating to any insurance
                 policy required herein. This requirement may be satisfied by providing a
                 copy of the notice received by the Contractor to the University and the UT
                 Institutions within two business days or by endorsement of the policy to
                 require notice to the University and the UT Institutions to be provided by
                 the insurer.

 4.19.3 The insurance policies required in this Agreement will be kept in force at all times
        during the term of the Agreement and all Orders.




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4.20    Indemnification

        4.20.1 TO THE FULLEST EXTENT PERMITTED BY LAW, CONTRACTOR WILL AND DOES HEREBY
               AGREE TO INDEMNIFY, PROTECT, DEFEND WITH COUNSEL APPROVED BY UNIVERSITY,
               AND HOLD HARMLESS UNIVERSITY, THE UT INSTITUTIONS, AND THEIR RESPECTIVE
               AFFILIATED  ENTERPRISES,   REGENTS,    OFFICERS,   DIRECTORS,    ATTORNEYS,
               EMPLOYEES, REPRESENTATIVES AND AGENTS (COLLECTIVELY “INDEMNITEES”) FROM
               AND AGAINST ALL DAMAGES, LOSSES, LIENS, CAUSES OF ACTION, SUITS, JUDGMENTS,
               EXPENSES, AND OTHER CLAIMS OF ANY NATURE, KIND, OR DESCRIPTION, INCLUDING
               REASONABLE ATTORNEYS’ FEES INCURRED IN INVESTIGATING, DEFENDING OR
               SETTLING ANY OF THE FOREGOING (COLLECTIVELY “CLAIMS”) BY ANY PERSON OR
               ENTITY, ARISING OUT OF, CAUSED BY, OR RESULTING FROM CONTRACTOR’S
               PERFORMANCE UNDER OR BREACH OF THIS AGREEMENT AND THAT ARE CAUSED IN
               WHOLE OR IN PART BY ANY NEGLIGENT ACT, NEGLIGENT OMISSION OR WILLFUL
               MISCONDUCT OF CONTRACTOR, ANYONE DIRECTLY EMPLOYED BY CONTRACTOR OR
               ANYONE FOR WHOSE ACTS CONTRACTOR MAY BE LIABLE. THE PROVISIONS OF THIS
               SECTION WILL NOT BE CONSTRUED TO ELIMINATE OR REDUCE ANY OTHER
               INDEMNIFICATION OR RIGHT WHICH ANY INDEMNITEE HAS BY LAW OR EQUITY. ALL
               PARTIES WILL BE ENTITLED TO BE REPRESENTED BY COUNSEL AT THEIR OWN
               EXPENSE.

        4.20.2 IN ADDITION, CONTRACTOR WILL AND DOES HEREBY AGREE TO INDEMNIFY, PROTECT,
               DEFEND WITH COUNSEL APPROVED BY UNIVERSITY, AND HOLD HARMLESS
               INDEMNITEES FROM AND AGAINST ALL CLAIMS ARISING FROM INFRINGEMENT OR
               ALLEGED INFRINGEMENT OF ANY PATENT, COPYRIGHT, TRADEMARK OR OTHER
               PROPRIETARY INTEREST ARISING BY OR OUT OF THE PERFORMANCE OF SERVICES OR
               THE PROVISION OF GOODS BY CONTRACTOR, OR THE USE BY INDEMNITEES, AT THE
               DIRECTION OF CONTRACTOR, OF ANY ARTICLE OR MATERIAL; PROVIDED, THAT, UPON
               BECOMING AWARE OF A SUIT OR THREAT OF SUIT FOR INFRINGEMENT, UNIVERSITY
               AND THE UT INSTITUTIONS WILL PROMPTLY NOTIFY CONTRACTOR AND CONTRACTOR
               WILL BE GIVEN THE OPPORTUNITY TO NEGOTIATE A SETTLEMENT. IN THE EVENT OF
               LITIGATION, UNIVERSITY AND THE UT INSTITUTIONS AGREE TO REASONABLY
               COOPERATE WITH CONTRACTOR. ALL PARTIES WILL BE ENTITLED TO BE
               REPRESENTED BY COUNSEL AT THEIR OWN EXPENSE.

        4.20.3 THE PROVISIONS OF THIS SECTION 4.20 WILL CONTROL OVER ANY PROVISIONS IN THE
               AGREEMENT OR ANY ORDER WHICH REQUIRE CONTRACTOR TO INDEMNIFY, PROTECT,
               DEFEND, OR HOLD HARMLESS THE UNIVERSITY OR ANY UT INSTITUTION.

4.21    Ethics Matters; No Financial Interest

        Contractor and its employees, agents, representatives and subcontractors have read
        and understand University’s Conflicts of Interest Policy available at
        http://www.utsystem.edu/policy/policies/int160.html, University’s Standards of Conduct
        Guide available at http://www.utsystem.edu/systemcompliance/SOCcombined.pdf, and
        applicable state ethics laws and rules available at www.utsystem.edu/ogc/ethics. Neither
        Contractor nor its employees, agents, representatives or subcontractors will assist or
        cause University or UT Institution employees to violate University’s Conflicts of Interest
        Policy, provisions described by University’s Standards of Conduct Guide, or applicable
        state ethics laws or rules. Contractor represents and warrants that no member of the
        Board has a direct or indirect financial interest in the transactions that are the subject of
        this Agreement or any Order.


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4.22    Undocumented Workers. The Immigration and Nationality Act (8 United States Code
        1324a) (“Immigration Act”) makes it unlawful for an employer to hire or continue
        employment of undocumented workers. The United States Immigration and Customs
        Enforcement Service has established the Form I-9 Employment Eligibility Verification
        Form (“I-9 Form”) as the document to be used for employment eligibility verification (8
        Code of Federal Regulations 274a). Among other things, Contractor is required to: (1)
        have all employees complete and sign the I-9 Form certifying that they are eligible for
        employment; (2) examine verification documents required by the I-9 Form to be
        presented by the employee and ensure the documents appear to be genuine and related
        to the individual; (3) record information about the documents on the I-9 Form, and
        complete the certification portion of the I-9 Form; and (4) retain the I-9 Form as required
        by law. It is illegal to discriminate against any individual (other than a citizen of another
        country who is not authorized to work in the United States) in hiring, discharging, or
        recruiting because of that individual's national origin or citizenship status. If Contractor
        employs unauthorized workers during performance of this Agreement or any Order in
        violation of the Immigration Act then, in addition to other remedies or penalties
        prescribed by law, University may terminate this Agreement in accordance with Section
        4.30. Contractor represents and warrants that it is in compliance with and agrees that it
        will remain in compliance with the provisions of the Immigration Act.

4.23    Force Majeure. Neither party to this Agreement or any Order will be liable or responsible to
        the other for any loss or damage or for any delays or failure to perform due to causes
        beyond its reasonable control including acts of God, strikes, epidemics, war, riots, flood,
        fire, sabotage, or any other circumstances of like character (“force majeure occurrence”).
        Provided, however, in the event of a force majeure occurrence, Contractor agrees to use its
        best efforts to mitigate the impact of the occurrence so that any University healthcare
        institution may continue to provide healthcare services during the occurrence.

4.24    Entire Agreement; Modifications. The terms and conditions of this Agreement are
        incorporated for all purposes into each Order entered into between a UT Institution and
        Contractor under this Agreement. Each Order entered into between Contractor and a
        UT Institution under the Agreement constitutes a separate contract between Contractor
        and that UT Institution, and such an Order supersedes all prior agreements, written or
        oral, between Contractor and that UT Institution concerning the subject matter of that
        Order, and constitutes the entire agreement and understanding between Contractor and
        that UT Institution with respect to the subject matter of that Order. Each Order entered
        into by Contractor and a UT Institution and each of that Order’s provisions shall be
        binding upon Contractor and that UT Institution and may not be waived, modified,
        amended or altered except by a writing signed by Contractor and that UT Institution.

4.25    Captions

        The captions of sections and subsections in this Agreement or in any Order are for
        convenience only and will not be considered or referred to in resolving questions of
        interpretation or construction.

4.26    Waivers

        No delay or omission in exercising any right accruing upon a default in performance of this
        Agreement or of any Order will impair any right or be construed to be a waiver of any right.
        A waiver of any default under this Agreement or under any Order will not be construed to
        be a waiver of any subsequent default under this Agreement or that Order.


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4.27    Ownership and Use of Work Material

        4.27.1 All drawings, specifications, plans, computations, sketches, data, photographs,
               tapes, renderings, models, publications, statements, accounts, reports, studies, and
               other materials prepared by Contractor or any subcontractors in connection with the
               Services (collectively, "Work Material"), whether or not accepted or rejected by
               University, are the sole property of University and for its exclusive use and re-use at
               any time without further compensation and without any restrictions.

        4.27.2 Contractor grants and assigns to University all rights and claims of whatever nature
               and whether now or hereafter arising in and to the Work Material and will cooperate
               fully with University in any steps University may take to obtain or enforce patent,
               copyright, trademark or like protections with respect to the Work Material.

        4.27.3 Contractor will deliver all Work Material to University upon expiration or termination
               of this Agreement. University will have the right to use (or allow the UT Institutions
               to use) the Work Material for the completion of the Services or otherwise. University
               may, at all times, retain the originals of the Work Material. The Work Material will
               not to be used by any person other than University on other projects unless
               expressly authorized by University in writing.

        4.27.4 The Work Material will not be used or published by Contractor or any other party
               unless expressly authorized by University in writing. Contractor will treat all Work
               Material as confidential.

        4.27.5 All title and interest in the Work Material will vest in University and will be deemed to
               be a work made for hire and made in the course of the Services rendered under this
               Agreement. To the extent that title to any Work Material may not, by operation of
               law, vest in University or Work Material may not be considered works made for hire,
               Contractor hereby irrevocably assigns, conveys and transfers to University and its
               successors, licensees and assigns, all rights, title and interest worldwide in and to
               the Work Material and all proprietary rights therein, including all copyrights,
               trademarks, service marks, patents, trade secrets, moral rights, all contract and
               licensing rights and all claims and causes of action with respect to any of the
               foregoing, whether now known or hereafter to become known. In the event
               Contractor has any rights in the Work Material which cannot be assigned,
               Contractor agrees to waive enforcement worldwide of the rights against University,
               its successors, licensees, assigns, distributors and customers or, if necessary, to
               exclusively license the rights, worldwide to University with the right to sublicense.
               These rights are assignable by University.

4.28    Confidentiality and Safeguarding of University Records; Press Releases; Public
        Information

        Under this Agreement, Contractor may (1) create records or record systems for
        University or a UT Institution (2) receive records or record systems from or on behalf of
        University or a UT Institution, or (3) have access to records or record systems of
        University or a UT Institution (collectively, “University Records”). Such University
        Records include any (i) curricula, degree plans, course materials, tests, examinations,
        assessments, and similar academic materials of the University, the UT Institutions, or
        their faculty or staff (collectively, “Academic Materials”), (ii) any information or data about
        University or UT Institution students, faculty, or staff, or (iii) any notes, writings,
        questions, class participation data, test answers or results, or other academic
        coursework or materials of University or UT Institution students. Notwithstanding any
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 other provision of this Agreement or any Order, the University Records will remain the
 property, as applicable, of the University, the UT Institutions, or the associated University
 or UT Institutional faculty, staff, or students. Specifically, the University and the UT
 Institutions will retain sole control over all Academic Materials.

 Among other things, University Records may contain social security numbers, credit card
 numbers, or data protected or made confidential or sensitive by applicable federal, state
 and local, laws, regulations, and ordinances, including the Gramm-Leach-Bliley Act
 (Public Law No: 106-102) and the Family Educational Rights and Privacy Act, 20 U.S.C.
 §1232g (“FERPA”). If University Records are subject to FERPA, (1) University
 designates Contractor as a University official with a legitimate educational interest in
 University Records, and (2) Contractor acknowledges that its improper disclosure or
 redisclosure of personally identifiable information from University Records will result in
 Contractor’s exclusion from eligibility to contract with University for at least five (5) years.
 Contractor represents, warrants, and agrees that it will: (1) hold University Records in
 strict confidence and will not use or disclose University Records except as (a) permitted
 or required by this Agreement, (b) required by law, or (c) otherwise authorized by
 University in writing; (2) safeguard University Records according to reasonable
 administrative, physical and technical standards (such as standards established by (i)
 the National Institute of Standards and Technology and (ii) the Center for Internet
 Security, as well as the Payment Card Industry Data Security Standards) that are no
 less rigorous than the standards by which Contractor protects its own confidential
 information; (3) continually monitor its operations and take any action necessary to
 assure that University Records are safeguarded and the confidentiality of University
 Records is maintained in accordance with all applicable federal, state and local, laws,
 regulations, and ordinances, including FERPA and the Gramm-Leach Bliley Act, and the
 terms of this Agreement and all Orders; and (4) comply with the University’s rules,
 policies, and procedures of the University and the UT Institutions regarding access to
 and use of University and UT Institution information and computer systems.
 Notwithstanding any other provision of this Agreement, in no event will Contractor or any
 Contractor employees, contractors, or agents (or any other persons for whom Contractor
 is responsible) store, host, transmit, transport, process, analyze, ship, or otherwise take
 or send any University Records or other data or information provided by University, any
 UT Institutions, or any of their students, faculty, or staff under this Agreement outside of
 the United States. At the request of University or a UT Institution, Contractor agrees to
 provide University with a written summary of the procedures Contractor uses to
 safeguard and maintain the confidentiality of University Records.

 4.28.1 Notice of Impermissible Use. If an impermissible use or disclosure of any
        University Records occurs, Contractor will provide written notice to University and
        any affected UT Institutions within one (1) business day after Contractor’s
        discovery of that use or disclosure. Contractor will promptly provide University
        and any affected UT Institutions with all information requested regarding the
        impermissible use or disclosure.

 4.28.2 Return of University Records. Contractor agrees that within thirty (30) days
        after the expiration or termination of this Agreement, for any reason, all University
        Records created or received from or on behalf of University and the UT
        Institutions will be (1) returned to University and those UT Institutions, with no
        copies retained by Contractor; or (2) if return is not feasible, destroyed. Twenty
        (20) days before destruction of any University Records, Contractor will provide
        University and the applicable UT Institutions with written notice of Contractor’s
        intent to destroy University Records. Within five (5) days after destruction,

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                 Contractor will confirm in writing to University and the applicable UT Institutions
                 the destruction of University Records.

        4.28.3 Disclosure. If Contractor discloses any University Records to a subcontractor or
               agent, Contractor will require the subcontractor or agent to comply with the same
               restrictions and obligations as are imposed on Contractor by this Section.

        4.28.4 Press Releases. Except when defined as part of the Services, Contractor will not
               make any press releases, public statements, or advertisement referring to this
               Agreement, any Orders, the engagement of Contractor as an independent
               contractor of University or any UT Institutions in connection with this Agreement
               and the Orders, or release any information relative to this Agreement and the
               Orders for publication, advertisement or any other purpose without the prior
               written approval of University.

        4.28.5 Public Information. University and the UT Institutions strictly adhere to all
               statutes, court decisions and the opinions of the Texas Attorney General with
               respect to disclosure of public information under the Texas Public Information
               Act, Chapter 552, Government Code.

        4.28.6 Termination. In addition to any other termination rights set forth in this
               Agreement or any Order and any other rights at law or equity, if University
               reasonably determines that Contractor has breached any of the restrictions or
               obligations set forth in this Section, University may immediately terminate this
               Agreement and all Orders without notice or opportunity to cure.

        4.28.7 Duration. The restrictions and obligations under this Section will survive
               expiration or termination of this Agreement or any Order for any reason.

4.29    HIPAA Compliance. If this Agreement or any Order relates to private health information
        of a UT Institution or if Contractor will have access to private health information held by a
        UT Institution, then Contractor agrees that it will execute a HIPAA Business Associate
        Agreement (“BAA”) with that UT Institution in the form agreed to by Contractor and that
        UT Institution.

4.30    Default and Termination. The following provisions shall apply regardless of any
        conflicting terms and conditions in any Order entered into under this Agreement:

        4.30.1    In the event Contractor breaches the terms and conditions of an Order
                  (including any Contractor breach of the terms and conditions of this Agreement
                  as incorporated into that Order), the UT Institution may terminate that Order (a
                  “Contractor-Breached Order”) upon thirty (30) days’ written notice to
                  Contractor. However, a Contractor-Breached Order shall not terminate at the
                  end of the thirty-day notice period in the event that Contractor completely cures
                  its breach of that Order before the end of that thirty-day period. The
                  termination of a Contractor-Breached Order by a UT Institution under this
                  Section 4.30.1 shall not terminate or otherwise affect any other Orders entered
                  into with Contractor under this Agreement by the terminating UT Institution or
                  by any of the other UT Institutions.

        4.30.2    A UT Institution may terminate any Order without cause by providing
                  Contractor with thirty (30) days’ advance written notice of such termination.
                  However, a UT Institution terminating an Order under this Section 4.30.2 will
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          remain responsible for paying for all goods or services that Contractor provides
          to the UT Institution under that Order prior to such termination, so long as such
          goods or services conform to the terms and conditions of that Order and this
          Agreement and provided that Contractor delivers all Work Material to
          University. However, in no event will a UT Institution be obligated to pay
          Contractor any amounts for anticipatory profits associated with the terminated
          Order, any services that are not rendered by Contractor, any ordered products,
          goods, or materials that are not delivered by Contractor, or any costs that could
          reasonably have been avoided by Contractor once it receives notice of the
          terminated Order. The termination of an Order without cause by a UT
          Institution under this Section 4.30.2 shall not terminate or otherwise affect any
          other Orders entered into with Contractor under this Agreement by that UT
          Institution or by any of the other UT Institutions.

 4.30.3   In the event a UT Institution breaches the terms and conditions of an Order
          (including the UT Institution’s breach of the terms and conditions of this
          Agreement as incorporated into that Order), Contractor may terminate that
          Order (a “UT Institution-Breached Order”) upon thirty (30) days’ written notice
          to that UT Institution. However, a UT Institution-Breached Order shall not
          terminate at the end of the thirty-day notice period in the event that the UT
          Institution completely cures its breach of that Order before the end of that thirty-
          day period. The termination of a UT Institution-Breached Order by Contractor
          under this Section 4.30.3 shall not terminate or otherwise affect any other
          Orders entered into with Contractor under this Agreement by the breaching UT
          Institution or by any of the other UT Institutions.

 4.30.4   In the event of Contractor’s breach of the terms and conditions of this
          Agreement or of any of the Orders, the University may immediately terminate
          this Agreement in its entirety, including all of the Orders entered into by the UT
          Institutions and Contractor under this Agreement, by providing written notice to
          Contractor.

 4.30.5   The University may, without cause, terminate this Agreement in its entirety,
          including all of the Orders entered into by the UT Institutions and Contractor
          under this Agreement, by providing Contractor with thirty (30) days’ advance
          written notice of such termination. However, each UT Institution will remain
          responsible for paying for all goods or services that Contractor provides to that
          UT Institution under the Orders that the UT Institution entered into with
          Contractor prior to the date on which Contractor receives the University’s notice
          of termination under this Section 4.30.5, so long as such goods or services
          conform to the terms and conditions of the applicable Order and this
          Agreement and provided that Contractor delivers all Work Material to
          University. However, in no event will a UT Institution be obligated to pay
          Contractor any amounts for anticipatory profits associated with any such
          terminated Orders, any services that are not rendered by Contractor, or any
          ordered products, goods, or materials that are not delivered by Contractor. Any
          Orders issued to or entered into with Contractor following the date on which
          Contractor receives the University’s notice of termination under this Section
          4.30.5 shall be null and void, and neither Contractor, the University, nor any UT
          Institution shall be bound by or obligated under such Orders.



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        4.30.6   The University may, on written notice to Contractor, terminate the issuance of
                 any further Orders to Contractor under this Agreement as of a specified date
                 (the “Stop Date”). Upon its receipt of such written notice from the University,
                 Contractor shall not accept any Orders issued under this Agreement by any of
                 the UT Institutions as of the Stop Date specified in such notice. However,
                 termination under this Section 4.30.6 shall not terminate or otherwise affect any
                 Orders that the UT Institutions enter into with Contractor under this Agreement
                 prior to the Stop Date; such Orders will continue in effect until they expire or
                 are terminated in accordance with the terms and conditions of such Orders or
                 this Agreement.

        4.30.7   In the event of (i) any change in control of, or of a controlling interest in,
                 Contractor (such as a sale or transfer of all or a majority of Contractor’s assets
                 or ownership or control of Contractor’s stock or partnership interests), (ii) any
                 change in Contractor’s senior officers or management, or (iii) the insolvency,
                 bankruptcy, or voluntary or involuntary dissolution of Contractor, then (a)
                 Contractor must provide the University and all UT Institutions that have entered
                 into Orders with written notice of such an event as soon as possible, but in no
                 event longer than two (2) days after the occurrence of that event, (b) each UT
                 Institution that has entered into an Order may terminate that Order on written
                 notice to Contractor, and (c) the University may terminate this Agreement and
                 all Orders on written notice to Contractor.

        4.30.8   Termination under Sections 4.30.1, 4.30.2, 4.30.4, 4.30.5, 4.30.6, or 4.30.7 will
                 not relieve Contractor from liability for any default or breach under this Agreement
                 or any Order or any other act or omission of Contractor.

        4.30.9   If Contractor fails to cure any default within thirty (30) days after receiving written
                 notice of the default, the University or any UT Institution affected by the default will
                 be entitled (but will not be obligated) to cure the default and will have the right to
                 offset against all amounts due to Contractor under this Agreement, any and all
                 reasonable expenses incurred in connection with the curative actions of the
                 University or the UT Institution.

        4.30.10 In the event that this Agreement or any Order is terminated, then within thirty (30)
                days after termination, Contractor will reimburse University and all affected UT
                Institutions for all fees paid by University and those UT Institutions to Contractor
                that were (a) not earned by Contractor prior to termination, or (b) for goods or
                services that University did not receive from Contractor prior to termination.

4.31    Binding Effect

        This Agreement and all Orders will be binding upon and inure to the benefit of the parties
        thereto and their respective permitted assigns and successors.

4.32    Severability

        In case any provision of this Agreement or any Order will, for any reason, be held invalid or
        unenforceable in any respect, the invalidity or unenforceability will not affect any other
        provision of this Agreement or that Order, and this Agreement or that Order will be
        construed as if the invalid or unenforceable provision had not been included.



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4.33    Limitation of Liability

        EXCEPT FOR UNIVERSITY’S AND THE UT INSTITUTIONS’ OBLIGATIONS (IF ANY) TO PAY
        CONTRACTOR CERTAIN FEES AND EXPENSES UNIVERSITY AND THE UT INSTITUTIONS WILL HAVE
        NO LIABILITY TO CONTRACTOR OR TO ANYONE CLAIMING THROUGH OR UNDER CONTRACTOR BY
        REASON OF THE EXECUTION OR PERFORMANCE OF THIS AGREEMENT OR ANY ORDER.
        NOTWITHSTANDING ANY DUTY OR OBLIGATION OF UNIVERSITY OR ANY UT INSTITUTION TO
        CONTRACTOR OR TO ANYONE CLAIMING THROUGH OR UNDER CONTRACTOR, NO PRESENT OR
        FUTURE AFFILIATED ENTERPRISE, SUBCONTRACTOR, AGENT, OFFICER, DIRECTOR, EMPLOYEE,
        REPRESENTATIVE, ATTORNEY OR REGENT OF UNIVERSITY, A UT INSTITUTION, OR ANYONE
        CLAIMING UNDER UNIVERSITY OR A UT INSTITUTION HAS OR WILL HAVE ANY PERSONAL LIABILITY
        TO CONTRACTOR OR TO ANYONE CLAIMING THROUGH OR UNDER CONTRACTOR BY REASON OF
        THE EXECUTION OR PERFORMANCE OF THIS AGREEMENT OR ANY ORDER.

4.34    Assignment and Subcontracting

        Except as specifically provided in Exhibit            , Historically Underutilized Business
        Subcontracting Plan (“HSP”), attached and incorporated for all purposes, Contractor's
        interest in this Agreement and all Orders (including Contractor’s duties and obligations
        under this Agreement and the Orders, and the fees due to Contractor under this Agreement
        and the Orders) may not be subcontracted, assigned, delegated, or otherwise transferred
        to a third party, in whole or in part, and any attempt to do so will (a) not be binding on
        University or any UT Institution; and (b) be a breach of this Agreement and the Orders for
        which Contractor will be subject to all remedial actions provided by Texas law, including
        Chapter 2161, Government Code, and 34 Texas Administrative Code (“TAC”) Sections
        20.101 through 20.108. The benefits and burdens of this Agreement and the Orders are
        assignable by University and the applicable UT Institutions. [NOTE: The above Exhibit
        will be completed to include the Contractor’s HSP.]

4.35    Historically Underutilized Business Subcontracting Plan

        Contractor agrees to use good faith efforts to subcontract the Services in accordance with
        the Historically Underutilized Business Subcontracting Plan (“HSP”) (ref. Exhibit __).
        Contractor agrees to maintain business records documenting its compliance with the HSP
        and to submit a monthly compliance report to University and all applicable UT Institutions in
        the format required by Texas Procurement and Support Services Division of the Texas
        Comptroller of Public Accounts or any successor agency (collectively, “TPSS”).
        Submission of compliance reports will be required as a condition for payment under this
        Agreement and all Orders. If University or a UT Institution determines that Contractor has
        failed to subcontract as set out in the HSP, University or that UT Institution will notify
        Contractor of any deficiencies and give Contractor an opportunity to submit documentation
        and explain why the failure to comply with the HSP should not be attributed to a lack of
        good faith effort by Contractor. If University or a UT Institution determines that Contractor
        failed to implement the HSP in good faith, University or that UT Institution, in addition to any
        other remedies, may report nonperformance to the TPSS in accordance with 34 TAC
        Sections 20.101 through 20.108. University or that UT Institution may also revoke this
        Agreement or any applicable Orders for breach and make a claim against Contractor.
        [NOTE: The above Exhibit will be completed to include the Contractor’s HSP.]

        4.35.1 Changes to the HSP. If at any time during the term of this Agreement or an Order,
               Contractor desires to change the HSP, before the proposed changes become
               effective (a) Contractor must comply with 34 TAC Section 20.14; (b) the changes
               must be reviewed and approved by University; and (c) if University approves

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               changes to the HSP, this Agreement must be amended in accordance with Section
               4.24 to replace the HSP with the revised subcontracting plan.

        4.35.2 Expansion of the Services. If the scope of the Services is expanded through a
               change order or any other amendment, University will determine if the additional
               Services contains probable subcontracting opportunities not identified in the initial
               solicitation for the Services. If University determines additional probable
               subcontracting opportunities exist, Contractor will submit an amended
               subcontracting plan covering those opportunities. The amended subcontracting
               plan must comply with the provisions of 34 TAC Section 20.14 before (a) this
               Agreement or any Order may be amended to include the additional Services; or (b)
               Contractor may perform the additional Services. If Contractor subcontracts any of
               the additional subcontracting opportunities identified by University without prior
               authorization and without complying with 34 TAC Section 20.14, Contractor will be
               deemed to be in breach of this Agreement and all Orders under Section 4.30 and
               will be subject to any remedial actions provided by Texas law including Chapter
               2161, Government Code and 34 TAC Section 20.14. University and the UT
               Institutions may report nonperformance under this Agreement or any Order to the
               TPSS in accordance with 34 TAC Sections 20.101 through 20.108.

        4.35.3 Orders. Before entering into an Order with a UT Institution, the UT Institution’s
               HUB Coordinator will determine if the Order contains probable subcontracting
               opportunities. If the UT Institution’s HUB Coordinator determines that probable
               subcontracting opportunities exist under that Order, Contractor will submit an
               amended subcontracting plan covering those opportunities. The amended
               subcontracting plan must comply with the provisions of 34 TAC Section 20.14
               before (a) the Order may be entered into; or (b) Contractor may perform the
               Services under that Order. If Contractor subcontracts any of the additional
               subcontracting opportunities that a UT Institution identifies for an Order without prior
               authorization and without complying with 34 TAC Section 20.14, Contractor will be
               deemed to be in breach of this Agreement and all Orders under Section 4.30 and
               will be subject to any remedial actions provided by Texas law including Chapter
               2161, Government Code and 34 TAC Section 20.14. University and the UT
               Institutions may report nonperformance under this Agreement or any Order to the
               TPSS in accordance with 34 TAC Sections 20.101 through 20.108.

4.36    Responsibility for Individuals Performing Services; Criminal Background Checks.
        Each individual who is assigned to perform the Services under this Agreement or any
        Order will be an employee of Contractor or an employee of a subcontractor engaged by
        Contractor. Contractor is responsible for the performance of all individuals performing
        the Services under this Agreement and the Orders. Prior to commencing the Services,
        Contractor will (1) provide University with a list ("List") of all individuals who may be
        assigned to perform the Services, and (2) have an appropriate criminal background
        screening performed on all the individuals. Contractor will determine on a case-by-case
        basis whether each individual assigned to perform the Services is qualified to provide
        the services. Contractor will not knowingly assign any individual to provide services on
        University’s campus who has a history of criminal conduct unacceptable for a university
        campus or healthcare center, including violent or sexual offenses. Contractor will update
        the List each time there is a change in the individuals assigned to perform the Services.

        Prior to commencing performance of the Services under this Agreement or any Order,
        Contractor will provide University a letter signed by an authorized representative of
        Contractor certifying compliance with this Section. Contractor will provide University an
        updated certification letter each time there is a change in the individuals assigned to
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        perform the Services.

4.37    Limitations

        THE PARTIES ARE AWARE THAT THERE ARE CONSTITUTIONAL AND STATUTORY LIMITATIONS
        ON THE AUTHORITY OF UNIVERSITY AND THE UT INSTITUTIONS (WHICH ARE STATE AGENCIES)
        TO ENTER INTO CERTAIN TERMS AND CONDITIONS THAT MAY BE A PART OF THIS AGREEMENT
        OR ANY ORDER, INCLUDING THOSE TERMS AND CONDITIONS RELATING TO LIENS ON
        UNIVERSITY OR UT INSTITUTIONAL PROPERTY; DISCLAIMERS AND LIMITATIONS OF
        WARRANTIES; DISCLAIMERS AND LIMITATIONS OF LIABILITY FOR DAMAGES; WAIVERS,
        DISCLAIMERS AND LIMITATIONS OF LEGAL RIGHTS, REMEDIES, REQUIREMENTS AND
        PROCESSES; LIMITATIONS OF PERIODS TO BRING LEGAL ACTION; GRANTING CONTROL OF
        LITIGATION OR SETTLEMENT TO ANOTHER PARTY; LIABILITY FOR ACTS OR OMISSIONS OF THIRD
        PARTIES; PAYMENT OF ATTORNEYS’ FEES; DISPUTE RESOLUTION; INDEMNITIES; AND
        CONFIDENTIALITY (COLLECTIVELY, THE “LIMITATIONS”), AND TERMS AND CONDITIONS
        RELATED TO THE LIMITATIONS WILL NOT BE BINDING ON UNIVERSITY OR THE UT INSTITUTIONS
        EXCEPT TO THE EXTENT AUTHORIZED BY THE LAWS AND CONSTITUTION OF THE STATE OF
        TEXAS. Neither the execution of the Agreement by the University, the execution of an
        Order by any UT Institution, nor any other conduct, action or inaction of any
        representative of the University or any UT Institution constitutes or is intended to
        constitute a waiver of the University’s, a UT Institution’s, or the state's sovereign
        immunity to suit.

4.38    Survival of Provisions

        No expiration or termination of this Agreement or any Order will relieve either party of
        any obligations under this Agreement or an Order that by their nature survive such
        expiration or termination.

4.39 Relationship of the Parties

        For all purposes of this Agreement and all Orders and notwithstanding any provision of this
        Agreement or any Order to the contrary, Contractor is an independent contractor and is not
        a state employee, partner, joint venturer, or agent of University. Contractor will not bind nor
        attempt to bind University to any agreement or contract. As an independent contractor,
        Contractor is solely responsible for all taxes, withholdings, and other statutory or contractual
        obligations of any sort, including workers’ compensation insurance.

4.40    External Terms

        This Agreement and each Order entered into under this Agreement completely supplant,
        replace, and override all other terms and conditions or agreements, written or oral,
        concerning Contractor’s (i) performance under this Agreement or any Order or (ii)
        provision of goods or services to a UT Institution under this Agreement or any Order
        (“External Terms”). Such External Terms are null and void and will have no effect under
        this Agreement or any Order, regardless of whether any UT Institution or any UT
        Institution employees, contractors, or agents express assent or agreement to such
        External Terms. Such External Terms include any shrinkwrap, clickwrap, browsewrap,
        web-based terms and conditions of use, and any other terms and conditions displayed in
        any format that a UT Institution or its employees, contractors, or agents are required to
        accept and agree to before or in the course of accessing or using any goods or services
        provided by Contractor.


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4.41    Warranty Against Self-Disabling Codes

        Contractor warrants that the programs it provides to the UT Institutions under Orders
        entered into under this Agreement shall not contain any time-based, activity-based or
        event-based self-disabling codes.

4.42    Observance of UT Institution Rules and Regulations

        Contractor agrees that at all times in the course of its performance under an Order that it
        enters into with a UT Institution under this Agreement, Contractor shall cause its
        employees, subcontractors and agents to observe and comply with all rules and
        regulations of that UT Institution, including all such rules and regulations concerning that
        UT Institution’s facilities, including but not limited to, rules and regulations related to
        smoking; consideration for students, patients and their families as well as employees;
        and parking and security.

4.43    Right to Protect Information Resource Security

        Each UT Institution reserves the right to change or modify without Contractor’s consent
        any information resource, including but not limited to operating systems, hardware,
        and/or network configurations, in order to protect the UT Institution’s information
        resources against any security vulnerabilities, unauthorized access, or abuse. In the
        event that Contractor performs maintenance of a UT Institution information resource
        under an Order, Contractor warrants that immediately upon its receipt of any routine
        maintenance and/or notification from that UT Institution or otherwise of a security
        vulnerability in that UT Institution information resource, Contractor will proceed to
        perform maintenance on that UT Institution information resource, which shall include
        Contractor’s installation of all operating system and/or application patches and upgrades
        that are necessary to protect such a UT Institution information resource against any
        security vulnerabilities and unauthorized access or abuse.

4.44    Warranty Against Spyware, Malware, and Collection of Private Information

        Contractor warrants that the products purchased or licensed by the UT Institutions under
        Orders entered into under this Agreement will not

        (a)    contain spyware or malware, or

        (b)    collect and/or distribute information that could be considered private without
               Contractor obtaining the actual express written consent of the actual users who
               are identified by such information and the UT Institution(s) with whom such users
               are associated.

4.45    Acceptance and Use of Deliverables

        Any hardware, software, goods, materials, or services provided by Contractor to a UT
        Institution (“Deliverables”) will be considered received by that UT Institution upon final
        acceptance of such Deliverables by that UT Institution. Notwithstanding any conflicting
        terms and conditions in this Agreement or any Order entered into under this Agreement,
        a UT Institution may provide the Deliverables to all of its employees, contractors, agents,
        and subcontractors in order to implement and use those Deliverables in accordance with
        the terms of this Agreement and that UT Institution’s Orders.

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4.46    Implementation and/or Maintenance of Information Systems

        Any implementation and/or maintenance of information systems shall be performed in
        accordance with UT Institutional policies and practice standards as defined by the Texas
        Administrative Code. Access to a UT Institution’s information resources for remote
        maintenance or repairs by Contractor or other authorized vendors shall be limited to use
        of approved network connectivity access methods of that UT Institution.

4.47    Escrow Account

        (1)    At all times during the term of this Agreement and any Orders, Contractor shall
               maintain an escrow account (the “Escrow Account”) into which Contractor will
               place, maintain, and, when necessary, update all source code and all written
               documentation concerning the operation, maintenance, and modification of
               Contractor’s System (the “Deposit Materials”). Provided, however, in no event
               shall Contractor include any University Records in the Deposit Materials or place
               University Records in the Escrow Account. The University reserves the right (a)
               to monitor and audit the Escrow Account to ensure that all required Deposit
               Materials are included in the Escrow Account and (b) to take any action the
               University deems appropriate and necessary in the event that any required
               Deposit Materials are not included in the Escrow Account.

        (2)    The occurrence of any of the following shall constitute a “Release Condition”:

               (a)    Any material breach by Contractor of its obligations under this Agreement
                      or any Order which are not cured by Contractor in accordance with the
                      terms of this Agreement or that Order.

               (b)    Contractor avails itself of, or is subjected to by any third party, a
                      proceeding in bankruptcy in which Contractor is a named debtor, and in
                      the case of any involuntary proceeding such proceeding has not been
                      discharged or terminated within sixty (60) days.

               (c)    Contractor, at its sole discretion, chooses to release the Deposit Materials
                      to the University.

        (3)    Upon the occurrence of a Release Condition, the University shall

               (a)    have the right to access and remove the Deposit Materials from the
                      Escrow Account;

               (b)    be the sole owner of all rights and interests in the Deposit Materials and
                      the version of the System then provided by Contractor;

               (c)    have the full, unrestricted right to use the Deposit Materials to operate,
                      maintain, or modify the System in any manner in its sole discretion (or to
                      permit another party to do so on its behalf), free of (i) any rights that
                      Contractor may have in the System or the Deposit Materials and (ii) any
                      restrictions or limitations set forth in this Agreement, any Order, or
                      otherwise.

        (4)    Within ten (10) days following the occurrence of a Release Condition, Contractor
               shall provide the University with all permissions, documents, tools, keys,
               passwords, or other items necessary for the University to access and remove the
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               Deposit Materials from the Escrow Account. In the event that the University does
               not receive such items from Contractor within this 10-day period, the University
               may take any and all actions necessary to access and remove the Deposit
               Materials from the Escrow Account without further notice to or participation by
               Contractor.

        (5)    In the event that a contract is entered into with a third-party escrow agent to
               provide the Escrow Account required by this Agreement (an “Escrow Contract”),
               then

               (a)     such an Escrow Contract shall contain terms and conditions satisfying the
                       requirements of this Agreement,

               (b)     Contractor shall be responsible for paying all costs and fees required
                       under the Escrow Contract, and

               (c)     the University will not be obligated to pay any costs or fees required
                       under the Escrow Contract, unless the University chooses to do so in its
                       sole discretion. Provided, however, in the event that the University
                       chooses to pay any costs or fees required under the Escrow Contract, the
                       University may set-off or deduct such costs or fees from the amounts
                       owed to Contractor under this Agreement or any Order.

        (6)    The initial Escrow Contract for this Agreement is more specifically set forth in
               Exhibit ___. [NOTE: The above Exhibit will be completed with the successful
               Proposer(s).] However, in the event that a replacement Escrow Contract is
               required under this Agreement, Contractor shall identify a proposed replacement
               Escrow Contract to the University for review and approval no later than 120 days
               prior to the date that the replacement Escrow Contract is to become effective.
               Contractor shall not implement a replacement Escrow Contract under this
               Agreement without the University’s advance written approval of that Escrow
               Contract. Contractor shall maintain an Escrow Account in place at all times
               during the transition to a replacement Escrow Contract.

4.48    University Marks and Content

        Under the Agreement and the Orders, the University and the UT Institutions may provide
        Contractor with the right and license to utilize and display University or UT Institutional
        names, logos, brands, marks, or content (collectively, “University Marks and Content”) to
        the extent necessary to include such University Marks and Content in the Services
        provided by Contractor under the Agreement and the Orders, subject to the following:

        (a)    All such uses by Contractor of the University Marks and Content must be
               approved in advance and in writing by University and the applicable UT
               Institutions.

        (b)    All rights to the University Marks and Content shall at all times remain the
               property of the Board of Regents of The University of Texas System, and
               Contractor shall be allowed to use the University Marks and Content only in the
               performance of its obligations under the terms and conditions of, and during the
               existence of, this Agreement and the Orders.

        (c)    Contractor specifically acknowledges that the University Marks and Content and
               all rights therein belong exclusively to University and that the Agreement, other
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                 than as specifically provided for herein, does not confer upon Contractor any
                 other rights, goodwill or other interest in the University Marks and Content.

        (d)      Notwithstanding any other provision of this Agreement or any Order: (i)
                 Contractor’s use of the University Marks and Content under this Agreement or
                 any Order must not state or imply that University or any UT Institution endorses
                 Contractor’s products or services; (ii) Contractor has no right to use the
                 University Marks and Content to promote Contractor’s products and services;
                 and (iii) Contractor’s use of the University Marks and Content must comply with
                 the Rules and Regulations and policies of University’s Board of Regents, as well
                 as all University and UT Institution policies.

        Any use of the University Marks and Content by Contractor other than as permitted in
        this Section must be pursuant to a license issued by the Collegiate Licensing Company
        or any successor identified by University.

4.49    Orders
        Contractor agrees that, to the extent authorized by the laws and Constitution of the State
        of Texas, all UT Institutions may enter into Orders with Contractor for Contractor
        products and services under this Agreement, subject to the following:
        (a)      Compliance with Agreement. By entering into an Order under this Agreement,
                 each UT Institution agrees to be solely responsible for complying with all terms
                 and conditions of this Agreement (including all terms and conditions applicable to
                 the University) which are incorporated into that Order for all purposes. In
                 particular, each UT Institution must document in each Order entered into under
                 this Agreement the address(es) where Contractor is to send any notices to the
                 UT Institution under that Order (see Section 4.13, “Notices”, of this RFP.)
                 However, when a UT Institution enters into an Order with Contractor under this
                 Agreement, that UT Institution is entitled to all of the rights and privileges
                 accruing or made available to a UT Institution or to University under the terms
                 and conditions of this Agreement as incorporated into that Order.
        (b)      Parties to an Order. Each Order that a UT Institution enters into with Contractor
                 under this Agreement will be solely between Contractor and that UT Institution.
                 No other UT Institution will be a party to that Order or in any way obligated or
                 liable under that Order, either to Contractor or to the UT Institution placing that
                 Order. No UT Institution will be bound by or obligated under any terms and
                 conditions that are agreed to by Contractor and another UT Institution.
        (c)      Breach or Default by UT Institution. Each UT Institution shall be solely and
                 exclusively responsible for any breach or default of its obligations under the
                 Orders that it enters into with Contractor under this Agreement (including its
                 obligations under the terms and conditions of this Agreement as incorporated into
                 each Order). A UT Institution’s breach or default of its obligations under an
                 Order will not
                 (i)     affect the validity of this Agreement with respect to any other UT
                         Institution,
                 (ii)    affect the validity of any other Orders entered into with Contractor under
                         this Agreement, or
                 (iii)   constitute or be deemed a breach or default by any other UT Institution.


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 (d)   Breach or Default by Contractor. A UT Institution will not be obligated or in any
       way responsible to another UT Institution for Contractor’s breach of, default
       under, or failure to comply with the terms and conditions set forth in this
       Agreement or in any Order entered into by Contractor and that other UT
       Institution under this Agreement.
 (e)   Termination of Orders. By entering into an Order under this Agreement, each UT
       Institution authorizes the University to terminate this Agreement in its entirety,
       including all of the Orders entered into by that UT Institution with Contractor
       under this Agreement, as more specifically set forth in Sections 4.30.4 and
       4.30.5 of this RFP. However, the University is not authorized to and will not
       manage, monitor, or terminate a specific Order on behalf of another UT
       Institution. Furthermore, no UT Institution is authorized to manage, monitor, or
       terminate any Orders that another UT Institution enters into with Contractor under
       this Agreement. Notwithstanding any other provision of this Agreement, only the
       University may terminate the entire Agreement under Sections 4.30.4 and
       4.30.5 of this RFP.




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                                           SECTION 5

               SPECIFICATIONS; REQUIRED INFORMATION AND QUESTIONS


5.1    Overview

       The minimum requirements and the specifications for the Services, as well as certain
       requests for information to be provided by Proposer as part of its proposal, are set forth
       in this Section. Under this RFP, the University may enter into non-exclusive Agreements
       with one or more Proposers capable of providing the Services. As indicated in Section
       2.3 of this RFP, the successful Proposers are referred to as the “Contractors.”

       In its proposal, each Proposer must provide information demonstrating its capability to
       meet such requirements and specifications and responses to all requests for information.
       To demonstrate that Proposer has done so, Proposer’s proposal must identify each
       specific requirement, specification, or request in this Section 5 (including identification of
       the associated Section number) followed by Proposer’s information or response to that
       requirement, specification, or request. For ease of use, Proposer must provide such
       information and responses following the same structure and numbering approach set
       forth in this Section 5.

       Each Contractor’s responses to this RFP will be incorporated into the Agreement with
       that Contractor. Proposer is advised to submit such information and responses in a
       format suitable for incorporation as a final Statement of Work in an Agreement with
       Proposer, if University selects Proposer to be a Contractor.

5.2    Services Categories

       The University is interested in entering into one or more Agreements with Contractors
       capable of providing online, web or mobile based systems and associated support and
       services in support of the online education programs conducted at the UT Institutions.
       Such systems and support include the following “Services Categories”:

       5.2.1   Technology Assistance. The ability of the UT Institutions to obtain assistance
               from a Contractor with the technologies used for online education, including the
               Contractor’s provision of online, web-based applications through which the UT
               Institutions may conduct academic classes and work as well as the Contractor’s
               provision of services through the use of such applications (collectively, the
               “Systems”). Such Systems must meet the following requirements. However,
               please note that such Systems are not intended to merely constitute the
               Contractor’s provision to any UT Institutions of a Course Management System
               (CMS) or a Learning Management System (LMS).

               5.2.1.1   The Systems must allow the University and the UT Institutions to
                         implement and conduct classes over the Internet, including:

                         •    conducting online classes, including presentation of course
                              materials,

                         •    engaging students in the learning process, and

                         •    conducting tests, examinations, and other assessments.

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                   Please note that such classes will not limited to only those conducted by
                   professors or instructors at a single UT Institution, but will also include
                   courses that are “team taught” by professors or instructors at two or
                   more UT Institutions.       As a result, the Systems must provide
                   connectivity and operability to support such “team taught” classes.

         5.2.1.2   The Contractor must implement and be capable of using such Systems
                   to provide assistance to a UT Institution’s students in (i) how to apply for
                   admission to the UT Institution, (ii) how to file a degree plan; (iii) how to
                   register for classes and for financial aid, (iv) how to make payments to
                   the UT Institution, and (v) obtaining and utilizing e-advising. Please
                   note, however, that the UT Institution will retain control over the
                   admission, registration, and enrollment of students and well as for billing
                   students and collecting student payments.

         5.2.1.3   The Systems must provide students with information concerning all
                   degree plans and classes made available through such Systems.

         5.2.1.4   The Systems must implement business processes for the recruitment of
                   students by the UT Institution and/or the Contractor and the marketing
                   of a UT Institution’s online education programs (ref. Section 5.2.4
                   below.)

         5.2.1.5   The Contractor must implement and be capable of using such Systems
                   in order to monitor student progress in (i) applying for admission to the
                   UT Institution, (ii) obtaining an approved degree plan, (iii) applying for
                   financial aid, and (iv) registering and paying for online courses and
                   degrees. This must include the ability of (a) Contractor’s Systems to
                   transparently integrate with a UT Institution’s information technology
                   systems and standard operating procedures in order to perform this
                   requirement and (b) the Contractor and/or its Systems to interact with a
                   UT Institution’s faculty, staff, and students to assist in ensuring student
                   progress through the above activities, such as Contractor’s provision of
                   support for ongoing student enrollment in a UT Institution’s online
                   education program.

         5.2.1.6   The Systems must support the administrative tasks and obligations
                   associated with a UT Institution’s online education program - e.g.,
                   record keeping, the filing of necessary reports.

         5.2.1.7   The Systems must support the Contractor’s provision of Services under
                   the other Services Categories documented in this Section 5.2.

         5.2.1.8   The Systems must include the provision of technical support to a UT
                   Institution’s students, faculty, and staff on a 24 hours a day, 7 days a
                   week basis.

 5.2.2   Course Design/Implementation. The ability for each UT Institution to obtain a
         Contractor services in support of the design and implementation of courses for
         that Institution’s online education program.

 5.2.3   Professional Development. A Contractor’s provision of professional development
         services to a UT Institution in order to assist that Institution’s faculty in tailoring
         course materials to take full advantage of the online approach.
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       5.2.4   Recruiting/Marketing. A Contractor’s recruitment of new students to a UT
               Institution’s online education programs and courses as well as marketing such
               programs and courses to the general public and to targeted groups.

       5.2.5   Financial Terms. The Contractor’s provision of the financing and pricing
               structure(s) necessary to deliver Services in support of a UT Institution’s online
               education programs and courses. This may include, but may not be limited to,
               the Contractor’s funding of the up-front costs to start a UT Institution’s online
               education system (e.g., seed money) and subsequent recovery of such costs via
               tuition or registration fees.

       5.2.6   Instructional Support. The ability of a UT Institution to obtain instructional
               support for students in the Institution’s online education programs and courses.
               Such support may include, but is not limited to, the provision of instructional
               assistants or coaches.

5.3    Menu-Based Services Approach; Comprehensive Services Approach

       Each proposal submitted must address the Proposer’s capabilities, strengths, and
       advantages in providing Services in support of each of the Services Categories identified
       above. Such responses should address the provision of Services under both of the
       following two approaches:

       5.3.1   Menu-Based Services Approach. It is intended for each UT Institution to be able
               to select and obtain Services from a Contractor from one or more of the Services
               Categories identified above, in order to meet that UT Institution’s particular
               requirements. For example, a UT Institution may only have requirements to
               engage instructional assistants for its online education program, and should be
               able to independently procure such assistants from one or more Contractors
               without having to obtain Services in any of the other Services Categories.

               Therefore, in its proposal each Proposer must identify its capabilities and
               resources for independently providing Services in each of the Services
               Categories identified above under such a “menu-based” approach. Each
               Proposer must identify each of the Services Categories in which Proposer has
               specific, demonstrable capabilities. However, if a Proposer does not provide
               Services in any specific Services Category, then Proposer must indicate this in
               its proposal.

       5.3.2   Comprehensive Services Approach. However, each Proposer with the
               necessary capabilities and resources is also encouraged to propose a
               comprehensive approach for providing Services in all of the Services Categories
               identified above, so that such a Proposer can serve as a single source from
               which a UT Institution can obtain Services in all of the Services Categories.
               Proposers proposing such a comprehensive approach may, where applicable,
               propose a specific Learning Management System (LMS) or Course Management
               System (CMS) that the UT Institutions may procure from the Proposer under that
               approach. If such a comprehensive approach is proposed, then the Proposer
               must identify all advantages to a UT Institution of obtaining Services under such
               a comprehensive approach from the Proposer as opposed to the “menu-based”
               approach identified above. Such advantages should include, but may not be
               limited to, the lower costs and greater functionalities and efficiencies that the UT

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               Institution will obtain as a result of choosing the Proposer’s comprehensive
               approach.

       5.3.3. Pricing of Services Approaches. Given the two Services Approaches set forth
              above, each Proposer’s documentation of its proposed “Pricing for Services
              Offered” as set forth in Section 6.1 must price the Services in the following three
              ways:

                  On an “a la carte” basis, where Proposer identifies the separate pricing at
                   which a UT Institution may obtain Services from Proposer in each individual
                   Service Category,

                  On a complete “package price” basis, in order to identify the total pricing at
                   which a UT Institution may obtain Services across all of the Services
                   Categories from Proposer under the Comprehensive Services Approach, and

                  As applicable, on a “combination” basis, whereby a Proposer may identify the
                   pricing at which a UT Institution may obtain Services under combinations of
                   two or more, but less than all six, of the Services Categories, if Proposer
                   determines that such combinations will be of benefit to the UT Institutions.

5.4    Required Information and Questions

       Proposer’s response must identify its ability to provide products, goods, and services
       under the Services Categories set forth in Section 5.2 and in accordance with the two
       Services approaches identified in Section 5.3. In doing so, Proposer must submit the
       following information and respond to the following questions as part of Proposer’s
       proposal. However, it is not anticipated that Proposers will limit the information that they
       provide regarding the capabilities and experience that they offer to provide to the UT
       Institutions in support of online education merely to responses to the following. Instead,
       in its proposal each Proposer is expected to provide any additional information and offer
       any other products or services in support of online education that Proposer believes will
       be of benefit to the UT Institutions.

       5.4.1   General

               5.4.1.1    Proposer must demonstrate its ability to familiarize itself with and
                          adapt its provision of services to accommodate a UT Institution’s
                          standard operating procedures and ways of doing business.

               5.4.1.2    Proposer must demonstrate its compliance with all applicable federal
                          and state laws and regulations as well as applicable standards,
                          including:

                          a. those regarding approval of out-of-state providers of online
                             education services, including distance or correspondence
                             education,

                          b. the Family Educational Rights and Privacy Act (“FERPA”),

                          c. the Americans with Disabilities Act,

                          d. the Health Insurance Portability and Accountability Act (“HIPAA”).

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       5.4.1.3    Proposer must identify its capabilities and experience in implementing
                  online education in compliance with the accreditation standards of the
                  Southern Association of Colleges and Schools (SACS) or other
                  accrediting bodies.

       5.4.1.4    Proposer must identify its use of the quality processes available from
                  applicable online education organizations, such as the WICHE
                  Cooperative for Educational Technologies (WCET), the Sloan
                  Consortium, or the Quality Matters (QM) Program.

       5.4.1.5    Proposer must address its capabilities and proposed approach for
                  maintaining continuity in as well as completing online education
                  Services that it provides to a UT Institution once such Services have
                  started and students have enrolled in online classes / degree plans.
                  Specifically, Proposer must identify the commitments that it offers to
                  the UT Institutions so that once that UT Institution starts an online
                  education program (and enrolls students in that program) with the
                  assistance of Proposer, the Proposer will remain committed not only
                  to the continued performance of Services in support of such a
                  program but to assurance that such a program is in fact completed. It
                  is anticipated that such commitments will include, but may not be
                  limited to, limitations on Proposer’s ability to terminate any Agreement
                  with a UT Institution in order to ensure the completion of an online
                  education program that has been initiated with that Proposer’s
                  assistance.

       5.4.1.6    Proposer must identify the advantages and benefits that it can provide
                  to the UT Institutions to both increase graduation rates and lower time
                  to degree completion via online education.

       5.4.1.7    If Proposer takes exception to any terms or conditions set forth in
                  Section 4 of this RFP, Proposer will submit a list of the exceptions.

       5.4.1.8    Proposer must identify all terms and conditions it proposes to include
                  in any Agreement with the University.

       5.4.1.9    Proposer must identify all uses of a UT Institution’s name, logos,
                  symbols, marks, or content (collectively, “University Marks and
                  Content”) that it proposes to make in the course of performing the
                  Services. If Proposer proposes to use any University Marks and
                  Content, then Proposer must agree to enter into a specific licensing
                  agreement with the University and Proposer’s use of University Marks
                  and Content must only be in accordance with the terms and
                  conditions of such a licensing agreement. Furthermore, please note
                  that the University expects to retain control over the use of any
                  University Marks and Content as provided in Section 4.48 above.

       5.4.1.10   Proposer must identify all processes and procedures it will implement
                  to avoid and address any conflicts of interest that may arise
                  respecting its provision of Services to multiple UT Institutions as well
                  as similar services that Provider may provide to its other customers or
                  clients.

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 5.4.2   Technology Assistance

         5.4.2.1   Proposer must provide a detailed description and explanation of the
                   Systems that it proposes, including the following:

                   a.   Where the Systems are to be hosted/operated/maintained.

                   b.   Proposer’s commitments for uptime, availability, and problem
                        resolution for its Systems. For example, Proposer must provide
                        a copy of any Service Level Agreement (SLA) or any similar
                        written commitments that it makes regarding its Systems,
                        including any compensation or consideration that Proposer
                        provides its customers for failure to satisfy such commitments.

                   c.   Proposer’s process and schedule for implementing and
                        integrating its Systems with a UT Institution (including a
                        description of how Proposer will integrate its Systems with an
                        existing UT Institution LMS/CMS or, if a Proposer offers a
                        Comprehensive Services Approach as set forth in Section 5.3.2
                        above, the specific LMSs or CMSs that the Proposer will offer in
                        under that approach.)

                   d.   A detailed description of how Proposer and a UT Institution’s
                        students, faculty, and staff may access and use its Systems to
                        perform the Technology Assistance requirements set forth in
                        Section 5.2.1, including:

                        (i)     the creation, tracking, and fulfillment/completion of degree
                                plans,

                        (ii)    provision of assistance to students in how to register for
                                courses and make payments to the UT Institution,

                        (iii)   the conduct of courses, including class sessions, online
                                participation (both real-time and via email, instant
                                messaging, chat, social media, etc.), testing, and grading,

                        (iv)    the capabilities of the Systems to allow the creation or
                                input of curricula, course materials, tests, notes, etc.,

                        (v)     the ability to search the Systems for information,

                        (vi)    the Systems’ report generation capabilities, and

                        (vii) Proposer’s specific identification of the elements that it
                              expects a UT Institution to provide in support of its
                              performance of such requirements.

                   e.   If Proposer offers an LMS or CMS, the analytics for
                        assessments or learning outcome measures and student usage
                        of online tools and content that the Proposer offers.

         5.4.2.2   In describing the assistance and monitoring that the Contractor must
                   provide as a part of or through its use of the Systems as set forth in
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                  Sections 5.2.1.2 and 5.2.1.5 above, Proposer must identify how it
                  proposes to provide such assistance to a UT Institution’s students,
                  faculty, and staff via (i) online interaction and communication and (ii)
                  personal contact and communication (e.g., meetings, phone calls.)

       5.4.2.3    Proposer must identify how it will ensure that its Systems can be
                  accessed and used by a wide variety of computing platforms (e.g.,
                  PCs, Macintosh/Apple, smart phones, computing tablets.)

       5.4.2.4    Proposer must identify its capabilities to provide technical support for
                  its Systems to a UT Institution’s students, faculty, and staff on a 24-
                  hour a day, 7 days a week basis. Proposer should identify its process
                  for addressing all malfunctions or problems with its Systems, including
                  Proposer’s methods for identifying or receiving notice of such issues
                  and Proposer’s response and resolution times based on the severity
                  and impact of the malfunction or problem.

       5.4.2.5    Proposer must identify its process for ongoing update or improvement
                  of its Systems to introduce new capabilities and functionalities and
                  how such updates or improvements will be made available for
                  implementation and use by the UT Institutions.

       5.4.2.6    Proposer must identify how it addresses updates or changes in its
                  Systems to ensure that such updates or changes are seamless to a
                  UT Institutions and its students, faculty, and staff that use such
                  Systems and will not affect the ability of the Systems to support a UT
                  Institution’s online education program. Specifically, Proposer must
                  address any limitations on the timing or implementation of updates
                  that can be made to its Systems or to any classes, courses, or other
                  materials implemented in its Systems. For example, Proposer must
                  identify any limitations or prohibitions in making updates to any online
                  course materials once that course has been started.

       5.4.2.7    Proposer must identify its requirements and capabilities for interaction
                  and integration with a UT Institution’s information technology systems.
                  For example, Proposer must identify its ability to interact and
                  integrate with various different types of LMSs / CMSs, as well as
                  Proposer’s ability to move or transition its performance of the Services
                  (including its Systems) to a new LMS or CMS used by a UT
                  Institution. (The LMSs /CMSs addressed by Proposer should not be
                  limited merely to those that the Proposer may offer as part of a
                  proposed Comprehensive Services approach.)

       5.4.2.8    If Proposer offers to provide an LMS/CMS, then Proposer must
                  identify if such a system can be accessed and used “off-line” or if the
                  system requires an Internet/web connection in order to be accessed
                  and used.

       5.4.2.9    Proposer should identify any experience it has with the Sharable
                  Content Object Reference Model (SCORM).

       5.4.2.10   Proposer must identify its processes for security, backup/restore,
                  records retention, and disaster recovery of its Systems and the data
                  and information stored on those Systems (including student
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                    information and work.) Specifically, Proposer must identify its
                    approach for the preservation of records to address issues such as
                    grade appeals and the access by a UT Institution’s faculty to such
                    records.

         5.4.2.11   In its proposal, Proposer must indicate whether it will consent to
                    include in the Agreement the “State Web Site Requirements”
                    language that is set forth in APPENDIX THREE. If Proposer objects
                    to the inclusion of the “State Web Site Requirements” language in the
                    Agreement, Proposer must, as part of its proposal, specifically identify
                    and describe in detail all of the reasons for Proposer’s objection.
                    NOTE THAT A GENERAL OBJECTION IS NOT AN ACCEPTABLE
                    RESPONSE TO THIS QUESTION.

         5.4.2.12   In its proposal, Proposer must provide a response to each item listed
                    in APPENDIX FOUR, Electronic and Information Resources
                    (“EIR”) Environment Specifications for all of the Systems it
                    proposes. APPENDIX FOUR will establish specifications,
                    representations, warranties and agreements related to the EIRs that
                    Proposer is offering to provide to University. If a Proposer is selected
                    to enter into an Agreement with the University, then that Proposer’s
                    responses to APPENDIX FOUR will be incorporated into the
                    Agreement and will be binding on that Proposer.

 5.4.3   Course Design/Implementation

         5.4.3.1    Proposer must identify its capabilities to assist UT Institutions in
                    designing online educational programs in new formats and using new
                    techniques in order to meet the learning objectives of “face-to-face”
                    degrees.

         5.4.3.2    Proposer must identify the anticipated number of students for which it
                    proposes that online classes should be designed and built. In
                    particular, Proposer must identify its capabilities and expertise in
                    designing and implementing online courses so as to maximize the
                    scalability of those courses - in other words, to enroll the maximum
                    possible number of students in such courses over and above the
                    number of students able to participate in such courses through
                    traditional classroom instruction.

         5.4.3.3    Proposer must identify its ability to work on implementing online
                    education programs with a wide range of institutions - from institutions
                    with great capability and capacity in such programs to those with
                    limited capability and capacity.

         5.4.3.4    Proposer must identify its ability and proposed approach to implement
                    online education to accommodate courses of various lengths at the
                    same time. Specifically, Proposer must identify its proposed
                    approach for enabling online students taking short courses to
                    complete and obtain credit for the number and types of courses that
                    non-online students are able to complete in the same time frame.



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         5.4.3.5   Proposer must identify how it proposes to address online education
                   courses and degree programs in which clinical experience or
                   laboratory work is a requirement.

         5.4.3.6   Proposer must identify its proposed process for determining the order
                   for implementation of specific classes or degree plans via online
                   education, based on Proposer’s knowledge and experience of the
                   suitability of such classes or plans for online implementation.

         5.4.3.7   Proposer must identify its ability to assist in the development and
                   support of online courses suitable for areas and locations outside of a
                   UT Institution’s traditional vicinity (e.g., throughout Texas and the
                   other U.S. states, as well as internationally.)

         5.4.3.8   Proposer must identify the assistance it offers to provide to the UT
                   Institutions in determining the prices and fees that the Institution
                   charges for the various online courses and degree plans offered
                   under an online education program. For example, each Proposer
                   must address how it proposes to assist the UT Institutions in
                   developing a complete, total up-front student “package price” for all
                   classes required to complete a degree under the Comprehensive
                   Services Approach (ref. Section 5.4.9 below.)

 5.4.4   Professional Development

         5.4.4.1   Proposer must describe how Proposer proposes to have its personnel
                   interact with (i) UT Institutional faculty for training on the Institution’s
                   LMS/CMS and (ii) UT Institutional staff in order to conduct involved,
                   detailed training focused on interaction with Proposer’s Systems.
                   Specifically, Proposer must identify the processes and approaches it
                   uses to train and assist faculty members in converting and tailoring
                   their courses for online and accelerated learning approaches.

         5.4.4.2   Proposer must identify the support that it proposes to provide to a UT
                   Institution in the area of academic advising for that Institution’s online
                   education programs.

 5.4.5   Recruiting/Marketing

         5.4.5.1   Proposer must identify its capabilities and actual experience and
                   expertise in marketing online education programs and in recruiting
                   prospective students for such programs. In doing so, Proposer must
                   address its ability to recruit and market online education programs
                   outside a UT Institution’s traditional student base (e.g., recruitment
                   and marketing throughout Texas, the U.S., and internationally.) This
                   should include the Proposer’s provision of assistance to students
                   through all phases of recruitment up to and including matriculation as
                   well as support of a student’s continuation in such a program (e.g.,
                   support in enrollment services.)

         5.4.5.2   Proposer must identify the services it will provide to contact and assist
                   both students enrolled in, and prospective students considering
                   enrollment in, a UT Institution’s online education programs. Such
                   assistance includes aiding such prospective students in making and
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                  submitting applications, providing required information (e.g.,
                  transcripts), tracking application progress, completing financial aid
                  applications, and registering for classes.

       5.4.5.3    Proposer must identify any firms or entities with which Proposer has
                  agreements or made arrangements in support of its recruiting and
                  marketing of online education services that Proposer offers to make
                  available for use by the UT Institutions. Specifically, Proposer must
                  address how it would leverage the relationships it currently has with
                  employers, community college systems, the U.S. military, and other
                  organizations that may sponsor prospective students in a UT
                  Institution’s online education program or otherwise promote such a
                  program to prospective students. Furthermore, Proposer must
                  indicate how it proposes to establish new relationships with such firms
                  or entities in order to market and promote a UT Institution’s online
                  education program.

       5.4.5.4    Proposer should identify its capabilities for conducting advertising and
                  promotion of a UT Institution’s online education programs (e.g.
                  television, radio, direct marketing, social media and other online
                  activities), as well as the types of advertising and promotion that
                  Proposer, based on its experience, recommends as being the most
                  advantageous for online education services.

       5.4.5.5    Proposer must describe its proposed approach for developing and
                  implementing a recruiting/marketing plan for a UT Institution’s online
                  education program. In doing so, Proposer must identify the UT
                  Institution’s involvement in such development and implementation -
                  for example, identification of the persons at the UT Institution whom
                  the Proposer recommends for involvement in such activities.
                  Furthermore, Proposer must identify the metrics that it proposes to
                  use to measure the effectiveness of such a plan.

       5.4.5.6    Proposer must identify how it proposes to identify specific groups or
                  markets to which its recruiting/marketing activities will be targeted.

       5.4.5.7    Proposer must demonstrate its ability to effectively market, advertise,
                  and recruit students for online courses of varying length.

       5.4.5.8    Proposer must identify its process for ensuring that all
                  recruiting/marketing/advertising that it performs is in accordance with
                  all applicable laws and regulations.

       5.4.5.9    Proposer must identify its capabilities to expand a UT Institution’s
                  course offerings to other U. S. states. In doing so, Proposer must
                  identify its ability to comply with applicable federal and state laws,
                  rules, and regulations concerning out-of-state online education
                  services.

       5.4.5.10   Please note that the University’s intent in procuring such
                  recruiting/marketing services is not merely to engage the services of
                  an advertising agency, but instead to engage Contractors with the
                  ability to build relationships with external organizations that will
                  encourage and support prospective students to enroll in and complete
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                    online education courses and degrees, as well as assist such
                    students in doing so. Therefore, it is desired that Proposers keep
                    these objectives in mind in responding to this RFP.

 5.4.6   Financial Terms

         5.4.6.1    Proposer must provide a plan of financing and pricing model(s) for the
                    implementation and operation of online education services at the UT
                    Institutions. Specifically, Proposer should address its ability to finance
                    the up-front implementation and operation costs for a UT Institution’s
                    online education program, as well as Proposer’s proposed approach
                    for its recovery of those up-front costs.

         5.4.6.2    Proposer must identify its experience and expertise in assisting
                    institutions of higher education in complying with state and federal
                    financial aid regulations as they relate to short courses, sequential
                    courses, and online courses.

         5.4.6.3    Proposer must identify the financial investments that a UT Institution
                    will be required to make if it pursues online education services using
                    Proposer’s Services. In doing so, Proposer must identify, based on its
                    experience, when a UT Institution should anticipate recovery of such
                    investments based on its use of Proposer’s Services.

         5.4.6.4    In its proposal, Proposer must address how its own financial status
                    and condition makes it suitable to provide the financing solutions it
                    proposes. In addition, if Proposer identifies its ability to finance the
                    up-front implementation and operation costs for a UT Institution’s
                    online education program as provided in Section 5.4.6.1 above, then
                    Proposer should, as applicable, include in the customer reference list
                    required as set forth in Section 3.1.7 of APPENDIX ONE those
                    organizations for whom Proposer has provided such financing and
                    describe how Proposer arranged and implemented such financing for
                    those organizations.

 5.4.7   Instructional Support

         5.4.7.1    Proposer must identify its experience and expertise in providing
                    instructional assistants in the course of online education courses and
                    programs. Proposer must identify its process for engaging, training,
                    and monitoring the performance of such assistants. Proposer must
                    identify how it determines the qualifications for such instructional
                    assistants. Proposer must also identify the hours that such
                    instructional assistants will be available (i.e., 8 a.m. to 6 p.m. CST.)

         5.4.7.2    Proposer must identify its ability to provide such assistants from
                    locations other than only those from the local area particular to a UT
                    Institution.

         5.4.7.3    Proposer must identify its ability to provide instructional support for
                    online education in languages other than English.

         5.4.7.4    Proposer must describe its proposed efforts to ensure that, once
                    enrolled in an online class or degree program, students are provided
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                    essential support not only with individual classes, but also with overall
                    progress throughout their degree plan and in degree accomplishment.
                    For example, Proposer must identify its process for ensuring student
                    retention in a UT Institution’s online education program, such as

                    a. helping students who are having academic difficulties find
                       institutional support services,

                    b. helping students meet registration deadlines, and

                    c. checking on and assisting students who appear to have dropped
                       out of online classes or participating in an online degree program.

 5.4.8   Menu-Based Services Approach

         The University’s preference under this approach is for each Contractor to
         establish a standardized approach under which the UT Institutions can easily
         identify the various Services options that are available, including pricing, and
         select from amongst those options to readily create a customized Order for those
         options. Therefore, each Proposer must identify the processes and procedures
         that it offers to put into place to make this menu-based approach available. In
         addition, each Proposer must identify applicable discounts or other benefits that it
         offers to the UT Institutions when purchasing under this approach (discounts for
         multiple Services selected.)

 5.4.9   Comprehensive Services Approach

         The University’s preference is to provide online education services under this
         approach that establish a complete, total up-front student “package price” for all
         classes required to complete a degree. Each Proposer proposing this approach
         must identify its capabilities and processes for establishing comprehensive online
         education services that implement such a “package price”. In particular, such a
         Proposer must address (1) how it calculates all of the costs and determines all of
         the requirements for providing online education degrees so that Proposer can
         commit to such package price and (2) its proposed approach for financing the
         initial costs of such an approach and for recovery of such costs during the period
         of time during which a student obtains a degree for which a package price is
         charged.




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                                          SECTION 6

                            PRICING AND DELIVERY SCHEDULE


Proposal of: ___________________________________
             (Proposer Company Name)

To:         The University of Texas System Administration

Ref.:       Selection of Vendor(s) to Provide Online Education Services

RFP No.: BOR-07-08-11



Ladies and Gentlemen:

Having carefully examined all the specifications and requirements of this RFP and any
attachments thereto, the undersigned proposes to furnish the services required pursuant to the
above-referenced Request for Proposal upon the terms quoted below.

6.1      Pricing for Services Offered (Note: See “Pricing of Services Approaches” in Section
         5.3.3.)

         ________________________________________________________________

         ________________________________________________________________

         ________________________________________________________________

         ________________________________________________________________

         ________________________________________________________________

6.2      Delivery Schedule of Events and Time Periods

         ________________________________________________________________

         ________________________________________________________________

         ________________________________________________________________

         ________________________________________________________________




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6.3    University’s Payment Terms

       University’s standard payment terms for services are “Net 30 days.” Proposer agrees
       that University will be entitled to withhold __________ percent (________%) of the total
       payment due under the Agreement until after University’s acceptance of the final work
       product. Indicate below the prompt payment discount that Proposer will provide to
       University:

       Prompt Payment Discount: _____%_____days/net 30 days

                                           Respectfully submitted,

                                           Proposer: ____________________________


                                                   By: ___________________________
                                                         (Authorized Signature for Proposer)
                                                   Name: _________________________
                                                   Title: __________________________


                                                   Date: _____________________




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                                                 APPENDIX ONE

                                        PROPOSAL REQUIREMENTS


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                                                          SECTION 1

                                                  GENERAL INFORMATION

1.1    Purpose

       University is soliciting competitive sealed proposals from Proposers having suitable qualifications and experience
       providing services in accordance with the terms, conditions and requirements set forth in this RFP. This RFP provides
       sufficient information for interested parties to prepare and submit proposals for consideration by University.

       By submitting a proposal, Proposer certifies that it understands this RFP and has full knowledge of the scope, nature,
       quality, and quantity of the services to be performed, the detailed requirements of the services to be provided, and the
       conditions under which such services are to be performed. Proposer also certifies that it understands that all costs relating
       to preparing a response to this RFP will be the sole responsibility of the Proposer.

       PROPOSER IS CAUTIONED TO READ THE INFORMATION CONTAINED IN THIS RFP CAREFULLY AND TO SUBMIT
       A COMPLETE RESPONSE TO ALL REQUIREMENTS AND QUESTIONS AS DIRECTED.

1.2    Inquiries and Interpretations

       University may in its sole discretion respond in writing to written inquiries concerning this RFP and mail its response as an
       Addendum to all parties recorded by University as having received a copy of this RFP. Only University’s responses that
       are made by formal written Addenda will be binding on University. Any verbal responses, written interpretations or
       clarifications other than Addenda to this RFP will be without legal effect. All Addenda issued by University prior to the
       Submittal Deadline will be and are hereby incorporated as a part of this RFP for all purposes.

       Proposers are required to acknowledge receipt of each Addendum as specified in this Section. The Proposer must
       acknowledge all Addenda by completing, signing and returning the Addenda Checklist (ref. Section 4 of APPENDIX
       ONE). The Addenda Checklist must be received by University prior to the Submittal Deadline and should accompany the
       Proposer’s proposal.

       Any interested party that receives this RFP by means other than directly from University is responsible for notifying
       University that it has received an RFP package, and should provide its name, address, telephone number and FAX
       number to University, so that if University issues Addenda to this RFP or provides written answers to questions, that
       information can be provided to such party.

1.3    Public Information

       Proposer is hereby notified that University strictly adheres to all statutes, court decisions and the opinions of the Texas
       Attorney General with respect to disclosure of public information.

       University may seek to protect from disclosure all information submitted in response to this RFP until such time as a final
       agreement is executed.

       Upon execution of a final agreement, University will consider all information, documentation, and other materials
       requested to be submitted in response to this RFP, to be of a non-confidential and non-proprietary nature and, therefore,
       subject to public disclosure under the Texas Public Information Act (Government Code, Chapter 552.001, et seq.).
       Proposer will be advised of a request for public information that implicates their materials and will have the opportunity to
       raise any objections to disclosure to the Texas Attorney General. Certain information may be protected from release
       under Sections 552.101, 552.110, 552.113, and 552.131, Government Code.

1.4    Type of Agreement

       Contractor, if any, will be required to enter into a contract with University in a form that (i) includes terms and conditions
       substantially similar to the terms and conditions set forth in Section 4 of this RFP, and (ii) is otherwise acceptable to
       University in all respects (the “Agreement”).

1.5    Proposal Evaluation Process

       University will select Contractor by using the competitive sealed proposal process described in this Section. University
       will open the HSP Envelope submitted by a Proposer prior to opening the Proposer’s proposal in order to ensure that the
       Proposer has submitted the number of completed and signed originals of the Proposer’s HUB Subcontracting Plan (also
       called the HSP) that are required by this RFP (ref. Section 2.5.4 of the RFP.) All proposals submitted by the Submittal
       Deadline accompanied by the number of completed and signed originals of the HSP that are required by this RFP will be
       opened publicly to identify the name of each Proposer submitting a proposal. Any proposals that are not submitted by
       the Submittal Date or that are not accompanied by the number of completed and signed originals of the HSP that are
       required by this RFP will be rejected by the University as non-responsive due to material failure to comply with advertised
       specifications.    After the opening of the proposals and upon completion of the initial review and evaluation of the
       proposals, University may invite one or more selected Proposers to participate in oral presentations and face to face
       interviews. University will use commercially reasonable efforts to avoid public disclosure of the contents of a proposal prior
       to selection of Contractor.




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       University may make the selection of Contractor on the basis of the proposals initially submitted, without discussion,
       clarification or modification. In the alternative, University may make the selection of Contractor on the basis of discussions
       and negotiation with any of the Proposers. In conducting such negotiations, University will avoid disclosing the contents of
       competing proposals.

       At University's sole option and discretion, University may discuss and negotiate all elements of the proposals submitted by
       selected Proposers within a specified competitive range. For purposes of negotiation, University may establish, after an
       initial review of the proposals, a competitive range of acceptable or potentially acceptable proposals composed of the
       highest rated proposal(s). In that event, University will defer further action on proposals not included within the competitive
       range pending the selection of Contractor; provided, however, University reserves the right to include additional proposals
       in the competitive range if deemed to be in the best interests of University.

       After submission of a proposal but before final selection of Contractor is made, University may permit a Proposer to revise
       its proposal in order to obtain the Proposer's best and final offer. In that event, representations made by Proposer in its
       revised proposal, including price and fee quotes, will be binding on Proposer. University will provide each Proposer within
       the competitive range with an equal opportunity for discussion and revision of its proposal. University is not obligated to
       select the Proposer offering the most attractive economic terms if that Proposer is not the most advantageous to
       University overall, as determined by University.

       University reserves the right to (a) enter into an agreement for all or any portion of the requirements and specifications set
       forth in this RFP with one or more Proposers, (b) reject any and all proposals and re-solicit proposals, or (c) reject any and
       all proposals and temporarily or permanently abandon this selection process, if deemed to be in the best interests of
       University. Proposer is hereby notified that University will maintain in its files concerning this RFP a written record of the
       basis upon which a selection, if any, is made by University.

1.6    Proposer's Acceptance of Evaluation Methodology

       By submitting a proposal, Proposer acknowledges (1) Proposer's acceptance of [a] the Proposal Evaluation Process
       (ref. Section 1.5 of APPENDIX ONE), [b] the Criteria for Selection (ref. 2.3 of this RFP), [c] the Specifications; Required
       Information and Questions (ref. Section 5 of this RFP), [d] the terms and conditions set forth in Section 4 of this RFP,
       and [e] all other requirements and specifications set forth in this RFP; and (2) Proposer's recognition that some subjective
       judgments must be made by University during this RFP process.

1.7    Solicitation for Proposal and Proposal Preparation Costs

       Proposer understands and agrees that (1) this RFP is a solicitation for proposals and University has made no
       representation written or oral that one or more agreements with University will be awarded under this RFP; (2) University
       issues this RFP predicated on University’s anticipated requirements for the Services, and University has made no
       representation, written or oral, that any particular scope of services will actually be required by University; and (3)
       Proposer will bear, as its sole risk and responsibility, any cost that arises from Proposer’s preparation of a proposal in
       response to this RFP.

1.8    Proposal Requirements and General Instructions

       1.8.1     Proposer should carefully read the information contained herein and submit a complete proposal in response to
                 all requirements and questions as directed.

       1.8.2     Proposals and any other information submitted by Proposer in response to this RFP will become the property of
                 University.

       1.8.3     University will not provide compensation to Proposer for any expenses incurred by the Proposer for proposal
                 preparation or for demonstrations or oral presentations that may be made by Proposer, unless otherwise
                 expressly agreed in writing. Proposer submits its proposal at its own risk and expense.

       1.8.4     Proposals that (i) are qualified with conditional clauses; (ii) alter, modify, or revise this RFP in any way; or (iii)
                 contain irregularities of any kind, are subject to disqualification by University, at University’s sole discretion.

       1.8.5     Proposals should be prepared simply and economically, providing a straightforward, concise description of
                 Proposer's ability to meet the requirements and specifications of this RFP. Emphasis should be on
                 completeness, clarity of content, and responsiveness to the requirements and specifications of this RFP.

       1.8.6     University makes no warranty or guarantee that an award will be made as a result of this RFP. University
                 reserves the right to accept or reject any or all proposals, waive any formalities, procedural requirements, or
                 minor technical inconsistencies, and delete any requirement or specification from this RFP when deemed to be
                 in University's best interest. University reserves the right to seek clarification from any Proposer concerning any
                 item contained in its proposal prior to final selection. Such clarification may be provided by telephone
                 conference or personal meeting with or writing to University, at University’s sole discretion. Representations
                 made by Proposer within its proposal will be binding on Proposer.

       1.8.7     Any proposal that fails to comply with the requirements contained in this RFP may be rejected by University, in
                 University’s sole discretion.




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1.9    Preparation and Submittal Instructions

       1.9.1    Specifications; Required Information and Questions

                Proposals must include responses to the requests and questions in the Specifications; Required Information
                and Questions (ref. Section 5 of this RFP). Proposer should reference the item number and repeat the question
                in its response. In cases where a question does not apply or if unable to respond, Proposer should refer to the
                item number, repeat the question, and indicate N/A (Not Applicable) or N/R (No Response), as appropriate.
                Proposer should explain the reason when responding N/A or N/R.

       1.9.2    Execution of Offer

                Proposer must complete, sign and return the attached Execution of Offer (ref. Section 2 of APPENDIX ONE)
                as part of its proposal. The Execution of Offer must be signed by a representative of Proposer duly authorized
                to bind the Proposer to its proposal. Any proposal received without a completed and signed Execution of Offer
                may be rejected by University, in its sole discretion.

       1.9.3    Pricing and Delivery Schedule

                Proposer must complete and return the Pricing and Delivery Schedule (ref. Section 6 of this RFP), as part of its
                proposal. In the Pricing and Delivery Schedule, the Proposer should describe in detail (a) the total fees for the
                entire scope of the Services; and (b) the method by which the fees are calculated. The fees must inclusive of all
                associated costs for delivery, labor, insurance, taxes, overhead, and profit.

                University will not recognize or accept any charges or fees to perform the Services that are not specifically
                stated in the Pricing and Delivery Schedule.

                In the Pricing and Delivery Schedule, Proposer should describe each significant phase in the process of
                providing the Services to University, and the time period within which Proposer proposes to be able to complete
                each such phase.

       1.9.4    Proposer’s General Questionnaire

                Proposals must include responses to the questions in Proposer’s General Questionnaire (ref. Section 3 of
                APPENDIX ONE). Proposer should reference the item number and repeat the question in its response. In
                cases where a question does not apply or if unable to respond, Proposer should refer to the item number,
                repeat the question, and indicate N/A (Not Applicable) or N/R (No Response), as appropriate. Proposer should
                explain the reason when responding N/A or N/R.

       1.9.5    Addenda Checklist

                Proposer should acknowledge all Addenda to this RFP (if any) by completing, signing and returning the
                Addenda Checklist (ref. Section 4 of APPENDIX ONE) as part of its proposal. Any proposal received without a
                completed and signed Addenda Checklist may be rejected by University, in its sole discretion.

       1.9.6    Submission

                Proposer should submit all proposal materials enclosed in a sealed envelope, box, or container. The RFP No.
                (ref. Section 1.3 of this RFP) and the Submittal Deadline (ref. Section 2.1 of this RFP) should be clearly shown
                in the lower left-hand corner on the top surface of the container. In addition, the name and the return address of
                the Proposer should be clearly visible.

                Proposer must also submit the number of originals of the HUB Subcontracting Plan (also called the HSP) as
                required by this RFP (ref. Section 2.5 of the RFP.)

                Upon Proposer’s request and at Proposer’s expense, University will return to a Proposer its proposal received
                after the Submittal Deadline if the proposal is properly identified. University will not under any circumstances
                consider a proposal that is received after the Submittal Deadline or which is not accompanied by the number of
                completed and signed originals of the HSP that are required by this RFP.

                University will not accept proposals submitted by telephone, proposals submitted by Facsimile (“FAX”)
                transmission, or proposals submitted by electronic transmission (i.e., e-mail) in response to this RFP.

                Except as otherwise provided in this RFP, no proposal may be changed, amended, or modified after it has been
                submitted to University. However, a proposal may be withdrawn and resubmitted at any time prior to the
                Submittal Deadline. No proposal may be withdrawn after the Submittal Deadline without University’s consent,
                which will be based on Proposer's submittal of a written explanation and documentation evidencing a reason
                acceptable to University, in University’s sole discretion.

                By signing the Execution of Offer (ref. Section 2 of APPENDIX ONE) and submitting a proposal, Proposer
                certifies that any terms, conditions, or documents attached to or referenced in its proposal are applicable to this
                procurement only to the extent that they (a) do not conflict with the laws of the State of Texas or this RFP and
                (b) do not place any requirements on University that are not set forth in this RFP or in the Appendices to this


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         RFP. Proposer further certifies that the submission of a proposal is Proposer's good faith intent to enter into an
         agreement with University as specified herein and that such intent is not contingent upon University's
         acceptance or execution of any terms, conditions, or other documents attached to or referenced in Proposer’s
         proposal.

 1.9.7   Page Size, Binders, and Dividers

         Proposals must be typed on letter-size (8-1/2” x 11”) paper, and must be submitted in a binder. Preprinted
         material should be referenced in the proposal and included as labeled attachments. Sections within a proposal
         should be divided by tabs for ease of reference.

 1.9.8   Table of Contents

         Proposals must include a Table of Contents with page number references. The Table of Contents must contain
         sufficient detail and be organized according to the same format as presented in this RFP, to allow easy
         reference to the sections of the proposal as well as to any separate attachments (which should be identified in
         the main Table of Contents). If a Proposer includes supplemental information or non-required attachments with
         its proposal, this material should be clearly identified in the Table of Contents and organized as a separate
         section of the proposal.

 1.9.9   Pagination

         All pages of the proposal should be numbered sequentially in Arabic numerals (1, 2, 3, etc.). Attachments
         should be numbered or referenced separately.




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                                                          SECTION 2

                                                   EXECUTION OF OFFER


THIS EXECUTION OF OFFER MUST BE COMPLETED, SIGNED AND RETURNED WITH PROPOSER'S PROPOSAL. FAILURE
TO COMPLETE, SIGN AND RETURN THIS EXECUTION OF OFFER WITH THE PROPOSER’S PROPOSAL MAY RESULT IN
THE REJECTION OF THE PROPOSAL.

2.1    By signature hereon, Proposer represents and warrants the following:

       2.1.1     Proposer acknowledges and agrees that (1) this RFP is a solicitation for a proposal and is not a contract or an
                 offer to contract; (2) the submission of a proposal by Proposer in response to this RFP will not create a contract
                 between University and Proposer; (3) University has made no representation or warranty, written or oral, that
                 one or more contracts with University will be awarded under this RFP; and (4) Proposer will bear, as its sole risk
                 and responsibility, any cost arising from Proposer’s preparation of a response to this RFP.

       2.1.2     Proposer is a reputable company that is lawfully and regularly engaged in providing the Services.

       2.1.3     Proposer has the necessary experience, knowledge, abilities, skills, and resources to perform the Services.

       2.1.4     Proposer is aware of, is fully informed about, and is in full compliance with all applicable federal, state and local
                 laws, rules, regulations and ordinances.

       2.1.5     Proposer understands (i) the requirements and specifications set forth in this RFP and (ii) the terms and
                 conditions set forth in Section 4 of this RFP, under which Proposer will be required to operate.

       2.1.6     If selected by University, Proposer will not delegate any of its duties or responsibilities under this RFP or the
                 Agreement to any sub-contractor, except as expressly provided in the Agreement.

       2.1.7     If selected by University, Proposer will maintain any insurance coverage as required by the Agreement during
                 the term thereof.

       2.1.8     All statements, information and representations prepared and submitted in response to this RFP are current,
                 complete, true and accurate. Proposer acknowledges that University will rely on such statements, information
                 and representations in selecting Contractor. If selected by University, Proposer will notify University immediately
                 of any material change in any matters with regard to which Proposer has made a statement or representation or
                 provided information.

       2.1.9     PROPOSER WILL DEFEND WITH COUNSEL APPROVED BY UNIVERSITY, INDEMNIFY, AND HOLD HARMLESS UNIVERSITY,
                 THE UNIVERSITY OF TEXAS SYSTEM, THE STATE OF TEXAS, AND ALL OF THEIR REGENTS, OFFICERS, AGENTS AND
                 EMPLOYEES, FROM AND AGAINST ALL ACTIONS, SUITS, DEMANDS, COSTS, DAMAGES, LIABILITIES AND OTHER CLAIMS OF
                 ANY NATURE, KIND OR DESCRIPTION, INCLUDING REASONABLE ATTORNEYS’ FEES INCURRED IN INVESTIGATING,
                 DEFENDING OR SETTLING ANY OF THE FOREGOING, ARISING OUT OF, CONNECTED WITH, OR RESULTING FROM ANY
                 NEGLIGENT ACTS OR OMISSIONS OR WILLFUL MISCONDUCT OF PROPOSER OR ANY AGENT, EMPLOYEE,
                 SUBCONTRACTOR, OR SUPPLIER OF PROPOSER IN THE EXECUTION OR PERFORMANCE OF ANY CONTRACT OR
                 AGREEMENT RESULTING FROM THIS RFP.

       2.1.10    Pursuant to Sections 2107.008 and 2252.903, Government Code, any payments owing to Proposer under any
                 contract or agreement resulting from this RFP may be applied directly to any debt or delinquency that Proposer
                 owes the State of Texas or any agency of the State of Texas regardless of when it arises, until such debt or
                 delinquency is paid in full.

2.2    By signature hereon, Proposer offers and agrees to furnish the Services to University and comply with all terms,
       conditions, requirements and specifications set forth in this RFP.

2.3    By signature hereon, Proposer affirms that it has not given or offered to give, nor does Proposer intend to give at any time
       hereafter, any economic opportunity, future employment, gift, loan, gratuity, special discount, trip, favor or service to a
       public servant in connection with its submitted proposal. Failure to sign this Execution of Offer, or signing with a false
       statement, may void the submitted proposal or any resulting contracts, and the Proposer may be removed from all
       proposal lists at University.

2.4    By signature hereon, Proposer certifies that it is not currently delinquent in the payment of any taxes due under
       Chapter 171, Tax Code, or that Proposer is exempt from the payment of those taxes, or that Proposer is an out-of-state
       taxable entity that is not subject to those taxes, whichever is applicable. A false certification will be deemed a material
       breach of any resulting contract or agreement and, at University's option, may result in termination of any resulting
       contract or agreement.




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2.5     By signature hereon, Proposer hereby certifies that neither Proposer nor any firm, corporation, partnership or institution
        represented by Proposer, or anyone acting for such firm, corporation or institution, has violated the antitrust laws of the
        State of Texas, codified in Section 15.01, et seq., Business and Commerce Code, or the Federal antitrust laws, nor
        communicated directly or indirectly the proposal made to any competitor or any other person engaged in such line of
        business.

2.6     By signature hereon, Proposer certifies that the individual signing this document and the documents made a part of this
        RFP, is authorized to sign such documents on behalf of Proposer and to bind Proposer under any agreements and other
        contractual arrangements that may result from the submission of Proposer’s proposal.

2.7     By signature hereon, Proposer certifies as follows:

        "Under Section 231.006, Family Code, relating to child support, Proposer certifies that the individual or business entity
        named in the Proposer’s proposal is not ineligible to receive the specified contract award and acknowledges that any
        agreements or other contractual arrangements resulting from this RFP may be terminated if this certification is
        inaccurate."

2.8     By signature hereon, Proposer certifies that (i) no relationship, whether by blood, marriage, business association, capital
        funding agreement or by any other such kinship or connection exists between the owner of any Proposer that is a sole
        proprietorship, the officers or directors of any Proposer that is a corporation, the partners of any Proposer that is a
        partnership, the joint venturers of any Proposer that is a joint venture or the members or managers of any Proposer that is
        a limited liability company, on one hand, and an employee of any component of The University of Texas System, on the
        other hand, other than the relationships which have been previously disclosed to University in writing; (ii) Proposer has not
        been an employee of any component institution of The University of Texas System within the immediate twelve (12)
        months prior to the Submittal Deadline; and (iii) no person who, in the past four (4) years served as an executive of a state
        agency was involved with or has any interest in Proposer’s proposal or any contract resulting from this RFP (ref. Section
        669.003, Government Code). All disclosures by Proposer in connection with this certification will be subject to
        administrative review and approval before University enters into a contract or agreement with Proposer.

2.9     By signature hereon, Proposer certifies that in accordance with Section 2155.004, Government Code, no compensation
        has been received for its participation in the preparation of the requirements or specifications for this RFP. In addition,
        Proposer certifies that an award of a contract to Proposer will not violate Section 2155.006, Government Code, prohibiting
        University from entering into a contract that involves financial participation by a person who, during the previous five
        years, has been convicted of violating federal law or assessed a penalty in a federal civil or administrative enforcement
        action in connection with a contract awarded by the federal government for relief, recovery, or reconstruction efforts as a
        result of Hurricane Rita, Hurricane Katrina, or any other disaster occurring after September 24, 2005. Pursuant to
        Sections 2155.004 and 2155.006, Government Code, Proposer certifies that Proposer is not ineligible to receive the
        award of or payments under the Agreement and acknowledges that the Agreement may be terminated and payment
        withheld if these certifications are inaccurate.

2.10    By signature hereon, Proposer certifies its compliance with all federal laws and regulations pertaining to Equal
        Employment Opportunities and Affirmative Action.

2.11    By signature hereon, Proposer represents and warrants that all products and services offered to University in response to
        this RFP meet or exceed the safety standards established and promulgated under the Federal Occupational Safety and
        Health Law (Public Law 91-596) and the Texas Hazard Communication Act, Chapter 502, Health and Safety Code, and all
        related regulations in effect or proposed as of the date of this RFP.

2.12    Proposer will and has disclosed, as part of its proposal, any exceptions to the certifications stated in this Execution of
        Offer. All such disclosures will be subject to administrative review and approval prior to the time University makes an
        award or enters into any contract or agreement with Proposer.

2.13    If Proposer will sell or lease computer equipment to the University under any agreements or other contractual
        arrangements that may result from the submission of Proposer’s proposal then, pursuant to Section 361.965(c), Health &
        Safety Code, Proposer certifies that it is in compliance with the Manufacturer Responsibility and Consumer Convenience
        Computer Equipment Collection and Recovery Act set forth in Chapter 361, Subchapter Y, Health & Safety Code and the
        rules adopted by the Texas Commission on Environmental Quality under that Act as set forth in Title 30, Chapter 328,
        Subchapter I, Texas Administrative Code. Section 361.952(2), Health & Safety Code states that, for purposes of the
        Manufacturer Responsibility and Consumer Convenience Computer Equipment Collection and Recovery Act, the term
        “computer equipment” means a desktop or notebook computer and includes a computer monitor or other display device
        that does not contain a tuner.

2.14    Proposer should complete the following information:

        If Proposer is a Corporation, then State of Incorporation:

        If Proposer is a Corporation then Proposer’s Corporate Charter Number: ______

        RFP No.: BOR-07-08-11




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NOTICE: WITH FEW EXCEPTIONS, INDIVIDUALS ARE ENTITLED ON REQUEST TO BE INFORMED ABOUT THE INFORMATION THAT
GOVERNMENTAL BODIES OF THE STATE OF TEXAS COLLECT ABOUT SUCH INDIVIDUALS. UNDER SECTIONS 552.021 AND 552.023,
GOVERNMENT CODE, INDIVIDUALS ARE ENTITLED TO RECEIVE AND REVIEW SUCH INFORMATION. UNDER SECTION 559.004, GOVERNMENT
CODE, INDIVIDUALS ARE ENTITLED TO HAVE GOVERNMENTAL BODIES OF THE STATE OF TEXAS CORRECT INFORMATION ABOUT SUCH
INDIVIDUALS THAT IS INCORRECT.



Submitted and Certified By:


(Proposer Institution’s Name)


(Signature of Duly Authorized Representative)


(Printed Name/Title)


(Date Signed)


(Proposer’s Street Address)


(City, State, Zip Code)


(Telephone Number)


(FAX Number)




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                                                             SECTION 3

                                             PROPOSER’S GENERAL QUESTIONNAIRE


NOTICE: WITH FEW EXCEPTIONS, INDIVIDUALS ARE ENTITLED ON REQUEST TO BE INFORMED ABOUT THE INFORMATION THAT
GOVERNMENTAL BODIES OF THE STATE OF TEXAS COLLECT ABOUT SUCH INDIVIDUALS. UNDER SECTIONS 552.021 AND 552.023,
GOVERNMENT CODE, INDIVIDUALS ARE ENTITLED TO RECEIVE AND REVIEW SUCH INFORMATION. UNDER SECTION 559.004, GOVERNMENT
CODE, INDIVIDUALS ARE ENTITLED TO HAVE GOVERNMENTAL BODIES OF THE STATE OF TEXAS CORRECT INFORMATION ABOUT SUCH
INDIVIDUALS THAT IS INCORRECT.

Proposals must include responses to the questions contained in this Proposer’s General Questionnaire. Proposer should reference
the item number and repeat the question in its response. In cases where a question does not apply or if unable to respond,
Proposer should refer to the item number, repeat the question, and indicate N/A (Not Applicable) or N/R (No Response), as
appropriate. Proposer will explain the reason when responding N/A or N/R.

3.1      Proposer Profile

         3.1.1     Legal name of Proposer company:



                   Address of principal place of business:




                   Address of office that would be providing service under the Agreement:




                   Number of years in Business:

                   State of incorporation:

                   Number of Employees:

                   Annual Revenues Volume:

                   Name of Parent Corporation, if any ______________________________
                            NOTE: If Proposer is a subsidiary, University prefers to enter into a contract or agreement
                            with the Parent Corporation or to receive assurances of performance from the Parent
                            Corporation.

         3.1.2     State whether Proposer will provide a copy of its financial statements for the past two (2) years, if requested by
                   University.

         3.1.3     Proposer will provide a financial rating of the Proposer entity and any related documentation (such as a Dunn
                   and Bradstreet analysis) that indicates the financial stability of Proposer.

         3.1.4     Is Proposer currently for sale or involved in any transaction to expand or to become acquired by another
                   business entity? If yes, Proposer will explain the expected impact, both in organizational and directional terms.

         3.1.5     Proposer will provide any details of all past or pending litigation or claims filed against Proposer that would
                   affect its performance under the Agreement with University (if any).

         3.1.6     Is Proposer currently in default on any loan agreement or financing agreement with any bank, financial
                   institution, or other entity? If yes, Proposer will specify the pertinent date(s), details, circumstances, and
                   describe the current prospects for resolution.

         3.1.7     Proposer will provide a customer reference list of no less than three (3) organizations with which Proposer
                   currently has contracts and/or to which Proposer has previously provided services (within the past five (5)
                   years) of a type and scope similar to those required by University’s RFP. Proposer will include in its customer
                   reference list the customer’s company name, contact person, telephone number, project description, length of
                   business relationship, and background of services provided by Proposer.



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       3.1.8     Does any relationship exist (whether by family kinship, business association, capital funding agreement, or any
                 other such relationship) between Proposer and any employee of University? If yes, Proposer will explain.

       3.1.9     Proposer will provide the name and Social Security Number for each person having at least 25% ownership
                 interest in Proposer. This disclosure is mandatory pursuant to Section 231.006, Family Code, and will be used
                 for the purpose of determining whether an owner of Proposer with an ownership interest of at least 25% is more
                 than 30 days delinquent in paying child support. Further disclosure of this information is governed by the Texas
                 Public Information Act, Chapter 552, Government Code, and other applicable law.

3.2    Approach to Project Services

       3.2.1     Proposer will provide a statement of the Proposer’s service approach and will describe any unique benefits to
                 University from doing business with Proposer. Proposer will briefly describe its approach for each of the
                 required services identified in Section 5.4 Scope of Work of this RFP.

       3.2.2     Proposer will provide an estimate of the earliest starting date for services following execution of the Agreement.

       3.2.3     Proposer will submit a work plan with key dates and milestones. The work plan should include:

                 3.2.3.1      Identification of tasks to be performed;

                 3.2.3.2      Time frames to perform the identified tasks;

                 3.2.3.3      Project management methodology;

                 3.2.3.4      Implementation strategy; and

                 3.2.3.5      The expected time frame in which the services would be implemented.

       3.2.4     Proposer will describe the types of reports or other written documents Proposer will provide (if any) and the
                 frequency of reporting, if more frequent than required in the RFP. Proposer will include samples of reports and
                 documents if appropriate.

3.3    General Requirements

       3.3.1     Proposer will provide summary resumes for its proposed key personnel who will be providing services under the
                 Agreement with University, including their specific experiences with similar service projects, and number of
                 years of employment with Proposer.

       3.3.2     Proposer will describe any difficulties it anticipates in performing its duties under the Agreement with University
                 and how Proposer plans to manage these difficulties. Proposer will describe the assistance it will require from
                 University.

3.4    Service Support

       Proposer will describe its service support philosophy, how is it implemented, and how Proposer measures its success in
       maintaining this philosophy.

3.5    Quality Assurance

       Proposer will describe its quality assurance program, its quality requirements, and how they are measured.

3.6    Miscellaneous

       3.6.1     Proposer will provide a list of any additional services or benefits not otherwise identified in this RFP that
                 Proposer would propose to provide to University. Additional services or benefits must be directly related to the
                 goods and services solicited under this RFP.

       3.6.2     Proposer will provide details describing any unique or special services or benefits offered or advantages to be
                 gained by University from doing business with Proposer. Additional services or benefits must be directly related
                 to the goods and services solicited under this RFP.

       3.6.3     Does Proposer have a contingency plan or disaster recovery plan in the event of a disaster? If so, then
                 Proposer will provide a copy of the plan.




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                                                    SECTION 4

                                             ADDENDA CHECKLIST


Proposal of: ___________________________________
                (Proposer Company Name)

To: The University of Texas System Administration

Ref.: Selection of Vendor(s) to Provide Online Education Services

RFP No.: BOR-07-08-11



Ladies and Gentlemen:

The undersigned Proposer hereby acknowledges receipt of the following Addenda to the captioned RFP (initial if
applicable).

                 No. 1 _____       No. 2 _____       No. 3 _____      No. 4 _____      No. 5 _____


                                                     Respectfully submitted,

                                                     Proposer: ________________________


                                                             By: ___________________________
                                                                 (Authorized Signature for Proposer)
                                                             Name: _________________________
                                                             Title: __________________________


                                                             Date: _____________________




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                           HUB SUBCONTRACTING PLAN




THE UNIVERSITY OF TEXAS SYSTEM ADMINISTRATION
May, 2009




APPENDIX TWO

POLICY ON UTILIZATION
HISTORICALLY UNDERUTILIZED BUSINESSES
Vendor/Commodities
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                                  The University of Texas System
                                    Office of HUB Development
              Policy on Utilization of Historically Underutilized Businesses (HUBs)


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                         The University of Texas System Administration

                               POLICY ON UTILIZATION OF
                      HISTORICALLY UNDERUTILIZED BUSINESSES (HUBs)

Introduction

In accordance with the Texas Government Code, Sections 2161.181-182 and Title 34, Section 20.11 of the
Texas Administrative Code (TAC), The Board of Regents of the University of Texas System, acting through
the Office of HUB Development shall make a good faith effort to utilize Historically Underutilized
Businesses (HUBs) in contracts for construction; services, including professional and consulting services;
and commodities contracts. The HUB Rules, promulgated by the Texas Comptroller of Public Accounts
(the “Texas Comptroller”), set forth in 34 TAC Sections 20.11-20.28, encourage the use of HUBs by
implementing these policies through race- ethnic- and gender-neutral means.

The purpose of the HUB Program is to promote full and equal business opportunities for all businesses in
State contracting in accordance with the following goals as specified in the State of Texas Disparity Study:

              11.9% for heavy construction other than building contracts;
              26.1% for all building construction, including general contractors and operative
               builders contracts:
              57.2% for all special trade construction contracts;
              20% for professional services contracts
              33% for all other services contracts, and
              12.6% for commodities contracts.

The University of Texas System shall make a good faith effort to meet or exceed these goals to assist HUBs
in receiving a portion of the total contract value of all contracts that the U. T. System expects to award in a
fiscal year. The University of Texas System may achieve the annual program goals by contracting directly
with HUBs or indirectly through subcontracting opportunities in accordance with the Texas Government
Code, Chapter 2161, Subchapter F.




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                                      SUMMARY OF REQUIREMENTS
                        Historically Underutilized Business (HUBs) Subcontracting Plan

It is the policy of The University of Texas System and each of its component institutions, to promote and encourage
contracting and subcontracting opportunities for Historically Underutilized Businesses (HUBs) in all contracts.
Accordingly, The University of Texas System has adopted “APPENDIX THREE, Policy on Utilization of
Historically Underutilized Businesses". The Policy applies to all contracts with an expected value of $100,000 or
more. The Board of Regents of The University of Texas System is the contracting authority.

1.     In all contracts for professional services, contracting services, and/or commodities with an expected value of
       $100,000 or more, The University of Texas System (“U. T. System” or the “University”) will indicate in the
       purchase solicitation (e.g. RFQ, RFP, or CSP) whether or not U. T. System has determined that subcontracting
       opportunities are probable in connection with the contract. A HUB Subcontracting Plan is a required element
       of the architect, contractor or vendor Response to the purchase solicitation. The HUB Subcontracting Plan
       shall be developed and administered in accordance with the Policy. Failure to submit a required HUB
       Subcontracting Plan will result in rejection of the Response.

2.     If subcontracting opportunities are probable, U. T. System will declare such probability in its invitations for
       bids, requests for proposals, or other purchase solicitation documents, and shall require submission of the
       appropriate HUB Subcontracting Plan with the Response.
       a.      When subcontracting opportunities are probable, and the Respondent proposes to subcontract any part
               of the work, the Respondent shall submit a HUB Subcontracting Plan as prescribed by the Texas
               Comptroller identifying subcontractors [[34 TAC §20.14 (d) (1)(A)(B)(C)(D) (2)(A)(B)(C)(D)(E)
               (3)(A)(B)].

       b.      When subcontracting opportunities are probable, but the Respondent can perform such opportunities
               with its employees and resources, the Respondent’s HUB Subcontracting Plan shall include the Self
               Performance HUB Subcontracting Plan, Section 9 – Self Performance Justification (page 9) as
               the HUB Subcontracting Plan (HSP). [34 TAC §20.14 (d)(4)(A)(B)(C)(D)]

3.     If subcontracting opportunities are not probable, U. T. System will declare such probability in its invitations
       for bids, requests for proposals, or other purchase solicitation documents and shall require submission of the
       appropriate HUB Subcontracting Plan with the Response.
       a.       When subcontracting opportunities are not probable, and the Respondent proposes to perform all of
               the work with its employees and resources, the Respondent shall submit a HUB Subcontracting Plan
               that includes the Self Performance HUB Subcontracting Plan, Section 9 – Self Performance
               Justification (page 9) as the HUB Subcontracting Plan (HSP).
       b.      When subcontracting opportunities are not probable, but the Respondent proposes to subcontract any
               part of the work, the Respondent shall submit a HUB Subcontracting Plan as prescribed by the
               Texas Comptroller identifying subcontractors.

4.     Respondents shall follow, but are not limited to, procedures listed in the Policy when developing a HUB
       Subcontracting Plan
5.     In making a determination whether a good faith effort has been made in the development of the required HUB
       Subcontracting Plan, U. T. System shall follow the procedures listed in the Policy. If accepted by the
       University, the HUB Subcontracting Plan shall become a provision of the Respondent's contract with the
       University of Texas System. Revisions necessary to clarify and enhance information submitted in the
       original HUB subcontracting plan may be made in an effort to determine good faith effort. Any revisions
       after the submission of the HUB Subcontracting Plan shall be approved by the HUB Coordinator.
6.     The University shall reject any Response that does not include a fully completed HUB Subcontracting Plan, as
       required. An incomplete HUB Subcontracting Plan is considered a material failure to comply with the
       solicitation for proposals.



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7.    Changes to the HUB Subcontracting Plan. Once a Respondent’s HUB Subcontracting Plan is accepted by U.
      T. System and becomes a provision of the contract between Respondent and U. T. System, the Respondent
      can only change that HUB Subcontracting Plan if (a) the Respondent complies with 34 TAC Section 20.14;
      (b) the Respondent provides its proposed changes to U. T. System for review; (c) U. T. System (including U.
      T. System’s HUB Coordinator) approves Respondent’s proposed changes to its HUB Subcontracting Plan;
      and (d) U. T. System and the Respondent amend their contract (via a writing signed by authorized officials of
      both parties) in order to replace the contract’s existing HUB Subcontracting Plan with a revised HUB
      Subcontracting Plan containing the changes approved by U. T. System.

8.    Expansion of Work. If, after entering into a contract with a Respondent as a result of a purchase solicitation
      subject to the Policy, U. T. System wishes to expand the scope of work that the Respondent will perform
      under that contract through a change order or any other contract amendment (the “Additional Work”), U. T.
      System will determine if the Additional Work contains probable subcontracting opportunities not identified in
      the initial purchase solicitation for that contract. If U. T. System determines that probable subcontracting
      opportunities exist for the Additional Work, then the Respondent must submit to U. T. System an amended
      HUB Subcontracting Plan covering those opportunities that complies with the provisions of 34 TAC Section
      20.14. Such an amended HUB Subcontracting Plan must be approved by U. T. System (including U. T.
      System’s HUB Coordinator) before (a) the contract may be amended by U. T. System and the Respondent to
      include the Additional Work and the amended HUB Subcontracting Plan and (b) the Respondent performs the
      Additional Work. If a Respondent subcontracts any of the additional subcontracting opportunities identified
      by U. T. System for any Additional Work (i) without complying with 34 TAC Section 20.14 or (ii) before U.
      T. System and that Respondent amend their contract to include a revised HUB Subcontracting Plan that
      authorizes such subcontracting, then the Respondent will be deemed to be in breach of its contract with U. T.
      System. As a result of such breach, U. T. System will be entitled to terminate its contract with the
      Respondent, and the Respondent will be subject to any remedial actions provided by Texas law, including
      those set forth in Chapter 2161, Texas Government Code, and 34 TAC Section 20.14. University may report a
      Respondent’s nonperformance under a contract between that Respondent and U. T. System to the Texas
      Comptroller in accordance with 34 TAC Sections 20.101 through 20.108.

9.    A Response may state that the Respondent intends to perform all the subcontracting opportunities with its own
      employees and resources in accordance with the Policy. However, if such a Respondent enters into a contract
      with U. T. System as a result of such a Response but later desires to subcontract any part of the work set forth
      in that contract, before the Respondent subcontracts such work it must first change its HUB Subcontracting
      Plan in accordance with the provisions of Section 7 above .

10.   The University shall require a vendor to whom a contract has been awarded to report the identity and the
      amount paid to its subcontractors by submitting a HUB Subcontracting Plan (HSP) Prime Contractor
      Progress Assessment Report (PAR) with each request as a condition for payment.

11.   If the University determines that the successful Respondent failed to implement an approved HUB
      Subcontracting Plan in good faith, the University, in addition to any other remedies, may report
      nonperformance to the Texas Comptroller in accordance with 34 TAC, Section 20.14, (d) (13) related
      remedies of nonperformance to professional services firms, contractor, and vender implementation of the
      HUB Subcontracting Plan.

12.   In the event of any conflict between this “Summary of Requirements” and the remainder of the HUB Policy,
      the remainder of the HUB Policy will control.

13.   These requirements, including the attachments referred to above, may be downloaded over the Internet from
      http://www.utsystem.edu. For additional information contact Lynda Dyess, Director of HUB Programs, The
      University of Texas System Administration, 512/499-4724.




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                                          Vendor/Commodities HSP
                              Summary of Attachments Required from Respondents

                                                     Letter of      HUB Subcontracting     Progress
                                                    Transmittal        Plan (HSP)         Assessment
                                                      Page 7           Pages 8-10        Report (PAR)
                                                                                           Page 11
1.   UT SYSTEM DETERMINES                 THAT
SUBCONTRACTING OPPORTUNITIES               ARE
PROBABLE.
1. A. Respondent Proposes Subconsultants:
Attachments required from the Respondent for
the HUB Subcontracting Plan if the solicitation
states that subcontracting opportunities are
probable.                                                 X                 X
1. B.         Respondent Proposes Self-
Performance: Attachments required from the
Respondent for the HUB Subcontracting Plan if
the solicitation states that subcontracting
opportunities are probable, but the Respondent
can perform such opportunities with its
employees and resources.                                  X                 X
2.     UT SYSTEM DETERMINES THAT
SUBCONTRACTING OPPORTUNITIES ARE NOT
PROBABLE.

2. A.          Respondent Proposes Self-
Performance:
Attachments required from the Respondent for
the HUB Subcontracting Plan if the solicitation
states that subcontracting opportunities are not
probable, but the Respondent can perform such
opportunities with its employees and resources.           X                 X
2. B. Respondent Proposes Subconsultants:
Attachments required from the Respondent for
the HUB Subcontracting Plan if the solicitation
states that subcontracting opportunities are not
probable but the Respondent proposes to
subcontract any part of the work.                         X                 X
3. Changes in the HUB Subcontracting Plan
After Award: Attachments required from the
Respondent to whom a contract has been
awarded if it desires to make changes to the
approved HUB Subcontracting Plan.                                           X
4. Reporting: The Progress Assessment
Report (PAR) is required with all payment
requests. The submittal of this attachment is a
condition of payment.                                                                         X




                                                                                             Letter of Transmittal
                                                                                                 Vendor Services
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                                          (RESPONDENT’S BUSINESS LETTERHEAD)

Date


Mrs. Lynda Dyess
Director for HUB Program
The University of Texas System
1616 Guadalupe, Ste. 7.312A
Austin, Texas 78701

Re:      Historically Underutilized Business Plan for __________________ (related services)
         RFP No. _________________

Dear Mrs. Dyess,

In accordance with the requirements outlined in the specification section “HUB Participation Program,” I am pleased to
forward this HUB Subcontracting Plan as an integral part of our response in connection with your invitation for Request
for Proposals referencing the above project.

I have read and understand The University of Texas System Policy on Utilization of Historically Underutilized Businesses (HUBs). I
also understand the State of Texas Annual Procurement Goal according to 34 Texas Administrative Code Section 20.13 is
[SELECT ONE OF THE FOLLOWING TO COMPLETE THIS SENTENCE:

_______11.9% for heavy construction other than building contracts

_______26.1% for all building construction, including general contractors and operative builders contracts

_______57.2% for all special trade construction contracts

_______20% for professional services contracts

___X____33% for all other services contracts

_______12.6% for commodities contracts.]

This HUB Subcontracting Plan includes _____Subcontracting Opportunities (no. of subcontractors) This represents a cumulative
percentage of _____%, representing ______% for minority-owned HUBs and _______% for women-owned HUBs. When a HUB is
owned by minority women, I have classified that HUB as minority-owned rather than women-owned firm.
I understand the above HUB percentages must represent Texas Comptroller HUB certification standards. For each of the listed
HUB firms, I have attached a Texas Comptroller certification document, or, if the HUB is certified by another Texas Comptroller
approved certifying agency, a copy of their approved certification document.

Should we discover additional subcontractors claiming Historically Underutilized Business status during the course of this contract
we will notify you of the same. In addition, if for some reason a HUB is unable to fulfill its contract with us, we will notify you
immediately in order to take the appropriate steps to amend this contractual obligation.

Sincerely,

(Project Executive)

cc: Contract Administrator




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                             HUB SUBCONTRACTING PLAN (HSP)
In accordance with Gov’t Code §2161.252, the contracting agency has determined that subcontracting opportunities are probable under this contract. Therefore,
respondents, including State of Texas certified Historically Underutilized Businesses (HUBs), must complete and submit a State of Texas HUB Subcontracting Plan (HSP)
with their solicitation response.

       NOTE: Responses that do not include a completed HSP shall be rejected pursuant to Gov’t Code §2161.252(b).
The HUB Program promotes equal business opportunities for economically disadvantaged persons to contract with the State of Texas in accordance with the goals
specified in the State of Texas Disparity Study. The HUB goals defined in 34 TAC §20.13 are: 11.9 percent for heavy construction other than building contracts, 26.1
percent for all building construction, including general contractors and operative builders contracts, 57.2 percent for all special trade construction contracts,
20 percent for professional services contracts, 33 percent for all other services contracts, and 12.6 percent for commodities contracts.

                                            - - Agency Special Instructions/Additional Requirements - -
       Proposers shall submit a completed HUB Subcontracting Plan (HSP) to be considered responsive (pages 8, 9, and 10). Failure to
        submit a completed HSP shall result in the bid, proposal or other expression of interest to be considered NON-responsive.
       Proposers who intend to Self-Perform all of their work shall submit a HSP for Self-Performance (pages 8, 9, and 10).
       HUB Subcontracting Plan (HSP) Prime Contractors Progress Assessment Report (PAR) shall be submitted with each request for
        payment as a condition of payment.



 SECTION 1           - RESPONDENT AND SOLICITATION INFORMATION
  a.    Respondent (Company) Name:                                                                                    State of Texas VID #:

        Point of Contact:                                                                                             Phone #:

 b.     Is your company a State of Texas certified HUB?       - Yes       - No

  c.    Solicitation #:

 SECTION 2           - SUBCONTRACTING INTENTIONS
After having divided the contract work into reasonable lots or portions to the extent consistent with prudent industry practices, the respondent must determine what
portion(s) of work, including goods or services, will be subcontracted. Note: In accordance with 34 TAC §20.12., a “Subcontractor” means a person who contracts with a
vendor to work, to supply commodities, or contribute toward completing work for a governmental entity. Check the appropriate box that identifies your subcontracting
intentions:
                  - Yes, I will be subcontracting portion(s) of the contract.
                    (If Yes, in the spaces provided below, list the portions of work you will be subcontracting, and go to page 2.)

                  - No, I will not be subcontracting any portion of the contract, and will be fulfilling the entire contract with my own resources.
                    (If No, complete SECTION 9 and 10.)
 Line Item # - Subcontracting Opportunity Description                               Line Item # - Subcontracting Opportunity Description
( #1) -                                                                            (#11) -
( #2) -                                                                            (#12) -
( #3) -                                                                            (#13) -
( #4) -                                                                            (#14) -
( #5) -                                                                            (#15) -
( #6) -                                                                            (#16) -
( #7) -                                                                            (#17) -
( #8) -                                                                            (#18) -
( #9) -                                                                            (#19) -
(#10) -                                                                            (#20) -
 *If you have more than twenty subcontracting opportunities, a continuation page is available at http://www.window.state.tx.us/procurement/prog/hub/hub-
 forms/HUBSubcontractingPlanContinuationPage1.doc
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 Enter your company’s name here:                                                                                               Solicitation #:
IMPORTANT: You must complete a copy of this page for each of the subcontracting opportunities you listed in SECTION 2. You may photocopy this page or
download copies at http://www.window.state.tx.us/procurement/prog/hub/hub-forms/HUBSubcontractingPlanContinuationPage2.doc.

 SECTION 3        - SUBCONTRACTING OPPORTUNITY
 Enter the line item number and description of the subcontracting opportunity you listed in SECTION 2.
 Line Item #               Description:

 SECTION 4        - MENTOR-PROTÉGÉ PROGRAM
 If respondent is participating as a Mentor in a State of Texas Mentor Protégé Program, submitting their Protégé (Protégé must be a State of Texas certified HUB) as a
 subcontractor to perform the portion of work (subcontracting opportunity) listed in SECTION 3, constitutes a good faith effort towards that specific portion of work. Will
 you be subcontracting the portion of work listed in SECTION 3 to your Protégé?
        - Yes (If Yes, complete SECTION 8 and 10.)            - No / Not Applicable (If No or Not Applicable, go to SECTION 5.)

 SECTION 5        - PROFESSIONAL SERVICES CONTRACTS ONLY
                    This section applies to Professional Services Contracts only. All other contracts go to SECTION 6.
 Does your HSP contain subcontracting of 20% or more with HUB(s)?
      - Yes (If Yes, complete SECTION 8 and 10.)      - No / Not Applicable (If No or Not Applicable, go to SECTION 6.)
 In accordance with Gov’t Code §2254.002, “Professional Services" means services: (A) within the scope of the practice, as defined by state law of accounting; architecture;
 landscape architecture; land surveying; medicine; optometry; professional engineering; real estate appraising; or professional nursing; or (B) provided in connection with the
 professional employment or practice of a person who is licensed or registered as a certified public accountant; an architect; a landscape architect; a land surveyor; a physician,
 including a surgeon; an optometrist; a professional engineer; a state certified or state licensed real estate appraiser; or a registered nurse.

 SECTION 6        - NOTIFICATION OF SUBCONTRACTING OPPORTUNITY
                    Complying with a, b and c of this section constitutes Good Faith Effort towards the portion of work listed in SECTION 3. After performing
                    the requirements of this section, complete SECTION 7, 8 and 10.
 a. Provide written notification of the subcontracting opportunity listed in SECTION 3 to three (3) or more HUBs. Use the State of Texas’ Centralized Master Bidders
    List (CMBL), found at http://www2.cpa.state.tx.us/cmbl/cmblhub.html, and its HUB Directory, found at http://www2.cpa.state.tx.us/cmbl/hubonly.html, to
    identify available HUBs. Note: Attach supporting documentation (letters, phone logs, fax transmittals, electronic mail, etc.) demonstrating evidence of the
    good faith effort performed.
 b. Provide written notification of the subcontracting opportunity listed in SECTION 3 to a minority or women trade organization or development center to assist in
    identifying potential HUBs by disseminating the subcontracting opportunity to their members/participants. A list of trade organizations and development centers may
    be accessed at http://www.window.state.tx.us/procurement/prog/hub/mwb-links-1/. Note: Attach supporting documentation (letters, phone logs, fax
    transmittals, electronic mail, etc.) demonstrating evidence of the good faith effort performed.
 c. Written notifications should include the scope of the work, information regarding the location to review plans and specifications, bonding and insurance requirements,
    required qualifications, and identify a contact person. Unless the contracting agency has specified a different time period, you must allow the HUBs no less than five
    (5) working days from their receipt of notice to respond, and provide notice of your subcontracting opportunity to a minority or women trade organization or
    development center no less than five (5) working days prior to the submission of your response to the contracting agency.

 SECTION 7        - HUB FIRMS CONTACTED FOR SUBCONTRACTING OPPORTUNITY
 List three (3) State of Texas certified HUBs you notified regarding the portion of work (subcontracting opportunity) listed in SECTION 3. Specify the vendor ID number,
 date you provided notice, and if you received a response. Note: Attach supporting documentation (letters, phone logs, fax transmittals, electronic mail, etc.)
 demonstrating evidence of the good faith effort performed.
                               Company Name                                              VID #                      Notice Date             Was Response Received?
                                                                                                                          (mm/dd/yyyy)

                                                                                                                           /       /                       - Yes           - No
                                                                                                                           /       /                       - Yes           - No
                                                                                                                           /       /                       - Yes           - No

 SECTION 8        - SUBCONTRACTOR SELECTION
 List the subcontractor(s) you selected to perform the portion of work (subcontracting opportunity) listed in SECTION 3. Also, specify the expected percentage of work to
 be subcontracted, the approximate dollar value of the work to be subcontracted, and indicate if the company is a Texas certified HUB.
                                                                                                               Expected %         Approximate               Texas
                               Company Name                                             VID #                  of Contract       Dollar Amount          Certified HUB?
                                                                                                                         %                  $                      - Yes      - No*
                                                                                                                         %                  $                      - Yes      - No*

*If the subcontractor(s) you selected is not a Texas certified HUB, provide written justification of your selection process below:



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Enter your company’s name here:                                                                                           Solicitation #:


SECTION 9        - SELF PERFORMANCE JUSTIFICATION
                   (If you responded “No” to SECTION 2, you must complete SECTION 9 and 10.)
 Does your response/proposal contain an explanation demonstrating how your company will fulfill the entire contract with its own resources?

    -           Yes        If Yes, in the space provided below, list the specific page/section of your proposal which identifies how your company will perform the entire
 Contract with its own equipment, supplies, materials and/or employees.

    - No      If No, in the space provided below, explain how your company will perform the entire contract with its own equipment, supplies, materials,
    and/or employees.




SECTION 10 - AFFIRMATION
As evidenced by my signature below, I affirm that I am an authorized representative of the respondent listed in SECTION 1, and that the information and supporting
documentation submitted with the HSP are true and correct. Respondent understands and agrees that, if awarded any portion of the solicitation:
    The respondent must submit monthly compliance reports (Prime Contractor Progress Assessment Report – PAR) to the contracting agency, verifying their compliance
    with the HSP, including the use/expenditures they have made to subcontractors. (The PAR is available at
   http://www.window.state.tx.us/procurement/prog/hub/hub-forms/progressassessmentrpt.xls).
    The respondent must seek approval from the contracting agency prior to making any modifications to their HSP. If the HSP is modified without the contracting
   agency’s prior approval, respondent may be subject to debarment pursuant to Gov’t Code §2161.253(d).
    The respondent must, upon request, allow the contracting agency to perform on-site reviews of the company’s headquarters and/or work-site where services are to
   be performed and must provide documents regarding staff and other resources.
   _____________________________                        __________________________                       ___________________ __________________
  Signature                                               Printed Name                                     Title                             Date



    __________________________________________________________________________________ ___________________________________________
                                       E-mail                                                        Phone No.


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                      HUB Subcontracting Plan (HSP)
               Prime Contractor Progress Assessment Report
    This form must be completed and submitted to the contracting agency each month to document compliance with your HSP.

       Contract/Requisition
                              ______________________                        Date of Award:    _______________________              Object Code:     ______________
                  Number:
                                                                                                       (mm/dd/yyyy)                                   (Agency Use Only)
               Contracting
   Agency/University Name:    _____________________________________________________________________________________________________________________

Contractor (Company) Name:    ______________________________________________________                  State of Texas VID #:   __________________________________


          Point of Contact:   _____________________________________________________                                Phone #:

  Reporting (Month) Period:   _____________________         Total Amount Paid this Reporting Period to Contractor:            $   _________________________


                  Report HUB and Non-HUB subcontractor information
                                                            *Texas
                               Subcontractor’s VID or      Certified
                                  HUB Certificate            HUB?       Total Contract $          Total $ Amount Paid This      Total Contract $
                              Number(VID is required for   (Yes or     Amount from HSP              Reporting Period to       Amount Paid to Date     Object Code
 Subcontractor’s Name             all HUB Subs)               No)      with Subcontractor               Subcontractor          to Subcontractor       (Agency Use Only)
                                                                       $            -         $                -              $           -
                                                                       $            -         $                -              $           -
                                                                       $            -         $                -              $           -
                                                                       $            -         $                -              $           -
                                                                       $            -         $                -              $           -
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                                                                       $            -         $                -              $           -
                                                                       $            -         $                -              $           -
                                                                       $            -         $                -              $           -
                                                                       $            -         $                -              $           -
                                                                       $            -         $                -              $           -
                                             TOTALS:                   $            -         $                -              $           -

    Signature: _____________________________________________                 Title: _____________________________             Date: _____________________

Printed Name:_____________________________________________ Phone No. ________________________________________________________

*Note: HUB certification status can be
                                       http://www2.cpa.state.tx.us/cmbl/hubonly.html                                                                     Rev. 10/07
verified on-line at:
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Minority Organizations List



    Organization               Address               City       ZIP          Phone          FAX                        Email
The following organizations have agreed to accept subcontracting opportunities per agreement with the Texas Statewide HUB Program.
  Please contact the following organizations and at least one organization from the region where the project is located.

American Indian
    Chamber of
    Commerce of           11245 Indian Trail,                                                          tmarshall@aicct.com
    Texas                   2nd Floor             Dallas      75229      972-241-6450   972-241-6454
Dallas Fort Worth         2710 North
    Minority Supplier       Stemmons
    Development             Freeway, North                                                             admin@dfwmsdc.com
    Council                 Tower, Ste. 900       Dallas      75207      214-630-0747   214-637-2241
Houston Minority
    Supplier
    Development           Three Riverway,                                                              info@hmbc.org
    Council                  Ste. 555             Houston     77056      713-271-7805   713-271-9770
Southwest Minority
    Supplier
    Development           912 Bastrop                                                                  smsdc@smsdc.org
    Center                  Hwy.,Ste. 101         Austin      78741      512-386-8766   512-386-8988
Texas Association of
    Historically
    Underutilized                                                                                      rmata@tgsaustin.com
    Businesses            PO Box 684726           Austin      78768      512-220-4293   915-585-7751
Tri-County Black
    Chamber of                                                                                         leondria@tricountyblackchamber.org
    Commerce              PO Box 88376            Houston     77288      832-875-3977   713-839-7329
Women Contractors                                                                                      director@womencontractors.org
  Association             PO Box 6757             Houston     77265      713-807-9977   713-807-9917
Women’s Business          2201 N. Collins, Ste.                                                        ementhe@wbcsouthwest.org
  Council Southwest         158                   Arlington   76011      817-299-0566   817-299-0949
                          9800 Northwest
Women’s Business            Freeway, Ste.                                                              bids@wbea-texas.org
  Enterprise Alliance       120                   Houston     77092      713-681-9232   713-681-9242




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Minority Organizations List



    Organization               Address             City     ZIP          Phone          FAX                        Email
Austin Area Minority Organizations
Austin Asian American
  Chamber of            10901 N. Lamar                                                             aaacc@austinacc.org
  Commerce                Blvd. Ste. B206       Austin    78753      512-407-8240   512-407-8233
Austin Black              6448 Hwy. 290 E.                                                         brc-pro@swcbell.net
  Contractors               Ste. E-107          Austin    78723      512-467-6894   512-467-9808
Capitol City African
  American Chamber        5407 N. IH 35, Ste.                                                      admin@capcitychamber.org
  of Commerce               304                 Austin    78723      512-459-1181   512-459-1183
National Association of
  Women in                                                                                         membership@nawicaustin.org
  Construction                                  Austin               512-608-8388
Southwest Minority
                                                                                                   Karen@smsdc.org
  Supplier
  Development             912 Bastrop Hwy.,
  Council                   Ste. 101            Austin    78741      512-386-8766   512-386-8988
US Hispanic
  Contractors de          319 Congress Ave.,                                                       info@ushcs-austin.com
  Austin                    Ste. 250            Austin    78723      512-922-0507   512-374-1421
Women’s Chamber of
  Commerce of                                                                                      Austin@womenschambertexas.com
  Texas                   PO Box 26051          Austin    78755      512-338-0839


West Texas Minority Organizations
El Paso Hispanic
   Chamber of                                                                                      Ephcc02@whc.net
   Commerce            2401 E. Missouri         El Paso   79903      915-566-4066   915-566-9714
Lubbock Hispanic
   Chamber of                                                                                      lhcc@worldnet.att.net
   commerce            PO Box 886               Lubbock   79401      806-762-5059   806-763-2124
Midland Hispanic
   Chamber of          208 S. Marienfield,                                                         rls@midlandhcc.com
   Commerce              Ste. 100               Midland   79701      432-682-2960   432-687-3972
Odessa Black           PO Box 1006              Odessa    79760      432-332-5812                  Odel.crawford@sbcglobal.net



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Minority Organizations List



   Organization                Address             City        ZIP          Phone          FAX                        Email
  Chamber of
  Commerce
                                                                                                      contactus@elpasoblackchamber.com
El Paso Black
   Chamber of             109 N. Oregon, Ste.
   Commerce                 212                 El Paso      79901      915-534-0570   915-534-0561
Lubbock African
   American Chamber       1220 Broadway,
   of Commerce              Ste. 1308           Lubbock      79401      806-771-1815   806-795-9164
El Paso Community
   College Contract
   Opportunities          1359 Lomaland,                                                              pabloa@epcc.edu
   Center                   Room 521            El Paso      79935      915-831-7747   915-831-7755

San Antonio & South Texas Minority Organizations
Edinburg Hispanic
   Chamber of                                                                                         chamber@edinburg.com
   Commerce           PO Box 85             Edinburg         78540      956-383-4974   956-383-6942
Harlingen Hispanic
   Chamber of         2309 N. Ed Carey                                                                hhcoc@harlingenchamber.com
   Commerce              Dr.                Harlingen        78550      956-421-2400   956-364-1879
Kleberg County
   Hispanic Chamber
   of Commerce        PO Box 5824           Kingsville       78364      512-516-0552   512-592-3315
Laredo Chamber of                                                                                     chamber@laredochamber.com
   Commerce               2310 San Bernardo     Laredo       78040      956-722-9895   956-791-4503
Greater Pleasanton-
   Atascosa Hispanic
   Chamber of
   Commerce               307 North Main St.    Pleasanton   78064      830-569-5211
San Antonio Hispanic
   Chamber of             200 E. Grayson,       San                                                   www.sahcc.org
   Commerce                 Ste. 203             Antonio     78215      210-225-0462   210-225-2485




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African American
   Chamber of
   Commerce of San        1717 N. 1604 East,    San                                                    blackchamber@aol.com
   Antonio                  Ste. 220             Antonio      78232      210-490-1624   210-490-5294
                                                                                                       Info@alamocitychamber.org
Alamo City Black          600 Hemisfair Plaza
   Chamber of               Way Bldg. 406-      San
   Commerce                 10                   Antonio      78205      210-226-9055   210-226-0524
Greater Victoria
   Chamber of                                                                                          www.victoriachamber.org
   Commerce               3434 N. Ben Wilson    Victoria      77901      361-573-5277   361-573-5911
African American
   Chamber of
   Commerce of                                                                                         info@aaccv.com
   Victoria               PO Box 3594           Victoria      77903      361-575-2061   361-570-3696
Corpus Christi Black
   Chamber of                                   Corpus                                                 www.blackchambercc.org
   Commerce               PO Box 60574           Christi      78466      361-698-2166   361-698-2112
South Texas Minority
   Business
   Opportunity
   Committee              2412 S. Clossner      Edinburg      78539      956-292-7555   956-292-7561
Texas Center for
   Border Economic &
   Enterprise
   Development            301 Mexico Blvd.
   (CEED)                   Room F6A            Brownsville   78520      956-548-8741   956-548-8750
Rio Grande Valley
   Associated General     6918 W.                                                                      www.rgvagc.org
   Contractors              Expressway 83       Harlingen     78552      956-423-4091   956-423-0174
Rio Grande Valley
   Hispanic Chamber                                                                                    lisa@rgvhcc.com
   of Commerce            3313 N. McColl Rd.    McAllen       78501      956-928-0060   956-928-0073




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Minority Organizations List




                          Alamo Colleges,
                             8300 Pat Booker
                             Rd., Ste. 233 –
                             Mailing Address
Hispanic Contractors         PO Box 33425,
   Association de San        San Antonio, TX                                                         admin@hca-sa.org
   Antonio                   78265             Live Oak     78233      210-444-1100   210-444-1101
Greater Hispanic
   Chamber of
   Commerce of                                 New
   Comal County           1115 Mahan Circle     Braunfels   78183
Seguin-Guadalupe
   County Hispanic
   Chamber of                                                                                        hcoc@sbcglobal.net
   Commerce               PO Box 1154          Seguin       78155      830-372-3151   830-372-9499
San Marcos Hispanic
   Chamber of             174 S. Guadalupe     San
   Commerce                 St., Ste. 101       Marcos      78666      512-353-1103   512-353-2175
City of San Antonio
   Small Business                              San
   Outreach               100 W. Houston        Antonio     78205      210-207-3900   210-207-8151
San Antonio
   Associated General                          San                                                   mcmurry@sanantonioagc.org
   Contractors            10806 Gulfdale        Antonio     78216      210-349-4921   210-349-4017
Builders Exchange of                           San
   Texas, Inc.            4047 Naco Perrin      Antonio     78217      210-564-6900   210-564-6901
North Texas Minority Organizations
American Indian
  Chamber of
  Commerce of          11245 Indian Trail,                                                           tmarshall@aicct.com
  Texas                   2nd floor            Dallas       75229      972-241-6450   972-241-6454
Dallas Fort Worth      2710 North
  Minority Supplier       Stemmons
  Development             Freeway, North                                                             admin@dfwmsdc.com
  Council                 Tower, Ste. 900      Dallas       75207      214-630-0747   214-637-2241




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Minority Organizations List




Women’s Business
  Council of the          2201 N. Collins, Ste.                                                         ementhe@wbcsouthwest.org
  Southwest                 158                   Arlington    76011      817-299-0566   817-299-0949
Black Contractors         1409 S. Lamar St.,                                                            info@blackcontractors.org
   Association              Ste. 251              Dallas       75215      214-485-0483   214-485-0467
Greater Dallas Asian
   American Chamber       11171 Harry Hines                                                             info@gdaacc.com
   of Commerce              Blvd., Ste. 115       Dallas       75229      972-241-8250   972-241-8270
Dallas Black Chamber      2838 Martin Luther                                                            cro@dbcc.org
   of Commerce              King Jr. Blvd.        Dallas       75215      214-421-5200   214-421-5510
Greater Dallas
   Hispanic Chamber       4622 Maple, Ste.                                                              gdhcc@gdhcc.com
   of Commerce              207                   Dallas       75219      214-521-6007   214-520-1687
Fort Worth Hispanic
   Chamber of                                                                                           Rosa.navejar@fwhcc.org
   Commerce               1327 N. Main St.        Fort Worth   76164      817-625-5411   817-625-1405
Fort Worth
   Metropolitan Black
   Chamber of             1150 S. Freeway,                                                              info@fwmbcc.org
   Commerce                 Ste. 211              Fort Worth   76104      817-871-6538   817-332-6438
Regional Hispanic                                                                                       john@hcadfw.org
  Contractors Asso.       2210 W. Illinois        Dallas       75224      972-786-0909   972-786-0910
Fort Worth Business       1150 S. Freeway,                                                              info@fwbac.com
   Assistance Center        Ste. 211              Fort Worth   76104      817-871-6025   817-871-6031
Greater Arlington
   Hispanic Chamber       202 E. Border St.,                                                            office@arlingtonhispanic.com
   of Commerce              Ste. 146              Arlington    76010      682-367-1415   682-367-1417
US Pan Asian
                                                                                                        gmcdermott@uspaacc-sw.org.
   American Chamber
   of Commerce            202 E. Border St.,
   Southwest                Ste. 144              Arlington    76010      682-367-1394
Tyler Area Chamber of                                                                                   tmullins@tylertexas.com
   Commerce               315 N. Broadway         Tyler        75702      903-592-1661   903-593-2746




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Tyler Metropolitan
   Chamber of             2000 W. Gentry                                                             info@tylermetrochamber.org
   Commerce                 Pkwy.               Tyler       75702      903-593-6026
African-American
   Chamber of
   Commerce of                                                                                       Gil.whavers@aaacc.info
   Arlington, Inc.        PO Box 202716         Arlington   76006      817-688-8225   817-472-6368


Houston & Gulf Coast Minority Organizations
Houston Minority
    Supplier
    Development        Three Riverway,                                                               info@hmbc.org
    Council               Ste. 555          Houston         77056      713-271-7805   713-271-9770
Tri-County Black
    Chamber of         4820 Caroline, Ste.                                                           procurement@tcbcc.net
    Commerce              111               Houston         77004      832-875-3977   281-501-1043
Women Contractors                                                                                    director@womencontractors.org
  Association             PO Box 6757           Houston     77265      713-807-9977   713-807-9917
Women’s Business          4100 Westheimer,                                                           srepka@wbea-texas.org
   Enterprise Alliance      Ste. 260            Houston     77027      713-681-9232   713-681-9242
African American
   Chamber of
   Commerce of                                                                                       jhall@acreshome.org
   Greater Houston        6112 Wheatley St.     Houston     77091      713-692-7003   713-691-7131
Houston Citizen’s
   Chamber of                                                                                        president@hccoc.org
   Commerce               2808 Wheeler Ave.     Houston     77004      713-522-9745   713-522-5965
National Association of
   Minority Contractors
   (NAMC) Greater                                                                                    dmjohnson@namctexas.com
   Houston Chapter        3835 Dacoma St.       Houston     77092      713-843-3791   713-843-3701
Houston Hispanic
   Chamber of             1801 Main St., Ste.                                                        jmireles@houstonhispanicchamber.com
   Commerce                 1075                Houston     77002      713-644-7070   713-644-7377




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                                      APPENDIX THREE

                             STATE WEB SITE REQUIREMENTS

State Web Site Requirements. Contractor represents and warrants (“EIR Warranty”) that the
web sites, electronic and information resources, and all associated information, documentation,
and support that it provides to University under this Agreement (collectively, the “EIRs”) comply
with the applicable requirements set forth in Title 1, Chapters 206 and 213 of the Texas
Administrative Code (as authorized by Chapter 2054, Subchapter M of the Texas Government
Code.) To the extent Contractor becomes aware that the EIRs, or any portion thereof, do not
comply with the EIR Warranty, then Contractor represents and warrants that it will, at no cost to
University, either (1) perform all necessary remediation to make the EIRs satisfy the EIR
Warranty or (2) replace the EIRs with new EIRs that satisfy the EIR Warranty. In the event that
Contractor fails or is unable to do so, then University may terminate this Agreement and
Contractor will refund to University all amounts University has paid under this Agreement within
thirty (30) days after the termination date.




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                                       APPENDIX FOUR

    ELECTRONIC AND INFORMATION RESOURCE ENVIRONMENT SPECIFICATIONS

The specifications, representations, warranties and agreements set forth in Proposer’s
responses to this APPENDIX FOUR will be incorporated into the Agreement.

                                      Basic Specifications

1. If the EIR will be hosted by University, please describe the overall environment requirements
   for the EIR (size the requirements to support the number of concurrent users, the number of
   licenses and the input/output generated by the application as requested in the application
   requirements).
   A. Hardware: If Proposer will provide hardware, does the hardware have multiple hard
        drives utilizing a redundant RAID configuration for fault tolerance? Are redundant
        servers included as well?
   B. Operating System and Version:
   C. Web Server: Is a web server required? If so, what web application is required (Apache
        or IIS)? What version? Are add-ins required?
   D. Application Server:
   E. Database:
   F. Other Requirements: Are any other hardware or software components required?
   G. Assumptions: List any assumptions made as part of the identification of these
        environment requirements.
   H. Storage: What are the space/storage requirements of this implementation?
   I. Users: What is the maximum number of users this configuration will support?
   J. Clustering: How does the EIR handle clustering over multiple servers?
   K. Virtual Server Environment: Can the EIR be run in a virtual server environment?

2. If the EIR will be hosted by Proposer, describe in detail what the hosted solution includes,
   and address, specifically, the following issues:
   1. Describe the audit standards of the physical security of the facility; and
   2. Indicate whether Proposer is willing to allow an audit by University or its representative.

3. If the user and administrative interfaces for the EIR are web-based, do the interfaces
   support Firefox on Mac as well as Windows and Safari on the Macintosh?

4. If the EIR requires special client software, what are the environment requirements for that
   client software?

5. Manpower Requirements: Who will operate and maintain the EIR? Will additional
   University full time employees (FTEs) be required? Will special training on the EIR be
   required by Proposer’s technical staff? What is the estimated cost of required training?

6. Upgrades and Patches: Describe Proposer’s strategy regarding EIR upgrades and patches
   for both the server and, if applicable, the client software. Included Proposer’s typical release
   schedule, recommended processes, estimated outage and plans for next version/major
   upgrade.

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                                            Security

1. Has the EIR been tested for application security vulnerabilities? For example, has the EIR
   been evaluated against the Open Web Application Security Project (“OWASP”) Top 10 list
   that includes flaws like cross site scripting and SQL injection? If so, please provide the scan
   results and specify the tool used. University will not take final delivery of the EIR if
   University determines there are serious vulnerabilities within the EIR.

2. Which party, Proposer or University, will be responsible for maintaining critical EIR
   application security updates?

3. If the EIR is hosted, indicate whether Proposer’s will permit University to conduct a
   penetration test on University’s instance of the EIR.

4. If confidential data, including HIPAA or FERPA data, is stored in the EIR, will the data be
   encrypted at rest and in transmittal?

5. Please complete and submit the attached “Information Security Third-Party Assessment
   Survey” as part of Proposer’s proposal.

                                           Integration

6. Is the EIR authentication Security Assertion Markup Language (“SAML”) compliant? Has
   Proposer ever implemented the EIR with Shibboleth authentication? If not, does the EIR
   integrate with Active Directory? Does the EIR support SSL connections to this directory
   service?

7. Does the EIR rely on Active Directory for group management and authorization or does the
   EIR maintain a local authorization/group database?

8. What logging capabilities does the EIR have? If this is a hosted EIR solution, will University
   have access to implement logging with University’s standard logging and monitoring tools,
   RSA’s Envision?

9. Does the EIR have an application programming interface (“API”) that enables us to
   incorporate it with other applications run by the University? If so, is the API .Net based?
   Web Services-based? Other?

10. Will University have access to the EIR source code? If so, will the EIR license permit
    University to make modifications to the source code? Will University’s modifications be
    protected in future upgrades?

11. Will Proposer place the EIR source code in escrow with an escrow agent so that if Proposer
    is no longer in business or Proposer has discontinued support, the EIR source code will be
    available to University?




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                               Accessibility Information

12. Please complete the Voluntary Product Accessibility Template (“VPAT”) found at
    http://www.itic.org/index.php?submenu=resources&src=gendocs&ref=vpat&category=resour
    ces and submit the VPAT with Proposer’s proposal.




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                INFORMATION SECURITY                                                       TPAyyddmm#

          THIRD-PARTY ASSESSMENT SURVEY
   NOTE: Prior to finalizing business agreements involving Confidential/High Risk data, this completed form
   should be sent to the Information Security Office for review concerning regulatory compliance
   requirements or industry best practices.
Third-Party Provider
Name:_________________________________________________
Date: ____________
Address :
_________________________________________________
Website: ____________________________
IT Security Contact: ________________________________Email:_____________________ Phone: ____________
Location of Data Center: ____________________________Contact:____________________Phone: ____________
Location of Recovery Center: ________________________Contact:____________________Phone: ____________

Years in Business: _______ Number of Employees: ______ Number of Customers Using the Product: _______
UT Entity's Sponsoring Dept. _______________________Contact:____________________ Phone:_____________

Name & Description of Service/Product:____________________________________________________________
   ____________________________________________________________________________________________

Describe the Target Users for the Service/Product: __________________________________________________

   ____________________________________________________________________________________________
Technical Description (client, agent, SSL, FTP, hosted website, ASP, cloud computing, etc.): _____________________
   ____________________________________________________________________________________________
Other Customer Software Required to Run the Product/Service: ______________________________________
   ____________________________________________________________________________________________




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Describe Pertinent Outsourced/Contracted Service Arrangements: (such as: support, cloud services, third-party
applications, etc.) ______________________________________________________________________________

   ____________________________________________________________________________________________
Describe Security Features/Testing/External Assessments: ____________________________________________
   ____________________________________________________________________________________________


DATA REQUIREMENTS

(mark a "1" in all boxes applicable for this relationship)



Transmit or Access   Stores Offsite            Risk        Data Type (if needed, refer to definitions worksheet tab)
                                              High         Electronic Protected Health Information (ePHI)
                                              High         Personally Identifiable Information (PII) for Students
                                              High         Personally Identifiable Information (PII) for Non-students
                                              High         Social Security Numbers (SSN)
                                              High         Payment Card Information
                                              High         Sensitive Digital Research Data
                                              High         UT Entity Mission Critical Information
                                             Medium        Business Critical Information
                                             Medium        Intellectual Property
                                             Medium        Other Sensitive Information
                                              Low          Other


Answer: 0 = Not Applicable, based on service provided
        1 = Yes
        2 = Partially
        3 = No

Comments: are optional, but may be used to explain answers.


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Answer                                               Comments                     A. Company Information
                                                                                  1. Will provide documentation on
                                                                                  financial health and viability of your
                                                                                  company.
                                                                                  2. Will accommodate a customer's site
                                                                                  visit for a security audit within 24 hours
                                                                                  notice.
  ___________
                                                                                  Total Company Controls

                                                                                  B. Polices, Standards and
Answer          Comments                                                          Procedures
                                                                                  1. Has formal written Information
                                                                                  Security Policies.
                                                                                  2. Will provide copies of the Information
                                                                                  Security Policies.
                                                                                  3. Will provide, if asked, examples of
                                                                                  security documents, which you have
                                                                                  indicated you maintain.
                                                                                  4. Can provide results of a third-party
                                                                                  external Information Security
                                                                                  assessment conducted within the past 2
                                                                                  years (SAS-70, penetration test,
                                                                                  vulnerability assessment, etc.).
                                                                                  5. Maintains incident response
                                                                                  procedures.
                                                                                  6. Policy protects client information
                                                                                  against unauthorized access; whether
                                                                                  stored, printed, spoken, or transmitted.
                                                                                  7. Policy prohibits sharing of individual
                                                                                  accounts and passwords.




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                                                                         8. Policy implements the following
                                                                         Information Security concepts: need to
                                                                         know, least privilege, and checks and
                                                                         balances.
                                                                         9. Receives and implements
                                                                         protections for security vulnerability
                                                                         alerts (such as CERTs).
                                                                         10. Requires system administrators to
                                                                         be educated and qualified.
                                                                         11. Implements AAA (Authentication,
                                                                         Authorization, Accounting) for all users.
                                                                         12. Performs background checks for
                                                                         individuals handling sensitive
                                                                         information.
                                                                         13. Termination or job transfer
                                                                         procedures immediately protect
                                                                         unauthorized access to information.
                                                                         14. Provides customer support with
                                                                         escalation procedures.
                                                                         15. Documented change control
                                                                         processes.
                                                                         16. Requires contractors,
                                                                         subcontractors, vendors, outsourcing
                                                                         ventures, or other external third-party
                                                                         contracts to comply with policies and
                                                                         customer agreements.
                                                                         17. Policy implements federal, state,
                                                                         and local regulatory requirements.
                                                                         18. Maintains a routine user
                                                                         Information Security awareness
                                                                         program.
                                                                         19. There is a formal routine Information
                                                                         Security risk management program for
                                                                         risk assessments and risk management.
___________
                                                                         Total Policy Controls




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Answer         Comments                                                          C. Architecture
                                                                                 1. Will provide a network architecture
                                                                                 drawing for the customer solution, which
                                                                                 demonstrates the defense-in-depth
                                                                                 strategies.
                                                                                 2. Implements and monitors firewall
                                                                                 protections.
                                                                                 3. Maintains routers and ACLs.
                                                                                 4. Provides network redundancy.
                                                                                 5. IDS/IPS technology is implemented
                                                                                 and alerts are assessed.
                                                                                 6. DMZ architecture for Internet
                                                                                 systems.
                                                                                 7. Web applications that ’face’ the
                                                                                 Internet are on DMZ servers, which are
                                                                                 separate from internal servers that
                                                                                 house sensitive customer information.
                                                                                 8. Maintains enterprise-wide
                                                                                 virus/malware protection.
                                                                                 9. There is an enterprise patch
                                                                                 management system.
                                                                                 10. Provides dedicated customer
                                                                                 servers or explain how this is
                                                                                 accomplished in a secure virtual or
                                                                                 segmented configuration.
                                                                                 11. Remote access is achieved over
                                                                                 secure connections.
                                                                                 12. Test environments both physical
                                                                                 and logical are separated from
                                                                                 production environments.
                                                                                 13. Will provide architectural software
                                                                                 solution designs with security controls.
                                                                                 14. Wireless networks are encrypted,
                                                                                 require user authentication, and has
                                                                                 secured/controlled access points.
 ___________
                                                                                 Total Architecture Controls




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Answer   Comments                                                          D. Configurations
                                                                           1. All computers systems involved are
                                                                           kept current with security patches and
                                                                           have up-to-date malware protection.
                                                                           2. Encryption, with the strength of at
                                                                           least 256 bit, is used, required, and
                                                                           monitored when sensitive information is
                                                                           transmitted over untrusted or public
                                                                           connections.
                                                                           3. System banners are displayed prior
                                                                           to access and require the user's
                                                                           acknowledgment and agreement
                                                                           concerning: unauthorized use is
                                                                           prohibited, system are monitored,
                                                                           policies are enforced, and there is no
                                                                           expectation of privacy.
                                                                           4. Computers have password-protected
                                                                           screen savers that activate
                                                                           automatically to prevent unauthorized
                                                                           access when unattended.
                                                                           5. All unnecessary services are
                                                                           removed from computers.
                                                                           6. Servers run anti-intrusion software
                                                                           (such as tripwire, etc.).
                                                                           7. All vendor-supplied default
                                                                           passwords or similar “published” access
                                                                           codes for all installed operating
                                                                           systems, database management
                                                                           systems, network devices, application
                                                                           packages, and any other commercially
                                                                           produced IT products have been
                                                                           changed or disabled.
                                                                           8. Passwords have a minimum of 8
                                                                           characters, expire, and have strength
                                                                           requirements.
                                                                           9. Passwords are never stored in clear
                                                                           text or are easily decipherable.




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                                                                                 10. All system operating systems and
                                                                                 software are routinely checked to
                                                                                 determine whether appropriate security
                                                                                 settings are enabled.
                                                                                 11. File and directory permissions are
                                                                                 managed for least privilege and need-
                                                                                 to-know accesses.
                                                                                 12. Redundancy or high availability
                                                                                 features are implemented for critical
                                                                                 functions.
                                                                                 13. All user access is authenticated
                                                                                 with either a password, token or
                                                                                 biometrics.
                                                                                 14. All system changes are approved,
                                                                                 tested and logged.
                                                                                 15. Production data is not used for
                                                                                 testing unless the data has been
                                                                                 declassified.
                                                                                 16. Application security follows industry
                                                                                 best practices (such as OWASP).
                                                                                 17. For system's support users, the
                                                                                 account lockout feature is set for
                                                                                 successive failed logon attempts.
                                                                                 18. Split tunneling is prohibited when
                                                                                 connecting to customer systems or
                                                                                 networks.
 ___________
                                                                                 Total Configuration Controls

Answer         Comments                                                          E. Product Design
                                                                                 1. If the product integrates with portable
                                                                                 devices, sensitive information or
                                                                                 information protected by law is
                                                                                 encrypted when stored on these
                                                                                 portable devices and requires password
                                                                                 access.




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                                                                                 2. Access to sensitive information or
                                                                                 information protected by law, across a
                                                                                 public connection is encrypted with a
                                                                                 secured connection and requires user
                                                                                 authentication.
                                                                                 3. If the product manages Protected
                                                                                 Health Information (PHI), the product
                                                                                 and company processes are HIPAA
                                                                                 compliant.
                                                                                 4. Management of any payment card
                                                                                 information is compliant with the
                                                                                 Payment Card Industry (PCI)
                                                                                 Standards.
                                                                                 5. Web applications are scanned,
                                                                                 tested, and monitored for common
                                                                                 application security vulnerabilities.
                                                                                 6. Software, applications, and
                                                                                 databases are kept current with the
                                                                                 latest security patches.
                                                                                 7. This product has been and can be
                                                                                 Shibbolized.
                                                                                 8. This product integrates with Active
                                                                                 Directory or LDAP
 ___________
                                                                                 Total Product Design Controls

Answer         Comments                                                          F. Access Control
                                                                                 1. Access is immediately removed or
                                                                                 modified when personnel terminate,
                                                                                 transfer, or change job functions.
                                                                                 2. Achieves individual accountability by
                                                                                 assigning unique IDs and prohibits
                                                                                 password sharing.
                                                                                 3. Critical data or systems are
                                                                                 accessible by at least two trusted and
                                                                                 authorized individuals.
                                                                                 4. Access permissions are reviewed at
                                                                                 least monthly for all server files,
                                                                                 databases, programs, etc.


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                                                                                 5. Users only have the authority to read
                                                                                 or modify those programs or data, which
                                                                                 they need to perform their assigned
                                                                                 duties.
 ___________
                                                                                 Total Access Controls


Answer         Comments                                                          G. Monitoring
                                                                                 1. Access logs for all servers, sensitive
                                                                                 databases, and sensitive files are
                                                                                 reviewed at least monthly for anomalies.
                                                                                 2. System event logging is
                                                                                 implemented on all servers and records
                                                                                 at a minimum who, what, and when.
                                                                                 3. After normal business hours system
                                                                                 activity and access (physical or logical)
                                                                                 is reviewed and analyzed at least
                                                                                 monthly.
                                                                                 4. System logs are reviewed for failed
                                                                                 logins or failed access attempts at least
                                                                                 monthly.
                                                                                 5. Dormant accounts on systems are
                                                                                 reviewed and removed at least monthly.
                                                                                 6. Logs are periodically reviewed for
                                                                                 possible intrusion attempts at least
                                                                                 monthly.
                                                                                 7. Network and firewall logs are
                                                                                 reviewed at least monthly.
                                                                                 8. Wireless access is reviewed at least
                                                                                 monthly.
                                                                                 9. Scanning is done routinely for rogue
                                                                                 access points.
                                                                                 10. IDS/IPS systems are actively
                                                                                 managed and alert notifications have
                                                                                 been implemented.
                                                                                 11. Vulnerability scanning is performed
                                                                                 routinely.



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                                                                                 12. Password complexity checking is
                                                                                 done routinely.
 ___________
                                                                                 Total Monitoring Controls



Answer         Comments                                                          H. Physical Security
                                                                                 1. Access to secure areas are
                                                                                 controlled such as: key distribution
                                                                                 management, paper/electronic logs, or
                                                                                 a receptionist always present when the
                                                                                 doors are opened.
                                                                                 2. Access to server rooms are
                                                                                 controlled and follow need-to-know and
                                                                                 least privilege concepts.
                                                                                 3. Computer rooms have special
                                                                                 safeguards in place i.e., cipher locks,
                                                                                 restricted access, room access log.
                                                                                 4. Disposal of printed confidential or
                                                                                 sensitive information is shredded or
                                                                                 otherwise destroyed securely.
                                                                                 5. Customer information is either
                                                                                 prohibited or encrypted (PHI, student
                                                                                 data, SSN, etc.) on laptop computers or
                                                                                 other portable devices.
                                                                                 6. Desktops which display sensitive
                                                                                 information are positioned to protect
                                                                                 from unauthorized viewing.
                                                                                 7. All visitors are escorted in computer
                                                                                 rooms or server areas.
                                                                                 8. Appropriate environmental controls
                                                                                 been implemented where possible to
                                                                                 manage the equipment risks such as:
                                                                                 alarms, fire safety, cooling, heating,
                                                                                 smoke detector, battery backup, etc.




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                                                                                 9. There are no external signs indicating
                                                                                 the content or value of the server room
                                                                                 or any room containing sensitive
                                                                                 information.
                                                                                 10. There are secure processes for
                                                                                 destroying sensitive data on hard
                                                                                 drives, tapes or removable media when
                                                                                 it is no longer needed.

 ___________                                                                     Total Physical Controls



Answer         Comments                                                          I. Contingency
                                                                                 1. There is a written contingency plan
                                                                                 for mission critical computing
                                                                                 operations.
                                                                                 2. Emergency procedures and
                                                                                 responsibilities are documented and
                                                                                 stored securely at multiple sites.
                                                                                 3. The contingency plan is reviewed
                                                                                 and updated at least annually.
                                                                                 4. You have identified what computing
                                                                                 services must be provided within
                                                                                 specified critical timeframes in case of a
                                                                                 disaster.
                                                                                 5. Cross-functional dependencies been
                                                                                 identified so as to determine how the
                                                                                 failure in one system may negatively
                                                                                 impact another one.
                                                                                 6. You have written backup procedures
                                                                                 and processes.
                                                                                 7. You periodically test the integrity of
                                                                                 backup media.
                                                                                 8. Backup media is stored in a secure
                                                                                 manner and access is controlled.
                                                                                 9. You maintain a documented and
                                                                                 tested disaster recovery plan.



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                                                                                 10. You have off-site storage and
                                                                                 documented retrieval procedures for
                                                                                 backups.
                                                                                 11. You have rapid access to backup
                                                                                 data.
                                                                                 12. Backup media is appropriately
                                                                                 labeled to avoid errors or data
                                                                                 exposures.
 ___________
                                                                                 Total Contingency Controls



Answer         Comments                                                          J. BUSINESS RELATIONSHIPS
                                                                                 1. Confidential agreements have been
                                                                                 signed before proprietary and/or
                                                                                 sensitive information is disclosed.
                                                                                 2. Business associate contracts or
                                                                                 agreements are in place and contain
                                                                                 appropriate risk coverage for customer
                                                                                 requirements.
                                                                                 3. Business associates are aware of
                                                                                 customer security policies and what is
                                                                                 required of them.
                                                                                 4. Business associates agreements
                                                                                 document agreed transfer of customer's
                                                                                 data when the relationship terminates.
                                                                                 5. Contractual agreements will or do
                                                                                 include the UT Entity's required
                                                                                 information security language.

 ___________                                                                     Total Business Relationships
                                                                                 Controls


                                                                                 TOTAL THIRD-PARTY
 ___________
                                                                                 CONTROLS




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DEFINITION                                          EXAMPLES                                          QUALIFIERS
ePHI (electronic Protected Health                   • Billing records                                 • Address
Information) - Individually identifiable health     • Hospital/medical records (in and out patient)   • Account number
information in the electronic form which may be     • Lab, pathology and/or radiology results         • Any vehicle or device serial number
stored, processed or transmitted.                   • Mental Health records                           • Certificate/license number
                                                    • Physician/clinic records                        • Date of birth
                                                    • PHI previously collected for research           • E-mail address
                                                    purposes                                          • Fax number
                                                                                                      • Finger or voice prints
                                                                                                      • Health plan
                                                                                                      • Internet Protocol (IP) address number
                                                                                                      • Name
                                                                                                      • Name of employers
                                                                                                      • Name of relatives
                                                                                                      • Photographic images
                                                                                                      • Postal address
                                                                                                      • Social security number
                                                                                                      • Telephone number
                                                                                                      • Web universal resource locator (URL)


PII (Personally Identifiable Information) -         Full name (if not common)
Information that can be traced back to a specific   National identification number
individual user, eg, name, postal address, e-mail   Telephone number
address, telephone number, or Social Security       Street address
number.                                             E-mail address
                                                    IP address (in some cases)
                                                    Vehicle registration plate number
                                                    Driver's license number
                                                    Face, fingerprints, or handwriting
SSN (Social Security Number) - A number             XXX-XX-XXXX
issued by the US government to people for
payroll deductions for old age, survivors, and
disability insurance.




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Payment Card Information - refers to the               Credit Card, Debit Card, etc.
credit cards, debit cards and charge cards
issued by a financial institution and reflects a
relationship between cardholder and financial
institution.
UTHSCSA Mission Critical Information -
Indispensable applications such as databases or
process control software that are deemed
essential to the functionality of UTHSCSA's
education, research, or patient care missions.
Business Critical Information - Indispensable
applications such as databases or process
control software that are deemed essential to
the functionality of a specific department.
Intellectual Property - Property rights created        Patent, trademark, copyright, trade secret,
through intellectual and/or discovery efforts of a     trade dress, product, logo.
creator that are generally protectable by law.

Other Sensitive Information - Information other        Internal departmental communications,
than the previous categories with little financial     contractual information, negotiations, legal
impact; however, its unauthorized disclosure,          concerns, investigations, etc.
alteration, loss, or destruction will at least cause
perceivable damage to someone or something.




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                                      EXHIBIT C




                         ACADEMIC
                          PAR T N E R S HIP S ™



                Response to Request For Proposal

                                             By

    The University of Texas System Administration

                                             For

                 Selection of Vendor(s) to Provide

                       Online Education Services


                           RFP No. BOR-07-08-11

                  Submittal Date: August 8, 2011

This proposal will remain valid for University's acceptance for a minimum of 120 days after the
    Submittal Deadline, to allow time for evaluation, selection, and any unforeseen delays.

 The information in this proposal (including appendices and exhibits) is confidential. Academic
  Partnerships, LLC requests that the content is shared only with those directly involved in the
evaluation process and that we have the opportunity to redact sensitive information before any
                              of this content is released publically.
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                                                                                                                     APPENDIX ONE



                                                           SECTION 2

                                                    EXECUTION OF OFFER


THIS EXECUTION OF OFFER MUST BE COMPLETED, SIGNED AND RETURNED WITH PROPOSER'S PROPOSAL. FAILURE
TO COMPLETE, SIGN AND RETURN THIS EXECUTION OF OFFER WITH THE PROPOSER'S PROPOSAL MAY RESULT IN
THE REJECTION OF THE PROPOSAL.

2.1     By signature hereon, Proposer represents and warrants the following:

        2.1.1     Proposer acknowledges and agrees that (1) this RFP is a solicitation for a proposal and is not a contract or an
                  offer to contract; (2) the submission of a proposal by Proposer in response to this RFP will not create a contract
                  between University and Proposer; (3) University has made no representation or warranty, written or oral, that
                  one or more contracts with University will be awarded under this RFP; and (4) Proposer will bear, as its sole risk
                  and responsibility, any cast arising from Proposer's preparation of a response to this RFP.

        2.1.2     Proposer is a reputable company that is lawfully and regularly engaged in providing the Services.

        2.1.3     Proposer has the necessary experience, knowledge, abilities, skills, and resources to perform the Services.

        2.1.4     Proposer is aware of, is fully informed about, and is in full compliance with all applicable federal, state and local
                  laws, rules, regulations and ordinances.

        2.1.5     Proposer understands (i) the requirements and specifications set forth in this RFP and (ii) the terms and
                  conditions set forth in Section 4 of this RFP, under which Proposer will be required to operate.

        2.1.6     If selected by University, Proposer will not delegate any of its duties or responsibilities under this RFP or the
                  Agreement to any sub-contractor, except as expressly provided in the Agreement.

        2.1.7     If selected by University, Proposer will maintain any insurance coverage as required by the Agreement during
                  the term thereof.

        2.1.8     All statements, information and representations prepared and submitted in response to this RFP are current,
                  complete, true and accurate. Proposer acknowledges that University wit! rely on such statements, information
                  and representations in selecting Contractor. If selected by University, Proposer will notify University immediately
                  of any material change in any matters with regard to which Proposer has made a statement or representation or
                  provided information.

        2.1.9     PROPOSER WILL DEFEND WITH COUNSEL APPROVED BY UNIVERSITY, INDEMNIFY, AND HOLD HARMLESS UNIVERSITY,
                  THE UNIVERSITY OF TEXAS SYSTEM, THE STATE OF TEXAS, AND ALL OF THEIR REGENTS, OFFICERS, AGENTS AND
                  EMPLOYEES, FROM AND AGAINST ALL ACTIONS, SUITS, DEMANDS, COSTS, DAMAGES, LIABILITIES AND OTHER CLAIMS OF
                  ANY NATURE, KIND OR DESCRIPTION, INCLUDING REASONABLE ATTORNEYS' FEES INCURRED IN INVESTIGATING,
                  DEFENDING OR SETTLING ANY OF THE FOREGOING, ARISING OUT OF, CONNECTED WITH, OR RESULTING FROM ANY
                  NEGLIGENT ACTS OR OMISSIONS OR WILLFUL MISCONDUCT OF PROPOSER OR ANY AGENT, EMPLOYEE,
                  SUBCONTRACTOR, OR SUPPLIER OF PROPOSER IN THE EXECUTION OR PERFORMANCE OF ANY CONTRACT OR
                  AGREEMENT RESULTING FROM THIS RFP.

        21.10     Pursuant to Sections 2107.008 and 2252.903, Government Code, any payments owing to Proposer under any
                  contract or agreement resulting from this RFP may be applied directly to any debt or delinquency that Proposer
                  owes the State of Texas or any agency of the State of Texas regardless of when it arises, until such debt or
                  delinquency is paid in full.

2.2     By signature hereon, Proposer offers and agrees to furnish the Services to University and comply with all terms,
        conditions, requirements and specifications set forth in this RFP.

2.3     By signature hereon, Proposer affirms that it has not given or offered to give, nor does Proposer intend to give at any time
        hereafter, any economic opportunity, future employment, gift, loan, gratuity, special discount, trip, favor or service to a
        public servant in connection with its submitted proposal. Faiture to sign this Execution of Offer, or signing with a false
        statement, may void the submitted proposal or any resulting contracts, and the Proposer may be removed from all
        proposal lists at University.

2.4     By signature hereon, Proposer certifies that it is not currently delinquent in the payment of any taxes due under
        Chapter 171, Tax Code, or that Proposer is exempt from the payment of those taxes, or that Proposer IS an out-of~state
        taxable entity that is not subject to those taxes, whichever is applicable. A false certification wit! be deemed a material
        breach of any resulting contract or agreement and, at University's option, may result in termination of any resulting
        contract or agreement.




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2.5      By signature hereon, Proposer hereby certifies that neither Proposer nor any firm, corporation, partnership or instituflon
         represented by Proposer, or anyone acting for such firm, corporation or institution, has violated the antitrust laws of the
         State of Texas, codified in Section 15.01, et seq., Business and Commerce Code, or the Federal antitrust laws, nor
         communicated directly or indirectly the proposal made to any competitor or any other person engaged in such line of
         business.

2.6      By signature hereon, Proposer certifies that the individual signing this document and the documents made a part of this
         RFP, is authorized to sign such documents on behalf of Proposer and to bind Proposer under any agreements and other
         contractual arrangements that may result from the submission of Proposer's proposal.

2.7      By signature hereon, Proposer certifies as follows:

         "Under Section 231.006, Family Code, relating to child support, Proposer certifies that the individual or business entity
         named 'In the Proposer's proposal is not ineligible to receive the specified contract award and acknowledges that any
         agreements or other contractual arrangements resulting from this RFP may be terminated if this certification is
         inaccurate."

2.8      By signature hereon, Proposer certifies that (i) no relationship, whether by blood, marriage, business association, capital
         funding agreement or by any other such kinship or connection exists between the owner of any Proposer that is a sole
         proprietorship, the officers or directors of any Proposer that is a corporation, the partners of any Proposer that is a
         partnership, the joint venturers of any Proposer that is a joint venture or the members or managers of any Proposer that is
         a limited liability company, on one hand, and an employee of any component of The University of Texas System, on the
         other hand, other than the relationships which have been previously disclosed to University in writing; (ii) Proposer has not
         been an employee of any component institution of The University of Texas System within the immediate twelve (12)
         months prior to the Submittal Deadline; and (iii) no person who, in the past four (4) years served as an executive of a state
         agency was involved with or has any interest in Proposer's proposal or any contract resulting from this RFP (ref. Section
         669.003, Government Code). All disclosures by Proposer in connection with this certification will be subject to
         administrative review and approval before University enters into a contract or agreement with Proposer.

2.9      By signature hereon, Proposer certifies that in accordance with Section 2155.004, Government Code, no compensation
         has been received for its participation in the preparation of the requirements or specifications for this RFP. In addition,
         Proposer certifies that an award of a contract to Proposer will not violate Section 2155.006, Government Code, prohibiting
         University from entering into a contract that involves financial participation by a person who, during the previous five
         years, has been conv'lcted of violating federal law or assessed a penalty in a federal civil or administrative enforcement
         action in connection with a contract awarded by the federal government for relief, recovery, or reconstruction efforts as a
         result of Hurricane Rita, Hurricane Katrina, or any other disaster occurring after September 24, 2005. Pursuant to
         Sections 2155.004 and 2155.006, Government Code, Proposer certifies that Proposer is not ineligible to receive the
         award of or payments under the Agreement and acknowledges that the Agreement may be terminated and payment
         withheld if these certifications are inaccurate.

2.10     By signature hereon, Proposer certifies its compliance with all federal laws and regulations pertaining to Equal
         Employment Opportunities and Affirmative Action.

2.11     By signature hereon, Proposer represents and warrants that all products and services offered to University in response to
         this RFP meet or exceed the safety standards established and promulgated under the Federal Occupational Safety and
         Health Law (Public Law 91~596) and the Texas Hazard Communication Act, Chapter 502, Health and Safety Code, and all
         related regulations in effect or proposed as of the date of this RFP.

2.12     Proposer will and has disclosed, as part of its proposal, any exceptions to the certifications stated in this Execution of
         Offer. AU such disclosures will be subject to administrative review and approval prior to the time University makes an
         award or enters into any contract or agreement with Proposer.

2.13     If Proposer will sell or lease computer equipment to the University under any agreements or other contractual
         arrangements that may result from the submission of Proposer's proposal then, pursuant to Section 361.965(c), Health &
         Safety Code, Proposer certifies that it is in compliance with the Manufacturer Responsibility and Consumer Convenience
         Computer Equipment Collection and Recovery Act set forth in Chapter 361, Subchapter y, Health & Safety Code and the
         rules adopted by the Texas Commission on Environmental Quality under that Act as set forth in Title 30, Chapter 328,
         Subchapter I, Texas Administrative Code. Section 361.952(2}, Health & Safety Code states that, for purposes of the
         Manufacturer Responsibility and Consumer Convenience Computer Equipment Collection and Recovery Act, the term
         "computer equipment" means a desktop or notebook computer and includes a computer monitor or other display device
         that does not contain a tuner.

214      Proposer should complete the following information:

         If Proposer is a Corporation, then State of Incorporation:   ,-.l, /,-;I_!, ;b:,-~;_·:_ _ _ _ _ _ _ __
         If Proposer is a Corporation then Proposer's Corporate Charter Number; -'--'-"-"

         RFP No.: BOR-07-08-11




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NOTICE:     WITH FEW EXCEPTIONS, INDIVIDUALS ARE ENTITLED ON REQUEST TO BE INFORMeD ABOUT THE INFORMATION THAT
GOVERNMENTAL BODIES OF THE STATE OF TEXAS COLLECT ABOUT SUCH INDIVIDUALS. UNDER SECTIONS 552.021 AND 552.023,
GOVERNMENT CODE, INDIVIDUALS ARE ENTITLED TO RECEIVE AND REVIEW SUCH INFORMATION. UNDER SeCTION 559.004, GOVERNMENT
CODE, INDIVIDUALS ARE ENTITLED TO HAVE GOVERNMENTAL BODIES OF THE STATE OF TeXAS CORRECT INFORMATION ABOUT SUCH
INDIVIDUALS THAT IS INCORRECT.



Submitted and Certified By:                )
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(Signature of Duly Authorized Representative)

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(Date Signed)


(Proposer's Street Adqress)
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(FAX Number)




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                                                                           REQUEST FOR PROPOSAL



                                          SECTION 6

                            PRICING AND DELIVERY SCHEDULE

Proposal of: Academic Partnerships, LLC
(Proposer Company Name)

To: The University of Texas System Administration

Ref.: Selection of Vendor(s) to Provide Online Education Services

RFP No.: BOR-07-08-11


Ladies and Gentlemen:

Having carefully examined all the specifications and requirements of this RFP and any
attachments thereto, the undersigned proposes to furnish the services required pursuant to the
above-referenced Request for Proposal upon the terms quoted below.


        6.1 Pricing for Services Offered (Note: See "Pricing of Services Approaches" in Section
        5.3.3.)

"A la carte" Basis:

While we prefer to offer bundled services where our compensation is in the form of
tuition sharing, we will provide the following services on an "a la carte" basis.

Course Design/lmplementation (5.2.2) and Professional Development (5.2.3): $150 per
hour with a minimum contractual arrangement of $25,000

Epic (learning management system) (5.2.1): $100 per student per academic year with a
minimum of 1,000 stUdents.

MarketinQ. RecruitinQ, and Retention services: generally speaking, we propose a tuition
sharing arrangement of 50% to Academic Partnerships and 50% to the university, with a
minimum revenue potential of $4,300 per complete degree program. The tuition sharing
arrangement excludes typical student fees and state appropriations. It is important to
note that we are compensated on a course-by-course basis, meaning that if we provide
all of the above services, but a student only completes one course of a 12-course
program, then we would only be compensated 1/12'h of our revenue potential. Pricing
will be greatly dependent on:

    •   How many degree programs we are servicing at an individual school
    •   The estimated market demand for those programs
    •   The length of time to complete the program
    •   Tuition
    •   The amount of time we need to spend with faculty during program development
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Financial Terms: while we invest significant amounts of our own funds to launch a
program, we do not offer funds for the University's investment (i.e., seed money)
Instructional Support: we do not provide instructional support services such as
provision of instructional coaches or assistants.

Complete Package Price Basis:

Generally speaking, we propose a tuition sharing arrangement of 50% to Academic
Partnerships and 50% to the university, with a minimum revenue potential of $4,300 per
complete degree program. The tuition sharing arrangement excludes typical student
fees and state appropriations. It is important to note that we are compensated on a
course-by-course basis, meaning that if we provide all of the above services, but a
student only completes one course of a 12-course program, then we would only be
compensated 1/121h of our revenue potential. Pricing will be greatly dependent on:

   •   How many degree programs we are servicing at an individual school
   •   The estimated market demand for those programs
   •   The length of time to complete the program
   •   Tuition
   •   The amount of time we need to spend with faculty during program development

The course design/implementation services and use of Epic are included in this price.

"Combination" Price Basis:

Same as package pricing, as we do not offer Financial Terms or Instructional Support.


       6.2 Delivery Schedule of Events and Time Periods

AP typically recommends an integration cycle of approximately four months from the
initial planning meeting to the start for a new program.

          o   Design Phase: 2-3 weeks: Program Launch (internal) and Planning
              Workshop (on-site) and definition of all program attributes (the content that
              drives all other activities)

          o   Develop Phase: 3-4 weeks: Execution of required integration activities,
              such as the development of marketing assets, integration of data files, and
              hiring/training of staff.

          o   Deliver Phase: 8-10 weeks: Execution of marketing plan. Application
              deadline, processing of students, delivery of courses.
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 Phase                           Objective(s)
        C
        $
     CE
     .- a.
     ~ 0      Kick~off           ,    Complete pre-integration checklist and sign contract
     $-
 ::.:::~
 ~   c (\)
     =>0
              Program            ,    Define/review target dates for rollout
              Launch
                                 •    Prepare partner and internal team for planning workshop

     .        Planning           ,    Define program attributes, integration procedures and marketing strategies
     ~
      I

     00
     x
     ill
              Workshop
              (on-site)          ·,   Prepare larger internal team for rollout activities
                                      Describe instructional support model, if applicable
     $
     os:      Course
                                 ,    Demonstrate Epic LMS (if applicable)
      I       Blueprinflng       ,    Support faculty in design of scalable online courses
     c                           ,
     m        Session (on-site        Assist in design of Program orientation (if applicable)
     'w$      consultation)      ,    Provide courses development schedules to meet course QA and rollout dates
     CJ
                                 ,    Develop university program website and landing pages
              Websites           ,    Update affinity sites

              Marketing Assets   •    Develop all marketing collateral to support field sales, online marketing campaigns and
                                      enrollment services
              Recruitment and
                                 ,    Define resource plan
              Enrollment         ,    Develop operational tools for Enrollment Services
              Services           ,    Train internal resources on new programs
     "I
     ~
              Technology         •    CRM setup to support new program

     "'       Integration        •    Integrate partner data
     00
     '"
     $        Epic and Epic
                                 ,    Train and support Epic course development (if applicable):
     $
              Authoring               -Epic Authoring Training
     os:
      I       Training &              -Creation of course shells for professors/authors
     a.       Support for             -Epic Training (including Grade book)
     0
     ID       Faculty (on-site        -Ongoing faculty support for EA and Epic (Faculty Support)
      >
      $       consultation)
     Cl                               -QA of courses for functionality
                                 ,    Launch website
              Marketing
     <0
              Launch             •    Deploy field sales where applicable and online campaigns
     ~

      I                          ,    Actively provide support to the university on student admissions and enrollment processes
     00
     00                          •    Create student sections and enroll professors, if applicable
     -~
      $
      $
                                 ,    Confirm student rosters / enrollments
     os:                         ,    Insert Student Survey Links into course (if applicable)
      I       Course Start       ,
      c                               Prep internal departments
      m
     .~                          •    Contact students
     ID
     0                           •    Support faculty in use of Epic-ongoing




             6.3 University's Payment Terms

University's standard payment terms for services are "Net 30 days," Proposer agrees
that University will be entitled to withhold zero percent (0%)* of the total payment due
under the Agreement until after University's acceptance of the final work product.
Indicate below the prompt payment discount that Proposer will provide to University.

*Since the majority of Academic Partnership's services are provided before a student is
admitted by the university and before we get paid as part of a tuition sharing
arrangement (program design, implementation, marketing, recruiting), a withholding for
acceptance of final work product is not appropriate. Additionally, our standard contract
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                                                                        REQUEST FOR PROPOSAL



terms are payment within 30 days of each course start. Since invoices are dependent on
a final student census after the drop/refund date, earlier payment by the university is not
feasible.

Prompt Payment Discount 0%, 0 dayslnet 30 days


                                                 Respectfully submitted,




                                                 Name: Michael Briskey
                                                 Title: CFO

                                                 Date: August 5, 2011
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                                           SECTION 3

                                   PROPOSER'S GENERAL
                                     QUESTIONNAIRE


 NOTICE: WITH FEW EXCEPTIONS, INDIVIDUALS ARE ENTITLED ON REQUEST
 TO BE INFORMED ABOUT THE INFORMATION THAT GOVERNMENTAL BODIES
 OF THE STATE OF TEXAS COLLECT ABOUT SUCH INDIVIDUALS. UNDER
 SECTIONS 552.021 AND 552.023, GOVERNMENT CODE, INDIVIDUALS ARE ENTITLED
 TO RECEIVE AND REVIEW SUCH INFORMATION. UNDER SECTION 559.004,
 GOVERNMENT CODE, INDIVIDUALS ARE ENTITLED TO HAVE GOVERNMENTAL
 BODIES OF THE STATE OF TEXAS CORRECT INFORMATION ABOUT SUCH
 INDIVIDUALS THAT IS INCORRECT.

 Proposals must include responses to the questions contained in this Proposer's General
 Questionnaire. Proposer should reference the item number and repeat the question in its
 response. In cases where a question does not apply or if unable to respond, Proposer
 should refer to the item number, repeat the question, and indicate NfA (Not Applicable)
 or NfR (No Response), as appropriate. Proposer will explain the reason when responding
 NfA or NfR.

 3.1     Proposer
 Profile

        3.1.1   Legal name of Proposer company:
                Academic Partnerships, LLC

                Address of principal place of business:
                160 Continental Ave
                Dallas, TX 75207




                Address of office that would be providing service under the Agreement:
                160 Continental Ave
                Dallas, TX 75207




                Number of years in Business: Academic Partnerships: 1.5 years;
                Predecessor company was Higher Ed Holdings, LLC: 6 years

                State of incorporation: Delaware


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                Number of Employees: 166

                Annual Revenues Volume: Approx. $43 million (last 12 months)

                Name of Parent Corporation, if any (n/a)

                        NOTE: If Proposer is a subsidiarv. University prefers to enter into a
                        contract or agreement with the Parent Corporation or to receive
                        assurances of performance from the Parent Corporation.

        3.1.2   State whether Proposer will provide a copy of its financial statements for the past
                two (2) years, if requested by University.

                YES

        3.1.3   Proposer will provide a financial rating of the Proposer entity and any related
                documentation (such as a Dunn and Bradstreet analysis) that indicates the
                financial stability of Proposer.

                SEE EXHIBIT D (D&B REPORT)

        3.1.4   Is Proposer currently for sale or involved in any transaction to expand or to
                become acquired by another business entity? If yes, Proposer will explain the
                expected impact, both in organizational and directional terms.

                NO

        3.1.5   Proposer will provide any details of ali past or pending litigation or claims
                filed against Proposer that would affect its performance under the Agreement
                with University (if any).

                N/A

        3.1.6   Is Proposer currently in default on any loan agreement or finanCing
                agreement with any bank, financial institution, or other entity? If yes,
                Proposer will specify the pertinent date(s), details, circumstances, and
                describe the current prospects for resolution.

                NO




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        3.1.7   Proposer will provide a customer reference list of no less than three (3)
                organizations with which Proposer currently has contracts and/or to which
                Proposer has previously provided services (within the past five (5) years) of
                a type and scope similar to those required by University's RFP. Proposer will
                include in its customer reference list the customer's company name, contact
                person, telephone number, project description, length of business relationship,
                and background of services provided by Proposer.

                 Dr. Jimmy Simmons, President, Lamar University
                 Tel: 409-880-8405
                 Education, General Studies and Criminal Justice Programs
                 Comprehensive services, including Epic LMS, curriculum support and
                 implementation services, recruiting and marketing, retention services
                 Since 2007

                 Dr. Don Bobbit, Provost, University of Texas at Arlington
                 Tel: 817-272-2103
                 Education and Nursing Programs
                 Comprehensive services, including Epic LMS, curriculum support and
                 implementation services, recruiting and marketing, retention services
                 Since 2008

                 Dr. Dan Howard, Interim Chancellor, Arkansas State University
                 Tel: 870-972-3030
                 Education Programs
                 Comprehensive services, including Epic LMS, curriculum support and
                 implementation services, recruiting and marketing, retention services
                 Since 2008

                 Dr. Phil Regier, Executive Vice President and Dean, Arizona State
                 University
                 Tel: 480-965-2457
                 Education and Nursing Programs
                 Comprehensive services, including curriculum support and
                 implementation services, recruiting and marketing, retention services
                 Since 2010

        3.1.8   Does any relationship exist (whether by family kinship, business aSSOCiation,
                capital funding agreement, or any other such relationship) between Proposer
                and any employee of University? If yes, Proposer will explain.

                NO




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AP will facilitate the delivery of classes entirely over the internet. The platform engages
students in the learning process by requiring responses to questions, participation in
discussion boards and class activities, the completion of homework, and online
interaction with professors and other online class members.

Epic provides multiple assessment options including tests, examinations, and
assessments of various types. The platform will permit professors at two or more UT
institutions to jointly develop and access online curricula in a manner that facilitates team
teaching. We acknowledge that the institution controls all aspects of instruction,
curriculum, and course content.

AP systems will enable integration of information with the UT Institutions' information
technology systems through an application programming interface (API). AP has a
successful track record of working with partner institutions to facilitate transfer of critical
information between systems. While UT Institutions will be responsible for all academic
matters, AP will provide information to the institutions' staff that facilitate their effective
engagement with students both prior to and following enrollment.


Course Design !Implementation

AP's curriculum services employees have extensive experience in instructional design
methodology and use of educational technology. AP will apply this expertise in assisting
UT faculty and staff to convert courses and design program structure for online delivery
in a manner that maximizes efficiencies and economies of scale, while simultaneously
yielding courses closely aligned with research-based practices and standards for online
learning. The Epic LMS was developed specifically to enable a learning objectives-based
model for course building, thus ensuring comparability of course outcomes.

AP will work with UT Institution's faculty and administration as online courses are
designed, developed, converted and implemented. Campus-based meetings will assist
faculty as they develop detailed blueprints for course structure and content prior to
course conversion or construction. AP support services will include training on Epic's
course authoring system, if applicable, and recommendations to faculty on course
duration, content presentation materials and format.

AP will dedicate an integration director to the UT Institution that will serve as the primary
interface between AP staff and the UT Institution's administration and staff. That
individual will facilitate operational planning sessions with key UT Systems departments
beginning with program design and continuing through program implementation. The
director will also monitor existing processes as they are implemented and recommend
continuous improvement steps. AP technical staff will work with the UT Institution's
technical staff to enable an efficient process for integration of student information and
CRM systems.




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Professional Development

AP will provide comprehensive expert resources to a UT Institution's faculty as they
design and develop online courses. Those services will include assistance with program
planning and instructional design. During meetings with faculty, our staff will introduce
best practices and provide recommendations related to length of program, length of
courses, and flexibility in sequencing. Our staff will also assist faculty members in
establishing learning outcomes so that readings, lectures, and assessments are tied to
learning outcomes that are measurable.

AP will conduct professional development that includes, but is not limited to, training on
course design and structure, planning online components, and creating grading rubrics.
While the training will be LMS agnostic, for UT Institutions that elect to use the Epic LMS,
faculty will receive training specific to that platform, including authoring tasks, use of
electronic grade book, and course delivery functions such as discussion boards,
assignment submission, and assessment data analysis. AP will also host a
comprehensive website that provides guidance on the course design, development, and
delivery that can be accessed by faculty at any time convenient to them.

AP curriculum support services team members will work with university faculty and staff
on program design, development, and launch for each .degree program. This support will
focus on program and course planning and conversion, including best practices for
introducing scalable online programs. Face-to-face meetings, webcasts, and conference
calls will be used to optimize completion of the tasks necessary to introduce and deliver
the online program.

Recruiting/Marketing

AP will deploy a combination of proven marketing strategies to attain a UT Institution's
enrollment targets for its online programs. During the past four years, these strategies
have resulted in more than 30,000 students enrOlling at our partner institutions. These
strategies include employer-based affinity partnerships, (represents direct relationships
with organizations that maintain the largest population of prospective students - i.e.
hospital systems for healthcare degrees; school districts for education degrees, and
corporate entities for business programs) field recruitment, and comprehensive e-
marketing. All strategies will be designed to lead prospective students to landing pages
and/or websites developed by AP with the assistance and approval of the UT Institution.

Our services include the development and execution of marketing strategies and plans for
each UT Institution's program(s). They will include, but not be limited to, the provision of
marketing and promotional materials that facilitate the recruitment of students through
affinity partnerships with targeted employers and through online marketing campaigns.
AP will provide trained enrollment specialists to work directly with prospective individual
UT Institution students. These specialists will respond to questions posed by stUdents
and provide information about the UT Institution's programs. This support will begin with
pre-application and continues through the registration process once the student has been
accepted by the university.

AP will provide trained enrollment specialists to work directly with prospective individual
UT Institution students. These trained specialists will respond to questions posed by

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students and provide information about the UT Institution's programs. This support will
begin pre-application, continues through the application process, and, once the student is
accepted to the program by the UT Institution, thereafter through the enrollment and
payment processes.

AP will provide trained student success specialists as primary points of contact for all
enrolled students. This staff will offer retention support services and technical support to
ensure students successfully progress to graduation.

Instructional Support

To eliminate any doubt about its partner institutions' exercising total control over all
elements of its instructional programs, AP maintains a clear delineation between
recruiting and instructional support; we therefore do not offer these services. We
recognize, however, that UT Institutions may need help in identifying instructional
assistants and coaches to meet student demand for their online courses and programs.
There are third-party instructional suppliers that can assist with this task that would not
also be engaged in marketing the institution's programs. AP does work closely with the
universities' instructional support personnel to ensure a high quality student experience.

Regulations/Compliance

AP accepts full responsibility for its compliance with federal and state laws and
regulations that apply to AP. This includes all of the regulations referenced immediately
above. As a service to the UT Institutions, AP will work closely with designated
representatives at the Institution to help them comply with applicable laws and
regulations. AP will provide the UT Institutions access to a compliance specialist that will
help them with the steps necessary for the UT Institution to comply with federal regulation
and to obtain out-of-state operating authority for their online programs.

AP will work with UT Institutions to ensure that all online programs are in compliance
with the accreditation standards of SACS and other accrediting bodies with regulatory
authority over the delivery of the Institution's programs. To date, all of the University
programs represented by AP are in good standing with pertinent regulatory agencies.

        3.2.2 Proposer will provide an estimate of the earliest starting date for services
        following execution of the Agreement.

AP will begin providing services immediately upon execution of the agreement and
recommends that the first start date takes place four months from the execution date.




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         3.2.3 Proposer will submit a work plan with key dates and milestones. The work plan
         should include:

AP typically recommends an integration cycle of approximately four months from the
initial planning meeting to the start for a new program.

           o   Design Phase: 2-3 weeks: Program Launch (internal) and Planning
               Workshop (on·site) and definition of all program attributes (the content that
               drives all other activities)

           o   Develop Phase: 3·4 weeks: Execution of required integration activities, such
               as the development of marketing assets, integration of data files, and
               hiring/training of staff.

           o   Deliver Phase: 8·10 weeks: Execution of marketing plan. Application
               deadline, processing of students, delivery of courses.


                3.2.3.1      Identification of tasks to be performed;

Please reference Exhibit E attached.

                3.2.3.2      Time frames to perform the identified tasks;

Please reference Exhibit E attached

                3.2.3.3      Project management methodology;

AP provides a dedicated team of representatives from all key disciplines - Curriculum
Support Services, Partner integration Services, IT, Enrollment Services, Student Support
Services, Finance and Marketing to support the program launch of a UT Institution. Upon
signing of a contract with AP, the Partner Integration Services Director leads the project
implementation and is involved in all aspects of the project life cycle:

   •   Facilitates planning sessions to define project requirements and obtain partner
       signoff
   •   Conduct current/future state process analysis to align operations of university
       partner with AP program goals
   •   Implements and oversees status reporting process for managing action items,
       scope changes and risk

The AP support team has developed an on·boarding and integration document it uses it
as a standard template in launching each of its partner institutions. The AP support team
continuously updates best practices and conducts post·implementation reviews to ensure
that lessons learned are captured from each integration project.




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                3.2.3.4      Implementation strategy; and

Our services and implementation strategies consist of executing best practices in the
following areas:

   1.   Program Integration
   2.   Program Marketing
   3.   Student Recruitment
   4.   Program Delivery
   5.   Student Success
   6.   Regulations and Compliance

Each is implemented with a customized synopsis of AP's and the UT institution's
responsibilities and defined best practices for the partnership. Our implementation
strategies are designed, developed, and delivered in accordance to standard operation
procedures and best practices as defined by the partnership.

                3.2.3.5      The expected time frame in which the services would be implemented.

Please reference Exhibit E attached

        3.2.4   Proposer will describe the types of reports or other written documents
                Proposer will provide (if any) and the frequency of reporting, if more frequent
                than required in the RFP. Proposer will include samples of reports and
                documents if appropriate.

AP can provide reports to a UT Institution that update on key program performance
indicators on a regular basis. Reports often vary based on the academic program and
online education objectives of the partner institution. Typically, key performance
indicators may include any or all of the following:




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 Metric Name                 Metric Definition                            Formula      Frequency
 Number of Leads by          Total number of prospective student                        Quarterly
 Source                      leads that are submitted to AP.

 Number of Applicants        Number of completed applications                          Quarterly
 per Start                   received by partner
 Number of Admits per        Number of admissions acceptance                           Quarterly
 Start                       decisions for students into one of the AP
                             programs
 Number of                   Total number of course enrollments in an     NA           Quarterly
 Enrollments per Start       AP program at the time of the applicable
                             Census Date for each start
Total Enrolled               Total number of unique students enrolled     New          Quarterly
Students                     in a course (at the time of the applicable   Students +
                             Census Date) managed by AP during the        Returning
                             applicable calendar year. Note: each         Students
                             unique stUdent is only counted once for
                             purposes of this calculation, even if that
                             stUdent takes more than one (1) course
                             during the calendar year




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 3.3    General Requirements

        3.3.1   Proposer will provide summary resumes for its proposed key personnel who will
                be providing services under the Agreement with University, including their
                specific experiences with similar service projects, and number of years of
                employment with Proposer.

Bios for key personnel are included in Exhibit F.


        3.3.2   Proposer will describe any difficulties it anticipates in performing its duties under
                the Agreement with University and how Proposer plans to manage these
                difficulties. Proposer will describe the assistance it will require from University.

Although AP does not anticipate any difficulties in supporting the University, we have
defined a series of best practices in working with university partners. To manage
unanticipated difficulties, AP assigns key personnel to each functional area within the
partnership as well as to the overall account. AP then conducts regular meetings both
internally and with university leadership to identify issues and to quickly resolve them.
AP has also defined clear communication channels and paths to ensure that issues are
identified quickly and addressed.

 3.4    Service Support

        Proposer will describe its service support philosophy, how is it implemented, and how
        Proposer measures its success in maintaining this philosophy.

AP has developed a model based on best practices identified from work with other
colleges and universities. AP defines its accountabilities to our partners and measures it
success according to Key Performance Indicators (KPls). Our performance on the KPls is
reviewed monthly, and appropriate actions are taken to ensure that the organization is
performing to satisfactory levels.

 3.5    Quality Assurance

        Proposer will describe its quality assurance program, its quality requirements, and how
        they are measured.

AP reviews each course in the Epic LMS prior to its release and provides suggested
changes to correct textual errors, update links, and revise verbiage regarding
instructions for students' tasks. Institution professors retain the responsibility for
making these and any content revisions in the course materials. Quality assurance is
measured by analyzing data regarding enrollment center efficiencies, technology uptime
and resolution of support tickets, number and resolution time for student and faculty
issues in the Epic LMS, and error counts in released courses.




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 3.6     Miscellaneous

         3.6.1    Proposer will provide a list of any additional services or benefits not
                  otherwise identified in this RFP that Proposer would propose to provide to
                  University. Additional services or benefits must be directly related to the goods
                  and services solicited under this RFP.

AP has the ability to assist state universities in building international student enrollments
by:

           •     Recruiting students directly into state universities' online programs

           •     Recruiting students into dual degree programs between state universities
                 and outstanding universities around the world

           •     Establishing the physical presence of state university partners on the
                 campuses of foreign universities - particularly on campuses of affiliated
                 universities in Latin America - namely in Argentina, Brazil, Chile, Colombia,
                 Panama and Peru.

         3.6.2    Proposer will provide details describing any unique or special services or
                  benefits offered or advantages to be gained by University from doing business
                  with Proposer. Additional services or benefits must be directly related to the
                  goods and services solicited under this RFP.

AP's international network enables additional recruiting of qualified international students
for state university partners' programs thus enabling them to expand their geographic
reach globally while significantly impacting overall revenue for their universities.


        3.6.3     Does Proposer have a contingency plan or disaster recovery plan in the
                  event of a disaster? If so, then Proposer will provide a copy of the plan.

AP has a comprehensive business continuity plan in the event of a disaster or other
events that would affect business operations. This document has a significant amount of
confidential information, therefore we will be willing to share that document after
execution of an agreement.




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                              TAB 4
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                                                                                                                       APPENDIX ONE


                                                     SECTION 4




Proposal of:


To: The University of Texas System Administration

Ref.: Selection of Vendor(s) 10 Provide Online Education Services

RFP No.: BOR-07-08-11



Ladies and Gentlemen:

The undersigned Proposer hereby acknowledges receipt of the following Addenda to the captioned RFP (initial if
applicable).

                 No.               No.2~              No.3                 No.4~

                                                      Respectfully subm·,Ued.

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                                                    APPENDIX ONE
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                               TAB 5
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                                          SECTION 5

               SPECIFICATIONS; REQUIRED INFORMATION AND QUESTIONS


5.1       Overview

Responses to the requests included in Section 5 are provided below. To facilitate ease
of use, Academic Partnerships (AP) has adopted the same structure and numbering
system as is set forth in this Section 5.

5.2       Services Categories

          The University is interested in entering into one or more Agreements with
          Contractors capable of providing online. web or mobile based systems and
          associated support and services in support of the online education programs
          conducted at the UT Institutions, Such systems and support include the following
          "Services Categories":

AP works with state universities and has provided online higher education and
marketing services for its partners since 2007. We have a strong record of success in
helping universities expand access to their programs by converting traditional degree
programs to online delivery while expanding their recruitment footprints and increasing
student enrollments. AP currently assists partner institutions with undergraduate,
graduate and post-graduate degree programs in fields such as Business, Nursing,
Education, Arts and Sciences and Criminal Justice.

          5,2.1 Technoloqy Assistance.       The ability of the UT Institutions to obtain
                assistance from a Contractor with the technologies used for online education,
                including the Contractor's provision of online, web-based applications through
                which the UT Institutions may conduct academic classes and work as well as
                the Contractor's provision of services through the use of such
                applications (collectively, the "Systems"). Such Systems must meet the
                following requirements. However, please note that such Systems are not
                intended to merely constitute the Contractor's provision to any UT
                Institutions of a Course Management System (CMS) or a Learning
                Management System (LMS).

AP is prepared to assist UT Institutions develop and deliver their online programs
through support of any learning management system utilized. However, our services
include access to our proprietary platform-the EPIC Learning Management System
("Epic LMS" or "Epic"). The Epic LMS facilitates the process of converting traditional
classroom anchored courses to online and then facilitates the delivery of those courses
to students anytime and anywhere web access is available. The platform was designed
specifically for use by university faculty members and students. It provides faculty with a
clear instructional structure based on best practices in course development. Currently,
over 50,000 students use Epic worldwide.



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       5.2.1.1 The Systems must allow the University and the UT Institutions to
                implement and conduct classes over the Internet, including:

                 •         conducting online classes, including presentation of course
                           materials;

                 •         engaging students in the learning process; and

                 •         conducting tests, examinations, and other assessments.

                 Please note that such classes will not limited to only those conducted by
                 professors or instructors at a single UT Institution, but will also include
                 courses that are "tearn taught" by professors or instructors at two or rnore
                 UT Institutions. As are sui t, the systems must provide connectivity and
                 operability to support such "team taught" classes.

AP will facilitate the delivery of classes entirely over the internet. The platform engages
students in the learning process by requiring responses to questions, participation in
discussion boards and class activities, the completion of homework, and online
interaction with professors and other online class members.

Epic provides multiple assessment options including tests, examinations, and
assessments of various types. The platform will permit professors at two or more UT
institutions to jointly develop and access online curricula in a manner that facilitates
team teaching. We acknowledge that the institution controls all aspects of instruction,
curriculum, and course content.

       5.2.1.2 The Contractor must implement and be capable of using such Systems to
               provide assistance to a UT Institution's students in (i) how to apply for
               admission to the UT Institution, (ii) how to file a degree plan; (iii) how to
               register for classes and for financial aid, (iv) how to make payments to the UT
               Institution, and (v) obtaining and utilizing e-advising. Note, however, that the
               UT Institution will retain control over the admission, registration, and
               enrollment of students and well as for billing students and collecting student
               payments.

AP services are designed to provide comprehensive information for students inclusive of
all of the areas specified above. Inasmuch as policies and practices may vary across UT
Institutions, our staff will work closely with individuals designated by the UT Institution
to ensure that the information and support provided accurately reflects the specific
requirements of the Institution. We acknowledge that decisions regarding admissions,
registration, grading, student advisement, tuition, and the award of financial aid rest
solely with the UT Institutions.


       5.2.1.3       The Systems must provide students with information concerning all
                     degree plans and classes made available through such Systems.


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AP will maintain comprehensive information on each degree plan in a format that can be
shared easily with students. This information will include the total number of required
courses and credit hours by degree, online syllabi for courses, and description of each
course including required outcomes, course duration and costs.



       5.2.1.4   The Systems must implement business processes for the recruitment of
                 students by the UT Institution and/or the Contractor and the marketing of a UT
                 Institution's online education programs (ref. Section 5.2.4 below.)

AP will adhere to business processes that ensure appropriate and effective practices in
support of the recruitment and marketing of each UT Institution's online programs.
Those processes will include the use of web communications to advertise and promote
the programs and additional forms of communication with prospective students about
the Institution's programs. AP's processes are designed to optimize the sharing of
information with prospective students at key points in time when they' are making
decisions about program enrollment. Our processes include frequent and continuous
contact with the students up to the point of decision-making processes by the Institution.

       5.2.1.5 The Contractor must implement and be capable of using such Systems in order
              to monitor student progress in (i) applying for admission to the UT Institution, (ii)
              obtaining an approved degree plan, (iii) applying for financial aid, and (iv)
              registering and paying for online courses and degrees. This must include the
              ability of (a) Contractor's Systems to transparently integrate with a UT
               Institution's information technology systems and standard operating procedures
               in order to perform this requirement and (b) the Contractor and/or its Systems to
               interact with a UT Institution's faculty, staff, and students to assist in ensuring
               student progress through the above activities, such as Contractor's provision of
              support for ongoing stUdent enrollment in a UT Institution's online education
               program.

AP will monitor prospective students' progress through all of the major steps leading up
to the point of the admissions decision by the institution and subsequent enrollment in a
UT Institution's degree program. Our processes are proactive with students-closely
monitoring students' completion of required forms and documents pertinent to
admissions, degree plan, financial aid, and financial arrangements for online courses
and degrees. These monitoring processes are continuous throughout students' active
enrollment in courses and degrees.

AP systems will enable integration of information with the UT Institutions' information
technology systems through an application programming interface (API). AP has a
successful track record of working with partner institutions to facilitate transfer of critical
information between systems. While UT Institutions will be responsible for all academic
matters, AP will provide information to the institutions' staff that facilitate their effective
engagement with stUdents both prior to and following enrollment.




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      5.2.1.6 The Systems must support the administrative tasks and obligations
              associated with a UT Institution's online education program - e.g., record
              keeping, the filing of necessary reports.

AP will provide support for the generation of reports specific to the UT Institution's
online courses and programs. This service will encompass all the basic functions that
AP supports.


       5.2.1.7    The Systems must support the Contractor's provision of Services under the
                  other Services Categories documented in this Section 5.2.

AP will support all Services referenced in Section 5.2.


        5.2.1.8    The Systems must include the provision of technical support to a UT
                   Institution's students, faculty, and staff on a 24 hours a day, 7 days a week
                   basis.

AP will coordinate technical support with the institution's staff and can provide students,
faculty and staff with access to technical support 7 days a week. That support will be
customized to the particular needs of each of these groups to ensure effective and timely
resolution of issues.



         5.2.2     Course Design/Implementation. The ability for each UT Institution to obtain a
                   Contractor services in support of the design and implementation of courses for
                   that Institution's online education program.

AP will work with UT Institution's faculty and administration as online courses are
designed, developed, converted and implemented. Campus-based meetings will assist
faculty as they develop detailed blueprints for course structure and content prior to
course conversion or construction. AP support services will include training on Epic's
course authoring system, if applicable, and recommendations to faculty on course
duration, content presentation materials and format.


         5.2.3     Professional Development. A Contractor's provIsion of professional
                   development services to a UT Institution in order to assist that Institution's
                   faculty in tailoring course materials to take full advantage of the online
                   approach.

AP will provide comprehensive expert resources to a UT Institution's faculty as they
design and develop online courses. Those services will include assistance with program
planning and instructional design. During meetings with faculty, our staff will introduce
best practices and provide recommendations related to length of program, length of
courses, and flexibility in sequencing. Our staff will also assist faculty members in
establishing learning outcomes so that readings, lectures, and assessments are tied to
learning outcomes that are measurable.

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         5.2.4   Recruiting/Marketing. A Contractor's recruitment of new students to a
                 UT Institution's online education programs and courses as well as marketing
                 such programs and courses to the general public and to targeted groups.

AP will deploy a combination of proven marketing strategies to attain a UT Institution's
enrollment targets for its online programs. During the past four years, these strategies
have resulted in more than 30,000 students enrolling at our partner institutions. These
strategies include employer-based affinity partnerships, (represents direct relationships
with organizations that maintain the largest population of prospective students - i.e.
hospital systems for healthcare degrees; school districts for education degrees, and
corporate entities for business programs) field recruitment, and comprehensive e-
marketing. All strategies will be designed to lead prospective students to landing pages
and/or websites developed by AP with the assistance and approval of the UT Institution.

Our services include the development and execution of marketing strategies and plans
for each UT Institution's program(s). They will include, but not be limited to, the
provision of marketing and. promotional materials that facilitate the recruitment of
students through affinity partnerships with targeted employers and through online
marketing campaigns. AP will provide trained enrollment specialists to work directly
with prospective individual UT Institution students. These specialists will respond to
questions posed by students and provide information about the UT Institution's
programs. This support will begin with pre-application and continues through the
registration process once the student has been accepted by the university.


         5.2.5    Financial Terms. The Contractor's provision of the financing and pricing
                 structure(s) necessary to deliver Services in support of a UT Institution's online
                 education programs and courses. This may include, but may not be limited to,
                 the Contractor's funding of the up-front costs to start a UT Institution's online
                 education system (e.g., seed money) and subsequent recovery of such costs
                 via tuition or registration fees.

The pricing structure for all required services necessary to support the online education
programs at the UT Institutions is detailed in Section 5.3.3, Pricing of Services
Approaches. In that regard, AP will fund upfront: a) the curriculum support services
outlined in Section 5.2.2.; b) initial and ongoing marketing costs as detailed in Section
5.2.4; c) the cost of staff retained and trained by AP to communicate with and assist
prospective students interested in enrolling in the UT Institution's programs and
thereafter retaining them in the programs; and d) the services outlined in Section 5.2.3
related to curriculum support services for tailoring courses that take full advantage of
the online approach to instruction.

AP proposes a financial structure similar to the contracts we currently have with 12 state
universities. This structure requires no upfront funding or investment of AP cost by the
UT Institution. Under this approach, AP recovers its upfront investment through a
revenue model based on a tuition sharing arrangement.


AP describes our general financial terms and structure in Section 6.1. However, as a
practical matter, we have negotiated individual contracts with our partner institutions in


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recognition of the unique requirements and differences among them, including programs
and markets. Because AP will provide these services for a wide range of degree
programs that vary in tuition and market potential, it is not possible to provide a single,
standard pricing structure that covers every situation adequately. Generally speaking,
we do not provide "seed money" to university partners, as we have found that the
universities require very little upfront incremental investment to launch their programs.
As mentioned above, AP makes a significant upfront and ongoing investment that is
recovered solely through the revenue sharing model.

          5.2.6 Instructional Support. The ability of a UT Institution to obtain instructional
                 support for students in the Institution's online education programs and
                 courses. Such support may include, but is not limited to, the provision of
                 instructional assistants or coaches.

To eliminate any doubt about its partner institutions' exercising total control over all
elements of its instructional programs, AP maintains a clear delineation between
recruiting and instructional support; we therefore do not offer these services. We
recognize, however, that UT Institutions may need help in identifying instructional
assistants and coaches to meet student demand for their online courses and programs.
There are third-party instructional suppliers that can assist with this task that would not
also be engaged in marketing the institution's programs. AP does work closely with the
universities' instructional support personnel to ensure a high quality student experience.

 5.3    Menu-Based Services Approach; Comprehensive Services Approach

        Each proposal submitted must address the Proposer's capabilities, strengths, and
        advantages in providing Services in support of each of the Services Categories
        identified above. Such responses should address the provision of Services under
       both of the following approaches:

        5.3.1   Menu-Based Services Approach. It is intended for each UT Institution to be
                able to select and obtain Services from a Contractor from one or more of the
                Services Categories identified above, in order to meet that UT Institution's
                particular requirements.   For example, a UT Institution may only have
                requirements to engage instructional assistants for its online education
                program, and should be able to independently procure such assistants from
                one or more Contractors without having to obtain Services in any of the other
                Services Categories.

                Therefore, in its proposal each Proposer must identify its capabilities and
                resources for independently providing Services in each of the Services
                Categories identified above under such a "menU-based" approach. Each
                Proposer must identify each of the Services Categories in which Proposer has
                specific, demonstrable capabilities. However, if a Proposer does not provide
                Services in any specific Services Category, then Proposer must indicate this in
                its proposal.

AP's preference is to provide the aforementioned services to UT Institutions in a bundled
structure. AP prices all of its existing contracts using a revenue model based on a
tuition-sharing structure. AP will, however, be open to a menu-based services approach

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that reflects the unique needs and requirements of individual UT Institutions and their
programs. We offer all of the services detailed in section 5.2 except for Instructional
Support (5.2.6), and can do so in a bundled or independent manner. A pricing structure
for menu-based services is provided in our response to Section 6.1

        5.3.2   Comprehensive Services Approach. However, each Proposer with the
                necessary capabilities and resources is also encouraged to propose a
                comprehensive approach for providing Services in all of the Services Categories
                identified above, so that such a Proposer can serve as a single source from
                which a UT Institution can obtain Services in all of the Services Categories.
                Proposers proposing such a comprehensive approach may, where applicable,
                propose a specific Learning Management System (LMS) or Course
                Management System (CMS) that the UT Institutions may procure from the
                Proposer under that approach. If such a comprehensive approach is proposed,
                then the Proposer must identify all advantages to a UT Institution of obtaining
                Services under such a comprehensive approach from the Proposer as opposed
                to the "menu-based" approach identified above. Such advantages should
                include, but may not be limited to, the lower costs and greater functionalities and
                efficiencies that the UT Institution will obtain as a result of choosing the
                Proposer's comprehensive approach.

AP has historically provided the aforementioned services to universities in a bundled
structure. The advantage to this approach is that all parts of the organization are
focused on the entire lifecycle of a student, including initial design of the program,
recruiting, and retention services through graduation. This comprehensive approach
delivers an integrated, seamless student progression strategy. Additionally, AP is able
to offer our LMS and program design services at no incremental fee if provided with our
recruiting and marketing services. AP operates with a university-centric team approach,
where a dedicated team encompassing marketing, integration services, and curriculum
support services work together to serve the university. The overall program has more
effective student outcomes when all of the different functions are involved in the design
and execution of the program.

        5.3.3. Pricing of Services Approaches. Given the two Services Approaches set forth
               above, each Proposer's documentation of its proposed "Pricing for Services
               Offered" as set forth in Section 6.1 must price the Services in the following three
               ways:

                •   On an "a la carte" basis, where Proposer identifies the separate pricing at
                    which a UT Institution may obtain Services from Proposer in each individual
                    Service Category,

                •   On a complete "package price" basis, in order to identify the total pricing at
                    which a UT Institution may obtain Services across all of the Services
                    Categories from Proposer under the Comprehensive Services Approach,
                    and




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                     •   As applicable, on a "combination" basis, whereby a Proposer may identify
                         the pricing at which a UT Institution may obtain Services under combinations
                         of two or more, but less than all six, of the Services Categories, if Proposer
                         determines that such combinations will be of benefit to the UT Institutions.

AP has provided pricing structures in Section 6.1 on an "a la carte" basis, "package
price" basis, and "combination" basis.

     5.4   Required Information and Questions

           5.4.1 General

           5.4.1.1       Proposer must demonstrate its ability to familiarize itself with and adapt
                         its provision of services to accommodate a UT Institution's standard
                         operating procedures and ways of doing business.

AP believes that the foundation of a successful partnership must begin with
collaboration. To achieve this goal, the critical first step for the AP staff is to learn as
much as possible about the institution's goals, capabilities, processes and resources.
AP makes it a priority to identify upfront the institution's strengths and areas where it will
need support. Our staff will routinely consider:

a. The institution's strengths as they will impact on the development and marketing of
   online programs

b. Information pertinent to the institution's culture and traditions

c. The institution's technology and personnel support

d. Faculty experience in developing and delivering online courses

e. The online degrees under consideration and the market demand for those programs

f.     The rules and regulations that the institution must comply with to be in good standing
       with state education and regional accrediting agencies for online expansion of
       programs

Information of this type, accompanied by thoughtful discussions with faculty and staff at
UT Institutions at the onset of the relationship, are key to a successful start of an online
program.




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       5.4.1.2     Proposer must demonstrate its compliance with all applicable federal and
                   state laws and regulations as well as applicable standards, including:

                   a. those regarding approval of out-of-state providers of online education
                      services, including distance or correspondence education,
                   b. the Family Educational Rights and Privacy Act ("FERPA"),
                   c. the Americans with Disabilities Act,
                   d. the Health Insurance Portability and Accountability Act ("HIPM").

AP accepts full responsibility for its compliance with federal and state laws and
regulations that apply to AP. This includes all of the regulations referenced immediately
above. As a service to the UT Institutions, AP will work closely with designated
representatives at the Institution to help them comply with applicable laws and
regulations. AP will provide the UT Institutions access to a compliance specialist that
will help them with the steps necessary for the UT Institution to comply with federal
regulation and to obtain out-of-state operating authority for their online programs.

            5.4.1.3    Proposer must identify its capabilities and experience in implementing
                       online education in compliance with the accreditation standards of the
                       Southern Association of Colleges and Schools (SACS) or
                       other accrediting bodies.

AP will work with UT Institutions to ensure that all online programs are in compliance
with the accreditation standards of SACS and other accrediting bodies with regulatory
authority over the delivery of the Institution's programs. To date, all of the University
programs represented by AP are in good standing with pertinent regulatory agencies.

            5.4.1.4    Proposer must identify its use of the quality processes available from
                       applicable online education organizations, such as the WICHE
                       Cooperative for Educational Technologies (WCET), the Sloan
                       Consortium, or the Quality Matters (QM) Program.

While the quality of online instruction has been validated through many recent research
studies, it remains critical to apply best practices in the development and assessment of
all programs. Furthermore, when comparative data are reported, they must be compared
to traditional instruction, not just to others being offered online.

In the programs AP represents academic decisions rest solely with the faculty and staff
of the institution. Some
partners use Quality Matters as a rubric for course development. The rubric is then used
for online training and faculty is made aware of the standards before they begin
developing their course. At least one of our university partners has trained their support
staff for Quality Matters.    Other partners also use the Texas Higher Education
Coordinating Board's Standards of Best Practice and SACS Best Practices for course
review and training.




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            5.4.1.5    Proposer must address its capabilities and proposed approach for
                       maintaining continuity in as well as completing online education
                       Services that it provides to a UT Institution once such Services have
                       started and students have enrolled in online classes / degree plans.
                       Specifically, Proposer must identify the commitments that it offers to
                       the UT Institutions so that once that UT Institution starts an online
                       education program (and enrolls students in that program) with the
                       assistance of Proposer, the Proposer will remain committed not only
                       to the continued performance of Services in support of such a
                       program but to assurance that such a program is in fact completed. It is
                       anticipated that such commitments will include, but may not be
                       limited to, limitations on Proposer's ability to terminate any Agreement
                       with a UT Institution in order to ensure the completion of an online
                       education program that has been initiated with that Proposer's
                       assistance.

AP has worked successfully with state universities for more than four years to help them
deliver their courses and programs online. In addition to recruiting students for those
programs, we include services that focus on retaining enrolled students through
graduation. Following are examples of the services we will provide in support of student
retention.
(i)    We assign student support specialists to each student. Those individuals
       communicate regularly with the students by email and telephone, answering
       questions and encouraging them as they progress through tl"\eir courses.
(ii)   Pursuant to point (i), we know from experience that students' completion of initial
       courses in an online program is crucial to their continuation to graduation.
       Consequently, we will place special emphasis on direct and continuous
       communications with the student during those initial courses.
(iii)  AP will hold weekly conference calls with university presonnel to discuss program
       updates and provide feedback from our communication with students.

            5.4.1.6    Proposer must identify the advantages and benefits that it can provide to
                       the UT Institutions to both increase graduation rates and lower time to
                       degree completion via online education.

AP will provide UT Institutions with a proprietary program design (whether using Epic or
any other learning management system) for the delivery of online degree programs that
relies, in part, on multiple start dates and accelerated courses. This approach will lower
time to degree completion and increase graduation rates while simultaneously
maintaining quality of the program.

The design has been adopted and used extensively, and successfully, by all of AP's
partner institutions. Combined with AP's continuous communications with students, this
unique design is highly responsive to students' needs for flexibility in course scheduling
and completion, resulting in less time to completion.




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            5.4.1.7     If Proposer takes exception to any terms or conditions set forth in
                        Section 4 of this RFP, Proposer will submit a list of the exceptions.

While AP is in agreement with the majority of the terms and conditions, we anticipate
there may be unique cases with individual institution contracts that require changes to
terms and conditions. Additionally, further clarification may be needed once an
institution has clarified its desired program.

            Section   4.27.2 further states: Contractor grants and assigns to University all rights
                      and claims of whatever nature and whether now or hereafter arising in and
                      to the Work Material and will cooperate fully with University in any steps
                      University may take to obtain or enforce patent, copyright, trademark or
                      like protections with respect to the work material.

AP will need further clarification on this provision, in that some of the items defined as
"Work Material" might potentially be work product of AP necessary for the furtherance of
AP services to institutions other than UT Institutions. In so far as any of the Work
Material is the work product of any employee of the University or specifically produced
for a UT Institution, then AP does not object to this section.

             4.30.4 States: In the event of Contractor's breach of the terms and conditions of
                     this Agreement or of any of the Orders, the University may immediately
                     terminate this Agreement in its entirety, including all of the Orders entered
                     into by the UT Institutions and Contractor under this Agreement, by
                     providing written notice to Contractor.

Depending on the specific breach cited, AP may object to the fact that this provision
does not allow for any time to cure and would recommend inserting 30 day cure
language into the provision in that a breach, if occurs, may be unintentional and curable.

             Section 4.33 States: EXCEPT FOR UNIVERSITY'S AND THE UT INSTITUTIONS'
                     OBLIGATIONS TO PAY CONTRACTOR CERTAIN FEES AND EXPENSES,
                     UNIVERSITY AND THE UT INSTITUTIONS WILL HAVE NO LIABILITY TO
                     CONTRACTOR OR TO ANYONE CLAIMING THOROUGH OR UNDER CONTRACTOR
                    BY REASON OF THE EXECUTION OR PERFORMANCE OF THIS AGREEMENT OR
                    ANY ORDER.

                      NOTWITHSTANDING ANY DUTY OR OBLIGATION OF UNIVERSITY OR ANY UT
                      INSTITUTION TO CONTRACTOR OR TO ANYONE CLAIMING THROUGH OR UNDER
                      CONTRACTOR,    NO PRESENT OR FUTURE AFFILIATED ENTERPRISE,
                      SUBCONTRACTOR, AGENT, OFFICER, DIRECTOR, EMPLOYEE REPRESENTATIVE,
                      ATTORNEY OR REGENT OF UNIVERSITY, A UT INSTITUTION, OR ANYONE
                      CLAIMING UNDER UNIVERSITY OR A UT INSTITUTION HAS OR WILL HAVE ANY
                      PERSONAL LIABILITY TO CONTRACTOR OR TO ANYONE CLAIMING THROUGH OR
                      UNDER CONTRACTOR BY REASON OF THE EXECUTION OR PERFORMANCE OF
                      THIS AGREEMENT OR ORDER.




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AP will need further clarification of this provision and would like to discuss the following
as an alternative:
EXCEPT FOR UNIVERSITY'S AND THE UT INSTITUTIONS' OBLIGATIONS TO PAY CONTRACTOR CERTAIN
FEES AND EXPENSES, UNIVERSITY AND THE UT INSTITUTIONS WILL HAVE NO LIABILITY TO
CONTRACTOR OR TO ANYONE CLAIMING THROUGH OR UNDER CONTRACTOR BY REASON OF THE
EXECUTION OR PERFORMANCE OF THIS AGREEMENT OR ANY ORDER FOR ANY NON-WILLFUL ACT OR
OMISSION. THIS PROVISION NEITHER EXCLUDES LIABILITY FOR THE UNIVERSITY'S OR UT
INSTITUTIONS' OR THEIR AGENTS' OR EMPLOYEES' WILLFUL ACTS OR OMISSIONS MADE AGAINST
CONTRACTOR NOR DOES IT RELIEVE UNIVERSITY OR UT INSTITUTIONS OR THEIR AGENTS OR
EMPLOYEES FROM OBLIGATIONS TO PAY CONTRACTOR CERTAIN FEES AND EXPENSES RESULTING
FROM WILLFUL ACTS OR OMISSIONS.

             4.30 Default and Termination

In the event of termination of Order by Institution without cause, we need further
clarification regarding the payment beyond the termination date. Specifically, since the
majority of AP's financial investment is made upfront for course conversion, curriculum
support, marketing and recruiting services, and because we recover that investment on a
course by course basis, AP would like clarification that, for all students recruited before
the termination date, payments beyond the termination date would continue until the
student completes or leaves the program.

            5.4.1.8    Proposer must identify all terms and conditions it proposes to include in
                       any Agreement with the University.

AP does not propose any new terms and conditions. However, AP anticipates that,
depending on the services desired, including the programs to be delivered online,
individual UT Institutions may want to negotiate terms and conditions specific to their
individual circumstances and needs.

            5.4.1.9    Proposer must identify all uses of a UT Institution's name, logos,
                       symbols, marks, or content (collectively, "University Marks and
                       Content") that it proposes to make in the course of performing the
                       Services. If Proposer proposes to use any University Marks and
                       Content, then Proposer must agree to enter into a specific licensing
                       agreement with the University and Proposer's use of University Marks
                       and Content must only be in accordance with the terms and
                       conditions of such a licensing agreement. Furthermore, please note
                       that the University expects to retain control over the use of any
                       University Marks and Content as provided in Section 4.48 above.

AP will, with the UT Institution's consent and input, use University Marks and Content
for:
a.     online marketing and recruiting using banner ads, emails, landing pages and a
       websites;
b.     marketing through printed flyers, brochures, advertising, business cards, and
       conference materials;
c.     providing student enrollment services and student retention support through
       direct mail and emails; and


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d.      information session materials including posters and banners.

             5.4.1.10   Proposer must identify all processes and procedures it will implement to
                        avoid and address any conflicts of interest that may arise
                        respecting its provision of Services to multiple UT Institutions as well
                        as similar services that Provider may provide to its other customers or
                        clients.

Although there are no boundaries in online marketing and thus no exclusivity to specific
market areas, AP has certain internal processes and procedures in place to minimize any
conflicts of interests, such as designated enrollment specialists for each UT Institution
served, specific websites for each UT Institution, and individual landing pages designed
for marketing purposes for each specific program.

     5.4.2   Technology Assistance

             5.4.2.1    Proposer must provide a detailed description and explanation of the
                        Systems that it proposes, including the following:

                        a.   Where the Systems are to be hosted/operated/maintained.

AP systems are hosted, operated and maintained at Databank, 400 S. Akard Street, Suite
100, in Dallas, Texas.

                        b.   Proposer's commitments for uptime, availability, and problem
                             resolution for its Systems. For example, Proposer must provide a
                             copy of any Service Level Agreement (SLA) or any similar written
                             commitments that it makes regarding its Systems, including any
                             compensation or consideration that Proposer provides its
                             customers for failure to satisfy such commitments.

AP system that are hosted, operated and maintained at Databank are deSigned to
function on a 24/7 basis, an essential feature of online programs. Enormous effort is
committed to maintaining an operationally sound infrastructure. AP does not have a
standard Service Level Agreement, as all terms related to our agreements are
incorporated into agreements with individual institutions based on level of service and
related variables.

                        c.   Proposer's process and schedule for implementing and integrating
                             its Systems with a UT Institution (including a description of how
                             Proposer will integrate its Systems with an existing UT Institution
                             LMS/CMS or, if a Proposer offers a Comprehensive Services
                             Approach as set forth in Section 5.3.2 above, the specific LMSs
                             or CMSs that the Proposer will offer in under that approach.)

AP will provide an integration team to the UT Institution to conduct an on-site planning
workshop at the onset of a new relationship. The visiting team will include AP
representatives with expertise in integration practices. Telephone conference calls will
be scheduled with IT and Finance representatives. A standard checklist and timeline will

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be used to manage all integrations, with tasks assigned to appropriate departments. A
weekly internal integration meeting will monitor progress across all teams.

AP typically recommends an integration cycle of approximately four months from the
initial planning meeting to the start for a new program.

           o   Design Phase: 2-3 weeks: Program Launch (internal) and Planning
               Workshop (on-site) and definition of all program attributes (the content that
               drives all other activities)

           o   Develop Phase: 3-4 weeks: Execution of required integration activities,
               such as the development of marketing assets, integration of data files, and
               hiring/training of staff

           o   Deliver Phase: 8-10 weeks: Execution of marketing plan. Application
               deadline, processing of students, delivery of courses.

The following table provides a typical time and task schedule for taking a degree
program online.




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    Phase                                        Objeclive(s)
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         '§      8",         Kick~off            •   Complete pre~integration checklist and sign contract
         ~-
     ~,:!'~
     III C,-     (I)
    2::),0
                       ..    Program
                             Launch
                                                 •   Define/review target dates for rollout
                                                 •   Prepare partner and internal team for planning workshop

         ... I
                             Planning            •   Define program attributes, integration procedures and marketing strategies
         ~                   Workshop            •   Prepare Jarger internal team for rollout activities
!        ~                   (on-site)           •   Describe instructional support model, if applicable
         ~
                        •
         3:I ...•.           Course              •   Demonstrate Epic LMS (if applicable)
                             Blueprinting        •   Support faculty in design of scalable online courses
          "'"
         'iii
                             Session (on~site    •   Assist in design of Program orienlalion (if applicable)
                             consultation}
         ~
         Cl
                                                 •   Provide courses development schedules to meet course OA and rollout dates

I··'· . . ....                                   •   Develop university program website and landing pages
                             Websites
                                                 •   Update affinity sites

                             Marketing Assets    •   Develop all marketing collateral to support field sales, online marketing campaigns and
                                                     enrollment services
,
                             Recruitment and     •   Define resource plan

                 .
                             Enrollment          •   Develop operational tools for Enrollment Services
                             Services
,

         0
                                                 •   Train internal resources on new programs
         ~

             I               Technology          •   CRM setup to support new program
                             Integration         •   Integrate partner data
         '"w
         '"
         ~                   Epic and Epic       •   Train and support Epic course development (if applicable):
         3:                  Authoring
                             Training &
                                                     ~Epic Authoring Training
                                                     ~Creation of course shells for professors/authors
I.····~·                     Support for             ~Epic Training (including Grade book)
    ..   ;;                  Faculty (on~site        -Ongoing faculty support for EA and Epic (Faculty Support)
          >
          ~                  consultation}
         Cl                                          ~OA of courses for functionality
                        ..
                             Marketing           •   Launch website
         ~,,';'-, Launch                         •   Deploy field sales where applicable and online campaigns
         .,
          I· ..
                                                 •   Actively provide support to the university on student admissions and enrollment processes
         0                                       •   Create student sections and enroll professors, if applicable
         '"
         ~
                                                 •   Confirm student rosters / enrollments
         3:. .                                   •   Insert Student Survey Links into course (if applicable)
             I               Course Start
         ~                                       •   Prep internal departments
1< ,~ ..                                         •   Contact students
         ~ ...
,
                                                 •   Support faculty in use of Epjc~ongoing




                                                d.    A detailed descriptiDn of how Proposer and a UT Institution's
                                                      students, faculty, and staff may access and use its Systems to
                                                      perform the Technology Assistance requirements set forth in
                                                      Section 5.2.1, including:

                                                      (i)       the creation, tracking, and fulfillment/completion of degree
                                                                plans,
                                                      (Ii)      provision of assistance to students in how to register for
                                                                courses and make payments to the UT Institution,
                                                      (iii)     the conduct of courses, including class sessions, online
                                                                participation (both real-time and via email, instant

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                                   messaging, chat, social media, etc.), testing, and grading,
                             (iv) the capabilities of the Systems to allow the creation or
                                   input of curricula, course materials, tests, notes, etc.,
                             (v) the ability to search the Systems for information,
                             (vi) the Systems' report generation capabilities, and
                             (vii) Proposer's specific identification of the elements that it
                                   expects a UT Institution to provide in support of its
                                   performance of such requirements.

(i)       AP will work closely with the UT Institution to interface effectively with the
          Institution's existing systems and degree plans for a successful student
          progression strategy.
(ii)      Enrollment Service Representatives contact students again as soon as they
          become eligible to register for classes to provide them instructions for registering
          and paying for courses. They track students' status and send additional
          reminders until students are registered/enrolled. Upon receipt of the initial non-
          payment list from the UT Institution several days prior to the course start,
          Enrollment Service Representatives contact the students to determine if
          additional guidance is needed to complete registration and payment.
(iii)     Epic is flexible, allowing development of an online course that meets the
          instructor's objectives and the learner's needs. The instructor selects appropriate
          components to instruct, test, grade and assess the students, including student-
          to-student, student-to-instructor, and instructor-to-student interactions via
          asynchronous Discussion Boards, email, use of external social media tools and a
          grade book.
(iv)      Any component can be tailored in Epic to reflect best practices of online
          instruction and include professor's choices of curricula, course materials, tests,
          notes, etc. as key features of the academic program. AP's Curriculum Support
          Services team is available for consultation and training.
(v)       Through AP's integration processes and the daily data feed provided by the UT
          Institutions, AP will have the capability to search the status of applicants through
          registration and enrollment. Additionally, Epic facilitates a search of course
          materials for particular information.
(vi)      Epic provides administrative reporting capabilities that provide statistics on
          enrollment, grades and student activities that can be utilized for teacher and
          student performance analysis, enrollment projection and billing.            Student-
          performance data such as exam statistics by question, objective mastery rate,
          assignment statistics by grading criteria (rubric) and time spent on each course
          activity can be generated at the activity, section, course or domain level. If Epic
          is not utilized, AP will rely on the data furnished by UT Institution's SIS and LMS
          regarding enrollment and retention status of students.
(vii)     AP relies upon daily data feeds from the UT Institution's SIS and LMS (if
          applicable) in accordance with applicable regulations.           Obviously, the UT
          Institution will provide support for its own systems, i.e., registration, student
          portal, and maintenance of stUdent records.

          e.   If Proposer offers an LMS or eMS, the analytics for assessments or learning
               outcome measures and student usage of online tools and content that the
               Proposer offers.


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Epic enables students to submit assessments and receive immediate feedback regarding
the accuracy of responses along with feedback from the professor that will reinforce
learning or redirect misconceptions. Students can view the details of scoring rubrics for
each open-ended assessment or assignment. As instructors release grades on activities,
students may view their individual scores on any graded items at any time as well as
their point-in-time overall course grade.

Instructors link assessment items and rubric criteria to course objectives and/or
outcome-based educational or industry standards. Instructors can view item analyses
and objective-mastery data in the courseware by section. Student-performance data such
as exam statistics by question, objective mastery rate, assignment statistics by grading
criteria (rubric) and time spent on each course activity can be viewed in the courseware
at the section and activity levels, and generated in reports at the activity, section, course
and domain levels.

            5.4.2.2     In describing the assistance and monitoring that the Contractor must
                        provide as a part of or through its use of the Systems as set forth in
                       Sections 5.2.1.2 and 5.2.1.5 above, Proposer must identify how it
                       proposes to provide such assistance to a UT Institution's students,
                       faculty, and staff via (i) online interaction and communication and (ii)
                       personal contact and communication (e.g., meetings, phone calls.)

AP will provide trained enrollment specialists to work directly with prospective individual
UT Institution students. These trained specialists will respond to questions posed by
students and provide information about the UT Institution's programs. This support will
begin pre-application, continues through the application process, and, once the student
is accepted to the program by the UT Institution, thereafter through the enrollment and
payment processes.

AP will provide trained student success specialists as primary points of contact for all
enrolled students. This staff will offer retention support services and technical support
to ensure students successfully progress to graduation.

Students will have access to these specialists via email and dedicated 800 numbers.
While AP staff will be responsive to students' inquiries, they will also be proactive,
disseminating reminder emails about deadlines, start dates, and other critical
information.

AP curriculum support services team members will work with university faculty and staff
on program design, development, and launch for each degree program. This support will
focus on program and course planning and conversion, including best practices for
introducing scalable online programs. Face-to-face meetings, web casts, and conference
calls will be used to optimize completion of the tasks necessary to introduce and deliver
the online program.

AP will dedicate an integration director to the UT Institution that will serve as the primary
interface between AP staff and the UT Institution's administration and staff. That
individual will facilitate operational planning sessions with key UT Systems departments
beginning with program design and continuing through program implementation. The

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director will also monitor existing processes as they are implemented and recommend
continuous improvement steps. AP technical staff will work with the UT Institution's
technical staff to enable an efficient process for integration of student information and
CRM systems.

            5.4.2.3    Proposer must identify how it will ensure that its Systems can be
                       accessed and used by a wide variety of computing platforms (e.g.,
                       pes, Macintosh/Apple, smart phones, computing tablets.)

AP will support the UT Institution's delivery of courses and programs online using either
Epic referenced earlier or another platform. Epic can accommodate any modern Flash
compliant browser on Windows, Mac, & Linux workstations. AP's quality assurance
testing process encompasses:

     •   Microsoft Internet Explorer for Windows OS
     •   Firefox for Windows OS
     •   Google Chrome for WindOWS OS
     •   Safari for MAC OS
     •   Firefox for MAC OS
     •   Google Chrome for MAC OS

            5.4.2.4    Proposer must identify its capabilities to provide technical support for its
                       Systems to a UT Institution's students, faculty, and staff on a 24- hour a
                       day, 7 days a week basis. Proposer should identify its process for
                       addressing all malfunctions or problems with its Systems, including
                       Proposer's methods for identifying or receiving notice of such issues and
                       Proposer's response and resolution times based on the severity and
                       impact of the malfunction or problem.

AP will provide a dedicated technical support desk for both faculty and students. The
hours of telephone operation will be 7 am until 10 pm (CST) Monday· Friday and 8 am
until 8 pm (CST) Saturday - Sunday. Email support will be available 24 hours per day.

When faculty issues are received by the support desk, a response will be delivered via
email (and phone whenever appropriate) within approximately two business hours. In
the rare instance where the resolution to an issue of concern to a faculty member is not
imminent, AP will provide an estimated time frame for resolution. All faculty and student
requests are tracked via our CRM system.

            5.4.2.5    Proposer must identify its process for ongoing update or improvement of
                       its Systems to introduce new capabilities and functionalities and how
                       such updates or improvements will be made available for
                       implementation and use by the UT Institutions.

Please see Exhibit A attached at the end of our RFP response

            5.4.2.6    Proposer must identify how it addresses updates or changes in its
                       Systems to ensure that such updates or changes are seamless to a UT
                       Institutions and its students, faculty, and staff that use such Systems

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                       and will not affect the ability of the Systems to support a UT Institution's
                       online education program. Specifically, Proposer must address any
                       limitations on the timing or implementation of updates that can be made
                       to its Systems or to any classes, courses, or other materials
                       implemented in its Systems. For example, Proposer must identify any
                       limitations or prohibitions in making updates to any online course
                       materials once that course has been started.

AP will provide a comprehensive communication plan to the UT Institution that describes
protocols for scheduled and unscheduled technology releases and other system-wide
notifications. Professors have complete autonomy in making updates to any online
course materials once a course is in use.

All of AP's update procedures, including detailed testing and release scheduling, are
included in the Epic Test Plan Document, Exhibit A at the end of this section.

            5.4.2.7    Proposer must identify its requirements and capabilities for interaction
                       and integration with a UT Institution's information technology systems.
                       For example, Proposer must identify its ability to interact and integrate
                       with various different types of LMSs / CMSs, as well as Proposer's ability
                       to move or transition its performance of the Services (inciuding its
                       Systems) to a new LMS or CMS used by a UT Institution. (The LMSs
                       /CMSs addressed by Proposer should not be limited merely to those that
                       the Proposer may offer as part of a proposed Comprehensive Services
                       approach.)

Please see Exhibit B attached at the end of our RFP response

            5.4.2.8    If Proposer offers to provide an LMS/CMS, then Proposer must identify if
                       such a system can be accessed and used "off-line" or if the system
                       requires an InterneUweb connection in order to be accessed and used.

The Epic LMS can currently be used both online and offline.

            5.4.2.9    Proposer should identify any experience it has with the Sharable
                       Content Object Reference Model (SCORM).

Epic supports content created using the SCORM 1.2 and 2004 specifications. The
delivery of SCORM content is supported in the Epic Web Player as well as in the offline
version of Epic.

               5.4.2.10 Proposer must identify its processes for security, backup/restore,
                        records retention, and disaster recovery of its Systems and the data and
                        information stored on those Systems (including student information and
                        work.) Specifically, Proposer must identify its approach for the
                        preservation of records to address issues such as grade appeals and
                        the access by a UT Institution's faculty to such records.




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AP data, including both student and LMS records, are backed up continuously each day.
Student data, course work, assignments, and exams are currently stored for 7 years, a
term that can be adjusted to meet each UT Institution's needs. Faculty will be able to
access student data from inactive courses via requests submitted to the AP helpdesk.

              5.4.2.11    In its proposal, Proposer must indicate whether it will consent to include
                          in the Agreement the "State Web Site Requirements" language that is
                          set forth in APPENDIX THREE. If Proposer objects to the inclusion of
                          the "State Web Site Requirements" language in the Agreement,
                          Proposer must, as part of its proposal, specifically identify and describe
                          in detail all of the reasons for Proposer's objection. NOTE THAT A
                          GENERAL OBJECTION IS NOT AN ACCEPTABLE RESPONSE TO
                          THIS QUESTION.

AP will consent to include in the Agreement the "State Web Site Requirements" language
that is set forth il) Appendix Three.

            5.4.2.12     In its proposal, Proposer must provide a response to each item listed in
                         APPENDIX FOUR, Electronic and Information Resources ("EIR")
                         Environment Specifications for all of the Systems it proposes.
                         APPENDIX FOUR will establish specifications, representations,
                         warranties and agreements related to the EIRs that Proposer is offering
                         to provide to University. If a Proposer is selected to enter into an
                         Agreement with the University, then that Proposer's responses to
                         APPENDIX FOUR will be incorporated into the Agreement and will be
                         binding on that Proposer.

Please see Appendix Four (Exhibit C) attached at the end of our RFP response

    5.4.3 Course Design/lmplementation

            5.4.3.1      Proposer must identify its capabilities to assist UT Institutions in
                         designing online educational programs in new formats and using new
                         techniques in order to meet the learning objectives of "face-to-face"
                         degrees.

AP's curriculum services employees have extensive experience in instructional design
methodology and use of educational technology. AP will apply this expertise in assisting
UT faculty and staff to convert courses and design program structure for online delivery
in a manner that maximizes efficiencies and economies of scale, while simultaneously
yielding courses closely aligned with research-based practices and standards for online
learning. The Epic LMS was developed specifically to enable a learning objectives-based
model for course building, thus ensuring comparability of course outcomes.

            5.4.3.2      Proposer must identify the anticipated number of students for which it
                         proposes that online classes should be designed and built. In
                         particular, Proposer must identify its capabilities and expertise in
                         designing and implementing online courses so as to maximize the
                         scalability of those courses - in other words, to enroll the maximum


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                       possible number of students in such courses over and above the
                       number of students able to participate in such courses through
                       traditional classroom instruction.

During initial meetings with AP, UT Institutions and AP jointly discuss enrollment targets
based on market analysis. AP will work with the Institution's staff to configure a delivery
model that facilitates targeted program enrollments using multiple start dates.

            5.4.3.3    Proposer must identify its ability to work on implementing online
                       education programs with a wide range of institutions - from institutions
                       with great capability and capacity in such programs to those with limited
                       capability and capacity.

AP has successfully worked with state universities of varying levels of experience in
online learning and different levels of technical infrastructure.

            5.4.3.4    Proposer must identify its ability and proposed approach to implement
                       online education to accommodate courses of various lengths at the
                       same time. Specifically, Proposer must identify its proposed approach
                       for enabling online students taking short courses to complete and obtain
                       credit for the number and types of courses that non-online students are
                       able to complete in the same time frame.

AP's curriculum support services team helps faculty design online courses with
durations as little as 5 weeks. If Epic is utilized, it also enables UT Institutions to design
and deliver courses that meet the objective stated above. Students enrolled in online
programs at the AP partner institutions typically complete and obtain credit for their
online courses in the same or a shorter time frame than the comparable course taken
offline.

            5.4.3.5    Proposer must identify how it proposes to address online education
                       courses and degree programs in which clinical experience or
                       laboratory work is a requirement.

AP can facilitate the development of didactic components for online programs
accompanied by professional site-based or internship experiences monitored by
mentors, preceptors, or clinical faculty as required by the UT Institution or licensing
agency. To the extent possible, the clinical or laboratory work site will be geographically
located for student convenience. AP will solicit relationships with regional, professional
organizations to support clinical- or laboratory-site agreements with UT Institutions.

            5.4.3.6    Proposer must identify its proposed process for determining the order
                       for implementation of specific classes or degree plans via online
                       education, based on Proposer's knowledge and experience of the
                       suitability of such classes or plans for online implementation.

While AP typically defers to the institution when establishing specific course release
order, we will provide guidance based on our extensive experience with partner



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institutions. This will be accomplished as a course development schedule aligned with
agreed-upon start dates is developed.

            5.4.3.7    Proposer must identify its ability to assist in the development and
                       support of online courses suitable for areas and locations outside of a
                       UT Institution's traditional vicinity (e.g., throughout Texas and the other
                       U.S. states, as well as internationally.)

AP will assist UT Institutions in their efforts to be compliant with known Texas and other
state rules and regulations regarding the delivery of online courses. This support will
apply to requirements set forth by state, regional or specialized accreditation, and federal
agencies. AP's compliance specialist is fully committed to helping partner institutions
obtain out-of-state operating authority with regard to online courses.

Based on the marketing strategy, enrollment goals and the aforementioned state
compliance, AP will develop an appropriate marketing and recruiting strategy that may
include field sales and national online marketing.

            5.4.3.8    Proposer must identify the assistance it offers to provide to the UT
                       Institutions in determining the prices and fees that the Institution charges
                       for the various online courses and degree plans offered under an online
                       education program. For example, each Proposer must address how it
                       proposes to assist the UT Institutions in developing a complete, total up-
                       front student "package price" for all classes required to complete a
                       degree under the Comprehensive Services Approach (ref. Section 5.4.9
                       below.)

AP regularly performs market research and competitive analysis for specific degree
programs. AP will share that research on an ongoing basis so that the university can
determine the appropriate tuition.

    5.4.4 Professional Development

            5.4.4.1    Proposer must describe how Proposer proposes to have its personnel
                       interact with (i) UT Institutional faculty for training on the Institution's
                       LMS/CMS and (ii) UT Institutional staff in order to conduct involved,
                       detailed training focused on interaction with Proposer's Systems.
                       Specifically, Proposer must identify the processes and approaches it
                       uses to train and assist faculty members in converting and tailoring their
                       courses for online and accelerated learning approaches.

AP will conduct professional development that includes, but is not limited to, training on
course design and structure, planning online components, and creating grading rubrics.
While the training will be LMS agnostic, for UT Institutions that elect to use the Epic LMS,
faculty will receive training specific to that platform, including authoring tasks, use of
electronic grade book, and course delivery functions such as discussion boards,
assignment submission, and assessment data analysis. AP will also host a
comprehensive website that provides guidance on the course design, development, and
delivery that can be accessed by faculty at any time convenient to them.


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            5.4.4.2    Proposer must identify the support that it proposes to provide to a UT
                       Institution in the area of academic advising for that Institution's online
                       education programs.

Academic advising of students is typically, and appropriately, carried out by university
academic advisors, in part because it often entails student-specific problems related to
academic standing and financial aid, issues that are soley addressed by university staff.
AP will, however, support the academic advising function by communicating application,
registration, and program completion requirements to the students as directed by the UT
Institution and by frequent contacts with students once they have enrolled and are taking
courses.

    5.4.5   Recruiting/Marketing

            5.4.5.1    Proposer must identify its capabilities and actual experience and
                       expertise in marketing online education programs and in recruiting
                       prospective students for such programs. In doing so, Proposer must
                       address its ability to recruit and market online education programs
                       outside a UT Institution's traditional student base (e.g., recruitment and
                       marketing throughout Texas, the U.S., and internationally.) This should
                       include the Proposer's provision of assistance to students through all
                       phases of recruitment up to and including matriculation as well as
                       support of a student's continuation in such a program (e.g., support in
                       enrollment services.)

AP has an outstanding track record in marketing online programs and recruiting
students both inside and outside an institution's traditional student base. Marketing
strategies that have been implemented with current university partners and will be
implemented at UT Institutions include employer-based affinity partnerships, field
recruitment, and comprehensive web marketing. AP currently has relationships with
over 1,000 school districts, 500 hospital systems, and hundreds of corporations. AP will
market UT Institution programs using similar (1) employer-based partnerships using field
recruiters and virtual information sessions, (2) online marketing including search engine
marketing and optimization, (3) social media marketing and (4) direct email campaigns.
AP will also develop websites and landing pages to promote UT Institution programs and
use search engine optimization processes to optimize the websites' outreach to
prospective students.

Once a lead is generated and registered in the CRM, AP's enrollment specialists become
the primary point of contact to convert the leads to applicants for the specific programs.
Once all documents are submitted by the prospective student, the university has sole
responsibility to accept or reject the applicant based on its standards. Once the student
is admitted, AP will then contact the student to ensure that the student registers and
pays for the courses. Thereafter, AP student success specialists will engage with
students to ensure their progression through the program.

AP helps many state universities attract students outside their traditional student base.
In each case, the institution's online programs have grown substantially and in many


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cases are now recognized both regionally and nationally. Over 30,000 students have
been recruited and admitted into our partner degree programs over the last four years.


            5.4.5.2    Proposer must identify the services it will provide to contact and assist
                       both students enrolled in, and prospective students conSidering
                       enrollment in, a UT Institution's online education programs. Such
                       assistance includes aiding such prospective students in making and
                       submitting applications, providing required information (e.g., transcripts),
                       tracking application progress, completing financial aid applications, and
                       registering for classes.

AP will assign staff to each institution to perform all of the tasks referenced above. They
will help inform students about the UT Institution's programs and guide them through the
application process. These individuals, all of whom will become knowledgeable of the
UT Institution's programs and practices, will work with potential students to help them
assemble a comprehensive application package and, following enrollment, will continue
to communicate with and support students' progress up to graduation.

            5.4.5.3    Proposer must identify any firms or entities with which Proposer has
                       agreements or made arrangements in support of its recruiting and
                       marketing of online education services that Proposer offers to make
                       available for use by the UT Institutions. Specifically, Proposer must
                       address how it would leverage the relationships it currently has with
                       employers, community college systems, the U.S. military, and other
                       organizations that may sponsor prospective students in a UT Institution's
                       online education program or otherwise promote such a program to
                       prospective students. Furthermore, Proposer must
                       indicate how it proposes to establish new relationships with such firms or
                       entities in order to market and promote a UT Institution's online education
                       program.

AP has relationships with over 1,000 school districts across the country. Teachers and
administrators in those districts are potential students for online degrees in education.
AP has built relationships with over 500 hospital systems on behalf of our university
partners. Nurses and other professionals in those hospitals are prospective students in
our partner institutions' health programs. AP has expertise in building partnerships
between community colleges and universities where community college graduates move
seamlessly into upper level programs leading to four-year degrees. AP has relationships
with hundreds of corporations, many of which are multinationals, and markets our
partner institutions' programs to their employees and their families. A similar model will
be utilized to market and recruit qualified students for the UT Institutions.

            5.4.5.4    Proposer should identify its capabilities for conducting advertiSing and
                       promotion of a UT Institution's online education programs (e.g. television,
                       radio, direct marketing, social media and other online activities), as well
                       as the types of advertising and promotion that Proposer, based on its
                       experience, recommends as being the most advantageous for online
                       education services.


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AP will work jointly with the UT Institution to evaluate the value proposition for
advertising and promoting online education programs through various marketing
channels.     AP has found that the web-based marketing medium is the most
advantageous for online education programs. Accordingly, depending on the enrollment
objectives of the university, AP employs a variety of web-based strategies for expanding
the UT Institution's brand reach and recruit students outside of its traditional region. AP
will develop websites for each UT Institution's programs and deploy search engine
optimization on these websites to obtain high visibility from an organic search
standpoint. AP will supplement these efforts by employing search engine marketing
efforts through paid listings on Google, MSN, Yahoo, etc. AP will develop banner ads for
web pages relevant to the nature of the institution's program. It will also use social media
tools such as Facebook and Linkedln to target and reach prospective applicants.

            5.4.5.5    Proposer must describe its proposed approach for developing and
                       implementing a recruiting/marketing plan for a UT Institution's online
                       education program. In doing so, Proposer must identify the UT
                       Institution's involvement in such development and implementation - for
                       example, identification of the persons at the UT Institution whom the
                       Proposer recommends for involvement in such activities. Furthermore,
                       Proposer must identify the metrics that it proposes to use to measure the
                       effectiveness of such a plan.

AP will work closely with the UT Institution's designated marketing leader to develop
comprehensive messaging for the degrees represented. All websites, print collateral,
and other marketing campaigns developed by AP will be approved by the UT Institution's
designated marketing leader before it is made public. AP and the UT Institution will agree
on an enrollment goal and the appropriate metrics. Refer to Appendix 1, Section 3.2.4.

            5.4.5.6    Proposer must identify how it proposes to identify specific groups or
                       markets to which its recruiting/marketing activities will be targeted.

AP is very knowledgeable of the markets for specific degree. AP relies on that
knowledge, works closely with the UT Institution marketing leader, and will also conduct
market research specific to the UT Institution and program, then devise and employ
marketing and recruiting strategies based upon those findings.

            5.4.5.7    Proposer must demonstrate its ability to effectively market, advertise, and
                       recruit students for online courses of varying length.

AP has, through its current partner institutions, demonstrated its ability to effectively
market, advertise, and recruit students for online courses of varying lengths. We
currently market courses with durations of varying length, although a vast majority range
between five to eight weeks. Please refer to section 5.2.4 for additional information on
AP's ability to market effectively, advertise and recruit students for online courses.

            5.4.5.8    Proposer must identify its process for ensuring that all
                       recruiting/marketing/advertising that it performs is in accordance with all
                       applicable laws and regulations.



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AP's management team is well versed in applicable laws and regulations impacting its
work. Those team members will conduct pertinent training for all AP staff assigned to the
UT Institution to ensure full compliance. Management will also monitor staff to ensure
that they honor laws and regulations that apply to their relationships with students.

            5.4.5.9    Proposer must identify its capabilities to expand a UT Institution's course
                       offerings to other U. S. states. In doing so, Proposer must identify its
                       ability to comply with applicable federal and state laws, rules, and
                       regulations concerning out-of-state online education services.

As referenced in 5.4.3.7, AP has extensive experience facilitating growth for a UT
Institution's programs in other states. AP will assist the UT Institution to obtain
approval for delivering its online courseworklprograms in those states. AP will provide
UT Institutions with access to our compliance specialist who will provide advice on and
help in preparing materials that individual states require be filed as part of the approval
process.

            5.4.5.10   Please note that the University's intent in procuring such
                       recruiting/marketing services is .!l2! merely to engage the services of an
                       advertising agency, but instead to engage Contractors with the ability to
                       build relationships with external organizations that will encourage and
                       support prospective students to enroll in and complete online education
                       courses and degrees, as well as assist such students in doing so.
                       Therefore, it is desired that Proposers keep these objectives in mind in
                       responding to this RFP.

AP acknowledges and agrees.           Our history and experience are testament to this
objective.

    5.4.6   Financial Terms

            5.4.6.1    Proposer must provide a plan of financing and pricing model(s) for the
                       implementation and operation of online education services at the UT
                       Institutions. Specifically, Proposer should address its ability to finance
                       the up-front implementation and operation costs for a UT Institution's
                       online education program, as well as Proposer's proposed approach for
                       its recovery of those up-front costs.

Historically, AP has provided bundled services for its institutional partners, including:
•      assistance with online instructional design,
•      faculty training on how to transform their courses to an online format,
•      provision of Epic LMS, our proprietary technology platform,
•      recruitment of qualified students that increase program enrollments, and
•      retention services that supplement the institution partners' efforts aimed at
       retaining students to graduation.

All of our contracts are structured such that AP makes significant investments in
technology, additional employees and marketing expenditures before any revenue is
collected. We recover those investments through a revenue model based on a tuition

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sharing arrangement. Historically, we have not provided any upfront money to a
university partner, as their upfront incremental investment is relatively minor. While AP
can describe our general financial terms and structure, each contract has been
individually negotiated with our partners. Since AP provides these services for a wide
variety of degree programs that have a wide range of tuition, it is not possible to provide
a single, standard pricing structure. For example, providing services for programs that
cost as little as $3,300 and as much as $30,000 and presents significantly different
challenges for both AP and the institutions seeking our services. Our pricing structure
for any given institution thus varies as a function of the following variables:
    • the number of degree programs we are serving at an individual university,
    • the estimated market demand for the program(s),
    • the length of time to complete the program(s),
    • the tuition for the programs in-state and out-of-state,
    • the amount of time required to support faculty during program development
       (depending on their level of experience).

Generally speaking, we propose a tuition sharing arrangement of 50% to AP and 50% to
the UT Institution, with a minimum revenue potential of $4,300 per complete degree
program. This tuition sharing arrangement excludes typical student fees and state
appropriations. It is important to note that we are compensated on a course-by-course
basis, meaning that if we provide all of the above services, but a student completes just
one course of a 12-course program and drops out, then AP will receive only 1/12'h of the
revenue potential.

            5.4.6.2    Proposer must identify its experience and expertise in assisting
                       institutions of higher education in complying with state and federal
                       financial aid regulations as they relate to short courses, sequential
                       courses, and online courses.

AP will work with its UT Institution partners to adhere to state and federal financial
regulations that pertain to short courses, sequential courses, and online courses. In that
regard, AP will assist the UT Institution to deliver courses and programs that are the
same or better quality as those delivered in the traditional classroom setting. The UT
Institution will share in this task as its faculty will have total control over the content,
quality and length of its online courses.

AP is mindful of the standards set forth by the Texas Higher Education Coordinating
Board regarding the award of academic credit and will work with the UT Institution to
ensure that those guidelines are met.         Academic decisions relating to program
sequencing, prerequisites, and content will remain with the UT Institution. During the
program implementation phase, guidelines delineating the roles and responsibilities of
the UT Institution and AP in this regard will be developed and subsequently referenced
and used to ensure the required compliance.

            5.4.6.3    Proposer must identify the financial investments that a UT Institution will
                       be required to make if it pursues online education services using
                       Proposer's Services. In doing so, Proposer must identify, based on its
                       experience, when a UT Institution should anticipate recovery of such
                       investments based on its use of Proposer's Services.

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While the UT Institution is not required to compensate AP upfront for any of the services,
the UT Institution will be required to make some internal investments as the programs
are developed and grow. Examples of these investments include:
   • academic/faculty support to convert their course content to an online format,
    • instruction time of faculty members,
    • teaching assistants or coaches,
   • if the university does not elect to use Epic, it will bear the expense of licensing
       and supporting another LMS, and
   • incremental administrative resources in financial aid, bursar, admissions, student
       advising and system integration

The time to recovery of these costs will depend on the variables cited in paragraph
5.4.6.1.

            5.4.6.4    In its proposal, Proposer must address how its own financial status and
                       condition makes it suitable to provide the financing solutions it proposes.
                       In addition, if Proposer identifies its ability to finance the up-front
                       implementation and operation costs for a UT Institution's online education
                       program as provided in Section 5.4.6.1 above, then Proposer should, as
                       applicable, include in the customer reference list required as set forth in
                       Section 3.1.7 of APPENDIX ONE those organizations for whom
                       Proposer has provided such financing and describe how Proposer
                       arranged and implemented such financing for those organizations.

Since 2007, AP and its predecessor (Higher Ed Holdings) have provided services
comparable to those proposed in this RFP to a number of state universities. AP
currently provides such services to 12 state universities and expects that number to
increase substantially by the end of 2011.

AP is financially sound and will be debt·free by August 31, 2011. AP, if needed, has
access to significant equity (from its strong investor base) and debt capital, including an
unused bank line of credit for $5 million.

All of our university contracts have a similar structure, which requires no upfront
investment by the university to fund AP efforts. AP has a proven record of delivering all
of the services outlined in this proposal, and has done so using our own financial
resources. Now that AP has many institutional clients in their second or third contract
year with us, we have a steady base of business that will also help us to fund new
business resulting from this proposal.

    5.4.7   Instructional Support

            5.4.7.1    Proposer must identify its experience and expertise in providing
                       instructional assistants in the course of online education courses and
                       programs. Proposer must identify its process for engaging, training, and
                       monitoring the performance of such assistants. Proposer must identify
                       how it determines the qualifications for such instructional assistants.
                       Proposer must also identify the hours that such instructional assistants

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                       will be available (i.e., 8 a.m. to 6 p.m. CST.)

As explained in section 5.2.6, AP does not provide instructional support services. We
believe as the party marketing an institution's programs and sharing tuition for those
efforts, there should be clear separation between the recruiting function and
instructional support services. We do acknowledge the importance of such services.
There are third-party instructional suppliers that can meet the demand for such services.

             5.4.7.2    Proposer must identify its ability to provide such assistants from
                        locations other than only those from the local area particular to a UT
                        Institution.

As indicated in the response to paragraph 5.4.7.1, AP does not provide instructional
support services. See also, section 5.2.6.

            5.4.7.3    Proposer must identify its ability to provide instructional support for online
                       education in languages other than English.

AP has the capability to assist UT Institutions develop their programs in languages other
than English. Epic LMS will accommodate other languages.

            5.4.7.4    Proposer must describe its proposed efforts to ensure that, once enrolled
                       in an online class or degree program, students are provided essential
                       support not only with individual classes, but also with overall progress
                       throughout their degree plan and in degree accomplishment. For
                       example, Proposer must identify its process for ensuring student
                       retention in a UT Institution's online education program, such as

                       a. helping students who are having academic difficulties find institutional
                          support services,

                       b. helping students meet registration deadlines, and

                       c. checking on and assisting students who appear to have dropped
                          out of online classes or participating in an online degree program.

   AP's has staff members will guide and support students until they reach graduation.
   This guidance includes, but is not limited to, ongoing registration and payment
   reminders, technical assistance, and attendance checks. If a student is inactive, or
   dropped from their course, the Student Support Services staff will provide consistent
   communication to re-engage the student into their degree program. Additionally, if
   any student (either active or inactive) encounters any academic or instructional
   difficulties, the Student Support staff provides information to the appropriate
   university staff, faculty, department chair or dean for their intervention. This ongoing
   collaboration between Student Support and the UT Institution ensures high retention
   and student satisfaction.

    5.4.8   Menu-Based Services Approach


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            The University's preference under this approach is for each Contractor to establish
            a standardized approach under which the UT Institutions can easily identify the
            various Services options that are available, including pricing, and select from
            amongst those options to readily create a customized Order for those options.
            Therefore, each Proposer must identify the processes and procedures that it offers
            to put into place to make this menu-based approach available. In addition, each
            Proposer must identify applicable discounts or other benefits that it offers to the UT
            Institutions when purchasing under this approach (discounts for multiple Services
            selected.)

As described in Sections 5.3.3 and 6, AP is willing to offer its services under this
approach.

    5.4.9 Comprehensive Services Approach

            The University's preference is to provide online education services under this
            approach that establish a complete, total up-front student "package price" for all
            classes required to complete a degree. Each Proposer proposing this approach
            must identify its capabilities and processes for establishing comprehensive online
            education services that implement such a "package price". In particular, such a
            Proposer must address (1) how it calculates all of the costs and determines all of
            the requirements for providing online education degrees so that Proposer can
            commit to such package price and (2) its proposed approach for financing the initial
            costs of such an approach and for recovery of such costs during the period of time
            during which a student obtains a degree for which a package price is charged.

As described in Sections 5.3.3 and 6, AP is willing to offer its services under this
approach.




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                              TAB A
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                  Academic Partnerships
                     Partner Communication Plan
                              April 14, 2011
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                                                                         Partner Communication PI
The following document describes events that will trigger communication with our university partners. Within
each scenario, a summary is given and the targeted communication audience, timeline, and communication
steps are identified.


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                                           Scheduled Release Notificatio

Scheduled Release Notification

Summary: Notification of scheduled Epic LMS upgrades with summary of enhancements and release date (pre-
release notes)



Audience

Program Leadership                    Program Users                         Academic Partnerships

Deans and Department Chairs           Faculty members                       AP Curriculum Support

Program Directors and                 Instructional Connections             AP Faculty and Student Support
Coordinators
                                                                            AP Enrollment Services
Administrative Support Staff
                                                                            AP Partner Integrations Services
Department Technical Contacts (if
                                                                            AP Marketing
applicable)



Timeline

A minimum of 48 hours prior to release



Steps
1.   Technology Team provides announcement and pre-release notes to Curriculum Support Services, Faculty
     and Student Support Services, and Instructional Connections.

2.   AP Curriculum Support Services notifies program leadership and faculty of scheduled release, and includes
     pre-release notes, Faculty Support contact information, and information regarding training/information
     webinars.

3.   Instructional Connections notifies coordinating coaches, lead coaches, and academic coaches.

4.   Internal communication sent to all AP support teams.




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                                                                       Release Notificatio
Release Notification

Summary: Notification of actual Epic LMS upgrades with summary of enhancements and release date



Audience

Program Leadership                    Program Users                         Academic Partnerships

Deans and Department Chairs           Faculty members                       AP Curriculum Support Services

Program Directors and                 Instructional Connections             AP Faculty and Student Support
Coordinators
                                                                            AP Enrollment Services
Administrative Support Staff
                                                                            AP Partner Integration Services
Department Technical Contacts (if
                                                                            AP Marketing
applicable)



Timeline

Concurrent with release of enhancement



Steps

1. Technology Team provides announcement and release notes to Curriculum Support Services, Faculty and
   Student Support Services, and Instructional Connections.

2.   AP Curriculum Support Services notifies program leadership and faculty of scheduled release, and includes
     release notes, Faculty Support contact information, and information regarding training and information
     webinars.

3.   Instructional Connections notifies coordinating coaches, lead coaches, and academic coaches.

4.   Internal communication sent to all AP support teams.




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                                          Unplanned Release Notificatio

Unplanned Release Notification

Summary: Notification of Epic LMS patch that addresses technical issue with summary of resolution (bug fix)


Audience

Program leadership                     Program Users                         Academic Partnerships

Deans and Department Chairs            Faculty members                       AP Curriculum Support Services
Program Directors and                  Instructional Connections             AP Faculty and Student Support
Coordinators
                                                                             AP Enrollment Services
Administrative Support Staff
                                                                             AP Partner Integration Services
Department Technical Contacts (if
                                                                             AP Marketing
applicable)



Timeline

Concurrent with release of enhancement



Steps

1. Technology Team provides announcement and release notes to Curriculum Support Services, Faculty and
   Student Support Services, and Instructional Connections.

2.   AP Curriculum Support Services notifies program leadership and faculty of release, and includes release
     notes and Faculty Support contact information.

3.   Instructional Connections notifies coordinating coaches, lead coaches, and academic coaches.
4.   Internal communication sent to all AP support teams.




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                                                  General Release Notificatio

General Release Notification

Summary: Notification of Epic LMS general release (as represented by change in the version number)



Audience

Program Leadership                     Program Users                         Academic Partnerships

Deans and Department Chairs            Faculty members                       AP Curriculum Support Services

Program Directors and                  Instructional Connections             AP Faculty and Student Support
Coordinators
                                                                             AP Enrollment Services
Administrative Support Staff
                                                                             AP Partner Integration Services
Department Technical Contacts (if
                                                                             AP Marketing
applicable)
                                                                             AP Executive Leadership

Partner Executive Leadership

Provosts

Deans

Chairs
VPs

Other School Executives (as
applicable)



Timeline

Concurrent with general release



Steps

1. Technology Team provides announcement and release notes to Curriculum Support Services, Faculty and
   Student Support Services, and Instructional Connections.

2.    AP Executive Leadership notifies Partner Executive Leadership with executive summary of product release
      and enhancements.

3.    AP Curriculum Support Services notifies program leadership and faculty of scheduled release, and includes
      release notes, contact information, and information regarding training and information webinars.


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4.   Technology Team notifies partner technology groups of scheduled release, and includes release notes and
     contact information.

5.   Epic Administrators post announcement into the Epic LMS at the Domain Level for each partner notifying all
     users of the product release.

6.   Instructional Connections notifies coordinating coaches, lead coaches, and academic coaches.
7.   Internal communication sent to all AP support teams.




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                                                                                 Planned Outag

Planned Outage

Summary: Scheduled outage for System Maintenance and/or upgrade



Audience

Program Users

Faculty members

Students and Coaches

Instructional Connections



Timeline
Scheduled outages will be performed at these times: Saturday evenings from 8 PM - midnight.



Steps
1.   Technology Team provides announcement and release notes to Curriculum Support Services, Faculty and
     Student Support Services, and Instructional Connections.
2.   Instructional Connections notifies coordinating coaches, lead coaches, and academic coaches.

3.   Internal communication sent to all AP support teams.




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                                                                          Unplanned Outag

Unplanned Outage

Summary: System Outage and/or Network Failure. This refers to any event that prevents students or faculty
from accessing or connecting to the Epic LMS system (e.g., wide-spread virus, Internet outages, inclement
weather, etc.).



Audience

Program Leadership                      Program Users                       Academic Partnerships

Deans & Department Chairs               Faculty members                     AP Curriculum Support Services

Program Directors and                   Instructional Connections           AP Faculty & Student Support
Coordinators
                                                                            AP Enrollment Services
Administrative Support Staff
                                                                            AP Partner Integration Services
Department Technical Contacts (if
                                                                            AP Marketing
applicable)

Partner Executive Leadership

Provosts

Deans

Chairs
VPs

Other School Executives (as
applicable)



Timeline

Immediately during and immediately following conclusion of event



Steps During Event

1.    Faculty and Student Support Services reports system outage to Technology Team. Technology Team verifies
      event.
2.    Depending on circumstances, Faculty and Student Support Services places message on incoming toll-free
      support numbers to notify inbound callers of outage.

3.    AP notifies all internal personnel and departments.


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4.   Technology Team notifies partner technology groups.

5.   During event, Technology Team provides announcement to Curriculum Support Services, Faculty and
     Student Support Services, and Instructional Connections.

6.   Epic Administrators post notification into the Epic LMS at the Domain Level for each partner during or
     immediately after the conclusion of the outage.

7.   Instructional Connections notifies coordinating coaches, lead coaches, and academic coaches.



Steps Following Event

1.   After event, Technology Team provides announcement to Curriculum Support Services Team, Faculty and
     Student Support Services, and Instructional Connections.

2.   AP Executives will notify Partner Executive Leadership team with executive notification.

3.   AP Curriculum Support Services will notify program leadership and faculty.

4.   Technology Team notifies partner technology groups.

5.   Epic Administrators post notification into the Epic LMS at the Domain Level for each partner during or
     immediately after the conclusion of the outage.
6.   Instructional Connections notifies coordinating coaches, lead coaches, and academic coaches.




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                  Academic Partnerships
          Epic Learning Management System (Player and Web)
                     Testing and Deployment Plan
                              April 14, 2011
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SUMMARY
The purpose of this document is to provide a consistent testing process for upgrades, enhancements and bug
fixes for the Epic Learning Management System Player, Web Version, and Epic Authoring System. Here are the
steps that are followed for each enhancement or bug fix:

1.   Develop and test in a development environment.

2.   The tested code is then moved to a Quality Assurance (QA) environment and retested.

3.   When the code successfully passes the QA test it is moved to a stage environment and retested.
4.   Training is conducted for new features

5.   At the designated time, the code is released to production.
6.   Final testing is completed in production.

7.   After release, any issues are compiled to determine priorities for correction and or future enhancement.




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1.0 OBJECTIVES AND TASKS


Objectives

The objective of this section is to define a consistent method for testing all LMS candidate release builds.


Tasks

1.   When the development team has a release candidate, code is compiled and placed on the QA servers for
     testing. New feature and regression testing is completed using the Epic LMS Testing checklist provided in
     this document.
2.   New application features are added to the checklist for future testing.

3.   When the testing has been completed and approved, release candidate code is moved to stage server for a
     test against production data. We use test courses on our production server to ensure partner data integrity
     and that there is no risk to current partner environments.
4.   Pre-Release notes are sent according the corporate communications plan at least 48 hours prior to release.
5.   Application is pushed to production servers as scheduled (typically early morning) and Final Testing is
     conducted on the production servers.
6.   Epic Player updates are posted to http://www.epicims.com support site for distribution.
7.   Release notes are sent according to the Academic Partnerships corporate communications plan.




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2.0 SCOPE

General

This document describes in detail which components of the Epic System are being tested including a detailed
checklist of items that need to be confirmed for regression testing purposes.
Tactics

The business owner for new feature(s) will be involved in the new feature testing of the product. He or she will
also be involved in the QA testing process to ensure the new features are functional and that they meet the
design specifications and expectations.




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3.0 TESTING STRATEGY
Major Testing Categories include:

•    Testing client installation process to ensure that students and teachers have no issues that will affect their
     current courses

•    Testing new features, enhancements and bug fixes

•    Epic Player student experience

•    Epic Player teacher experience

•    Epic Web student experience

•    Epic Web Admin tool

•    Epic Authoring tool


Participants:

Testing will be conducted by Academic Partnerships' Development team, IT QA Team, Professional Services, and
the requesting business unit. Each person testing will document items tested and any issues encountered.



Methodology:

Unit testing is conducted by following the steps in each section to make sure the student/faculty experience is
positive.


New Feature, Enhancements and Bug Fix Testing

1. All new features that are listed in the QA build notes are tested in this stage to make sure they function and
   perform as expected.

2.   New features are added to the regression checklists below for future releases.



Epic Player Client Installation Detail

1.   Upgrade from prior client without error

2.   Retention of current course material and settings
3.   Ability to create new profile

       a.   Auto-set DLAP server in configuration

4.   Manual configurations of DLAP / Cache server

       a.   Test button and ability to log on access courses

5.   Instructions on web are updated if needed and are accurate




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Epic Player Instructor Experience

1.   Ensure faculty/coaches have full access to the courses view on the Epic Player.

2.   Ensure the gradebook opens and displays as expected.

3.   Ensure faculty/coaches have the ability to modify Gradebook settings in the course:

       a.    Allow multiple submissions

       b.    Manually override student grades

4.   Grade assignments

5.   Grade discussion posts

6.   Allow additional submissions

7.   Export Gradebook

8.   Grade exams

9.   Add / Drop students from Section


Epic Web I Epic Player Experience

1.   Access EPIC
2.   View course(s)

3.   Discussion boards

       a.    Export discussions boards

       b.    Attach file to discussion board

       c.    Expand & collapse discussion board

4.   Submit assignment
5.   File size restrictions

6.   Take exam

7.   Check time settings

10. Exam score submission

11. Return auto graded assignments

12. Reset password (Web Only)

13. Modify account settings (Epic Player Only)




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Epic Web Admin Tool
1.   Access domain admin

2.   Create domain
3.   Create user
4.   Create course

5. Create section
6. Create enrollment
7. Run reports:
       a.    Master enrollment & activity report

       b.    Section gradebook report (both locations)

       c.    Users by domain report
8.   Batch Enroll:

       a.    Sections (add, delete, modify)

       b.    Users (add, delete, modify)

       c.    Enrollments (add, delete, modify)

9.   Custom domain branding settings


Epic Authoring Tool
1.   Create course

2. Gradebook
       a.    Gradebook settings

       b.    Gradebook dates

3.   Rubric setup

4.   Uploads

       a.    Audio files

       b.    Video files

       c.     PowerPoint documents

5.   Video sync

6.   Exams

       a.    Settings

       b.    Import exams

7. Input course objectives




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Multi Browser, OS and language Support



1. We continually test new browsers for compatibility. All features of the applications are tested from multiple
   browsers:
       a.    Microsoft IE 7 for Windows
       b.    Microsoft IE 8 for Windows
       c.    Mozilla Firefox for Windows
       d.    Google Chrome for Windows
       e.    Mozilla Firefox for Mac OS
       f.    Safari for Mac OS
       g.    Google Chrome for Mac OS


2.   These are the OS versions that Epic client supports:
       a.    Microsoft XP SP 2 or greater
       b.    Microsoft Vista
       c.    Microsoft Windows 7


3.   Additional Language support:
       a.    Spanish
       b.    Portuguese




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4.0 Beta Testing

Participants: In each build, we will determine if there is a subset of students or teachers (or other group) that
we want to use in a limited distribution. This only applies to the Epic Player as web server changes are global.


Methodology: For limited distribution beta testing of the Epic Player the install code will be placed on
EpicLMS.com. In addition to our production release code, links will be sent to individuals involved in the beta
testing program to download the new code.
New students and teachers not included in the beta testing plan will continue to download the current
production code.
This method will also be used for production release code that is for specific partners allowing us to release new
code with a limited distribution.




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S.O HARDWARE & SYSTEM REQUIREMENTS



Epic Player System Requirements

OS:

 •     Microsoft Windows XP SP 2

 •     Microsoft Vista

  •    Microsoft Windows 7
Processor:

  •    Any processor 1.2GHz or faster for optimal performance
Memory:

  •    Min 512MB for Windows XP 1Gb for Vista or Windows 7
HDD:

  •    A least 5GB free hard drive space for typical course load
Display:

  •    Min resolution of 1024 x 768 is required to view courses
Audio:

  •    Soundcard with speakers or headphones required to hear audio in the courses
Printer:

  •    (Optional) Any Windows supported printer
Internet:

  •    Must have broadband Internet.
Additional Software:

  •    Adobe Flash Player 9 or later

  •    Adobe Reader
  •    Microsoft Office 2003 (or newer) or Sun Open Office may be required for some assignments.
  •    Current anti-virus software; up-to-date virus definitions

Systems NOT Supported by the Epic Player

  •    Apple Mac OS

  •    Linux
  •    Windows ME, 2000, 98, 95 or DO




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Epic Player System Requirements

Internet browser

 •    Any current Flash-compliant browser (e.g. Internet Explorer, Firefox, Safari)

Memory:

 •    Min 512MB (1GB preferred)
Display:

  •   Min resolution of 1024 x 768 is required to view courses

Audio:

  •   Soundcard with speakers or headphones required to hear audio in the courses
Printer:

  •   (Optional) Any Windows supported printer
Internet:

  •   Must have broadband Internet available at all times while accessing the course.

Additional Software:

  •   Adobe Flash Player 9 or later

  •   Adobe Reader
  •   Microsoft Office 2003 (or newer) or Sun Open Office may be required for some assignments.

  •   Current anti-virus software; up-to-date virus definitions




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6.0 TEST SCHEDULE

Complete regression testing will be done at three levels after development testing is complete. As defined in
this document, testing begins as soon as code is released to the QA server environment and will follow the
timeline listed below:

  •   Release candidate code is placed on QA server
  •   Testing checklist is followed as defined in section 3.0 of this document

  •   When testing is complete with no errors, code is moved to staging servers

  •   Applications are again tested on the stage server using production data

  •   When testing is complete on stage server, pre-release notes are created, approved, and sent in
      accordance with the Partner Communication Plan

  •   Change control form is filled out on SharePoint to schedule the production push

  •   Release notes are created and approved

  •   Production code is backed up for a restore point right before new code push

  •   Code is pushed to the production environment as scheduled
  •   Final testing in the production environment is completed

  •   Release notes are sent in accordance with the Partner Communication Plan
During the testing process any failure is documented and reported to the Development Team and IT
management where they assess the severity of the issue and determine if it requires an immediate fix. For
those items that require a fix before release the entire process outlined in section 6.0 is repeated.




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7.0 RESOURCES/ROLES & RESPONSIBILITIES
Testing responsibilities can vary for each build but at a minimum, the application will be tested by Academic
Partnerships' Development Team, QA Team, Curriculum Support Services Team, and business owners to test the
specific changes, Additional testing resources may also be assigned from the Student Support Team,



8.0 SCHEDULES

Major Deliverables
Test and release schedules will vary and will be communicated with the parties involved in the testing process
throughout. Schedules will be clearly documented on the testing checklist, the communications schedule, and
on change control forms,



9.0 SIGNIFICANTLY IMPACTED DEPARTMENTS (SIDs)

During the production release process everyone who accesses Epic has the potential to be impacted by failures
or outages, If these failures occur, the Partner Communication Plan is used to inform partners, faculty, and
students,



10.0 DEPENDENCIES

Some special Epic enhancements may require dependencies such as special course features that are added to
QA courses to effectively test all components, If while testing we determine that additional course work is
required, a sample course containing the items needed to test all new features will be created and utilized,



11.0 RISKS/ASSUMPTIONS

We assume that the courses used for testing at all levels represent the majority of situations and examples of
live courses, Some courses may contain special features that will not be tested unless we are made aware of the
need before testing begins, This is rare and is not seen as a huge risk,


12.0 TOOLS

Academic Partnerships' corporate SharePoint is used to track QA testing as well as Change Control Forms.
Kayako ticket system is used to document and track application bugs, enhancement requests, and build release
notes,




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                            ACADEMIC
                            PAR T N E R S HIP ST"




                      Data File Transfer




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Academic Partnerships
Web: www.academicpartnerships.com                                                                                     Phone: 214-438-4100




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Academic Partnerships Data File Transfer


Overview
Data communication is an important part of Academic Partnership's continued commitment to
support and grow online degree programs in higher education. This communication channel
facilitates the matriculation and enrollment of students. Effective communication of this data is
the cornerstone to the student success. It is used in matriculation, enrollment, persistence and
retention efforts throughout the student's educational career. There are four core components
this data: applicants, students, sections and enrollments. This document outlines the purpose
of the data transfer as well as the technical details of how to structure the data.




Purpose
The purpose of the data transfer is, in part, dependent on the university's relationship with
Academic Partnerships and not all of these goals will apply to every partner. However in most
cases, communicating this information serves five primary purposes:

    •   Facilitate student matriculation

    •   Manage student retention

    •   Manage student persistence

    •    Monitor program success

    •   Provide course access to Epic LMS




Concepts

Applicant
The first item in this chain of communication is the applicant data. These are potential students
that have applied to the university. The applicant file is the most comprehensive file and reflects
all the demographic information about the student as well as their status in the admissions
process, required documentation, and other information.

This data feed is ongoing and includes all potential applicants interested in participating in
programs managed by Academic Partnerships. Students should be removed from this file once
admitted to the university. At this point they are no longer an applicant.




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User
Once an applicant is admitted to the university, they because a user. The term User is used
because of the dynamic nature of the system. This feed could potentially contain instructors,
faculty, assistants or auditors depending on their role. In most cases however, a user is a
student that has been admitted and is intending to take classes at the university. Students are
uniquely identified by their university student ID. A user's university student ID should be static.
If this student ID changes, it could potentially cause subsequent enrollments sent for that user to
be viewed as orphans, not associated with anyone, or assigned to the incorrect student.

Another consideration regarding users is their program acceptance status. Even though they
have been accepted by the university, they may not have been accepted into a specific
program. Since students frequently change majors, their program of record may also change.
This describes the difference between university acceptance status and program acceptance
status, as well as the importance of the program data itself.

This data feed is ongoing and includes all students currently participating in programs managed
by Academic Partnerships. Students should be removed from this file upon graduation or
withdrawal from the program.




Section
A section is a specific window of time for which a course is offered, for example ENG 101 spring
semester. A section might be broken up by class size, instructor or other business rules. A
single English course might be taught by two separate instructors due to a high number of
enrollments. This could potentially be two sections, or they might be combined into one logical
section. For enrollment purposes, it is important that sections are explicitly matched to their
corresponding version of a course. This illustrates the importance of a section unique identifier.

A section unique identifier, or section ID, provides a distinct logical section. If multiple versions
of the same course are offered concurrently and students will need to be segregated into these
separate sections, a separate section ID will need to be provided for each version.

This data feed is ongoing and includes all sections currently offered for programs managed by
Academic Partnerships for the current, previous and next terms.




Enrollment
Last is the enrollment data. This is a representation of a student enrolling in a specific section
and describes their role (usually student), status and other key data points regarding the
enrollment.

It is important that section and user data are sent prior to sending enrollment data. This
provides the proper context in which to create the enrollment. It does not matter which comes
first, the user or the section, as long as both are send them both prior to sending the enrollment.

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If a student enrolls in a course, then a new enrollment record is reflecting that they are actively
enrolled in the course. If there is a reason that the student should no longer have access to the
class, i.e. they drop the course, do not fulfill their financial obligation, etc. then the enrollment
status should reflect this.

This data feed is ongoing and inciudes all enrollments, active and inactive, for programs
managed by Academic Partnerships for the current, previous and next terms.




Special Considerations and Formatting

Dates
All dates should be formatted as MMIOO/yYYYand do not require time stamps.



Courses
A unique course identifier needs to be sent to separate courses in one program from courses in
another. This is because course content can vary from one instructor to another as well as from
one program to another. Different versions of a course may be offered for various reasons, so it
is important that specific course IDs are included in the section data. This is a freeform value
and could be formatted as simply as a combination of subject, class number and program (e.g.
MATH-1301-UNDG) or as a unique identifier from the SIS.



Programs
Programs are identified by a "program code". If the course is not part of a specific program, i.e.
it is a core studies course or prerequisite, a default program code should be provided. The
program code is freeform and should be consistent with the program codes described in the
Academic Partnerships program guidelines.



Sections
Section ID is a unique identifier for a course offering in a specific point in time. If a unique
identifier isn't available, such as a primary key from the SIS or other system, then a
concatenation of the course number, program and date will act as a surrogate key, e.g. ENGL-
1301-EMBA-20110501. This will describe a section without ambiguity for one term. It is
important that sections be uniquely identified from sections for the same course or program in
other terms or years. The program is necessary because course content can vary from one
program to another and from one term to another.




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Phone Numbers
Domestic phone numbers should be in AreaCode-Exchange-Suffix format, e.g. 214-332-1324.
International phone numbers should include country codes and do not include special
characters.




File Formats

Applicants
<?xml version="l.0" encoding="utf-S"?>
<applicants uni versi ty="uni versi ty_abbreviation">
  <applicant>
    <studentld></studentld>
    <lastName></lastName>
    <firstName></firstName>
    <middleName></middleName>
    <suffix></suffix>
    <userName></userName>
    <addressLinel></addressLinel>
    <addressLine2></addressLine2>
    <addressLine3></addressLine3>
    <city></city>
    <state></state>
    <postalCode></postaICode>
    <countryCode></countryCode>
    <homePhone></homePhone>
    <workPhone></workPhone>
    <ceIIPhone></ceIIPhone>
    <emaill></emaill>
    <emaiI2></emaiI2>
    <institutionEmail></institutionEmail>
    <expectedStartDate></expectedStartDate>
    <actuaIStartDate></actuaIStartDate>
    <firstEnrollmentDate></firstEnrollmentDate>
    <applicationStatus></applicationStatus>
    <appliedDate></appliedDate>
    <applicationFeeStatus></applicationFeeStatus>
    <applicationFeePaidDate></applicationFeePaidDate>
    <institutionAdmittedDate></institutionAdmittedDate>
    <termAdmi tted ></termAdmitted >
    <programAdmittedDate></programAdmittedDate>
    <programName></programName>
    <programCode></programCode>
    <programReviewStatus></programReviewStatus>
    <programEnrollmentStatus></programEnrollmentStatus>
    <firstPaymentDate></firstPaymentDate>
    <documents>
       <document>
          <name></name>
          <receivedDate></receivedDate>
       </document>

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    </documents>
    <partnershipCode></partnershipCode>
    <employer></employer>
  </applicant>
</applicants>

Property                       Required   Description
university                     Yes        The common university abbreviation.
studentld                      Yes        A unique, static identifier for a student that is used to
                                          identify a student and match them to their
                                          enrollments. This ID should not change throughout
                                          the life of the student and should be tied to
                                          subsequent student enrollment data.
lastName                       Yes        The student's legal last name.
firstName                      Yes        The student's legal first name.
middle Name                    No         The student's legal middle name.
suffix                         No         Suffix of the legal name.
userName                       Yes        This can be a university issued user name or a
                                          separately manufactured user name, but should
                                          uniquely describe the student. This is used to resolve
                                          discrepancies in studentlds.
addressLine1                   Yes        Street and address of the current residence.
addressLine2                   Yes        Address line 2 of current residence e.g. apartment
                                          number, building number, etc.
addressLine3                   Yes        Address line 3 of current residence.
city                           Yes        City of current residence.
state                          Yes        State of current residence.
postalCode                     Yes        Postal code of current residence.
countrvCode                    Yes        Country code of current residence.
homePhone                      Yes        Student's home phone number.
workPhone                      No         Student's work phone number
cell Phone                     Yes        Student's cell phone number.
email1                         Yes        Primary email to for the application process.
email2                         No         Secondary email if applicable.
institutionEmail               No         University issued email address.
expectedStartDate              Yes        Start date on student's application.
actualStartDate                No         Date that the first class is taken on.
firstEnrolimentDate            No         The date the student enrolled in their first course (not
                                          the date the student's first course starts). This value
                                          typically does not change. It may however, if the
                                          student enrolls, drops all ciasses and defers their start
                                          for a later time.
applicationStatus              Yes        A code denoting the status of the application, e.g. In
                                          Progress, Applied, Admitted, Denied, Pending, etc.
appliedDate                    Yes        The date the student's application was submitted.
applicationFeeStatus           Yes        The status of application fee payment.
applicationFeePaidDate         No         The date the application fee was paid.
institutionAdmittedDate        No         The date the student was admitted to the university.
termAdmitted                   No         The term the student was admitted.

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programAdmittedDate            No         The date the student was admitted to the program. If
                                          not a two-step admission process, this is the same
                                          date as institutionAdmittedDate.
programName                    No         The name of academic degree program.
programCode                    No         A code that uniquely identifies the degree program
                                          the student is applying for.
programReviewStatus            No         The application status for a particular program (if
                                          applicable ).
programEnrollmentStatus        No         The status of the student's participation or enrollment
                                          in a particular proQram.
firstPaymentDate               No         The date the first payment was received.
documents                      No         Container node for other required documentation.
                                          This includes TOEFL scores, transcripts, teaching
                                          certifications, essays, letters of reference, etc. All
                                          required documents should be accounted for in this
                                          list.
name                           No         The name of the document.
received Date                  No         The date the document was received. If the
                                          document has not been received, this will be blank.
partnershipCode                No         A code that signifies the student's relationship to a
                                          partner institution.
employer                       No         The student's current employer.

Users
<?xml version="1.0" encoding="utf-S"?>
<users university="university_abbreviation">
  <user>
    <firstName></firstName>
    <lastName></lastName>
    <studentld></studentld>
    <emaill></ emaill>
    <emai12></ emai12>
    <program></program>
    <status></status>
    <userName></userName>
   <passWord></passWord>
  </user>
</users>

Property                      Required   Description
university                    Yes        The common university abbreviation
firstName                     Yes        The user's first name.
lastName                      Yes        The user's last name.
studentld                     Yes        A unique, static identifier for a student that is used to
                                         identify a user and match them to their enrollments.
email1                        Yes        The email address issued by the university.
email2                        No         The student's non-university email address
program                       Yes        A program code that associates a student with the
                                         college or program they are enrolled in.
status                        Yes        A status code that states whether or not a student has

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                                                  been accepted into the program to which they are
                                                  applying. This is not the university acceptance status
                                                  due to the fact that existing students can and do
                                                  switch programs. Some examples might be
                                                  "admitted", "pending", etc.
userName                               Yes'       The username provided for the user's login to the
                                                  LMS system. This can be a university issued user
                                                  name or a separately manufactured user name.
password                               No         The password the student will use to login to the LMS.
                                                  This can be a university issued password for Epic
                                                  only, not any university system, or a separately
                                                  manufactured one.
* Only required for   EpIc LMS users


Sections
<?xml version="1.0" encoding="utf-8"?>
<sections uni versi ty==JJuni versi ty_obbreviotion">
  <section>
    <sectionld></sectionld>
    <courseld></courseld>
    <title></title>
    <term></term>
    <startDate></startDate>
    <endDate></endDate>
    <program></program>
    <instructors>
       <instructor>
         <firstName></firstName>
         <lastName></lastName>
         <userld></userld>
       </instructor>
    </instructors>
  </section>
</sections>

Property                               Required   Description
university                             Yes        The common university abbreviation
sectionld                              Yes        A logical section ID uniquely defining a course offered
                                                  for a given period of time.
courseld                               Yes        A higher order identifier that uniquely describes a
                                                  course.
title                                  Yes        The description of the course, e.g. "Technical
                                                  Writin~l"
term                                   Yes        Code representing timeframe of the course (e.g.
                                                  Summer 2010)
program                                Yes        The program the course belongs to.
start Date                             Yes        The date the section begins on.
endDate                                Yes        The date the section ends on.
firstName                              Yes        The first name of the instructor
lastName                               Yes        The last name of the instructor


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I userld                            No'           University ID of the instructor taking the course.
 * Only required 'If instructor enrollment will be automated

 Enrollments
 <?xml version="l.0" encoding="utf-8"?>
 <enrollments uni versi ty="uni versi ty_ abbreviation))>
   <enrollment>
     <sectionld></sectionld>
     <courseTit1e></courseTit1e>
     <courseld></courseld>
     <enro11mentld></enro11mentld>
     <studentld></studentld>
     <startDate></startDate>
     <endDate></endDate>
     <ro1e></ro1e>
     <status></status>
     <program></program>
     <lastLogin></lastLogin>
     <timeSpent></timeSpent>
     <courseSuccess><!courseSuccess>
   </enrollment>
 </enrollments>

 Property                           Required      Description
 university                         Yes           The common university abbreviation
 sectionld                          Yes           A logical section ID uniquely defining a course offered
                                                  for a given period of time.
 courseld                           Yes           A higher order identifier that uniquely describes a
                                                  course.
 enrollmentld                       Yes           An ID that uniquely describes the enrollment. This
                                                  could be manufactured or exported from the SIS.
 studentld                          Yes           A unique, static identifier for a student that is used to
                                                  identify a user and match them to their enrollments.
 startDate                          Yes           The date of the enrollment is visible to the user.
 endDate                            Yes           The ending date of the enrollment and the date the
                                                  course will no lonqer be visible to the user.
 role                               Yes           This is a code that defines what type of enrollment to
                                                  create. Possible values Student, Instructor or
                                                  Auditor
 status                             Yes           Status of enrollment. Possible values Active or
                                                  Inactive
 program                            Yes           The student's currently enrolled program code.
 lastLogin                          No            Date and time the student logged into the LMS
                                                  system last.
 timeSpent                          No            Number of minutes the student has accumulated in
                                                  the class.
 courseSuccess                      No            Indicates whether or not the student received a
                                                  passing final grade for the class. Possible values
                                                  Pass or Fail



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                                           APPENDIX FOUR

        ELECTRONIC AND INFORMATION RESOURCE ENVIRONMENT SPECIFICATIONS


                                           Basic Specifications

       1. If the EIR will be hosted by the University:

   Not applicable, as it will be hosted by AP

       2. If the EIR will be hosted by Proposer, describe in detail what the hosted solution
includes, and address, specifically, the following issues:

           1. Describe the audit standards of the physical security of the facility; and

   Our systems are hosted at DataBank Dallas with physical security that includes a very
   limited access list, biometrics, 24/7 manned facility and video surveillance. Audit policy
   for students that have access to the system is controlled by data feeds from the
   university. Employee audit control is managed with our hire/termination forms that are
   monitored daily.

           2. Indicate whether Proposer is willing to allow an audit by University or its
       representative.

   Yes, all of our systems are available for University audit and site visits.

       3. If the user and administrative interfaces for the EIR are web-based, do the interfaces
          support Firefox on Mac as well as Windows and Safari on the Macintosh?

   Our web interfaces support any modern flash compliant browser on windows, Mac, &
   Linux workstations

         Our QA Testing process includes:

           o   Microsoft Internet Explorer for Windows OS
           o   Firefox for Windows OS
           o   Google Chrome for Windows OS
           o   Safari for MAC OS
           o   Firefox for MAC OS
           o   Google Chrome for MAC OS

       4. If the EIR requires special client software, what are the environment requirements for
          that client software?

   Currently the only component that requires a client version (non-web based) is our
   instructor grade book. Online version of the grade book is currently in development and
   will be cross platform compatible.




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     Minimum System Requirements for running the Epic Client:

       o   Windows XP service Pack 2 , MS Vista, or Windows 7
       o   Adobe Flash Player 9 or later
       o   Adobe Reader 8 or later
       o   512mb ram for Win XP 1gb ram for Vista I Win 7
       o   Display resolution 1024 x 768
       o   For Printing, Any Windows Supported Printer
       o   Broadband Internet for downloading courses and syncing student data

   5. Manpower Requirements: Who will operate and maintain the EIR? Will additional
University full time employees (FTEs) be required? Will special training on the EIR be required
by Proposer's technical staff? What is the estimated cost of required training?

LMSI EIR hardware is maintained 100% by Academic Partnerships staff. Some training
related to data transfer, initial setup, and program maintenance required by the
university is provided by Academic Partnerships. This is not typically a HE position.

   6. Upgrades and Patches: Describe Proposer's strategy regarding EIR upgrades and
      patches for both the server and, if applicable, the client software. Included Proposer's
      typical release schedule, recommended processes, estimated outage and plans for next
      version/major upgrade.

All Servers are maintained on a scheduled basis. Normal server patch updates are
conducted monthly and critical updates to our servers are performed as needed. With
the multi server, load balanced environment we have, these updates do not affect
student access.


                                            Security

   1. Has the EIR been tested for application security vulnerabilities? For example, has the
      EIR been evaluated against the Open Web Application Security Project ("OWASP") Top
      10 list that includes flaws like cross-site scripting and SQL injection? If so, please
      provide the scan results and specify the tool used. University will not take final delivery
      of the EIR if University determines there are serious vulnerabilities within the EIR.

We perform an annual outside network and security audit on all of our systems. The last
audit was performed in January 2011 by Choice Solutions. Since this audit has very
sensitive systems information and is highly confidential, AP will share that information
at the appropriate time with the University.

   2. Which party, Proposer or University, will be responsible for maintaining critical EIR
      application security updates?

AP will be responsible for all application security updates.

   3. If the EIR is hosted, indicate whether Proposer's will permit University to conduct a
penetration test on University's instance of the EIR.

Yes, we will allow the University to conduct penetration tests on our systems.


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   4. If confidential data, including HIPAA or FERPA data, is stored in the EIR, will the data be
      encrypted at rest and in transmittal?

All data in the EIR systems are stored in encrypted Microsoft SQL servers and
transmitted only though HTTPS/ SSL encrypted packets.

   5. Please complete and submit the attached "Information Security Third-Party Assessment
Survey" as part of Proposer's proposal.

The survey is attached.


                                           Integration

   6. Is the EIR authentication Security Assertion Markup Language ("SAML") compliant?
      Has Proposer ever implemented the EIR with Shibboleth authentication? If not, does
      the EIR integrate with Active Directory? Does the EIR support SSL connections to this
      directory service?

Epic LMS / EIR is SAML compliant and can be integrated with SAML2.0 Single Sign On
authentication for student access. This will allow integration with Active Directory. We
do allow SSL connections to our directory services via standard web services. We
provide a guide to the University during our integration process after contract execution.

   7.    Does the EIR rely on Active Directory for group management and authorization or does
        the EIR maintain a local authorization/group database?

We maintain a local authorization / group database in the LMS system.

   8.   What logging capabilities does the EIR have? If this is a hosted EIR solution, will
        University have access to implement logging with University's standard logging and
        monitoring tools, RSA's Envision?

We maintain active logs on all of our LMS/EIR systems and can work with university to
monitor these logs. Many of the logs are already set up as standard reports for
University to access and additional reports can be developed if needed.

    9. Does the EIR have an application programming interface ("API") that enables us to
incorporate it with other applications run by the University? If so, is the API .Net based? Web
Services-based? Other?

We have complete comprehensive Web services-based API's integrated for access by
the University.

    10. Will University have access to the EIR source code? If so, will the EIR license permit
University to make modifications to the source code? Will University's modifications be
protected in future upgrades?

University will not have access to our application source code.



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   11. Will Proposer place the EIR source code in escrow with an escrow agent so that if
       Proposer is no longer in business or Proposer has discontinued support, the EIR source
       code will be available to University?

This is addressed in the contract terms and conditions.

   12. Please complete the Voluntary Product Accessibility Template ("VPAT") found at
hUp:llwww.itic.org/index.php?submenu=resources&src=gendocs&ref=vpat&category=resources
and submit the VPAT with Proposer's proposal.

The VPAT form Section 1194.22 Web-based Internet information and applications - is
concerning ADA compliance issues. Like many LMS providers, this is currently our top
priority in Epic development. When this project is complete, we will meet all of the
requirements of the referenced document.




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Third-Party Provider
Name: Academic
Date: 7/23 12911
Address: .• -       •
                                       t~V                                   I.."               _ J IJ'"                  J...j)
                     ~f'A'L-,tJt;..G1f'rUSl<r'C(jWi                    f.ol..p?'i&A(()f}UV'·'~p...~...
                     .::>       'Y-             I
                                                                                                                             r'S'Cf!J/I'l
IT Security Contact:        Ed McGOry                             Email:                                   P~one:   214 - 21 0 - 7313
Location of Data Center:                                          Contact:    Ed McGory                    Phone: 214-210-7313
Location of Recovery Center:                                    Contact:                                Phone: _ _ _ __
Years in Business:          7         Number of Employees:   II      Number of Customers Using the Product: 51, 284 Students /              Professors
UT Entity's Sponsoring Dept.                                  Contact:                                 Phone: _ _ _ __
Name & Description of Service/Product:              Epic LMS,      Web Based Learning Management System


Describe the iarrletVsers fOrt'he Servici!PrdduCf;            t:Jll.L~U.C P.L.U~L~_I_I_II::>   ciUU   i..:UI.U.bC~ offered by the University


Technical Description (client agent. SSL, FTP. hosted webSIte. ASP, cloud computing. etc.): Hosted LMS
    SQL Database Driven, ASPX al2I'lication, SSL £ort_443 encrypted.
OtherCustomerSoftwareRequiredtoRuntheProductlSetVice:                         Adobe Flash Player (Free version)
     Adobe PDF reader, MS office                        (or com atible a                 lication)-            (a        r         ~~/I~


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Describe Pertinent OutsourceJIIContracted Service Arrangements: (such as support. cloud seNices, third-party
applications, etc.)



Describe Security FeatureslTestinglExtemai Assessments:         Security and Testing documents are
          included in this RFP




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Answer                                                Comments                  A. COmpany Information
                                                                                1. Will provide documentation on
        1                                                                       financial health and viability of your
                                                                                company.
                                                                                2. Will accommodate a customer's site
            1
                                                                                visit for a security audit within 24 hours
                I                                                               notice.

                                                                                Total Company Controls

                                                                                B. Polices, Standards and
Answer              Comments                                                    Procedures
                                                                                1. Has formal written Information
    1           I                                                               Security Policies.
                                                                                2. Will provide copies of the Information
    1                                                                           SecuritY Policies.
                                                                                3. Will provide, if asked, examples of
       1                                                                        security documents, which you have
                                                                                indicated you maintain_
                                                                                4. Can provide results of a third-party
                                                                                external Information Security
    1                                                                           assessment conducted within the past 2
                      Vulnerability assessment & Network assessment             years (SAS-70, penetration test,
                                                                                vulnerability assessment, etc.).
                                                                                5. Maintains incident response
    1                  All issues tracked in Ticket/ Bug      System            procedures.
                                                                                6. Policy protects client information
    1                                                                           against unauthorized access; whether
                                                                                stored, printed, spoken, or transmitted.
                                                                                7. Policy prohibits sharing of individual
   1
                                                                                accounts_a~nd password",-_~




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                                                                                                  8. Policy implements the following
     ,
     k
                                                                                                  Information Security concepts: need to
                                                                                                  know, least privilege, and checks and
~-'-'-       -'~~"---                   __.._-- ---_._-- .. -
                                        .                  -    ."   .. - ,   "'-'-   -   ---_.   balances.
                                                                                                  9. Receives and implements
        1                                                                                         protections for security vulnerability
                                                                                                  alerts (such as CERTs).
                                                                                                  10. Requires system administrators to
    1                                                                                             be educated and Qualified.
                                                                                                  11. Implements AAA (Authentication,
    1
                                                                                                  Authorization, Accounting) for all users.
                                                                                                  12. Performs background checks for
    1                                                                                             individuals handling sensitive
                            for all Academic Partnerships employees                               information.
                                                                                                  13. Termination or job transfer
    1                                                                                             procedures immediately protect
                                                                                                  unauthorized access to information.
                                                                                                  14. Provides customer support with
     1                      Student and faculty support               866-489-2810                escalation procedures.
                                                                                                  15. Documented change control
    1                                                                                             processes.
                                                                                                  16. Requires contractors,
                                                                                                  subcontractors, vendors, outsourcing
    1                                                                                             ventures, or other external third-party
                                                                                                  contracts to comply with policies and
                                                                                                  customer agreements.
                                                                                                  17. Policy implements federal, state,
        1
                                                                                                  and local regulatory requirements.
                                                                                                  18. Maintains a routine user
     1                                                                                            Information Security awareness
                                                                                                  program.
                                                                                                  19. There is a formal routine Information
         1                                                                                        Security risk management program for
                        I                                                                         risk assessments and risk manaQement.

                                                                                                  Total Policy Controls




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Answer              Comments                                                     C. Architecture
               !                                                                  1. Will provide a network architecture
   1           i                                                                  drawing for the customer solution, which
                                                                                  demonstrates the defense-in-depth
               I                                                            -     strategies.
    1          I,                                                                 2. Implements and monitors firewall
                                                                                I orotections.
    1                                                                             3. Maintains routers and ACLs.
       1                                                                          4. Provides network redundancv:
                                                                                  5. IDS/IPS technology is implemented
       1                                                                          and alerts are assessed.
               I                                                                  6. DMZ architecture for Internet
       1                                                                          svstems.
                                                                                  7. Web applications that 'face' the
                                                                                  Internet are on DMZ servers, which are
       1                                                                          separate from internal servers that
               I
                                                                                  house sensitive customer infonmation.
                                                                                  8. Maintains enterprise-wide
       1
                                                                                  virus/malware protection.
                                                                                  9. There is an enterprise patch
       1
                                                                                  manaaement svstem.
                                                                                  10. Provides dedicated customer
                                                                                  servers or explain how this is
       1              Dedicated servers for Epic LMS                              accomplished in a secure virtual or
                                                                                  segmented configuration.
        1                                                                         11. Remote access is achieved over
                      VPN required to access for Remote employees                secure connections.
                                                                                 12. Test environments both physical
           1                                                                     and logical are separated from
                      Full Dev, QA, Stage & Production environments
                                                                                 production environments.
                                                                                 13. Will provide architectural software
           1                                                                     solution designs with security controls.

                                                 requir~~thentication
                                                                                 14. Wireless networks are encrypted,
           1        Internal wireless networks                                   require user authentication, and has
                                                                                 secured/controlled access points.

                                                                                 Total Architecture Controls




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Answer            Comments                                                    D. Configurations
                                                                              1. All computers systems involved are
         1                                                                    kept current with security patches and
                                                                              have up-to-date malware protection.
                                                                              2. Encryption, with the strength of at
                                                                              least 256 bit, is used, required, and
         1                                                                    monitored when sensitive information is
                                                                              transmitted over untrusted or public
                                                                              connections.
                                                                              3. System banners are displayed prior
                                                                              to access and require the user's
                                                                              acknowiedgment and agreement
         2                                                                    concerning: unauthorized use is
                                                                              prohibited, system are monitored,
                                                                              policies are enforced, and there is no
                                                                              expectation of privacy.
                                                                              4. Computers have password-protected
                                                                              screen savers that activate
         1                                                                    automatically to prevent unauthorized
                                                                              access when unattended.
        1                                                                     5. All unnecessary services are
                                                                              removed from computers.
                                                                              6. Servers run anti-intrusion software
     1                                                                        (such as tripwire, etc.).
                                                                              7. All vendor-supplied default
                                                                              passwords or similar "published" access
                                                                              codes for all installed operating
    1                                                                         systems, database management
             I                                                                systems, network devices, application
                                                                              packages, and any other commercially

             I                                                                produced IT products have been
                                                                              changed or disabled.
                                                                              8. Passwords have a minimum of 8
                                                                                                                        .


         1
             I,                                                               characters, expire, and have strength
                                                                              r~guirements.

        1                                                                    9. Passwords are never stored in clear
             I                                                               text or are easilv decipherable.




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                                                                              10. All system operating systems and
             1                                                               software are routinely checked to
                                                                             determine whether appropriate security
                                                                             settings are enabled.
                                                                             11. File and directory permissions are
         1                                                                   managed for least privilege and need-
                                                                             to-know accesses.
                                                                             12. Redundancy or high availability
         1                                                                   features are implemented for critical
                                                                             functions.
                                                                             13. All user access is authenticated
         1                                                                   with either a password, token or
                                                                             biometrics.
         1                                                                   14. All system changes are approved,
                                                                             tested and logged.
                                                                             15. Production data is not used for
         1                                                                   testing unless the data has been
                                                                             declassified.
                                                                             16. Application security follows industry
         1
                                                                             best practices (such as OWASP).
                                                                             17. For system's support users, the
         1                                                                   account lockout feature is set for
                                                                             successive failed 101l0n attempts.
                                                                             18. Split tunneling is prohibited when
         1                                                                   connecting to customer systems or
                                                                             networks.

                                                                             Total Configuration Controls


Answer           Comments                                                    E. Product Design
                                                                             1. If the product integrates with portable
                                                                             devices, sensitive information or
     0                                                                       information protected by law is
                                                                             encrypted when stored on these
                                                                             portable devices and requires password
                                                                             access.




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                                                                                  2. Access to sensitive infonnation or
                                                                                  infonnation protected by law, across a
         1                                                                        public connection is encrypted with a
                                                                                 secured connection and requires user
                                                                                 authentication.
                                                                                 3. If the product manages Protected
             0                                                                   Health Information (PHI), the product
                                                                                 and company processes are HIPM
                                                                                 compliant.
                                                                                 4. Management of any payment card
     0                                                                           infonnation is compliant with the
                                                                                 Payment Card Industry (PCI)
                                                                                 Standards.
                                                                                 5. Web applications are scanned,
     1                                                                           tested, and monitored for common
                                                                                 application security vulnerabilities.
                                                                                 6. Software, applications, and
     1                                                                           databases are kept current with the
                                                                                 latest security patches.
                                                                                 7. This product has been and can be
     3                                                    kfllJe. V,.('fcIv< 7   Shibbolized.
     2                 Requires SAML 2.0   ssa   to    allow~ connecti~n         8. This product integrates with Active
                                                                                 Directorv or lDAP

                                                                                 Total Product Design Controls


Answer            Comments                            -_._- .. .. _-
                                                              -
                                                                                 F. Access Control
                                                                                 1. Access is immediately removed or
         1                                                                       modified wihen personnel tenninate,
                                                                                 transfer, or change job functions.
                                                                                 2. Achieves individual accountability by
     1                                                                           assigning unique IDs and prohibits
                                                                                 password sharing.
                                                                                 3. Critical data or systems are
         1                                                                       accessible by at least two trusted and
                 JI                                                              authorized individuals.
                                                                                 4. Access permissions are reviewed at
     1
                 J_.      _.._-_._-
                                                                                 least monthly for all server files,
                                                                                 databases, prOQrams, etc.


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                                                                                 5. Users only have the authority to read
         1                                                                       or modify those programs or data, which
                                                                                 they need to perform their assigned
                                                                                 duties.

                                                                                 Total Access Controls


Answer               Comments                                                    G. Monitorinn
                                                                                 1. Access logs for all servers, sensitive
                                                                                 databases, and sensitive files are
         1
                                                                                 reviewed at least monthly for anomalies.
                 I                                                               2. System event logging is
             1                                                                   implemented on all servers and records
                                                                                 at a minimum who, what, and when.
                                                                                 3. After normal business hours system
                                                                                 activity and access (physical or logical)
    8            i    Students access systems 24/7
                                                                                 is reviewed and analyzed at least
                                                                                 monthly.
                                                                                 4. System logs are reviewed for failed
         1                                                                       logins or failed access attempts at least
                                                                                 monthly.
                                                                                 5. Dormant accounts on systems are
         1                                                                       reviewed and removed at least monthly.
                                                                                 6. Logs are periodically reviewed for
         1                                                                       possible intrusion attempts at least
                                                                                 monthlv.
         1                                                                       7. Network and firewall logs are
                                                                                 reviewed at least monthly.
     1                                                                           8. Wireless access is reviewed at least
                                                                                 monthly.
                                                                                 9. Scanning is done routinely for rogue
         1
                                                                                 access points.
                                                                                 10. IDSIIPS systems are actively
         1                                                                       managed and alert notifications have
                                                                                 been implemented.
                                                                                 11. Vulnerability scanning is performed
     1                                                                           routinelv.




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                                                                             12. Password complexity checking is
             1
                                                                             done routinelv.

                                                                             Total Monitoring Controls



Answer           Comments                                                    H. Physical Security
                                                                              1. Access to secure areas are
                                                                              controlled such as: key distribution
                                                                              management, paper/electronic logs, or
             1
                                                                             a receptionist always present when the
                                                                             doors are opened.
                                                                             2. Access to server rooms are
           1                                                                 controlled and follow need-ta-know and
                                                                             least privileoe concepts.
                                                                              3. Computer rooms have special
       1                                                                     safeguards in place i.e., cipher locks,
                                                                             restricted access, room access 10<1.
                                                                             4. Disposal of printed confidential or
         1                                                                   sensitive information is shredded or
                                                                             otherwise destroyed securely.
                                                                             5. Customer information ;s either
                                                                             prohibited or encrypted (PHI, student
       1           Prohibited, information is stored on servers only         data, SSN, etc.) on laptop computers or
                                                                             other portable devices.
                                                                             S. Desktops which display sensitive
   I                                                                         information are positioned to protect
                                                                             from unauthorized viewing.
                                                                             7. All visitors are escorted in computer
       1                                                                     rooms or server areas.
                                                                             8. Appropriate environmental controls
                                                                             been implemented where possible to
         1                                                                   manage the equipment risks such as:
                                                                             alarms, fire safety, cooling, heating,
                                                                             smoke detector, battery: backue, etc.




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                                                                             9. There are no external signs indicating
                                                                             the content or value of the server room
             1                                                               or any r~om containing sensitive
                                                                             information.
                                                                             10. There are secure processes for
                                                                             destroying sensitive data on hard
             1                                                               drives, tapes or removable media when
                                                                             it is no longer needed.

                                                                             Total Physical Controls



Answer           Comments                                                    I. Contingency
                                                                              1. There is a written contingency plan
         1                                                                    for mission critical computing
                                                                              operations.
                                                                              2. Emergency procedures and
     1                                                                        responsibilities are documented and
                                                                              stored securelv at multiple sites.           !

                                                                              3. The contingency plan is reviewed
         1                                                                   and updated at least annually.
                                                                             4. You have identified what computing
                                                                             services must be provided within
         I                                                                    specified critical timeframes in case of a
                                                                             disaster.
                                                                             5. Cross-functional dependencies been
                                                                             identified so as to determ ine how the
             1
                                                                             failure in one system may negatively
                                                                             impact another one.
                                                                             6. You have written backup procedures
             1                                                               and processes.
                                                                             7. You periodically test the integrity of
         I                                                                   backup media.
                                                                             8. Backup media is stored in a secure
         I                                                                   manner and access is controlled.
                                                                             9. You maintain a documented and
         2                                                                   tested disaster recovery plan.
  ----




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                                                                            10. You have off-site storage and
        1                                                                   documented retrieval procedures for
                                                                            backups.
            1                                                               11. You have rapid access to backup
                                                                            data.
                                                                            12. Backup media is appropriately
        1                                                                   labeled to avoid errors or data
                                                                            exposures.

                                                                            Total Contingency Controls



Answer          Comments                                                    J_ BUSINESS RELATIONSHIPS                i

                                                                            1. Confidential agreements have been
    1                                                                       signed before proprietary and/or
                                                                            sensitive information is disclosed.
                                                                            2. Business associate contracts or
        1                                                                   agreements are in place and contain
                                                                            appropriate risk coverage for customer
                                                                            requirements.
                                                                            3. Business associates are aware of
     1                                                                      customer security policies and what is
                                                                            required ofthem.
                                                                            4. Business associates agreements
         1                                                                  document agreed transfer of customer's
                                                                            data when the relationship terminates.
                                                                            5. Contractual agreements will or do
        1                                                                   include the UT Entity's required
                                                                            information security"language.

                                                                            Total Business Relationships
                                                                            Controls


                                                                            TOTAL THIRD-PARTY
                                                                            CONTROLS
                                                    "




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DEFINITION                                          EXAMPLES                                          QUALIFIERS
ePHI (electronic Protected Health                   • Billing records                                 • Address
Information) - Individually identifiable health     • Hospital/medical records (in and out patient)   • Account number
information in the electronic form which may be     • Lab, pathology and/or radiology results         • Any vehicle or device serial number
stored, processed or transmitted.                   • Mental Health records                           • Certificate/license number
                                                    • Physician/clinic records                        • Date of birth
                                                    • PHI previously collected for research           • E-mail address
                                                    purposes                                          • Fax number
                                                                                                      • Finger or voice prints
                                                                                                      • Health plan
                                                                                                      • Internet Protocol (IP) address number
                                                                                                      • Name
                                                                                                      • Name of employers
                                                                                                      • Name of relatives
                                                                                                      • Photographic images
                                                                                                      • Postal address
                                                                                                      • Social security number
                                                                                                      • T elephene number
                                                                                                      • Web universal resource locator (URL)


Pli (PersonaHy Identifiable Information)-           Full name (if not common)
Information that can be traced back to a specific   National identification number
individual user, eg, name, postal address, e-mail   Telephone number
address, telephone number, or Social Security       Street address
number.                                             E-mail address
                                                    IP address (in some cases)
                                                    Vehicle registration plate number
                                                    Driver's license number
                                                    Face, fingerprints, or handwriting
SSN (Social Security Number) - A number             XXX-XX-XXXX
issued by the US government to people for
payroll deductions for old age, survivors, and
disability insurance.




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Payment Card Information - refers to the               Credit Card, Debit Card, etc.
credit cards, debit cards and charge cards
issued by a financial institution and reflects a
relationship between cardholder and financial
institution.
UTHSCSA Mission Critical Information -
Indispensable applications such as databases or
process control software that are deemed
essential to the functionality of UTHSCSA's
education, research, or patient care missions.
Business Critical Information -Indispensable
applications such as databases or process
control software that are deemed essential to
the functionality of a specific department.
Intellectual Property - Property rights created        Patent, trademark, copyright, trade secret,
through intellectual andlor discovery efforts of a     trade dress, product, logo.
creator that are generally protectable by law.

Other Sensitive Information - Information other        Internal departmental communications,
than the previous categories with little financial     contractual information, negotiations, legal
impact; however, its unauthorized disclosure,          concerns, investigations, etc.
alteration, loss, or destruction will at least cause
perceivable damage to someone or something.




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                              TAB 0
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                                                                                                                  R~p~rt   Pr!!1ted: 07/25/2011

  Live Report: ACADEMIC PARTNERSHIPS LLC
  D-U-N-S® Number: 04-231-6483
  Endorsement: michael.briskey@academicpartnerships.com
  IDiB Address                                                           ITrade Names
                                              160 Continental Ave
                                                                         ! Trade Names       No trade names for this company.

  Ii:::::'::
  iPhone
               Type
                                              Dallas, TX - 75207
                                              Single Location
                                              214210-4039
  :Fax
  !Neb
  Company Summary


         Predictive Indicators - Risk of Financial Stress                  Predictive Indicators - Risk of Payment Delinquency


         Financial Stress Score Class: 3                                   Commercial Credit Score Class:         2
         Medium risk of severe financial stress over the next 12
         months.

                                                                          Predictive Indicators - Supplier Evaluation Risk

         History & Operations
                                                                           Supplier Evaluation Risk Rating: 5 Moderate risk of
                                                                           supplier experiencing severe financial stress over the next
         This is a single location                                         12 months.
         Year Started           2010
         Employees              UNDETERMINED
         SIC                    8211
         Line of business       Elementaryl secondary school               Predictive Indicators - Credit Capacityfor Headquarters
         NAICS                  611110


                                                                                              DlltB Rating: DS
         Public Filings                                                    The OS rating indicates that the information available does
                                                                           not permit D&B to classify the company within our rating
                                                                           key.
         The following data includes both open and closed filings          This assessment is based on O&'s O&B Rating.
         found in O&B's database on this company,

           Record         Number of            Most Recent Filing
           Type           Records                    Date
           Bankruptcies   0
           Judgments      0
           Liens          0
           Suits          0
           UCCs                               06/18/10

         The public record items contained herein may have been
         paid, terminated, vacated or released prior to todays date.



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Phase                            Objective(s)


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          "
          ~


              Kick-off           •    Complete pre-integration checklist and sign contract
   ~-
s= .~ ~
~ " ~
z::>o
              Program
              Launch             •    Define/review target dates for rollout
                                 •    Prepare partner and internal team for planning workshop

  '"
   I
              Planning           •    Define program attributes, integration procedures and marketing strategies
  ~           Workshop           •    Prepare larger internal team for rollout activities
  00          (on-site)          •    Describe instructional support model, if applicable
  '"
  ~


  ~           Course             •    Demonstrate Epic LMS (if applicable)
   I          Blueprinting       •    Support faculty in design of scalable online courses
  "           Session (on-site   •    Assist in design of Program orientation (if applicable)
  •'"
  .~
              consultation)
  0                              •    Provide courses development schedules to meet course QA and rollout dates


              Websites           •    Develop university program website and landing pages
                                 •    Update affinity sites

              Marketing Assets   •    Develop all marketing collateral to support field sales, online marketing campaigns and
                                      enrollment services
              Recruitment and    •    Define resource plan


  0
              Enrollment
              Services           ·•   Develop operational tools for Enrollment Services
                                      Train internal resources on new programs
  ~




  '"
  00
      I
              Technology
              Integration        ·•   CRM setup to support new program
                                      Integrate partner data
  '"
  ~           Epic and Epic      •    Train and support Epic course development (if applicable):
  ~           Authoring               -Epic Authoring Training
      I       Training &              -Creation of course shells for professors/authors

  .a;
  n
  0


  c
              Support for
              Faculty (on-site
              consultation)
                                      -Epic Training (including Grade book)
                                      -Ongoing faculty support for EA ancl Epic (Faculty Support)
                                      -QA of courses for functionality

              Marketing
                                 •    Launch website
  <0
  ~           Launch             •    Deploy field sales where applicable and online campaigns

  ro
      I                          •    Actively provide support to the university on student admissions and enrollment processes
  00                             •    Create student sections and enroll professors, if applicable
  '"
  ~
  ~                              •    Confirm student rosters / enrollments
  ;;:                            •    Insert Student Survey Links into course (if applicable)


  .-
      I       Course Start
  ~
                                 •    Prep internal departments
  .~                             •    Contact students
  0                              •    Support faculty in Lise of Epic-ongoing
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                             TAB F
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Academic Partnerships Executive Profile

Randy Best
Chairman & CEO



       Mr. Best is Chairman and CEO of Academic Partnerships. He began his
business career in college and has founded or acquired more than 100 privately or
publicly held companies in a broad range of fields including healthcare, defense and
aerospace, publishing, agriculture, food, oil and gas, real estate and education.

       When he moved into the second half of his career, Mr. Best focused on
business initiatives with a social mission that could have an enduring, positive
impact. This commitment resulted in a focus on education and the welfare of
children.

        Mr. Best's own challenges with          made him passionate about reading
and its critical impact on a student's education and life. He founded a national
initiative which annually helps more than 3 million children, mostly inner-city, learn
to read.

       In 2005 he turned to higher education and founded a company to assist state
universities increase access for underserved high-need populations by helping put
their degree programs online. He also founded an international higher education
company focused on bringing a high quality, affordable college education to
students in Latin America.

       Mr. Best serves or has served as an advisory board member for the
Education Commission of the States; a member of the NEA Foundation Board; the
College of Education Foundation Advisory Council for the University of Texas at
Austin; and the National Urban Alliance Board for Columbia University; as well as a
benefactor of the Smithsonian Institution. He also served on the White House
Millennium Committee. Mr. Best and his wife, Nancy, support numerous
philanthropic endeavors locally, nationally and internationally, mostly in Africa. Mr.
Best is a graduate of Lamar University.


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Academic Partnerships Executive Profile

Dr. Richard L. Ferguson
Vice Chairman




Dr. Ferguson is Vice Chairman of Academic Partnerships. His career in education has spanned
nearly 50 years and includes experience as a secondary school mathematics teacher, a
research associate in the Learning Research and Development Center at the University of
Pittsburgh, and numerous positions at ACT (aka as American College Testing) including Chief
Executive Officer and Chairman of the company's U.S. operations and international
subsidiaries. He also holds an adjunct position in the Psychological and Quantitative
Foundations department at the University of Iowa.

Dr. Ferguson earned a B.S. degree from Indiana University of Pennsylvania, an MA degree
from Western Michigan University, and a Ph.D. in measurement and statistics at the University
of Pittsburgh.



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Academic Partnerships Executive Profile

Darab ("Rob") Ganji
President




Rob Ganji is President of Academic Partnerships. Prior to being appointed President in April 2011, he
led the company's healthcare division, which partners with colleges of nursing of state universities,
expanding access to their high quality nursing programs across the United States. Under his leadership,
the healthcare division has grown its university partners' nursing programs to become among the fastest
growing and largest in the nation.

Mr. Ganji has over 20 years experience in strategic leadership and development. He is a member of the
Board of Directors of Southern Methodist University's John Tower Center for Political Studies and is a
member of the Executive Board of the Southern Methodist University School of Engineering. He is also
a board member of the Dallas Committee on Foreign Relations.

Mr. Ganji received his BA from Southern Methodist University and his MA from the University of
Texas at Dallas.




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Academic Partnerships Executive Profile

Justyna Dymerska, Ph.D.
Vice President of Strategic Development




Dr. Justyna Dymerska is Vice President of Strategic Development of Academic Partnerships.

Prior to joining Academic Partnerships, Justyna was a consultant to the chief economist at the Federal
Reserve Bank of Dallas, where she co-authored reports exploring numerous topics, including the relationship
between U.S.-bound highly skilled migration and the state of America's education sector. Her publishing
record includes various articles on immigration, asylum and border policy in Europe. Formerly, Justyna also
taught European Politics at the University of Texas at Austin's Department of Government and Southern
Methodist University's Department of Political Science.

Justyna received her Ph.D. in International Studies, specializing in European immigration policy, from
University of Cambridge in England where she was a Marie Curie Fellow. She also earned her Master's
degree in European Studies from Cambridge, focusing on European labor migration. She holds a Bachelor's
degree in Business and Finance from Drexel University in Philadelphia.

Dr. Dymerska is a member of the DallaS/Fort Worth World Affairs Council, Dallas Committee on Foreign
Relations and Tower Center of Political Science at Southern Methodist University.




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Academic Partnerships Executive Profile

Michael Briskey
Chief Financial Officer




Mike is Chief Financial Officer of Academic Partnerships.


Prior to joining AP, Mike was Chief Financial Officerfor ATX Group, Inc, an automotive
technology company based in Dallas and Dusseldorf Germany. In addition to leading the
finance function at A TX, he played key roles in negotiating multi-year contracts with BMW,
Toyota/Lexus and other car manufacturers worth over $100 million, as well as negotiating the
sale of the company to a strategic buyer in 2008.


Prior to ATX, Mike was SeniorVP of Finance and Treasurer for ACE Cash Express, a $250
million Dallas-based financial services retailer with over 1,200 locations in 35 states. At ACE,
he was responsible for all financial planning, debt and equity financing, acquisitions (completing
40 transactions), investor relations, and risk management. His career started with positions at
several divisions of Westinghouse Electric in Baltimore and Dallas.


Mike received his MBA from Loyola University Maryland (concentration in International
Finance ).He received his Bachelor's degree from the University of Notre Dame in Business
Administration (concentration in Finance).


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Academic Partnerships Executive Profile

Anne Doris
Chief Operating Officer




Anne is Chief Operating Officer of Academic Partnerships. She is an innovative and strategic
business operations leader with considerable expertise leading cross functional teams to
develop and execute effective business strategies. Her areas of management responsibility
include the technology infrastructure and network systems, data integration with student
information systems for the CRM and LMS, and the proprietary Epic learning management
technology that facilitates online learning for many of the company's partner institutions.
Additionally, Anne provides leadership for Academic Partnerships' operations, training and
development, curriculum support services, partner integration services and consultative
professional development teams.
With more than twenty years' experience working in marketing, operations, general
management, programming content and contract negotiations in telecom, technology and cable
television companies, Anne has worked for leading corporations in the US and in Latin America.
Anne held a variety of roles with increasing levels of responsibility with Cox Communications,
and has worked for Comcast Cable, Cablevision SA Partnerships and United Artists
Entertainment. Anne holds a Master's degree Marketing Management form Long Island
University and a Bachelor's degree in Communications and Mass Media from The City College
of New York.




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Academic Partnerships Executive Profile

Vernon Johnson, EdD
Executive Vice President




Dr. Johnson is Executive Vice President of Academic Partnerships and serves on the
Board of Epic Learning. He previously served as president and CEO of Voyager
Expanded Learning a K-12 Literacy company. His prior experience from leadership
roles in public education has helped both companies become innovators in K-12 and
profitable providers of highly effective learning programs and professional development
for teachers and administrators.

During his 35 years in public education, he served a variety of key roles including
Director of Special Services, Assistant Superintendent for Instructional Services and
Superintendent of schools in Rochester, Minnesota, and Richardson, Texas. He
received his BS and MS from Ball State University and earned his EdS and EdD in
school administration and Policy Studies from Indiana University.




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Academic Partnerships Executive Profile

Jeri Nowakowski, EdD
Executive Vice President



Dr. Nowakowski is an Executive Vice President of Academic Partnerships.

Before joining Academic Partnerships, Dr. Nowakowski was the executive vice president of
product development and research for Voyager Expanded Learning. Over eight years she
directed the development and research of all K-9 curricula for the company which targets
intervention reading and math programs, ongoing measurement, and onsite training and
implementation support.

Prior to Voyager, she spent 11 years as the executive director of the North Central Regional
Educational Laboratory (NCREL), a federally funded educational laboratory developing
research-based resources for schools.

Dr. Nowakowski began her career as an English teacher and earned her bachelor's and master's
degrees in English from Arizona State University. She earned her doctorate in educational
research and evaluation at The Evaluation Center at Western Michigan University and was a
postdoctoral fellow in evaluation research at Northwestern University.



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Academic Partnerships Executive Profile

Kenneth Craycraft, Ph.D.
Executive Vice President



Dr. Craycraft is Executive Vice President of Academic Partnerships and works with the
university partners in a variety of capacities. He oversees the compliance services provided by
Academic Partnerships, serving as a liaison to assist university partners in gaining operating
authority for their institutions to deliver online programs in other states. This formalized process
is in response to the various state laws regulating distance education and the documentation
now being required by the U.S. Department of Education. This service also provides assistance
for those content area certifications/licensing approvals that may be necessary as well.

Prior to joining Academic Partnerships, Ken served as the Chief Academic Officer for the Texas
State University System. In that capacity, he had oversight of all curriculum-related programs of
the member institutions and the 72,000 stUdents served. Additionally, he worked frequently with
members of the Texas Legislature and the Texas Delegation in Washington DC on issues
impacting higher education.

During his tenure with the System, he served as Chancellor and worked closely with the Board
of Regents, the campus presidents and coordinated all activities associated with presidential
searches. Prior to joining the System in 2000, Dr. Craycraft rose to the rank of professor and
served in a variety of administrative positions at the campus level.

Over the years, Dr. Craycraft has authored or co-authored over 30 articles, 7 books, and
received numerous grants. He has also served as president of several professional
organizations at both the state and national levels and has worked as a consultant for the U.S.
Department of Education.


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Academic Partnerships Executive Profile

Marsha Schattner
Executive Vice President




Marsha Schattner is Executive Vice President of Academic Partnerships. She is responsible for
partner development.
Prior to joining Academic Partnerships, Mrs. Schattner was national sales manager and senior
vice president of Voyager Expanded Learning. In addition to leading the sales division, she led
governmental relations and played a major leadership role during the company's expansion.
She is a member of the Board of Directors of Epic Learning Systems, Inc., a Dallas Leadership
alumnus, and an executive mentorfor the Dallas Regional Chamber and Dallas Independent
School District.
Ms. Schattner earned her BA in business administration from the University of Texas at
Arlington.




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Academic Partnerships Executive Profile

Les Wyatt, Ph.D.
Senior Consultant




Dr. Wyatt became Senior Consultant for Academic Partnerships in July, 2010 after a successful career in
executive roles in public universities. Dr. Wyatt was formerly President of Arkansas State University
System and also served as Chief Executive Officer at the campus in Jonesboro. He led the development
of online degrees throughout the ASU campuses.

Dr. Wyatt is currently Professor of Educational Leadership, and is President Emeritus of Arkansas State
University. He served previously as Executive Vice Chancellor at the University of Mississippi following
administrative and faculty appointments at the University of Arkansas at Little Rock and the University
of Texas at Austin. He was awarded the PhD in Education, and the MFA and BFA from the University of
Texas at Austin, and a BA from Abilene Christian University. Dr. Wyatt is associated with American and
international higher education organizations, and serves as a director for corporate, philanthropic and
non-profit organizations.



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Academic Partnerships Executive Profile

Joseph Lynch
Executive Vice President



Joe is Executive Vice President of Academic Partnerships. He works to establish and maintain
partnerships with universities both domestically and internationally. Additionally, he is responsible for
sourcing relationships with multinational corporations to create online degree opportunities for the
employees and family members of those corporations. Prior to joining Academic Partnerships, Mr.
Lynch served as Senior Vice President of Sales for Voyager Expanded Learning, a nationally recognized
leader in reading and math intervention for K-12 students considered "at-risk." He began there as a
sales representative and moved into various management positions, including senior vice president of
sales. In that role, Mr. Lynch managed sales for the entire company.

Before moving to Voyager, Mr. Lynch worked with Ernst and Young for several years. Prior to that, he
held various positions in the banking and financial industry. Mr. Lynch received his bachelor's degree
and a Master's of Business Administration from Baylor University.



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Academic Partnerships Staff Profile

Chance Spiker
Director, Curriculum Support Services




Chance is Director of Curriculum Support at Academic Partnerships. He is an online learning and
training & development expert who provides services in curriculum program planning, instructional
design, courseware development, prograrn implementation services, and consultative professional
development.
Chance also consults on educational topics ranging from assessment skills, to increasing
interaction and communication in the online classroom, to multimedia, to designing exemplary
course content. With twenty years' experience working with educational and information
technology, Chance has worked with approximately 1500 faculty members at over 150 colleges
and universities worldwide.
Chance possesses a diverse range of expert knowledge and skills in teaching and learning
theory, pedagogy and andragogy, and online facilitation; as well as extensive knowledge of web-
based usability and accessibility issues. In addition to his responsibilities with Academic
Partnerships, Chance served on the faculty of Tarrant County College for twelve years as a
distance learning instructor; and has consulted with major companies including Inet Technologies,
Sabre Holdings, First USA bank, and Tandy Corporation. In 2006, he served as the Vice
President of Communication for the American Society of Training and Development (Dallas
Chapter) - the largest chapter of ASTD in the United Stated and the world. He is a published
author, a Certified "Targeted Selection" Facilitator and Administrator, a Master WebCT/Blackboard
Certified Trainer, and an accomplished conference presenter. Chance holds a Master's degree in
Organizational Communication and Training & Development from the University of North Texas,
and is a PhD. candidate in Technology, Information Behavior and Computer-Mediated
Communication. His research area is in the area of Instructor Immediacy in the online classroom.
Chance has been with Academic Partnerships for 2.5 years.




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Academic Partnerships Staff Profile

Kyle Farnsworth
VP of Enrollment and Student Services




Kyle is Vice President of Enrollment and Student Services at Academic Partnerships.
He has over seven years of leadership experience in student enrollment and retention services
and works closely with partner universities to ensure positive student experience.
Kyle holds a Master in Business Administration with an emphasis in Finance from Grand
Canyon University.




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Academic Partnerships Staff Profile

Debra Cannon
Director, Curriculum Support Services



Debra is Director is Curriculum Support Services at Academic Partnerships. She is an educator
with over thirty years of experience in teaching, administration, and professional development.
She consults with leaders and faculty in state and international universities to plan online
programs and design quality outcomes-based online courses. Debra provides professional
guidance on other educational topics, including assessment, smaller learning communities, school
reform, and instructional strategies to maximize student engagement.

Debra served as Chairwoman for the Curriculum Development Committee for the American
College of Education, and has assisted nationally-acclaimed educators and scientists in online
course design. She wrote curriculum and managed field testing and evaluation of Mechanical
Universe High School Adaptation (MUHSA), Comprehensive Conceptual Curriculum for Physics
(c;JP), and Doing & Thinking Physics (all funded by the National Science Foundation). As a
certified trainer for MUHSA and Physics Resources and Instructional Strategies for Motivating
Students (PRISMS), she has conducted hundreds of workshops around the country for physics
teachers from a variety of backgrounds. She also has experience as a Peer Review Team
member for Southern Association of Colleges and Schools (SACS).

Debra has been a Dean of Instruction, college instructor, and department head. Published in
Contemporary Education, her specialties are instructional design and standards-based curriculum
projects. Debra has been with Academic Partnerships for five years.



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Academic Partnerships Staff Profile

Natasha Alsaffar
Director, Partner Integration Services



Natasha is Director of Partnership Integration Services at Academic Partnerships. She has over
13 years of experience in roles of progressive responsibilities in program management in Higher
Education, legal, high tech, telecom and financial services. She has extensive project
management training and experience with a variety of multi-vendor solution projects including
ERP software implementations, hardware/infrastructure implementations, custom software
development and network services deployments.

Natasha has her MBA from the University of Texas at Dallas where she graduated Magna Cum
Laude. She earned her Project Managernent Professional (PMP) certification in 2004.



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